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                                                                        6   Proposed Counsel for Debtor and
                                                                            Debtor-In-Possession
                                                                        7

                                                                        8                         UNITED STATES BANKRUPTCY COURT

                                                                        9              CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

                                                                       10 In re                                       Case No. 8:22-bk-11383-SC

                                                                       11 HERO NUTRITIONALS, LLC, a                   Chapter 11
                                                                          California limited liability company,
                                                                       12                                             MOTION FOR ORDER:
                                                                                         Debtor and
                                                                                         Debtor-in-Possession.        (1) APPROVING ASSET PURCHASE
                                                                       13                                             AGREEMENT AND AUTHORIZING SALE
                                                                                                                      OF DEBTOR’S ASSETS FREE AND CLEAR
                                                                       14                                             OF LIENS, CLAIMS AND INTERESTS
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                                                                                                                      PURSUANT TO 11 U.S.C. § 363(b) AND (f);
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                                                                       15                                             (2) ASSUMING AND ASSIGNING CERTAIN
                                                                                                                      OBLIGATIONS; (3) APPROVING BUYER,
                                                                       16                                             SUCCESSFUL BIDDER, AND ANY BACK-
                                                                                                                      UP BIDDER, AS GOOD-FAITH
                                                                       17                                             PURCHASER PURSUANT TO 11 U.S.C.
                                                                                                                      § 363(m); AND (4) AUTHORIZING
                                                                       18                                             PAYMENT OF LIENS AND OTHER
                                                                                                                      ORDINARY COSTS OF SALE
                                                                       19
                                                                                                                      MEMORANDUM OF POINTS AND
                                                                       20                                             AUTHORITIES; DECLARATIONS JENNIFER
                                                                                                                      HODGES, DAVID M. GOODRICH, KENNETH
                                                                       21                                             A. MILLER IN SUPPORT
                                                                       22                                             Hearing Date, Time and Location:
                                                                                                                      Date:       October 26, 2022
                                                                       23                                             Time:       1:30 p.m.
                                                                                                                      Location:   Courtroom 5C (via ZoomGov)
                                                                       24

                                                                       25

                                                                       26 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

                                                                       27 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL PARTIES IN

                                                                       28 INTEREST:
                                                                                                                                    MOTION FOR SALE OF DEBTOR’S
                                                                                                                                                         ASSETS
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                                                                        1          Hero Nutritionals, LLC, the debtor and debtor-in-possession (“Hero” or “Debtor”) in

                                                                        2 the above-captioned case (“Case”), hereby moves this Court (“Motion”)1 pursuant to §§

                                                                        3 105(a), 363, 365 and 1107 of Title 11 of the United States Code (“Bankruptcy Code”),

                                                                        4 Rules 2002, 6004, 6006, 9007, and 9014 of the Federal Rules of Bankruptcy Procedure

                                                                        5 (as amended from time to time, “Bankruptcy Rules”), and Rule 6004-1 and 9013-1 of the

                                                                        6 Local Bankruptcy Rules of the United States Bankruptcy Court for the Central District of

                                                                        7 California (“LBR” or “Local Rules”) for entry of an order substantially in in the form

                                                                        8 attached hereto as Exhibit 1 (“Sale Order”),

                                                                        9                      a. approving the sale (“Sale”) of certain of the Debtor’s hard assets

                                                                       10                          including, but not limited to, all equipment identified in Seller’s

                                                                       11                          bankruptcy schedules (“Assets”) free and clear of all liens, claims and

                                                                       12                          interests, encumbrances and interests (“Encumbrances”) to Vytalogy

                                                                       13                          Wellness, L.L.C. or its nominee (“Buyer”) pursuant to the Asset

                                                                       14                          Purchase Agreement by and between the Debtor and Buyer dated
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                                                                       15                          October __, 2022 (“Asset Purchase Agreement”), an executed copy

                                                                       16                          of which is attached hereto as Exhibit 2, or, alternatively, to the other

                                                                       17                          successful bidder(s) pursuant to the applicable agreement(s) with

                                                                       18                          such other successful bidder(s) entered into in accordance with the

                                                                       19                          Bid Procedures, free and clear of all liens, claims, encumbrances or

                                                                       20                          other interests pursuant to §§ 363(b), (f) and (m) of the Bankruptcy

                                                                       21                          Code;

                                                                       22                      b. authorizing assumption and assignment of the Debtor’s obligations

                                                                       23                          identified in Schedule 1.3 of the Asset Purchase Agreement

                                                                       24                          (“Assumed Obligations”); and

                                                                       25                      c. authorizing payment of liens and other ordinary costs of sale.

                                                                       26

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                                                                            1
                                                                                   Capitalized terms used herein and not defined in the Motion shall have the meaning ascribed to
                                                                       28 them in the Bidding Procedure Motion (defined below).
                                                                                                                               2                 MOTION FOR SALE OF DEBTOR’S
                                                                                                                                                                      ASSETS
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                                                                        1            In support of the Motion, the Debtor submits the following memorandum of points

                                                                        2 and authorities and the Declarations of Jennifer Hodges (“Hodges Dec.”), David M.

                                                                        3 Goodrich (“Goodrich Dec”), and Kenneth A. Miller (“Miller Dec”).2

                                                                        4             I.       BACKGROUND

                                                                        5                    A.       Jurisdiction and Venue.

                                                                        6            This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

                                                                        7 1334. Venue of this case and this Motion is proper in this district pursuant to 28 U.S.C.

                                                                        8 §§ 1408 and 1409. This is a core proceeding under 28 U.S.C. § 157(b)(2). The Debtor

                                                                        9 consents to the entry of a final order by the Court in connection with this Motion to the

                                                                       10 extent it is later determined that the Court, absent consent of the parties, cannot enter

                                                                       11 final orders or judgments consistent with Article III of the United States Constitution.

                                                                       12                    B.       The Chapter 11 Filing.

                                                                       13            On August 17, 2022 (“Petition Date”), the Debtor filed a voluntary petition for relief

                                                                       14 under chapter 11 of the title 11 of the United States Code (“Bankruptcy Code”) in the
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                                                                       15 United States Bankruptcy Court for the Central District of California, Santa Ana Division

                                                                       16 (“Court”). The Debtor continues to manage its affairs as debtor and debtor-in-possession

                                                                       17 pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtor is not

                                                                       18 currently operating, but plans to license its intellectual property rights and/or sell its

                                                                       19 inventory to generate additional funds for a chapter 11 plan of reorganization. No party

                                                                       20 has requested the appointment of a trustee or examiner.

                                                                       21                    C.       The Debtor.

                                                                       22            In 1997, the Debtor became the first company to introduce a nutrient-rich, all-

                                                                       23 natural gummy bear for children called Yummi Bears®. The inspiration for these “yummi

                                                                       24 gummies” came from its founder and CEO Jennifer Hodges’ nieces and nephews. After

                                                                       25 nearly 25 years, Debtor continues to innovate in the natural and organic gummy vitamin

                                                                       26 space, creating products to fit every dietary and lifestyle need while still maintaining its

                                                                       27

                                                                       28      2
                                                                                   A declaration of an agent for Vytalogy will be submitted separately.
                                                                                                                                   3                 MOTION FOR SALE OF DEBTOR’S
                                                                                                                                                                          ASSETS
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                                                                        1 amazing taste. Along the way, the Debtor created America’s #1 children’s gummy vitamin

                                                                        2 in the natural products industry. Notwithstanding its many successes, and like too many

                                                                        3 businesses, the Debtor was hit particularly hard by the Covid-19 pandemic.

                                                                        4             The Debtor owns valuable assets which the Debtor believes have a total value that

                                                                        5 exceeds all debts of the Debtor. The Debtor intends to sell the Assets to the Buyer or to a

                                                                        6 successful overbidder at the Auction and entertain offers for the use of its intellectual

                                                                        7 property rights (such as trademarks, copyrights, patents, trade secrets and formulas for its

                                                                        8 “Yummi Gummies,” among other things) in order to pay all creditors in full under an “earn

                                                                        9 out” plan of reorganization.

                                                                       10              II.     PRELIMINARY STATEMENT.

                                                                       11             Following a review of strategic alternatives for its business, the Debtor, in

                                                                       12 consultation with its advisors, determined that maximizing the value of its estate is best

                                                                       13 accomplished through an orderly sale of the Assets, which do not include inventory or

                                                                       14 intellectual property rights which will be used or sold to fund a chapter 11 plan, free and
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                                                                       15 clear of all Encumbrances. Since July 2022, the Debtor, its brokers3 and its advisors have

                                                                       16 been engaged in a marketing effort designed to encourage bids for a transaction pursuant

                                                                       17 to which the Assets will be sold so that significant funds are available to pay creditors and

                                                                       18 in an effort to swiftly and efficiently vacate the premises.4

                                                                       19             To date, several parties have expressed an interest in purchasing the Assets. In

                                                                       20 the exercise of its business judgment, the Debtor has entered into the Asset Purchase

                                                                       21 Agreement with the Buyer for the sale of the Assets. The Asset Purchase Agreement is a

                                                                       22 “stalking horse” purchase offer subject to higher and better bids pursuant to the

                                                                       23

                                                                       24

                                                                       25       3
                                                                                    Whipstitch and Guardian Capital (“Brokers”). Employment applications will be filed shortly.
                                                                       26       4
                                                                                The Debtor’s landlord obtained a judgment for unlawful detainer pre-petition and that judgment has
                                                                          been stayed as a result of the Debtor’s bankruptcy case filing, but the landlord has filed a relief from stay
                                                                       27 motion which is scheduled to be heard by the Court on October 26, 2022. McCormick 107, LLC, a secured
                                                                          creditor of the Debtor, has also filed a relief from stay motion and scheduled it to be heard by the Court at
                                                                       28 the same hearing date and time.
                                                                                                                                    4                MOTION FOR SALE OF DEBTOR’S
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                                                                        1 procedures set forth herein and in the proposed Bidding Procedures Order attached to the

                                                                        2 concurrently filed Bid Procedures Motion.

                                                                        3          On October 5, 2022, the Debtor filed the Motion for Order Approving Bidding

                                                                        4 Procedures, Stalking Horse Bidder Protections, and Form of Asset Purchase Agreement;

                                                                        5 Declaration of Jennifer Hodges in Support (“Bid Procedures Motion”) which will be heard

                                                                        6 on October 12, 2022 at 1:30 p.m. See Goodrich Dec.

                                                                        7          The Debtor believes the sale of the Assets pursuant to the procedures set forth

                                                                        8 herein and in the proposed Bidding Procedures Order and on the timeline proposed

                                                                        9 herein presents the best opportunity for the Debtor to maximize value for its estate, its

                                                                       10 stakeholders, and parties in interest and to provide the Debtor with a solid basis to defeat

                                                                       11 the pending relief from stay motions if either or both moving parties refuses to consent to

                                                                       12 any continuance.

                                                                       13           III.    RELIEF REQUESTED

                                                                       14          The Debtor requests entry of an order (1) approving the Sale free and clear of any
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                                                                       15 and all Encumbrances to the Buyer pursuant to the Asset Purchase Agreement or,

                                                                       16 alternatively, to the other successful bidder(s) pursuant to the applicable agreement(s)

                                                                       17 with such other successful bidder(s) entered into in accordance with the Bid Procedures,

                                                                       18 free and clear of all liens, claims, encumbrances or other interests pursuant to § 363(b), (f)

                                                                       19 and (m) of the Bankruptcy Code with such liens, claims and interests attaching to the Sale

                                                                       20 proceeds, (2) assuming and assigning the Assumed Obligations, (3) authorizing payment

                                                                       21 of certain encumbrances, and (4) authorizing payment of ordinary costs in connection with

                                                                       22 the Sale.

                                                                       23           IV.     PROPOSED SALE

                                                                       24          The following are the material terms5 of the Sale under the Asset Purchase

                                                                       25 Agreement:

                                                                       26

                                                                       27
                                                                            5
                                                                                   Capitalized terms used in Article IV. of the Motion and not defined in the Motion shall have the
                                                                       28 meaning ascribed to them in the Asset Purchase Agreement.
                                                                                                                                 5                 MOTION FOR SALE OF DEBTOR’S
                                                                                                                                                                        ASSETS
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                                                                        1         1.      Purchase Price: The consideration to be paid at the Closing for the Assets

                                                                        2 consists of (i) an amount equal to $5,500,000 (“Purchase Price”) (minus the $500,000

                                                                        3 deposit); and (ii) the Assumed Obligations. See Asset Purchase Agreement, Art. II. § 2.1.

                                                                        4         2.      Purchased Assets: Subject to the Asset Purchase Agreement, the Buyer

                                                                        5 agrees to purchase from the Debtor and the Debtor agrees to sell, convey, transfer and

                                                                        6 assign to the Buyer, on the Closing Date, all of the following (“Assets”). The Debtor’s

                                                                        7 right, title and interest in certain hard assets including, but not limited to, (i) all equipment

                                                                        8 identified in Debtor’s bankruptcy schedules, (ii) all cold storage for flavoring and coloring,

                                                                        9 (iii) all refrigerators and dishwashers in the lab, (iii) all office equipment (chairs, desks,

                                                                       10 tables, etc.); (ii) all of Debtor’s rights, title, interest and benefits under the agreements,

                                                                       11 contracts, leases, instruments, commitments and understandings that are related to the

                                                                       12 Assets and that Buyer desires to have Debtor assume and assign to Buyer as listed in

                                                                       13 Schedule 1.1(b) attached hereto (“Assigned Contracts”), (iii) to the extent transferable, all

                                                                       14 of Debtor’s licenses, permits or other authorizations of governmental or regulatory entities
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                                                                       15 that are required under any laws, rules and regulations applicable to or affecting the

                                                                       16 Assets, including those identified on Schedule 1.1(c) attached hereto, (iv) all corporate

                                                                       17 records and documents that relate to the Assets or which would assist Buyer to maintain

                                                                       18 and to operate any of the Assets, (v) a list of Debtor’s employees that operated the Assets

                                                                       19 for the period of 2017 through 2022, (vi) all of Debtor’s insurance recovery rights as they

                                                                       20 related to the Assets, and (vii) all goodwill associated with the Assets. See Asset

                                                                       21 Purchase Agreement, Art. I. § 1.1.

                                                                       22         3.      Excluded Assets: The Buyer shall not acquire, and the Debtor shall retain,

                                                                       23 all of the following assets, properties and rights owned by the Debtor (“Excluded Assets”).

                                                                       24 The Debtor’s rights, title and interest in (i) all contracts and leases of Debtor that are not

                                                                       25 Assigned Contracts, (ii) all intellectual property rights, including, but not limited to

                                                                       26 trademarks, copyrights, patents, patents pending, trade secrets, recipes, formulas and

                                                                       27 any other intangibles related to Debtor’s products and trade names, (iii) all notes

                                                                       28 receivable and any other debt instruments providing for money owing to Debtor, (iv) all
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                                                                        1 cash and cash equivalents of Debtor, (v) the corporate seals, minute books, stock books,

                                                                        2 tax returns and other similar records relating to Debtor’s corporate organizations, and all

                                                                        3 employee related or employee benefit related files or records, (vi) except as to the Assets,

                                                                        4 all insurance recovery rights of Debtor and all tax refunds owing to Debtor, (vii) all rights to

                                                                        5 all claims, causes of action, choses in action, rights of recovery and rights of set-off

                                                                        6 (whether choate or inchoate, known or unknown, contingent or non-contingent) in favor of

                                                                        7 Debtor, and all avoidance causes of action existing under any of sections 544-553,

                                                                        8 inclusive, of the Bankruptcy Code, (viii) all of Debtor’s raw material, packaging materials,

                                                                        9 labels, supplies, work in process inventory and finished goods inventory, (ix) all assets

                                                                       10 scheduled by Debtor in its bankruptcy schedules that are included as Assets in section 1.1

                                                                       11 of this Agreement, and (x) all other assets identified in Schedule 1.2. See Asset Purchase

                                                                       12 Agreement, Art. I. § 1.2.

                                                                       13         4.     Third Party Consents. Winkler Dunnebier (“Winkler”) is title holder to a

                                                                       14 Starch Mogul machine (“Mogul”). Winkler claims to be owed $275,000. Winkler has
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                                                                       15 consented to the sale of the Mogul conditioned upon payment from the sale to Winkler of

                                                                       16 all amounts due to Winkler. The Debtor proposes to sell the Mogul and pay Winkler in full

                                                                       17 from the sale proceeds.

                                                                       18         5.     Buyer’s Employment of Debtor’s Current or Former Employees. Provided

                                                                       19 Buyer is deemed to be the winning bidder at the Auction (or if there is no Auction because

                                                                       20 no qualified bid has been submitted), Buyer shall have the right, but not the obligation, in

                                                                       21 Buyer’s sole and absolute discretion, to offer employment to any of Debtor’s current or

                                                                       22 former employees, and Debtor shall provide Buyer or make available to Buyer copies of

                                                                       23 all of Debtor’s employment records of all of its current and former employees as requested

                                                                       24 by Buyer.

                                                                       25         6.     Payment of Cure Costs Under Assigned Contracts. As promptly as

                                                                       26 practicable following the execution of this Agreement, Buyer and Debtor shall use

                                                                       27 commercially reasonable efforts to cooperate and determine an estimate of the amounts

                                                                       28 required to cure all defaults under each Assigned Contract so as to permit the assumption
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                                                                        1 and assignment of each such Assigned Contract pursuant to Section 365 of the

                                                                        2 Bankruptcy Code (as ultimately determined by the Bankruptcy Court, “Cure Costs”). In

                                                                        3 connection with the assignment and assumption of the Assigned Contracts, Debtor shall

                                                                        4 pay all Cure Costs on or before the Closing.

                                                                        5            7.      Sale Order. Provided that Buyer is deemed to be the successful bidder at

                                                                        6 the Auction (or no Auction occurs because no qualified overbid is timely submitted),

                                                                        7 Debtor will request the Bankruptcy Court to approve the sale of the Assets to Buyer at the

                                                                        8 Sale Hearing. The Bankruptcy Court order approving Debtor’s sale of the Assets to Buyer

                                                                        9 (the “Sale Order”) must be acceptable to Buyer in Buyer’s sole discretion and must be

                                                                       10 entered by the Bankruptcy Court by not later than November 2, 2022, and the Closing

                                                                       11 must occur by the Outside Closing Date, which Outside Closing Date may be extended by

                                                                       12 the mutual consent of Buyer and Debtor.

                                                                       13            The description above only summarizes certain provisions of the Asset Purchase

                                                                       14 Agreement, and the terms of the Asset Purchase Agreement control in the event of any
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                                                                       15 inconsistency. The complete terms of the Asset Purchase Agreement are set out in

                                                                       16 Exhibit 2, attached hereto.6

                                                                       17             V.      BIDDING PROCEDURES AND STALKING HORSE BID PROTECTIONS.

                                                                       18            The Debtor has filed with the Court a motion for approval of bidding procedures

                                                                       19 and stalking horse protections for Buyer (“Bid Procedures Motion”).7 The Bid Procedures

                                                                       20 Motion seek the entry of an order by the Court (“Bid Procedures Order”) that approves

                                                                       21 Buyer to serve as a stalking horse bidder with a cash purchase price of $5.5 million for the

                                                                       22 Assets and contain other terms that are reasonably acceptable to Buyer and consistent

                                                                       23 with other terms of this Agreement.

                                                                       24

                                                                       25

                                                                       26
                                                                               6
                                                                       27          Parties are advised to consult the Asset Purchase Agreement for all terms and conditions.
                                                                               7
                                                                                   The Debtor requests the Court take judicial notice of its docket, including the Bid Procedures Motion
                                                                       28 filed on October 5, 2022.
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                                                                        1         If the Bid Procedures Motion is granted, the Auction and the Sale Hearing will be

                                                                        2 held before the Bankruptcy Court on October 26, 2022, at 1:30 p.m. The proposed bid

                                                                        3 procedures require:

                                                                        4                  a. the minimum overbid be at least $5.75 million, with a break-up fee of

                                                                        5                     $150,000 to be paid to Buyer in the event that Buyer is not deemed to

                                                                        6                     be the successful bidder at the Auction.

                                                                        7                  b. Subsequent bidding in increments of $50,000 or higher figures that are

                                                                        8                     wholly divisible by $50,000.

                                                                        9         The Bid Procedures Motion also request the Court order that in order for any

                                                                       10 potential overbidder to be eligible to participate in the Auction, at least one business day

                                                                       11 prior to the Auction, overbidders must (1) deliver to Debtor a signed asset purchase

                                                                       12 agreement in a form that is not less favorable for Debtor than this Agreement; (2) deliver

                                                                       13 to Debtor’s bankruptcy counsel a deposit in the amount of $500,000, which deposit will be

                                                                       14 deemed to be non-refundable and forfeited to Debtor’s bankruptcy estate/Debtor as
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                                                                       15 liquidated damages if the overbidder is deemed to be the winning bidder at the Auction

                                                                       16 and fails to close its purchase by the Outside Closing Date (defined below); and (3)

                                                                       17 demonstrate to Debtor that the overbidder has the ability to close its purchase, including

                                                                       18 proof of a binding financing commitment and/or sufficient cash on hand. Debtor shall be

                                                                       19 required to provide Buyer with copies of all overbids submitted along with all supporting

                                                                       20 documentation of the overbidders.

                                                                       21         Finally, the Bid Procedures Motion requests the Court enter an order that finds the

                                                                       22 Buyer shall automatically be deemed to have an allowed administrative claim against

                                                                       23 Debtor’s bankruptcy estate in the amount of $150,000 if Debtor fails to proceed with its

                                                                       24 sale of the Assets to Buyer or to a successful overbidder in accordance with the terms of

                                                                       25 this Agreement. Buyer shall file a proof of claim with the Bankruptcy Court should it hold

                                                                       26 an administrative claim against Debtor’s bankruptcy estate.

                                                                       27

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                                                                        1            VI.     MARKETING AND VALUE OF THE ASSETS

                                                                        2           The Debtor and its Brokers have been engaged in a marketing effort which has

                                                                        3 generated interest by several parties. Based on the nature of the Debtor’s business and

                                                                        4 the marketing efforts, the Debtor believes that the proposed Sale to the Buyer, with the

                                                                        5 opportunity for overbidding, is in the best interest of the Debtor’s creditors and will result in

                                                                        6 the highest and best recovery for the Estate. See Miller Dec.

                                                                        7            VII.    LIENS, CLAIMS, AND INTERESTS AND PROPOSED DISTRIBUTION TO

                                                                        8                    LIENHOLDERS

                                                                        9           The Debtor seeks to sell the Assets free and clear of any and all liens, claims, and

                                                                       10 interests, including the following:

                                                                       11                   1.      McCormick 107, LLC Lien

                                                                       12           McCormick 107, LLC (“McCormick”) contends that as of the Petition Date, the

                                                                       13 Debtor was indebted to McCormick in the principal amount of $2,312,667.10, together with

                                                                       14 all accrued interest. late fees, costs and attorneys’ fees ("Prepetition Indebtedness"). By
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                                                                       15 virtue of a first priority UCC-1, McCormick8 asserts a first priority lien on the Debtor’s

                                                                       16 personal property along with the rents, issues and profits generated by same ("Prepetition

                                                                       17 Collateral"). McCormick asserts that all the Debtor’s cash and proceeds generated by the

                                                                       18 Prepetition Collateral are McCormick’s “cash collateral” within the meaning of Bankruptcy

                                                                       19 Code Section 363(a). On September 27, 2022, McCormick filed a proof of claim in the

                                                                       20 amount of $2,621,866.81, as a secured claim against the Debtor’s assets, designated as

                                                                       21 Claim 9-1 in the Court’s register of Claims. The Debtor disputes the total amount claimed

                                                                       22 by McCormick.

                                                                       23                   2.      Winkler Dunnebier Claim

                                                                       24           The Debtor scheduled a general unsecured obligation owing to Winkler Dunnebier

                                                                       25 (“Winkler”), the current title holder to the Debtor’s Starch Mogue machine, in the amount

                                                                       26 of $212,143.87.

                                                                       27

                                                                       28     8
                                                                                  McCormick acquired the rights of Bank of Manhattan, Pacific Premier Bank, and Plaza Bank.
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                                                                        2                  3.   U.S. Small Business Administration

                                                                        3         On September 29, 2022, the U.S. Small Business Administration (“SBA”) filed a

                                                                        4 proof of claim in the amount of $525,869.86, as a secured claim against the Debtor’s

                                                                        5 tangible and intangible personal property, designated as Claim 10-1 in the Court’s register

                                                                        6 of Claims.

                                                                        7          VIII.   TAX CONSEQUENCES OF THE PROPOSED SALE

                                                                        8         The Debtor does not expect there to be any capital gains taxes from the proposed

                                                                        9 Sales because the Purchase Price is less than the Debtor paid for the Assets. See

                                                                       10 Hodges Dec.

                                                                       11          IX.     RESERVATION OF RIGHTS

                                                                       12         Except as set forth in the Asset Purchase Agreement, the Debtor reserves the right

                                                                       13 to object to all or any portion of each and every claim or encumbrance that has been or

                                                                       14 will be asserted against the Assets.
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                                                                       15          X.      LEGAL BASIS FOR RELIEF REQUESTED

                                                                       16                  A.   The Proposed Sale is in the Best Interest of the Debtor’s Creditors

                                                                       17                       and Estate and Should be Approved

                                                                       18         Pursuant to 11 U.S.C. § 363(b), a trustee may, with court approval, sell property of

                                                                       19 the estate outside the ordinary course of business. A proposed sale of estate property will

                                                                       20 be approved if it is in the best interests of the estate, based on the facts and history of the

                                                                       21 case. In re America West Airlines, 166 B.R. 908, 912 (Bankr. D. Ariz. 1994), citing In re

                                                                       22 Lionel Corp., 722 F.2d 1063, 1071 (2nd Cir. 1983). A court has broad discretion to

                                                                       23 authorize a sale under 11 U.S.C. § 363(b). See In re Walter, 83 B.R. 14, 19 (B.A.P. 9th

                                                                       24 Cir. 1988); See also In re WPRV-TV, 983 F.2d 336, 340 (1st Cir. 1993); New Haven

                                                                       25 Radio, Inc. v. Meister (In re Martin-Trigona), 760 F.2d 1334, 1346 (2nd Cir. 1985); Lionel,

                                                                       26 722 F.2d at 1069; Stephens Indus., Inc. v. McClung, 789 F.2d 386, 390-91 (6th Cir. 1986).

                                                                       27 Generally, courts will find that a proposed sale is in the best interests of the estate where

                                                                       28 the trustee or debtor-in-possession has a valid “business justification” for the proposed
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                                                                        1 sale. See, e.g., Stephens Indus., Inc., 789 F.2d at 390; In re Baldwin United Corp., 43

                                                                        2 B.R. 888, 905 (Bankr. S.D. Ohio 1984). A bankruptcy court’s power to authorize a sale

                                                                        3 under § 363(b) is reviewed for abuse of discretion. See In re Walter, 83 B.R. 14, 19

                                                                        4 (B.A.P. 9th Cir. 1988).

                                                                        5         The proposed Sale is the culmination of a marketing process for the Assets that

                                                                        6 began pre-petition. It is the Debtor’s business judgment that, after considering potential

                                                                        7 alternatives, the proposed Sale is in the best interest of the Debtor, the Estate and its

                                                                        8 creditors and stakeholders. The Debtor believes the consideration to be paid by the Buyer

                                                                        9 represents a fair and reasonable offer in light of all the terms of the proposed Sale, and as

                                                                       10 a result of the Debtor’s pre- and post-petition marketing efforts, the offer (or any higher

                                                                       11 and better offer obtained through the proposed Bid Procedures and Auction) will provide

                                                                       12 maximum value to the Debtor under the current circumstances. The proposed Sale will

                                                                       13 generate proceeds for the benefit of the creditors of the Estate in the form of cash and

                                                                       14 assumed obligations and will provide the possibility of continued employment of the
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                                                                       15 Debtor’s current or former employees.

                                                                       16         The proposed purchase price represents the fair market value for the Assets which

                                                                       17 was achieved after more than three months of marketing of the Assets. As discussed

                                                                       18 above, the Brokers canvased the market of potential buyers, spent hours providing

                                                                       19 information and documents to prospective buyers and engaged in a series of negotiations

                                                                       20 with the Buyer and other interested parties. The Debtor received ___ letters of intent and

                                                                       21 the proposed Sale to the Buyer represents the highest and best terms and conditions

                                                                       22 received by the Debtor. See Miller Dec.

                                                                       23                B.     The Sale Is Made in Good Faith

                                                                       24         “Good faith encompasses fair value, and further speaks to the integrity of the

                                                                       25 transaction.” In re Wilde Horse Enterprises, Inc., 136 B.R. 830, 842 (Bankr. C.D. Cal.

                                                                       26 1991) internal quotation marks omitted). Bad faith includes collusion between buyer and

                                                                       27 seller or otherwise taking unfair advantage of other potential purchasers, such as a

                                                                       28
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                                                                        1 collusive insider transaction.; id.; see also In re Indus. Valley Refrigeration & Air

                                                                        2 Conditioning Supplies, Inc., 77 B.R. 15, 17 (Bankr. E.D. Pa. 1987).

                                                                        3          The Sale was negotiated at arms’ length. There is no fraud, collusion, or insider

                                                                        4 transactions present here, and the proposed buyer received no special treatment or

                                                                        5 consideration. Moreover, the Assets have been actively marketed, the Sale will be

                                                                        6 properly publicized on the Bankruptcy Court’s website, and the Debtor has accepted the

                                                                        7 highest and best offer for the Assets and will be subjecting the Buyer’s bid to higher and

                                                                        8 better offers through the Bidding Procedures Motion. As a result, the Sale is made in good

                                                                        9 faith.

                                                                       10                 C.     The Debtor May Sell the Assets Free and Clear of Liens, Claims and

                                                                       11                        Interests

                                                                       12          The Debtor seeks authority to sell the Assets free and clear of all liens and

                                                                       13 encumbrances pursuant to 11 U.S.C. § 363(f) which provides:

                                                                       14                 The Trustee may sell property under subsection (b) or (c) of
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                                                                                          this section free and clear of any interest in such property of an
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                                                                       15                 entity other than the estate, only if –

                                                                       16                       (1)    applicable nonbankruptcy law permits sale of
                                                                                          such property free and clear of such interest;
                                                                       17
                                                                                                 (2)    such entity consents;
                                                                       18
                                                                                                 (3)     such interest is a lien and the price at which such
                                                                       19                 property is to be sold is greater than the aggregate value of all
                                                                                          liens on such property;
                                                                       20
                                                                                                 (4)    such interest is in bona fide dispute; or
                                                                       21
                                                                                                 (5)   such entity could be compelled, in a legal or
                                                                       22                 equitable proceeding, to accept a money satisfaction of such
                                                                                          interest.
                                                                       23

                                                                       24          Because subsections (1) through (5) of 11 U.S.C. § 363(f) are written in the

                                                                       25 disjunctive, authority to sell the Assets, excluding the Excluded Assets, free and clear of

                                                                       26 any and all interests should be granted if, with respect to the lienholder, any of the

                                                                       27 conditions are met.

                                                                       28 / / /
                                                                                                                         13               MOTION FOR SALE OF DEBTOR’S
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                                                                        2                       1.      The Sale Should Be Free and Clear Under §363(f)(1)

                                                                        3         Under § 363(f)(1), the Debtor’s property may be sold free and clear of certain liens,

                                                                        4 claims and interest if applicable nonbankruptcy law permits a sale free and clear of such

                                                                        5 interest. § 363(f)(1).

                                                                        6         Here, the SBA lien will be paid in full. Because the SBA lien will be satisfied in full,

                                                                        7 the proposed Sale should be approved free and clear of these liens. Winkler does not

                                                                        8 hold a lien against the Mogul, but claims to own the Mogul. The Debtor will satisfy

                                                                        9 Winkler’s claim to the Mogul by paying the remaining debt due to Winkler from the Sale.

                                                                       10 Accordingly, Section 363(f)(1) is satisfied as to these liens, claims and interests.

                                                                       11                       2.      The Sale Should Be Free and Clear Under §363(f)(2)

                                                                       12         As noted above, a proposed sale of estate property can be approved by the Court

                                                                       13 under § 363(f)(2) where an entity consents. § 363(f)(2).

                                                                       14         As noted above, the Debtor has secured Winkler’s consent to a sale based upon
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                                                                       15 the payment to Winkler from the Sale proceeds the total amount due to Winkler.

                                                                       16         In addition, the Debtor intends to notify all interested parties through the notice of

                                                                       17 the motion. Any party objecting to either sale may file their objection and be heard at the

                                                                       18 hearing on the Motion. If there is no objection, the parties failing to object will be deemed

                                                                       19 to have consented to the sale notwithstanding any adverse impact the sale or sales may

                                                                       20 have on their liens. See Veltman v. Whetzal, 93 F.3d 517 (8th Cir. 1996) (failure to object

                                                                       21 to proposed sale, coupled with agreement authorizing sale free of interest, constituted

                                                                       22 consent); In re Tabore, Inc., 175 B.R. 855 (Bankr. D. N.J. 1994) (failure to object to notice

                                                                       23 of sale or attend hearing deemed consent to sale for purposes of § 363); In re Shary, 152

                                                                       24 B.R. 724 (Bankr. N.D. Ohio 1993) (state’s failure to object to transfer of liquor license

                                                                       25 constituted consent to sale).

                                                                       26         Thus, pursuant to § 363(f)(2), the Debtor may sell the Assets free and clear of any

                                                                       27 lien, claim or interest of entities who fail to object to the proposed Sale.

                                                                       28
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                                                                        1                        3.      The Sale Should Be Free and Clear Under §363(f)(4)

                                                                        2         Section 363(f)(4) permits a sale free and clear of certain liens, claims and interests

                                                                        3 where a bona fide dispute exists in connection with a lien, claim or interest. § 363(f)(4).

                                                                        4 The Bankruptcy Code does not define the phrase “bona fide dispute.” In adopting the

                                                                        5 Seventh Circuit’s standard regarding the phrase “bona fide dispute” as it is used in §303,

                                                                        6 the Ninth Circuit reasoned that a “bona fide dispute” lies where there is “an objective basis

                                                                        7 for either a factual or a legal dispute” regarding liability or the amount of a debt. Liberty Tool

                                                                        8 v. Vortex Fishing Sys. (in Re Vortex Fishing Sys.), 277 F.3d 1057, 1065 (9th Cir. 2002); In

                                                                        9 re Busick, 831 F.2d 745, 750 (7th Cir. 1987).

                                                                       10         The Debtor contends that McCormick’s secured claim is overstated and is,

                                                                       11 therefore, disputed. The Debtor will employ an accountant to investigate McCormick’s

                                                                       12 application of interests, fees and charges and seek to reduce McCormick’s secured claim

                                                                       13 consensually or through a claim objection. The Debtor will pay the undisputed portion of

                                                                       14 the McCormick secured claim from the Sale proceeds and hold the disputed portion in the
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                                                                       15 Debtor’s counsel’s client trust account pending a resolution of the Debtor’s challenge to

                                                                       16 McCormick’s secured claim. Because a bona fide dispute exists and McCormick’s lien will

                                                                       17 be adequately protected by the reserved portion of sale proceeds, the Court should allow

                                                                       18 the Sale to close free and clear of McCormick’s lien pursuant to § 363(f)(4).

                                                                       19                D.      Adequate Notice of the Sale is Proposed

                                                                       20         Notice of the Sale will be provided in accordance with §§ 102(1), 363, and 365 of

                                                                       21 the Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9007, and 9014 and LBR

                                                                       22 6004-1(b)(3). Accordingly, the Debtor believes that the foregoing notice was good,

                                                                       23 sufficient, and appropriate under the circumstances, and no other or further notice of the

                                                                       24 Motion, the Auction, the Sale Hearing, the Asset Purchase Agreement, or the Sale is

                                                                       25 required.

                                                                       26         Based on the foregoing, the Debtor requests that the Court authorize the Sale free

                                                                       27 and clear of any liens, claims, interests and encumbrances in accordance with § 363(f),

                                                                       28 subject to such liens, claims, interests, and encumbrances attaching to the proceeds
                                                                                                                          15              MOTION FOR SALE OF DEBTOR’S
                                                                                                                                                               ASSETS
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                                                                        1 thereof in the same order of relative priority, with the same validity, force and effect as

                                                                        2 prior to such Sale.

                                                                        3                E.     The Court Should Authorize the Debtor to Assume and Assign the

                                                                        4                       Assumed Obligations

                                                                        5         Section 365(a) authorizes a trustee or debtor-in-possession “‘[to] assume or reject

                                                                        6 any executory contract or unexpired lease of the debtor.” A decision whether to assume

                                                                        7 or reject is judged by the “business judgment test,” which generally requires the trustee or

                                                                        8 debtor-in-possession to have acted in good faith and with the honest belief that such

                                                                        9 actions were in the best interests of the estate. See In re Pomona Valley Medical Grp.,

                                                                       10 Inc., 476 F.3d 665, 670 (9th Cir. 2007). The Court “need engage in ‘only a cursory review

                                                                       11 of the [trustee]’s decision…’” and should approve the decision unless it finds that the

                                                                       12 decision is “so manifestly unreasonable that it could not be based on sound business

                                                                       13 judgment, but only on bad faith, or whim or caprice.” Id.

                                                                       14         Pursuant to § 365(f)(2) of the Bankruptcy Code, a debtor-in-possession may assign
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                                                                       15 its executory contracts and unexpired leases, provided it first assumes those agreements

                                                                       16 in accordance with § 365(b)(1), and provides adequate assurance of future performance

                                                                       17 by the assignee. § 365(b)(1), in turn, requires a debtor-in-possession to: (a) cure any

                                                                       18 existing defaults under such agreements; (b) compensate all non-debtor parties to such

                                                                       19 agreements for any actual pecuniary loss resulting from the defaults; and (c) provide

                                                                       20 adequate assurance of future performance under the contract or lease. 11 U.S.C. §

                                                                       21 365(b)(l); In re AEG Acquisition Corp., 127 B.R. 34, 44 (Bankr. C.D. Cal. 1991), aff’d 161

                                                                       22 B.R. 50 (B.A.P. 9th Cir. 1993).

                                                                       23         The Buyer may identify certain executory contracts related to the Assets that the

                                                                       24 Debtor will assume and assign to the Buyer. Upon entry of an order approving the Sale,

                                                                       25 any such contracts shall be assumed and assigned to the Buyer.

                                                                       26                F.     The Buyer Should be Deemed a “Good Faith Purchaser” Pursuant to

                                                                       27                       11 U.S.C. § 363(m)

                                                                       28         Section 363(m) of the Bankruptcy Code provides:
                                                                                                                         16              MOTION FOR SALE OF DEBTOR’S
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                                                                        1                The reversal or modification on appeal of an authorization
                                                                                         under subsection (b) or (c) of this section of a sale or lease of
                                                                        2                property does not affect the validity of a sale or lease under
                                                                                         such authorization to an entity that purchased or leased such
                                                                        3                property in good faith, whether or not such entity knew of the
                                                                                         pendency of the appeal, unless such authorization and such
                                                                        4                sale or lease were stayed pending appeal.

                                                                        5         A good faith buyer “is one who buys ‘in good faith’ and “for value.’” Ewell v. Diebert

                                                                        6 (In re Ewell), 958 F.2d 276, 281 (9th Cir. 1992) (citing In re Abbotts Dairies of

                                                                        7 Pennsylvania, Inc., 788 F.2d 143, 147 (3d Cir. 1986)). “[L]ack of good faith is [typically]

                                                                        8 shown by ‘fraud, collusion between the purchaser and other bidders or the trustee, or an

                                                                        9 attempt to take grossly unfair advantage of other bidders.’” Id. (quoting Community Thrift

                                                                       10 & Loan v. Suchy (In re Suchy), 786 F.2d 900, 902 (9th Cir. 1985)).

                                                                       11         In the instant case, the Buyer is buying in good faith and has offered fair value for

                                                                       12 the Assets. Both the consideration to be paid and the terms and conditions of the

                                                                       13 proposed Sale were the subject of extensive negotiations between the Debtor and

                                                                       14 counsel for the Buyer. See Miller Dec. Based on such facts and circumstances, the
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                                                                       15 Debtor believes this Court can properly determine the Buyer, the Successful Bidder, and

                                                                       16 the Back-Up Bidder as a “good faith purchaser” pursuant to 11 U.S.C. § 363(m).

                                                                       17         Additionally, the Debtor requests that the Sale Order provide that the Sale shall

                                                                       18 survive the entry of an order which may be entered converting the Debtor’s case from

                                                                       19 Chapter 11 to a case under Chapter 7 of the Bankruptcy Code, appointing a chapter 11

                                                                       20 trustee, or dismissal of the case, and is not subject to avoidance pursuant to § 363(n) of

                                                                       21 the Bankruptcy Code.

                                                                       22                G.     The Broker Commission Should Be Approved

                                                                       23         Real estate brokers are “professionals” for purposes of section § 327 of the

                                                                       24 Bankruptcy Code and, as such, their employment must be approved by the court. In re

                                                                       25 Cummins, 15 B.R. 893, 895 (B.A.P. 9th Cir. 1981).

                                                                       26         By separate application, the employment of the Brokers will be sought under §328,

                                                                       27 with compensation to be a minimum of $400,000 or 4.5% of the total sale proceeds. If the

                                                                       28 Sale is consummated, the Brokers will have performed a valuable service for the Estate.
                                                                                                                         17              MOTION FOR SALE OF DEBTOR’S
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                                                                        1 Accordingly, payment should be authorized from the Sale proceeds in lieu of the

                                                                        2 requirement of a fee application so long as the Broker’s employment is approved by the

                                                                        3 Court.

                                                                        4                   H.     The Debtor Should be Authorized to Make Distributions of the Sales

                                                                        5                          Proceeds to the Brokers and Creditors with Allowed, Undisputed

                                                                        6                          Claims

                                                                        7            The Debtor proposes the pay the following from the sale proceeds:

                                                                        8      McCormick                  $2,054,537.769          This amount will be paid to McCormick from
                                                                                                                                  the sale proceeds with any additional amount
                                                                        9                                                         held in trust by counsel for Hero pending
                                                                                                                                  further court order or an agreement between
                                                                       10                                                         Hero and McCormick.
                                                                       11      SBA                        $525,869.86             To be paid in full from sale proceeds
                                                                       12      Whipstitch and Guardian    $400,000 minimum or     To be paid in full from sale proceeds (or
                                                                               Capital                    4.5% of sale proceeds   upon entry of an order of the Court approving
                                                                       13                                                         the Brokers’ employment)
                                                                       14
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                                                                               Winkler                    Up to $275,000          To be paid the remaining sale proceeds after
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                                                                                                                                  payment to McCormick and SBA
                                                                       15

                                                                       16            The Debtor believes it is appropriate to pay these lienholders in in part or in full, as
                                                                       17 noted above, from the Sales proceeds. As such, the Debtor requests the Court authorize

                                                                       18 payments of these liens after the Sale closes and without the need for further order of the

                                                                       19 Court.

                                                                       20                   I.     The Waiver of the Stay is Appropriate
                                                                       21            Under Rule 6004(h) an order authorizing the use or sale of property is stayed for 14
                                                                       22 days after the entry of the order, unless the court orders otherwise. Fed. R. Bankr. P.

                                                                       23 6004(h). The Advisory Committee Note states that the court may, in its discretion, order

                                                                       24 that the stay is inapplicable so that the sale or assumption may take place immediately

                                                                       25 upon entry of the order. Fed. R. Bankr. P. 6004(g) Advisory Committee’s Note.

                                                                       26

                                                                       27      9
                                                                               $2,500,000 scheduled by the Debtor in Schedule D, minus $445,462.24 received from the sale of
                                                                          Jennifer Hodge’s “Ranch” property by Mark Sharf (case no. 8:21-11662 SC) pursuant to an agreement
                                                                       28 between McCormick and Mr. Sharf. See Exhibit D to the Goodrich Dec.
                                                                                                                             18                 MOTION FOR SALE OF DEBTOR’S
                                                                                                                                                                     ASSETS
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                                                                        1         Here, the waiver of the stay imposed by Rule 6004(h) is appropriate. In light of the

                                                                        2 pending relief from stay motions and the Buyer’s preference for closing the Sale as soon

                                                                        3 as possible, as well as the need for the Court’s order granting this Motion to become a

                                                                        4 final order before the proposed Sale can close, the Debtor requests that the Court waive

                                                                        5 the stay imposed by Rule 6004(h).

                                                                        6          XI.    CONCLUSION

                                                                        7         WHEREFORE, the Debtor requests (i) entry of an order, substantially in in the form

                                                                        8 attached hereto as Exhibit 1, (a) approving the Sale free and clear of any and all

                                                                        9 Encumbrances to the Buyer pursuant to the Asset Purchase Agreement or, alternatively,

                                                                       10 to the other successful bidder(s) pursuant to the applicable agreement(s) with such other

                                                                       11 successful bidder(s) entered into in accordance with the Bid Procedures, free and clear of

                                                                       12 all liens, claims, encumbrances or other interests pursuant to §§ 363(b), (f) and (m) of the

                                                                       13 Bankruptcy Code, (b) assuming and assigning the Assumed Obligations; (c) authorizing

                                                                       14 payment of undisputed liens and any other ordinary cost in connection with the Sale, and
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                                                                       15 (d) authorizing payment of the Brokers’ commission up entry of an order of the Court

                                                                       16 approving their employment on the terms and conditions outlined in the Debtors’

                                                                       17 application to employ the Brokers.

                                                                       18                                           Respectfully submitted,

                                                                       19 Dated: October 5, 2022                    GOLDEN GOODRICH LLP

                                                                       20

                                                                       21                                           By: /s/ David M. Goodrich___________
                                                                                                                        David M. Goodrich
                                                                       22                                               Proposed Counsel for Hero Nutritionals,
                                                                                                                        LLC, Debtor and Debtor-in-Possession
                                                                       23

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                                                                                                                       19              MOTION FOR SALE OF DEBTOR’S
                                                                                                                                                            ASSETS
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                                                                        1                            DECLARATION OF JENNIFER HODGES10

                                                                        2           I, Jennifer Hodges, declare as follows:

                                                                        3           1.       I am the CEO of Hero Nutritionals Inc., Managing Member of the Debtor. I

                                                                        4 know each of the following facts to be true of my own personal knowledge, except as

                                                                        5 otherwise stated and, if called as a witness, I could and would competently testify with

                                                                        6 respect thereto. I make this declaration in support of the Application.

                                                                        7           2.       In 1997, Debtor became the first company to introduce a nutrient-rich, all-

                                                                        8 natural gummy bear for children called Yummi Bears®. The inspiration for these “yummi

                                                                        9 gummies” came from my nieces and nephews. After nearly 25 years, Hero continues to

                                                                       10 innovate in the natural and organic gummy vitamin space, creating products to fit every

                                                                       11 dietary and lifestyle need while still maintaining its amazing taste. Along the way, Hero

                                                                       12 has created America’s #1 children’s gummy vitamin in the natural products industry.

                                                                       13           3.       Notwithstanding its many successes, and like too many businesses, Hero

                                                                       14 was hit particularly hard by the Covid-19 pandemic. Hero recently restarted its operations,
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                                                                       15 but filed a chapter 11 bankruptcy case in July 2022, which case was ultimately dismissed.

                                                                       16 An eviction was scheduled for August 18, 2022 following an unlawful detainer judgment

                                                                       17 entered in favor of Hero’s landlord. As a result, on August 17, 2022 (“Petition Date”), Hero

                                                                       18 filed a voluntary petition for relief under Chapter 11 of the Bankruptcy Code in the United

                                                                       19 States Bankruptcy Court for the Central District of California (“Court”).

                                                                       20           4.       Since July 2022, the Debtor, its broker and its advisors have been engaged

                                                                       21 in a marketing efforts designed to encourage bids for a transaction pursuant to which all or

                                                                       22 a portion of the Debtor’s assets would be sold generating funds for creditors of the estate.

                                                                       23           5.        To date, several parties have expressed an interest in purchasing the

                                                                       24 Debtor’s Assets. In the exercise of its business judgment, the Debtor has entered into the

                                                                       25 Asset Purchase Agreement with the Buyer for the sale of the Assets. A true and correct

                                                                       26 copy of the proposed Asset Purchase Agreement is attached hereto as Exhibit 2.

                                                                       27

                                                                       28     10
                                                                                   All capitalized terms have the same meaning or definition as the capitalized terms in the Application.
                                                                                                                                  20                 MOTION FOR SALE OF DEBTOR’S
                                                                                                                                                                          ASSETS
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                                                                        1                              DECLARATION OF DAVID M. GOODRICH11

                                                                        2           I, David M. Goodrich, declare as follows:

                                                                        3           1.       I am a partner of Golden Goodrich LLP (the “Firm”), counsel for the Debtor.

                                                                        4 I know each of the following facts to be true of my own personal knowledge, except as

                                                                        5 stated otherwise, and, if called as a witness, I could and would competently testify with

                                                                        6 respect thereto. All terms as defined in the Motion are incorporated herein by this

                                                                        7 referenced.

                                                                        8           2.       Attached hereto as Exhibit 1 is a true and correct copy of the Sale Order.

                                                                        9           3.       Attached hereto as Exhibit 2 is a true and correct copy of the proposed

                                                                       10 Asset Purchase Agreement.

                                                                       11           4.       Attached hereto as Exhibit 3 is a true and correct copy of the Debtor’s

                                                                       12 Schedule D.

                                                                       13           5.       Attached hereto as Exhibit 4 is a true and correct copy of the Proof of Claim

                                                                       14 filed by McCormick in the Debtor’s case.
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                                                                       15           6.       Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the

                                                                       16 Sale Motion filed by Mark Sharf, chapter 7 trustee of the bankruptcy estate of Jennifer

                                                                       17 Hodges, the sole shareholder of Hero Nutritional, Inc., which is the managing member of

                                                                       18 the Debtor. According to the Sale Motion, the secured debt of McCormick was cross-

                                                                       19 collateralized against Ms. Hodge’s “Ranch” property along with assets of the Debtor.

                                                                       20           7.       Attached hereto as Exhibit 6 is a true and correct copy of the Proof of Claim

                                                                       21 filed by the Small Business Administration in the Debtor’s case.

                                                                       22           8.       If the Court grants the Motion, the disputed portion of the McCormick

                                                                       23 secured claim will be held in the Golden Goodrich LLP client trust account pending further

                                                                       24 order of the Court or an agreement between McCormick and the Debtor.

                                                                       25

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                                                                       28     11
                                                                                   All capitalized terms have the same definition or meaning as the capitalized terms in the Motion.
                                                                                                                                 22                 MOTION FOR SALE OF DEBTOR’S
                                                                                                                                                                         ASSETS
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                                                                       1        I declare under penalty of perjury that the foregoing is true and correct.

                                                                       2        Executed on this 5th day of October, 2022, at Costa Mesa, California.

                                                                       3
                                                                                                                           /s/ David M. Goodrich
                                                                       4                                                               David M. Goodrich
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                                                                                                                      23              MOTION FOR SALE OF DEBTOR’S
                                                                                                                                                           ASSETS
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                                                                        1 David M. Goodrich, State Bar No. 208675
                                                                          dgoodrich@go2.law
                                                                        2 Sonja M. Hourany, State Bar No. 323457
                                                                          shourany@go2.law
                                                                        3 GOLDEN GOODRICH LLP
                                                                          650 Town Center Drive, Suite 600
                                                                        4 Costa Mesa, California 92626
                                                                          Telephone    714-966-1000
                                                                        5 Facsimile    714-966-1002

                                                                        6 Counsel for Debtor and
                                                                          Debtor-In-Possession
                                                                        7
                                                                        8                         UNITED STATES BANKRUPTCY COURT

                                                                        9             CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION

                                                                       10 In re                                         Case No. 8:22-bk-11383-SC

                                                                       11 HERO NUTRITIONALS, LLC, a California          Chapter 11
                                                                          limited liability company,
                                                                       12                                               ORDER       (1)    APPROVING       ASSET
                                                                                                Debtor and              PURCHASE          AGREEMENT          AND
                                                                       13                       Debtor-in-Possession.   AUTHORIZING SALE OF DEBTOR’S
                                                                                                                        ASSETS FREE AND CLEAR OF LIENS,
                                                                       14
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                                                                                                                        CLAIMS AND INTERESTS PURSUANT TO
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                                                                       15                                               11 U.S.C. § 363(b) AND (f); (2) ASSUMING
                                                                                                                        AND          ASSIGNING           CERTAIN
                                                                       16                                               OBLIGATIONS; (3) APPROVING BUYER,
                                                                                                                        SUCCESSFUL BIDDER, AND ANY BACK-
                                                                       17                                               UP     BIDDER,       AS       GOOD-FAITH
                                                                                                                        PURCHASER PURSUANT TO 11 U.S.C.
                                                                       18
                                                                                                                        § 363(m);    AND     (4)    AUTHORIZING
                                                                       19                                               PAYMENT OF          LIENS AND OTHER
                                                                                                                        ORDINARY COSTS OF SALE
                                                                       20

                                                                       21                                               Hearing Date, Time and Location:
                                                                                                                        DATE:    October 26, 2022
                                                                       22                                               TIME:    1:30 p.m.
                                                                                                                        CTRM:     5C
                                                                       23
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                                                                        1            On October 26, 2022, at 1:30 p.m., the Court held a hearing (the “Sale Hearing”) to

                                                                        2 consider approval of the motion (“Sale Motion”) (Doc ___) filed by Hero Nutritionals, LLC,
                                                                        3 the debtor and debtor-in-possession in the above-captioned case (“Debtor”), seeking the

                                                                        4 entry of an order of the Court approving the Debtor’s sale of certain of the Debtor’s hard
                                                                        5 assets, as defined in the Asset Purchase Agreement (“APA”) that was attached as Exhibit

                                                                        6 2 to the bid procedures motion filed by the Debtor (Doc ___) (the “Assets”), free and clear
                                                                        7 of all liens, claims, interests and encumbrances (collectively, “Encumbrances”) to
                                                                        8 ____________________ (“Buyer”) in accordance with the terms of the APA.1 Buyer was
                                                                        9 previously approved by the Court as a stalking horse bidder pursuant to an order entered
                                                                       10 on October __, 2022 (the “Bid Procedures Order”) (Doc __). The Bid Procedures Order set

                                                                       11 forth the requirements for how a prospective overbidder could become qualified to

                                                                       12 participate in an auction that would have taken place before the Court just prior to the Sale

                                                                       13 Hearing in the event there was one or more qualified overbidders. However, no party

                                                                       14 complied with the requirements to be a qualified overbidder so pursuant to the Bid
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                                                                       15 Procedures Order, no auction took place.
                                                                       16            In accordance with the Bid Procedures Order, Buyer was approved as a stalking

                                                                       17 horse bidder for the Assets with a cash purchase price of Five Million Five Hundred
                                                                       18 Thousand Dollars ($5,500,000) (the “Purchase Price”) to be funded in the manner set forth

                                                                       19 in the APA and this Order.
                                                                       20            The Court, having considered the: (1) Sale Motion (Doc __) and all declarations filed

                                                                       21 in support of the Sale Motion; (2) Notice of Hearing (“Sale Notice”) (Doc ___) on the Sale
                                                                       22 Motion; (3) Notice of Sale Of Estate Property (Doc ___), (4) Notice Of: (i) Assumption And
                                                                       23 Assignment Of Executory Contracts And Unexpired Leases; (ii) Establishment Of Cure

                                                                       24 Amount In Connection Therewith; (iii) Procedures And Deadlines Regarding Oppositions
                                                                       25 To Assumption And Assignment, And Cure Amounts; And (iv) Hearing Thereon (the
                                                                       26

                                                                       27
                                                                            1
                                                                                Terms that are defined in the APA that are not defined in this Order shall be deemed to have the
                                                                       28 same definitions as set forth in the APA.
                                                                                                                              2



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                                                                        1 “Assumption/Assignment And Cure Notice”) (Doc ___), (5) good faith declaration of the

                                                                        2 Buyer (Doc ___); and (6) all other pleadings and papers filed in support of the Sale Motion,
                                                                        3 any opposition or response filed to the Sale Motion and any reply filed to any such

                                                                        4 opposition or response; and the statements, arguments and representations of the parties
                                                                        5 made at the Sale Hearing; and the entire record of this case; and the Court, having

                                                                        6 determined that the relief sought in the Sale Motion is in the best interests of the Debtor and
                                                                        7 its estate, and that the legal and factual bases set forth in the Sale Motion and presented at
                                                                        8 the Sale Hearing establish just cause for the relief granted herein; and all objections to the
                                                                        9 Sale Motion, if any, having been withdrawn or overruled; and after due deliberation and
                                                                       10 sufficient good cause appearing therefor,

                                                                       11         THE COURT HEREBY FINDS AND CONCLUDES THAT:

                                                                       12         A.     Findings and Conclusions. The findings and conclusions set forth herein

                                                                       13 constitute the Court’s findings of fact and conclusions of law pursuant to Bankruptcy Rule

                                                                       14 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.
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                                                                       15         B.     Jurisdiction and Venue. The Bankruptcy Court has jurisdiction to hear and

                                                                       16 determine the Sale Motion pursuant to 28 U.S.C. §§ 157 and 1334. This matter relates to

                                                                       17 the administration of the Debtor’s bankruptcy estate and is accordingly a core proceeding
                                                                       18 pursuant to 28 U.S.C. § 157(b) (2) (A), (M), (N) and (O). Venue of this case is proper in this

                                                                       19 District and in the Bankruptcy Court pursuant to 28 U.S.C. §§ 1408 and 1409.
                                                                       20         C.     Statutory Predicates. The statutory predicates for the relief requested in the

                                                                       21 Sale Motion are (i) Sections 105(a) and 363(b), (f), (k), (l) and (m), 365 of Title 11 of the
                                                                       22 United States Code (the “Bankruptcy Code”), (ii) Rules 2002(a)(2), 2002(c)(1) and (d), 6004
                                                                       23 (a), (b), (c), (e), (f) and (h), 6006(a), (c) and (d), 9006, 9007, 9013 and 9014 of the Federal

                                                                       24 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and (iii) Local Bankruptcy Local
                                                                       25 Rules 6004-1 and 9013-1.
                                                                       26         D.     Notice. The Debtor has provided good and sufficient notice with respect to

                                                                       27 the following: (i) the Sale Motion and the relief sought therein, including the entry of this
                                                                       28 Order and the transfer and purchase of the Assets; (ii) the Sale Hearing and opportunity to
                                                                                                                         3



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                                                                        1 overbid; and (iii) the assumption and assignment of executory contracts and unexpired

                                                                        2 leases and proposed cure amounts owing under such executory contracts and unexpired
                                                                        3 leases (“Cure Amounts”). No further notice of the Sale Motion, the relief requested therein

                                                                        4 or the Sale Hearing is required. The Sale Notice, the Assumption/Assignment And Cure
                                                                        5 Notice, and all other notices provided by the Debtor were in accordance with the Bid

                                                                        6 Procedures Order, and were appropriate and reasonable and calculated to provide all
                                                                        7 interested parties with timely and proper notice and no other or further notice is required.
                                                                        8 Such notice was proper under the Bankruptcy Code, Bankruptcy Rules and Local Rules. A
                                                                        9 reasonable opportunity to object and to be heard regarding the relief provided herein has
                                                                       10 been afforded to all parties-in-interest.

                                                                       11         E.     Compliance with the Bid Procedures Order. The sale process was conducted

                                                                       12 in accordance with and otherwise in compliance with the Bid Procedures Order and was

                                                                       13 fair, proper and reasonably calculated to result in the best value received for the Assets.

                                                                       14 The sale process afforded a full, fair and reasonable opportunity for any party to become a
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                                                                       15 qualified bidder and to participate in an auction for a sale of the Assets. As demonstrated
                                                                       16 on the record at the Sale Hearing, the Debtor conducted the sale process in good faith,

                                                                       17 without collusion and in accordance with the Bid Procedures Order.
                                                                       18         F.     Highest and Best Bid. The $5,500,000 cash bid of the Buyer constitutes the

                                                                       19 highest and best offer for the Assets, and will provide a greater recovery for the Debtor’s
                                                                       20 estate and its creditors than would be provided by any other available alternative. The

                                                                       21 Debtor’s determination that the Buyer made the highest and best offer for the Assets
                                                                       22 constitutes a reasonable, valid and sound exercise of the Debtor’s business judgment, and
                                                                       23 is in the best interests of the Debtor and its estate. The consideration to be paid by the

                                                                       24 Buyer for the Assets is fair and reasonable, is the highest and best offer therefor, and
                                                                       25 constitutes reasonably equivalent value and fair consideration under the Bankruptcy Code,
                                                                       26 the Uniform Fraudulent Conveyance Act, the Uniform Fraudulent Transfer Act, and the laws

                                                                       27 of the United States.
                                                                       28
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                                                                        1         G.     Arm’s Length Transaction.       The sale of the Assets to the Buyer (the

                                                                        2 “Transaction”) substantially in conformance with the terms of the APA and the
                                                                        3 consummation thereof were negotiated and entered into by the Debtor and the Buyer

                                                                        4 without collusion, in good faith and through an arms’ length bargaining process. Neither the
                                                                        5 Buyer nor any of its representatives engaged in any conduct that would cause or permit the

                                                                        6 Transaction to be avoided under section 363(n) of the Bankruptcy Code, or have acted in
                                                                        7 any improper or collusive manner. The terms and conditions of the Transaction, including,
                                                                        8 without limitation, the consideration provided in respect thereof, are fair and reasonable,
                                                                        9 and are not avoidable and shall not be avoided, and no damages may be assessed against
                                                                       10 the Buyer or any other party, as set forth in section 363(n) of the Bankruptcy Code.

                                                                       11         H.     Good Faith Purchaser. The Buyer has proceeded in good faith and without

                                                                       12 collusion in all respects in connection with the sale process, and is therefore entitled to all

                                                                       13 of the benefits and protections provided to a good-faith purchaser under section 363(m) of

                                                                       14 the Bankruptcy Code. Accordingly, the reversal or modification on appeal of the
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                                                                       15 authorization provided herein to consummate the Transaction shall not affect the validity of
                                                                       16 the Transaction or the Buyer’s status as a “good faith” purchaser. The Buyer is not an

                                                                       17 “insider” of the Debtor as defined in the Bankruptcy Code.
                                                                       18         I.     No Successor Liability. The Buyer is not a successor to the Debtor or its

                                                                       19 bankruptcy estate and shall not be deemed to be a mere continuation of any of the Debtor’s
                                                                       20 operations by any reason or theory of law or equity, and the Buyer shall not be subject to

                                                                       21 any successor liability for any assets sold or claims that arose or could have been asserted
                                                                       22 prior to the closing of the Transaction (the “Closing”).
                                                                       23         J.     Authority to Consummate the Sale of the Assets.           The Debtor has full

                                                                       24 corporate power and authority to execute the APA (including all ancillary documents
                                                                       25 executed in connection therewith), and the sale of the Assets has been duly and validly
                                                                       26 authorized by all necessary corporate authority by the Debtor to consummate the sale of

                                                                       27 the Assets to the Buyer. No further consents or approvals are required by the Debtor to
                                                                       28 consummate the Debtor’s sale of the Assets to the Buyer.
                                                                                                                         5



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                                                                        1           K.   Justification for Relief. Good and sufficient reasons for approval of the

                                                                        2 Transaction have been articulated to the Bankruptcy Court in the Sale Motion and at the
                                                                        3 Sale Hearing, and the relief requested in the Sale Motion and set forth in this Order is in the

                                                                        4 best interests of the Debtor and its estate. The Debtor has demonstrated through the Sale
                                                                        5 Motion and other evidence submitted by the Debtor both (i) good, sufficient and sound

                                                                        6 business purpose and justification and (ii) compelling circumstances for the transfer and
                                                                        7 sale of the Assets outside the ordinary course of business, and such action is an appropriate
                                                                        8 exercise of the Debtor’s business judgment and is in the best interests of the Debtor and its
                                                                        9 estate.
                                                                       10           L.   Free and Clear.      In accordance with sections 363(b) and 363(f) of the

                                                                       11 Bankruptcy Code, the consummation of the Transaction will be a legal, valid, and effective

                                                                       12 transfer and sale of the Assets and will vest in the Buyer, all of the Debtor’s right, title, and

                                                                       13 interest in and to the Assets, free and clear of all Encumbrances.             The Debtor has

                                                                       14 demonstrated that one or more of the standards set forth in section 363(f)(1)-(5) of the
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                                                                       15 Bankruptcy Code have been satisfied.
                                                                       16           M.   Prompt Consummation. The Debtor has demonstrated good and sufficient

                                                                       17 cause to waive the stay requirement under Bankruptcy Rules 6004(h) and 6006(d). Time
                                                                       18 is of the essence in consummating the Transaction, and it is in the best interests of the

                                                                       19 Debtor and its estate to consummate the Transaction within the timeline set forth in the Sale
                                                                       20 Motion, the Bid Procedures Order and the APA.

                                                                       21           N.   Assumption of Executory Contracts and Unexpired Leases. The Debtor has

                                                                       22 demonstrated that it is an exercise of their sound business judgment to assume and assign,
                                                                       23 subject to the provisions hereof, to the Buyer those executory contracts and unexpired

                                                                       24 leases designated by the Buyer prior to the Closing (the “Assigned Contracts”) in connection
                                                                       25 with the consummation of the Transaction, and the Debtor’s assumption and assignment to
                                                                       26 the Buyer of the Assigned Contracts is in the best interests of the Debtor and its estate.

                                                                       27           O.   Cure/Adequate Assurance. Through the payments to be made by the Debtor,

                                                                       28 the Debtor will have cured, or will have provided adequate assurance of cure, of any default
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                                                                        1 existing under any of the Assigned Contracts, within the meaning of 11 U.S.C. §

                                                                        2 365(b)(1)(A), by payment of the amounts and in the manner set forth below. The Buyer has
                                                                        3 provided or will provide adequate assurance of future performance of and under the

                                                                        4 Assigned Contracts within the meaning of 11 U.S.C. § 365(b)(1)(C). Pursuant to 11 U.S.C.
                                                                        5 § 365(f), the Assigned Contracts to be assumed by the Debtor and assigned to the Buyer

                                                                        6 under the APA shall be assigned and transferred to, and remain in full force and effect for
                                                                        7 the benefit of, the Buyer notwithstanding any provision in any such Assigned Contract
                                                                        8 prohibiting their assignment or transfer. The Debtor has demonstrated that no other parties
                                                                        9 to any of the Assigned Contracts have incurred any actual pecuniary loss resulting from a
                                                                       10 default prior to the Closing under any of the Assigned Contracts within the meaning of 11

                                                                       11 U.S.C. § 365(b)(1)(B). Pursuant to 11 U.S.C. § 365(f), the Assigned Contracts to be

                                                                       12 assumed by the Debtor and assigned to the Buyer shall be assigned and transferred to, and

                                                                       13 remain in full force and effect for the benefit of, the Buyer notwithstanding any provision in

                                                                       14 such contracts or other restrictions prohibiting their assignment or transfer.
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                                                                       15         P.     Legal and Factual Basis. The legal and factual bases set forth in the Sale

                                                                       16 Motion and at the Sale Hearing establish just cause for the relief granted herein.

                                                                       17         Q.     Findings and Conclusions. To the extent any of the foregoing findings of fact

                                                                       18 constitute conclusions of law, they are adopted as such.

                                                                       19         IT IS HEREBY ORDERED AS FOLLOWS:

                                                                       20         1.     The Sale Motion is GRANTED as set forth herein. The sale of the Assets to

                                                                       21 the Buyer is approved upon the terms and conditions described on the Court’s record at the
                                                                       22 Sale Hearing and as set forth in the APA.
                                                                       23         2.     The Debtor is authorized to enter into the APA and to consummate the sale

                                                                       24 of the Assets to the Buyer in accordance with this Order. The Debtor and the Buyer are
                                                                       25 authorized to make any changes to the APA that they deem to be appropriate without any
                                                                       26 further order of the Court, with the Court to be the arbiter to resolve any outstanding

                                                                       27 disputes.
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                                                                        1         3.      All objections and responses to the Sale Motion that have not previously been

                                                                        2 overruled, withdrawn, waived, settled or resolved, and all reservations of rights included
                                                                        3 therein, are hereby overruled and denied.

                                                                        4         4.      The Buyer’s offer for the Assets is the highest and best offer for the Assets

                                                                        5 and is hereby approved.

                                                                        6         5.      Pursuant to sections 105(a), 363(b), 363(f), and 365 of the Bankruptcy Code, the

                                                                        7 Transaction, including the transfer and sale of the Assets to the Buyer is approved in all respects,
                                                                        8 and the Debtor is authorized to consummate the Transaction and enter into the APA, including,
                                                                        9 without limitation, by executing any other documents reasonably requested by the Buyer and/or
                                                                       10 necessary to consummate the Transaction (“Transaction Documents”) and to take all actions

                                                                       11 necessary and appropriate to effectuate and consummate the Transaction (including the

                                                                       12 transfer and sale of the Assets) in consideration of the Purchase Price, including, without

                                                                       13 limitation, signing the APA and related Bill of Sale and assuming and assigning to the Buyer the

                                                                       14 Assigned Contracts.
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                                                                       15         6.      The conditions of section 363(f) of the Bankruptcy Code have been satisfied

                                                                       16 in full. Pursuant to sections 105, 363(b), 363(f) and 363(m) of the Bankruptcy Code, the

                                                                       17 Assets shall be sold and transferred to the Buyer free and clear of all Encumbrances, with
                                                                       18 any and all such Encumbrances to attach to proceeds of the sale with the same validity (or

                                                                       19 invalidity), priority, force and effect such Encumbrances had on the Assets immediately prior
                                                                       20 to the Closing and subject to the rights, claims, defenses, and objections, if any, of the

                                                                       21 Debtor and all interested parties with respect to any such asserted Encumbrances.
                                                                       22         7.      As of the Closing, (i) the Transaction shall effect a legal, valid, enforceable and

                                                                       23 effective transfer and sale of the Assets to the Buyer free and clear of all Encumbrances; and

                                                                       24 (ii) the APA, the Transaction and the other Transaction Documents shall be enforceable against
                                                                       25 and binding upon, and not subject to rejection or avoidance by, any successor thereto including
                                                                       26 any chapter 7 or chapter 11 trustee or other estate representative appointed in this case, and all

                                                                       27 other persons and entities.
                                                                       28
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                                                                        1          8.      This Order shall, as of the Closing, be considered and constitute for all purposes

                                                                        2 a full and complete general assignment, conveyance, and transfer of title to the Assets to the
                                                                        3 Buyer. Consistent with, but not in limitation of the foregoing, each and every federal, state, and

                                                                        4 local governmental agency or department is hereby authorized and directed to accept all
                                                                        5 documents and instruments necessary and appropriate to consummate the transactions

                                                                        6 contemplated by the APA and approved in this Order.
                                                                        7          9.      The Buyer shall not be deemed, as a result of any action taken in connection with,

                                                                        8 or as a result of the Transaction (including the transfer and sale of the Assets), to: (i) be a
                                                                        9 successor, continuation or alter ego (or other such similarly situated party) to the Debtor or its
                                                                       10 estate by reason of any theory of law or equity, including, without limitation, any bulk sales law,

                                                                       11 doctrine or theory of successor liability, or similar theory or basis of liability; or (ii) have, de facto

                                                                       12 or otherwise, merged with or into the Debtor; or (iii) be a mere continuation, alter ego, or

                                                                       13 substantial continuation of the Debtor, and the Buyer shall have no liability whatsoever for any

                                                                       14 (i) claim against or debt owing by the Debtor or (ii) conduct, action or inaction of the Debtor or
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                                                                       15 with respect to the Assets that arose prior to the Closing.
                                                                       16          10.     This Order (i) shall be effective as a determination that, effective as of the Closing,

                                                                       17 all Encumbrances existing against the Assets before the Closing have been unconditionally
                                                                       18 released, discharged and terminated, and that the transfers and conveyances described herein

                                                                       19 have been effected, and (ii) shall be binding upon and shall govern the acts of all persons and
                                                                       20 entities. If any person or entity that has filed financing statements or other documents or

                                                                       21 agreements evidencing any Encumbrances against the Assets shall not have delivered to the
                                                                       22 Debtor before the closing, in proper form for filing and executed by the appropriate parties,
                                                                       23 termination statements, instruments of satisfaction, releases of all Encumbrances which the

                                                                       24 person or entity has with respect to the Assets, then the Buyer is hereby authorized to execute
                                                                       25 and file such statements, instruments, releases and other documents on behalf of the person or
                                                                       26 entity with respect to such Assets.

                                                                       27          11.     The sale of the Assets is not subject to avoidance by any person or for any reason

                                                                       28 whatsoever, including, without limitation, pursuant to section 363(n) of the Bankruptcy Code and
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                                                                        1 the Buyer shall not be subject to damages, including any costs, fees, or expenses under section

                                                                        2 363(n) of the Bankruptcy Code.
                                                                        3         12.    All entities that are presently, or on the Closing may be, in possession of some or

                                                                        4 all of the Assets to be sold, transferred, or conveyed (wherever located) to the Buyer pursuant
                                                                        5 to this Sale Order and the APA are hereby directed to surrender possession of the Assets to the

                                                                        6 Buyer on the Closing Date.
                                                                        7         13.    The Buyer shall fund the payment of the $5,500,000 Purchase Price as follows:

                                                                        8 (A) the $500,000 Deposit previously provided by the Buyer to the Debtor which is in an
                                                                        9 Escrow Account maintained by bankruptcy counsel to the Debtor shall become property of
                                                                       10 the Debtor’s estate upon the Closing; and (B) the $5,000,000 balance shall be wire

                                                                       11 transferred by the Buyer as follows: (i) one wire transfer shall be made directly to secured

                                                                       12 creditor McCormick 107, LLC (“McCormick”) in the amount of $2,054,537.76 with the

                                                                       13 remaining disputed to be paid into the Escrow Account pending further order of the Court;

                                                                       14 (2) a second wire transfer shall be made directly to Winkler Dunnebier (“Winkler”) for the
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                                                                       15 full amount owing by the Debtor to Winkler as of the Closing; (3) a third wire transfer to the
                                                                       16 U.S. Small Business Administration (“SBA”) in the amount of $525,869.86, and (4) a fourth

                                                                       17 wire transfer shall be made to the Debtor’s debtor-in-possession account or, alternatively,
                                                                       18 the bankruptcy trustee (should a trustee be appointed) for the remaining portion of the

                                                                       19 $5,000,000 balance after deducting the payments made directly to McCormick, the SBA,
                                                                       20 and Winkler, with all four payments to be made within three business days following the

                                                                       21 date when this Order has become a final order not subject to any pending appeal or stay
                                                                       22 pending appeal (the “Outside Closing Date”) unless the Buyer decides to effectuate the
                                                                       23 Closing earlier, which the Buyer shall have the right to do in the Buyer’s sole and absolute

                                                                       24 discretion.
                                                                       25         14.    If this Order has not become a final order by November 18, 2022, the Buyer

                                                                       26 shall have the unilateral right, at the Buyer’s sole and absolute discretion, to extend the

                                                                       27 Outside Closing Date until the date that is three business days after the date that this Order
                                                                       28 has become a final order or to terminate the Transaction and receive a return of its $500,000
                                                                                                                         10



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                                                                        1 deposit and have no further obligation to the Debtor. If the Buyer makes the determination

                                                                        2 to extend the Outside Closing Date, the Debtor shall be required to work collaboratively with
                                                                        3 the Debtor to take all reasonable steps to seek to defeat or dismiss any pending appeal of

                                                                        4 this Order or motion for stay of this Order.
                                                                        5         15.     In connection with and as part of the Closing, the Debtor shall make all of the

                                                                        6 Assets available to the Buyer. The Court hereby finds and orders that in connection with
                                                                        7 and as part of the Closing, good, clean and marketable title to all of the Assets, including
                                                                        8 the equipment identified in the Debtor’s bankruptcy schedules and in Exhibit “A” to the APA,
                                                                        9 including, but not limited to, the Starch Mogul machine, is being transferred to the Buyer at
                                                                       10 the Closing free and clear of all Encumbrances, including any Encumbrance and/or

                                                                       11 ownership interest asserted by Winkler. The Court hereby orders that if the Buyer is not

                                                                       12 able to enter into a mutually acceptable lease with the Debtor’s prior or existing landlord for

                                                                       13 any facility at which any of the Assets are located, including the premises located at 1900

                                                                       14 Carnegie Ave., Bldg. A, Santa Ana, CA 92705 (the “Premises”), then such landlord must
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                                                                       15 provide the Buyer with reasonable access to all such premises to enable the Buyer to
                                                                       16 remove all of the Assets from such premises. The Buyer is authorized to negotiate a new

                                                                       17 lease with the landlord for the Premises (the “Landlord”) and to enter into a new lease for
                                                                       18 the Premises with the Landlord. The Buyer’s entry into a new lease for the Premises with

                                                                       19 the Landlord will not require the lifting of the automatic stay or any other relief from the Court
                                                                       20 or be deemed any violation thereof because the Debtor’s lease of the Premises was

                                                                       21 terminated prior to the Debtor’s petition date. The Debtor shall provide reasonable best
                                                                       22 efforts to assist the Buyer to negotiate and to enter into a new lease with the Landlord and
                                                                       23 execute any reasonable documentation presented to the Debtor providing such

                                                                       24 authorization.
                                                                       25         16.     Subject to the provisions hereof, all executory contracts and unexpired leases

                                                                       26 designated by the Buyer prior to the Closing to be assumed and assigned by the Debtor to

                                                                       27 the Buyer shall be deemed assumed by the Debtor and assigned to the Buyer effective as
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                                                                        1 of the Closing Date. The Debtor shall be financially responsible for, and shall timely pay

                                                                        2 for, all Cure Amounts under all Assigned Contracts.
                                                                        3         17.     The Buyer’s designation of any executory contract or unexpired lease prior to

                                                                        4 or at the Closing as an Assigned Contract shall be deemed to constitute an assumption and
                                                                        5 assignment of such Assigned Contract to the Buyer without further order of this Court. The

                                                                        6 Debtor’s      payment   of    the   Cure   Amounts    in   the   amounts    set   forth   in     the

                                                                        7 Assumption/Assignment and Cure Notice in connection with the assumption and
                                                                        8 assignment of the Assigned Contracts is hereby deemed the necessary and sufficient
                                                                        9 amounts to “cure” all “defaults” with respect to all such Assigned Contracts under section 365(b)
                                                                       10 of the Bankruptcy Code.         The payment by the Debtor of such Cure Amounts to the

                                                                       11 corresponding counterparties to such Assigned Contracts shall (i) effect a cure of all defaults

                                                                       12 existing under all such Assigned Contracts, and (ii) compensate all such counterparties to the

                                                                       13 Assigned Contracts for any actual pecuniary loss resulting from any such default. With the

                                                                       14 payment by the Debtor of the Cure Amounts set forth in the Assumption/Assignment And
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                                                                       15 Cure Notice: (i) the Debtor is hereby deemed to have cured, or have provided adequate
                                                                       16 assurance of cure, of any default existing or occurring prior to the Closing under any of the

                                                                       17 Assigned Contracts, and the Buyer has provided adequate assurance of its future
                                                                       18 performance of and under the Assigned Contracts, (ii) the provisions of Section 365(b)(1)(A)

                                                                       19 of the Bankruptcy Code at the Cure Amounts set forth in the Assumption/Assignment And
                                                                       20 Cure Notice are hereby deemed satisfied, and (iii) it is hereby deemed that none of the other

                                                                       21 parties to the Assigned Contracts have suffered any actual pecuniary loss resulting from
                                                                       22 any default by the Debtor so that no further payments beyond the proposed Cure Amounts
                                                                       23 are required to enable compliance with the provisions of Section 365(b)(1)(B) of the

                                                                       24 Bankruptcy Code. The Debtor shall then have assumed and assigned to the Buyer all of the
                                                                       25 Assigned Contracts, and, pursuant to section 365(f) of the Bankruptcy Code, the assignment by
                                                                       26 the Debtor of all such Assigned Contracts to the Buyer shall not be a default thereunder. After

                                                                       27 the payment of the Cure Amounts by the Debtor to the counterparties to the Assigned Contracts,
                                                                       28 neither the Debtor nor the Buyer shall have any further liabilities to any counterparties to the
                                                                                                                         12



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                                                                        1 Assigned Contracts other than the Buyer’s obligations under the Assigned Contracts that accrue

                                                                        2 and become due and payable on or after the Closing Date. In addition, adequate assurance of
                                                                        3 future performance has been demonstrated by or on behalf of the Buyer with respect to all of

                                                                        4 the Assigned Contracts within the meaning of sections 365(b)(1)(c), 365(b)(3) (to the extent
                                                                        5 applicable) and 365(f)(2)(B) of the Bankruptcy Code.

                                                                        6         18.     All of the counterparties to the Assigned Contracts are forever barred, estopped,

                                                                        7 and permanently enjoined from raising or asserting against the Debtor or the Buyer, or any of
                                                                        8 their property, any assignment fee, acceleration, default, breach, or claim of pecuniary loss, or
                                                                        9 condition to assignment, arising under or related to the Assigned Contracts, existing as of the
                                                                       10 Closing, or arising by reason of the consummation of the Transaction, including, without

                                                                       11 limitation, the Transaction and the assumption and assignment of the Assigned Contracts,

                                                                       12 including any asserted breach relating to or arising out of the change-in-control provisions in

                                                                       13 such Assigned Contracts, or any purported written or oral modification to the Assigned

                                                                       14 Contracts.
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                                                                       15         19.     Any provisions in any Assigned Contract that prohibits or conditions the

                                                                       16 assignment of such Assigned Contract or allows the counterparty to such Assigned Contract to

                                                                       17 terminate, recapture, impose any penalty, condition on renewal or extension or modify any term
                                                                       18 or condition upon the assignment of such Assigned Contract constitutes unenforceable anti-

                                                                       19 assignment provisions that are void and of no force and effect with respect to the Debtor’s
                                                                       20 assumption and assignment of such Assigned Contract to the Buyer.

                                                                       21         20.     The terms and provisions of this Order, as well as the rights granted under the

                                                                       22 Transaction Documents, shall continue in full force and effect and are binding upon any
                                                                       23 successor to the Debtor, or chapter 7 or chapter 11 trustee applicable to the Debtor,

                                                                       24 notwithstanding any such conversion, dismissal or order entry. Nothing contained in any chapter
                                                                       25 11 plan confirmed in this case or in any order confirming such a plan, nor any order dismissing
                                                                       26 this case or converting this case to a case under chapter 7 of the Bankruptcy Code, shall conflict

                                                                       27 with or derogate from the provisions of the APA, any documents or instruments executed in
                                                                       28 connection therewith, or the terms of this Order. The provisions of this Order and any actions
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                                                                        1 taken pursuant hereto shall survive any conversion or dismissal of this case and the entry of

                                                                        2 any other order that may be entered in this case, including any order (i) confirming any plan of
                                                                        3 reorganization; (ii) converting this case from chapter 11 to chapter 7; (iii) appointing a trustee

                                                                        4 or examiner in this case; including for the avoidance of doubt a liquidating trustee appointed
                                                                        5 for the purpose of administering any remaining estate assets for the benefit of this estate or its

                                                                        6 creditors; or (iv) dismissing this case.
                                                                        7         21.    The Transaction and other Transaction Documents are undertaken without

                                                                        8 collusion and in “good faith,” as that term is defined in section 363(m) of the Bankruptcy Code.
                                                                        9 The Buyer is a good faith purchaser within the meaning of section 363(m) of the Bankruptcy
                                                                       10 Code and, as such, is entitled to the full protections of section 363(m) of the Bankruptcy Code.

                                                                       11 Accordingly, the reversal or modification on appeal of the authorization provided herein by this

                                                                       12 Order to consummate the Transaction shall not affect the validity of the free and clear sale of

                                                                       13 the Assets to the Buyer.

                                                                       14         22.    The failure to specifically include any particular provision of the APA or the other
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                                                                       15 Transaction Documents in this Order shall not diminish or impair the effectiveness of such
                                                                       16 provisions, it being the intent of this Court that the Transaction, the APA and the other

                                                                       17 Transaction Documents be authorized and approved in their entirety. Likewise, all of the
                                                                       18 provisions of this Order are non-severable and mutually dependent.

                                                                       19         23.    Notwithstanding Bankruptcy Rules 6004(h), 6006(d), 7062, or 9014, if applicable,

                                                                       20 or any other Local Bankruptcy Rule or otherwise, this Order shall not be stayed for 14-days after

                                                                       21 the entry hereof, but shall be effective and enforceable immediately upon entry pursuant to
                                                                       22 Bankruptcy Rule 6004(h) and 6006(d). Time is of the essence in approving the Transaction
                                                                       23 (including the transfer and the sale of the Assets).

                                                                       24         24.    The automatic stay pursuant to section 362 is hereby lifted with respect to the

                                                                       25 Debtor to the extent necessary, without further order of this Court, for the Debtor and the Buyer
                                                                       26 to take any and all actions permitted under the APA and the Transaction Documents in

                                                                       27 accordance with the terms and conditions thereof.
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                                                                        1         25.     Unless otherwise provided in this Order, to the extent any inconsistency exists

                                                                        2 between the provisions of the APA and this Order, the provisions contained in this Order shall
                                                                        3 govern.

                                                                        4         26.     This Court shall retain exclusive jurisdiction to interpret, construe, and enforce the

                                                                        5 provisions of the APA and this Order in all respects, and further, including, without limitation, to

                                                                        6 (i) hear and determine all disputes between the Debtor and/or the Buyer, as the case may be,
                                                                        7 and any other non-Debtor party to, among other things, the Assigned Contracts concerning,
                                                                        8 among other things, assignment thereof by the Debtor to the Buyer and any dispute between
                                                                        9 the Buyer and the Debtor as to their respective obligations with respect to any asset, liability, or
                                                                       10 claim arising hereunder; (ii) compel delivery of the Assets to the Buyer free and clear of all

                                                                       11 Encumbrances; and (iii) interpret, implement, and enforce the provisions of this Order.

                                                                       12   IT IS SO ORDERED.

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                               ASSET PURCHASE AGREEMENT


        This ASSET PURCHASE AGREEMENT (the “Agreement”) is made as of ______,
2022, by and between Vytalogy Wellness, L.L.C. or its nominee (“Buyer”)1 and Hero
Nutritionals, LLC (“Seller”). Buyer and Seller are collectively defined herein as the “Parties”
and singularly as a “Party”.

                                          R E C I T A L S:

       WHEREAS, Seller is in the business of manufacturing and distributing natural and
organic gummy vitamin products (the “Business”); and

       WHEREAS, on August 17, 2022 (the “Petition Date”), Seller filed a voluntary petition
(the “Bankruptcy Case”) under Chapter 11 of the United States Bankruptcy Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the Central District of California,
Santa Ana Division (the “Bankruptcy Court”), and was assigned Case No.: 8:22-bk-11383-SC

       WHEREAS, Buyer desires to purchase and Seller desires to sell to Buyer the Assets, as
defined below, subject to the terms and conditions of this Agreement.

                                           AGREEMENT

       NOW, THEREFORE, in consideration of the terms, covenants, and conditions
hereinafter set forth, the Parties agree as follows:

                                            ARTICLE I

                                 ASSETS BEING PURCHASED

       1.1    Assets. Subject to the terms and conditions of this Agreement, Buyer hereby
agrees to purchase from Seller, and Seller hereby agrees to sell, convey, transfer and assign to
Buyer, on the Closing Date (as hereinafter defined), all of the following (collectively, the
“Assets”) free and clear of all liens, claims, encumbrances and interests (collectively,
“Encumbrances”) pursuant to Section 363 of the Bankruptcy Code:

                   (a) All of Seller’s right, title and interest in and to all of Seller’s hard assets
    including, but not limited to, all equipment identified in Seller’s bankruptcy schedules as set
    forth in Exhibit “A” hereto;

                    (b) All of Seller’s rights, title, interest and benefits under the agreements,
    contracts, leases, instruments, commitments and understandings that are related to the Assets
    and that Buyer desires to have Seller assume and assign to Buyer as listed in Schedule 1.1(b)
    attached hereto (“Assigned Contracts”);


1
 Buyer will likely be a newly formed special purpose entity formed for the purpose of serving as
Buyer herein.




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                  (c) To the extent transferable, all of Seller’s licenses, permits or other
   authorizations of governmental or regulatory entities that are required under any laws, rules
   and regulations applicable to or affecting the Assets, including those identified on Schedule
   1.1(c) attached hereto;

                 (d) All corporate records and documents that relate to the Assets or which
   would assist Buyer to maintain and to operate any of the Assets;

                   (e) A list of Seller’s employees that operated the Assets for the period of 2017
   through 2022;

                   (f) All of Seller’s insurance recovery rights as they related to the Assets; and

                   (g) All goodwill associated with the Assets.

       1.2     Excluded Assets. Purchaser shall not acquire, and Seller shall retain, all of the
following assets, properties and rights owned by Seller (collectively, the “Excluded Assets”):

                   (a) All contracts and leases of Seller that are not Assigned Contracts;

                     (b) all cold storage for flavoring and coloring, all refrigerators and dishwashers in
the lab, all office equipment

                    (c) All intellectual property rights, including, but not limited to trademarks,
   copyrights, patents, patents pending, trade secrets, recipes, formulas and any other intangibles
   related to Seller’s products and trade names;

                  (d) All notes receivable and any other debt instruments providing for money
   owing to Seller;

                   (e) All cash and cash equivalents of Seller;

                 (f) The corporate seals, minute books, stock books, tax returns and other
   similar records relating to Seller’s corporate organizations, and all employee related or
   employee benefit related files or records;

                 (g) Except as to the Assets, all insurance recovery rights of Seller and all tax
   refunds owing to Seller;

                 (h) All rights to all claims, causes of action, choses in action, rights of
   recovery and rights of set-off (whether choate or inchoate, known or unknown, contingent or
   non-contingent) in favor of Seller, and all avoidance causes of action existing under any of
   sections 544-553, inclusive, of the Bankruptcy Code; and

                  (i) All of Seller’s raw material, packaging materials, labels, supplies, work in
   process inventory and finished goods inventory;

                 (j) All assets scheduled by Seller in its bankruptcy schedules that are not
   included as Assets in section 1.1 of this Agreement; and




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                 (k) All other assets identified in Schedule 1.2.

        1.3    No Assumed Obligations.         Buyer will not be assuming any of Seller’s
obligations.

        1.4      Liabilities Not Being Assumed. Seller agrees that Buyer shall not be obligated
to assume or perform and is not assuming or performing any liabilities or obligations of Seller,
whether known or unknown, fixed or contingent, certain or uncertain, and regardless of when
such liabilities or obligations may arise or may have arisen or when they are or were asserted.

                                         ARTICLE II

                   PURCHASE PRICE AND BANKRUPTCY MATTERS

        2.1     Purchase Price. As consideration for the sale to Buyer of the Assets and the
assumption of the Assumed Obligations, Buyer shall pay to Seller a cash payment of Five
Million Five Hundred Thousand Dollars ($5,500,000) (the “Purchase Price”). The Purchase
Price shall be paid as follows: (A) a $500,000 deposit (the “Deposit”), which Deposit shall be
wire transferred to bankruptcy counsel for Seller within three business days following entry of
the Bid Procedures Order by the Bankruptcy Court and maintained by bankruptcy counsel for
Seller in a segregated trust account (the “Escrow Account”) and remain in the Escrow Account
and not be commingled with property of Seller’s bankruptcy estate and not to constitute property
of Seller’s bankruptcy estate unless and until the Bankruptcy Court determines that Seller is
entitled to such Deposit as part of the Closing, and (B) the $5,000,000 balance shall be wire
transferred as follows: (i) one wire transfer shall be made directly to secured creditor McCormick
107, LLC (“McCormick”) in the amount of $2,054,537.76 with the remaining disputed to be paid
into the Escrow Account pending further order of the Court; (2) a second wire transfer shall be
made directly to Winkler Dunnebier (“Winkler”) for the full amount owing by the Debtor to
Winkler as of the Closing; (3) a third wire transfer to the U.S. Small Business Administration
(“SBA”) in the amount of $525,869.86; and (4) a four wire transfer shall be made to Seller’s
debtor-in-possession account or, alternatively, the bankruptcy trustee (should a trustee be
appointed) for the remaining portion of the $5,000,000 balance after deducting the payments
made directly to Secured Creditor and Winkler, with all three payments to be made within three
business days following the date when the order entered by the Bankruptcy Court approving the
sale of the Assets to Buyer (the “Sale Order”) has become a final order not subject to any
pending appeal or stay pending appeal (the “Outside Closing Date”). If Buyer is determined by
Seller to be the winning bidder at the Auction and, subject to the entry of the Sale Order by the
Bankruptcy Court, Buyer fails to consummate its purchase of the Assets by the Outside Closing
Date (unless Buyer and Seller jointly agree to extend the Outside Closing Date) due to the fault
of Buyer, Buyer shall be deemed to have permanently forfeited the Deposit to Seller as
liquidated damages, and Seller shall have no further remedy against Buyer.

        2.2    Allocation of Purchase Price. The Purchase Price shall be allocated among the
Assets, in the manner set forth in Exhibit B attached hereto (the “Purchase Price Allocation”). In
the event that Exhibit B is not completed prior to Closing, the Parties agree to complete the
Purchase Price Allocation within thirty (30) days after the Closing. In the event of a dispute
between Seller and Buyer as to the Purchase Price Allocation, the Bankruptcy Court shall make




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the determination of the Purchase Price Allocation. The Parties, when reporting the transactions
consummated hereunder in their respective tax returns, shall allocate the Purchase Price paid or
received, as the case may be, in a manner that is consistent with the Purchase Price Allocation set
forth in Exhibit B hereto. Additionally, each of the Parties will comply with, and furnish the
information required by Section 1060 of the Internal Revenue Code of 1986, as amended (the
“Code”), and any regulations thereunder.

        2.3     Third Party Consents. Notwithstanding anything to the contrary in this
Agreement, this Agreement shall not constitute an agreement to assign or transfer any
governmental approval, instrument, contract, lease, license, permit or other agreement or
arrangement, including the Assigned Contracts, or any claim, right or benefit arising thereunder
or resulting therefrom if an assignment or transfer or an attempt to make such an assignment or
transfer without the consent of a third party would constitute a breach or violation thereof or
affect adversely the rights of Buyer or Seller thereunder unless such assignment is approved by
the Bankruptcy Court; and any transfer or assignment to Buyer by Seller, as applicable, of any
interest under any such instrument, contract, lease, license, permit or other agreement or
arrangement that requires the consent of a third party shall be made subject to such consent being
obtained from the contracting party or approval being obtained from the Bankruptcy Court. In
the event that any such consent or approval is not obtained on or prior to the Closing Date, Seller
shall continue to use all commercially reasonable efforts to obtain any such approval or consent
after the Closing Date as promptly as possible, and Seller will cooperate with Buyer in any
lawful and reasonable arrangement to provide that Buyer shall receive the interest of Seller in the
benefits under any such instrument, contract, lease, license or permit or other agreement or
arrangement. However, it shall be the responsibility of Buyer to satisfy the Bankruptcy Code
requirements to enable Seller to assume and assign to Buyer any of the Assigned Contracts,
including to demonstrate Buyer’s adequate assurance of future performance, as required by the
Bankruptcy Court, with respect to all of the Assigned Contracts, except that it shall be Seller’s
sole responsibility to pay any required cure amounts to the respective counter-parties to any such
Assigned Contracts.

        2.4     Buyer’s Employment of Seller’s Current or Former Employees. Provided
Buyer is deemed to be the winning bidder at the Auction (or if there is no Auction because no
qualified bid has been submitted), Buyer shall have the right, but not the obligation, in Buyer’s
sole and absolute discretion, to offer employment to any of Seller’s current or former employees,
and Seller shall provide Buyer or make available to Buyer copies of all of Seller’s employment
records of all of its current and former employees as requested by Buyer.

       2.5     Bankruptcy Matters.

                  (a) Payment of Cure Costs Under Assigned Contracts. As promptly as
  practicable following the execution of this Agreement, Buyer and Seller shall use
  commercially reasonable efforts to cooperate and determine an estimate of the amounts
  required to cure all defaults under each Assigned Contract so as to permit the assumption and
  assignment of each such Assigned Contract pursuant to Section 365 of the Bankruptcy Code
  (as ultimately determined by the Bankruptcy Court, the “Cure Costs”). In connection with the
  assignment and assumption of the Assigned Contracts, Seller shall pay all Cure Costs on or
  before the Closing.




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                (b) Bidding Procedures and Stalking Horse Bid Protections. By not later
than October 5, 2022, Seller shall file with the Bankruptcy Court a motion for approval of
bidding procedures and stalking horse protections for Buyer (the “Bid Procedures Motion”).
The Bid Procedures Motion must seek the entry of an order by the Bankruptcy Court (the
“Bid Procedures Order”) that approves Buyer to serve as a stalking horse bidder with a cash
purchase price of $5.5 million for the Assets and contain other terms that are reasonably
acceptable to Buyer and consistent with other terms of this Agreement. Within three business
days following the entry of the Bid Procedures Order, Buyer will deliver the Deposit to
bankruptcy counsel to Seller. The Parties anticipate that the hearing on the Bid Procedures
Motion will be held on October 12, 2022, at 1:30 p.m. The Bid Procedures Order must set
forth the timing and procedures for an auction (the “Auction”) and sale hearing (“Sale
Hearing”) to be held before the Bankruptcy Court on or before October 26, 2022. The Parties
anticipate that the Auction and the Sale Hearing will be held before the Bankruptcy Court on
October 26, 2022, at 1:30 p.m. Seller may not extend the date of the Auction or the Sale
Hearing beyond October 26, 2022 with the express written consent of Buyer, which Buyer
shall have the right not grant in Buyer’s sole and absolute discretion. The Bid Procedures
Order must provide that the minimum overbid be at least $5.75 million, with a break-up fee of
$150,000 to be paid to Buyer in the event that Buyer is not deemed to be the successful bidder
at the Auction. Bidding thereafter will be in increments of $50,000 or higher figures that are
wholly divisible by $50,000. The Bid Procedures Order must provide that the highest and
best purchase price will be determined to be the bid that results in the highest net price to
Seller’s bankruptcy estate after taking into account Buyer’s $150,000 break-up fee if Buyer is
not deemed to be the successful bidder. The Bid Procedures Order must provide that the
$150,000 break-up fee will be paid to Buyer if Buyer is not deemed to be the successful
bidder at the time of the closing of Seller’s sale of the Assets to an alternative bidder directly
from the purchase price to be paid by such alternative bidder concurrently with the closing of
Seller’s sale of the Assets to the alternative bidder, and, if the alternative bidder fails to close
its purchase in a timely manner, Seller will pay the $150,000 break-up fee to Buyer out of the
$500,000 non-refundable deposit of the alternative bidder. Buyer shall have the right to
participate in any overbidding at the Auction. All of the foregoing shall be referred to herein
as the “Stalking Horse Protections”.

     The Bid Procedures Order shall provide that in order for any potential overbidder to be
eligible to participate in the Auction, at least one business day prior to the Auction,
overbidders must (1) deliver to Seller a signed asset purchase agreement in a form that is not
less favorable for Seller than this Agreement; (2) deliver to Seller’s bankruptcy counsel a
deposit in the amount of $500,000, which deposit will be deemed to be non-refundable and
forfeited to Seller’s bankruptcy estate/Seller as liquidated damages if the overbidder is
deemed to be the winning bidder at the Auction and fails to close its purchase by the Outside
Closing Date (defined below); and (3) demonstrate to Seller that the overbidder has the ability
to close its purchase, including proof of a binding financing commitment and/or sufficient
cash on hand. Seller shall be required to provide Buyer with copies of all overbids submitted
along with all supporting documentation of the overbidders.

      The Bid Procedures Order shall provide that Buyer shall automatically be deemed to have
an allowed administrative claim against Seller’s bankruptcy estate in the amount of $150,000 if
Seller fails to proceed with its sale of the Assets to Buyer or to a successful overbidder in




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accordance with the terms of this Agreement. Buyer shall not be required to file any proof of
claim with the Bankruptcy Court with regard to Buyer’s allowed administrative claim against
Seller’s bankruptcy estate.

      The Stalking Horse Protections will only be enforceable by Buyer so long as: (i) Buyer is
not in default of its obligations under this Agreement; and (ii) the Assets are not sold to
Buyer. The Stalking Horse Protections, if payable, will be the sole and exclusive economic
remedy of Buyer if the proposed sale to Buyer is not consummated, provided that the Stalking
Horse Protections shall not limit in any way Buyer’s right to enforce the Bid Procedures Order
or any other order related to Seller’s sale of the Assets, including to compel Seller to proceed
with its sale of the Assets to Buyer or to a successful overbidder within the timeline set forth in
the Bid Procedures Order.

               (c) Sale Order. Provided that Buyer is deemed to be the successful bidder at
the Auction (or no Auction occurs because no qualified overbid is timely submitted), Seller
will request the Bankruptcy Court to approve the sale of the Assets to Buyer at the Sale
Hearing. The Bankruptcy Court order approving Seller’s sale of the Assets to Buyer (the
“Sale Order”) must be acceptable to Buyer in Buyer’s sole discretion and must contain
customary terms for a chapter 11 asset sale process and other terms including, but not limited
to, (i) providing for Seller’s sale of the Assets to Buyer to be free and clear of all
Encumbrances; (ii) Buyer being deemed to be a good faith buyer entitled to all of the relevant
Bankruptcy Code protections for a good faith buyer and Buyer shall not be subject to any
successor liability on account of its purchase of the Assets; (iii) Seller to make all of the
Assets available to be delivered to Buyer at the Closing; (iv) making a finding that good, clean
and marketable title to all of the equipment identified in Seller’s bankruptcy schedules and in
Exhibit “A” hereto, including, but not limited to, the Starch Mogul machine (collectively, the
“Equipment”), is being transferred to Buyer at the Closing free and clear of all Encumbrances,
including any Encumbrance and/or ownership interest asserted by Winkler; and (v) providing
and ordering that if Buyer is not able to enter into a mutually acceptable lease with Seller’s
landlord and is not able to obtain the landlord’s consent to Buyer’s consensual access to the
Premises (defined below) to remove all of the Assets located at the Premises, that Buyer is
provided with access to the Premises to enable Buyer to remove all of the Assets from the
Premises.

The Sale Order must be entered by the Bankruptcy Court by not later than November 2, 2022,
and the Closing must occur by the Outside Closing Date, which Outside Closing Date may be
extended by the mutual consent of Buyer and Seller. Buyer, in its sole and absolute
discretion, shall have the right, but not the obligation, to effectuate the Closing at any time
after the entry of the Sale Order and before the Outside Closing Date. If the Sale Order has
not become a final order by November 18, 2022, Buyer shall have the unilateral right, at
Buyer’s sole and absolute discretion, to extend the Outside Closing Date until the date that is
three business days after the date that the Sale Order has become a final order or to terminate
this transaction and receive a return of the Deposit and have no further obligation to Seller. If
Buyer makes the determination to extend the Outside Closing Date, Seller will work
collaboratively with Buyer to take all reasonable steps to seek to defeat or dismiss any
pending appeal of the Sale Order or motion for stay of the Sale Order.




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                                        ARTICLE III

                  REPRESENTATIONS AND WARRANTIES OF SELLER

       Subject to the disclosures and exceptions set forth in the disclosure schedules attached
hereto (the “Seller’s Disclosure Schedules”), Seller hereby makes the representations and
warranties set forth hereinafter in this Section 3 to Buyer:

        3.1    Authority and Binding Effect. Subject to the approval of this Agreement by the
Bankruptcy Court, Seller has, or will have, the full corporate power and authority to execute and
deliver this Agreement and the Bill of Sale (as hereinafter defined). This Agreement, the Bill of
Sale and the consummation by Seller of its obligations contained herein and therein have been
duly authorized by all necessary corporate actions of Seller and such agreements have been duly
executed and delivered by Seller. Subject to the approval of the Bankruptcy Court, this
Agreement is a valid and binding agreement of Seller, enforceable against Seller in accordance
with its terms, and, upon execution and delivery, the Bill of Sale will be a valid and binding
agreement of Seller and shall be enforceable against Seller in accordance with its terms.

       3.2    Organization and Standing. Seller is a limited liability company formed and
organized under, validly existing and in good standing under the laws of the State of California.
Seller has the requisite corporate power and authority to conduct the Business as it is now
conducted and to own or lease the Assets, and to use such Assets in the conduct of the Business.

        3.3     Compliance with Other Instruments. Subject to the approval of this Agreement
by the Bankruptcy Court, the execution and delivery of this Agreement, the Bill of Sale and all
other agreements to be entered into in connection herewith and the consummation of the
transactions contemplated hereby and thereby will not conflict with or result in any violation of
any law, rule, regulation, judgment, order, decree or ordinance applicable to Seller or its
properties or assets, or conflict with or result in any breach or default (with or without notice or
lapse of time, or both) under, or give rise to a right of termination, cancellation or acceleration of
any obligation or to loss of a material benefit, under (i) any provision of the Certificate of
Incorporation or bylaws of Seller; or (ii) any material agreement, contract, note, mortgage,
indenture, lease, instrument, permit, concession, franchise or license or any writ, order or decree
to which Seller is a party or by which Seller or any of the Assets is bound.

        3.4      Governmental Consent, etc. No consent, approval, order or authorization of, or
registration, declaration or filing with, any governmental entity is required by or with respect to
Seller in connection with the execution and delivery of this Agreement or the consummation by
Seller of the transactions contemplated hereby.

       3.5     Condition and Title to Assets.

                  (a) Title to Assets. Seller represents that other than the Starch Mogul
  machine, Seller has good and transferable title to all of the Equipment, and Seller will have
  the ability to deliver good title to all of the Equipment to Buyer at the Closing, including title
  to the Starch Mogul machine, provided that the current title holder to the Starch Mogul
  machine is paid the full amount of its outstanding debt, which outstanding debt Seller will pay




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  in full concurrently with and as part of the Closing directly from the proceeds of the Purchase
  Price. On the Closing Date as part of the Closing, Seller will convey and transfer to Buyer
  good, complete and marketable title to all of the Assets, free and clear of all Encumbrances of
  any nature whatsoever.

                  (b) No Warranties Regarding Assets. EXCEPT AS EXPRESSLY SET
  FORTH IN THIS AGREEMENT, SELLER MAKE NO REPRESENTATIONS,
  STATEMENTS OR WARRANTIES, EXPRESS OR IMPLIED, OF ANY KIND OR
  NATURE WHATSOEVER CONCERNING THE QUALITY OR CONDITION OF THE
  ASSETS AND ANY AND ALL IMPLIED WARRANTIES OF MERCHANTABILITY OR
  FITNESS FOR A PARTICULAR PURPOSE ARE DISCLAIMED HEREBY BY SELLER.
  SELLER IS SELLING THE ASSETS TO BUYER in their “AS IS, WHERE IS” and “WITH
  ALL FAULTS” condition. Notwithstanding the foregoing, Seller will provide Buyer with
  access to its facility upon any reasonable request and regardless of the number of visits so that
  Buyer can conduct whatever investigations and inspections of the Assets that Buyer deems
  necessary or appropriate, in Buyer’s sole and absolute discretion.

        3.6      Insurance. Seller has delivered to Buyer true and correct copies of all policies of
fire, general liability, worker’s compensation, errors and omissions, malpractice and other forms
of insurance maintained by or on behalf of Seller in connection with the Assets as protection for
the Assets. All of such policies are now in full force and effect and will remain in full force and
effect until the Closing. Seller has not received any notice of cancellation or material
amendment of any such policies. No coverage thereunder is being disputed and all material
claims thereunder have been filed in a timely fashion.

        3.7     No Broker. Other than Whipstitch and Guardian Capital whom Seller has
retained as its exclusive investment bankers, Seller has not retained or used the services of any
agent, finder or broker in connection with the transactions contemplated by this Agreement.
Seller shall be solely responsible for the payment of Seller’s investment banking fee and any and
all other professional fees incurred by or owing by Seller.

        3.8     Seller’s Lease. Seller makes no representations or warranties regarding its lease
to the premises located at 1900 Carnegie Ave., Bldg. A, Santa Ana, CA 92705 (“Premises”).
Seller has advised Buyer that the landlord for the Premises obtained a judgment for unlawful
detainer prior to the filing of Seller’s current bankruptcy case. Seller makes no representations
or warranties regarding the assignable of the lease for the Premises nor any ability of Buyer to
enter into a lease with the landlord for the Premises.

        3.9    Representations and Warranties of Seller. The representations and warranties
of Seller contained herein do not contain any statement of a material fact that was untrue when
made or omits any information necessary to make any such statement contained therein, in light
of the circumstances under which such statement was made, not misleading. The copies of all
documents furnished by Seller to Buyer pursuant to the terms of this Agreement are complete
and accurate copies of the original documents.




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                                        ARTICLE IV

                   REPRESENTATIONS AND WARRANTIES OF BUYER

          Buyer hereby makes the representations and warranties set forth in this Section 4 to
Seller:

        4.1     Authority and Binding Effect. Subject to the approval of the Bankruptcy Court,
Buyer has the full corporate power and authority to execute and deliver this Agreement. This
Agreement and the consummation by Buyer of its obligations contained herein have been duly
authorized by all necessary corporate actions of Buyer and this Agreement has been duly
executed and delivered by Buyer. Subject to the approval of the Bankruptcy Court, this
Agreement is a valid and binding agreement of Buyer, enforceable against Buyer in accordance
with its terms.

       4.2   Organization and Standing. Buyer is a limited liability company formed and
organized under, validly existing and in good standing under the laws of the State of
__________.

        4.3     Compliance with Other Instruments. The execution and delivery of this
Agreement and all other agreements to be entered into in connection herewith and the
consummation of the transactions contemplated hereby and thereby will not conflict with or
result in any violation of any law, rule, regulation, judgment, order, decree or ordinance
applicable to Buyer or its properties or assets, or conflict with or result in any breach or default
(with or without notice or lapse of time, or both) under, or give rise to a right of termination,
cancellation or acceleration of any obligation or to loss of a material benefit, under (i) any
provision of the Certificate of Incorporation or bylaws of Buyer; or (ii) any material agreement,
contract, note, mortgage, indenture, lease, instrument, permit, concession, franchise or license or
any writ, order or decree to which Buyer is a party or by which Buyer or any of its property is
bound.

        4.4     Governmental Consent, etc. No consent, approval, order or authorization of, or
registration, declaration or filing with, any governmental entity is required by or with respect to
Buyer in connection with the execution and delivery of this Agreement or the consummation by
Buyer of the transactions contemplated hereby.

        4.5   No Broker. Buyer has not retained or used the services of an agent, finder or
broker in connection with the transactions contemplated by this Agreement.

        4.6    Investigation. Buyer acknowledges and affirms that it has completed its own
independent investigation, analysis and evaluation of the Assets, that it has made all such
reviews and inspections of the Assets as it deems necessary and appropriate, and that in making
its decision to enter into this Agreement, it has relied on its own investigation, analysis, and
evaluation with respect to all matters without reliance upon any express or implied
representations or warranties other than those expressly set forth in this Agreement, as to which
it has relied. Notwithstanding the foregoing, as set forth above, Buyer must be provided with
access to Seller’s facility upon any reasonable request and regardless of the number of visits so




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that Buyer can conduct whatever investigations and inspections of the Assets that Buyer deems
necessary or appropriate, in Buyer’s sole and absolute discretion.

       4.7     Funding. Buyer has all funding available to it to enable it to consummate its
purchase of the Assets and to pay all of the other obligations of Buyer, if any, under this
Agreement. Buyer’s entry into this Agreement and ability to perform under this Agreement is
therefore not subject to any financing contingency.

        4.8    Representations and Warranties of Buyer. The representations and warranties
of Buyer contained herein do not contain any statement of a material fact that was untrue when
made or omits any information necessary to make any such statement contained therein, in light
of the circumstances under which such statement was made, not misleading. The copies of all
documents furnished by Buyer to Seller pursuant to the terms of this Agreement are complete
and accurate copies of the original documents.

                                          ARTICLE V

                   CONDUCT OF BUSINESS PENDING THE CLOSING

        Between the date hereof and the Closing, and except as otherwise consented to by Buyer
in writing, Seller covenant as follows:

        5.1     Access. From and after the date of execution of this Agreement by Seller or
following the completion of the Auction at which Buyer is determined by Seller to be the
winning bidder, whichever occurs first, Seller shall give to Buyer and its representatives access
during normal business hours to the premises, employees, agents and consultants of Seller, and
such copies of Seller’s books and records, contracts and leases and any other documentation, so
as to enable Buyer to inspect and evaluate all aspects of the Business and operations, Assets,
operating results, financial condition, capitalization, ownership, and legal affairs relating to the
Business and the Assets pending the Closing. Buyer agrees to conduct its review, and to cause
its representatives to conduct their review, in a manner designed to minimize any disruption of
the Business. Buyer will hold any confidential information obtained pursuant to this Section 5.1
in accordance with the confidentiality provisions of any post-bankruptcy non-disclosure
agreement (“NDA”) entered into between the Buyer and Seller.

       5.2     Maintenance of the Assets. From and after the date of execution of this
Agreement by Seller or following the completion of the Auction at which Buyer is determined
by Seller to be the winning bidder, whichever occurs first, Seller shall maintain the Assets in
good condition and not alter or modify the Assets, except as otherwise approved or ordered by
the Bankruptcy Court. In furtherance thereof, unless Buyer’s prior consent to do otherwise is
obtained (which consent shall not be unreasonably withheld or delayed), Seller shall:

                 (a) Insurance. Maintain insurance consistent with past practices and not take
  any action to terminate or modify, or permit the lapse or termination of, the present insurance
  policies and coverages of Seller;

                  (b) Agreements.




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                     (i)     Observe and perform all of its post-bankruptcy obligations under
the Assigned Contracts, except for the lease for the Premises;

                     (ii)   Except as required by any existing contracts or agreements, not
enter into any new agreement that would constitute an Assigned Contract or amend, cancel or
terminate any Assigned Contract;

                       (iii)  Promptly notify Buyer of the occurrence of any post-bankruptcy
breach or default of any Assigned Contract known to Seller; and

                  (c) Consents; Compliance with Laws to the Extent Related to the
  Business.

                      (i)     Use reasonable efforts to obtain all required consents to
assignments of governmental authorities or other third parties, and maintain all other licenses,
permits and franchises and rights to operate the Business granted by, governmental authorities;

                      (ii)   Not take any action that would be expected to result in a violation
of or in the noncompliance with any laws or regulations applicable to the Business; and

                       (iii)  Cooperate with Buyer and render to Buyer such assistance as
Buyer may reasonably request, at Buyer’s sole expense, in obtaining such governmental or other
third party consents and approvals;

                  (d) Taxes. Pay, when due, and prior to the imposition or assessment of any
  interest, penalties or liens by reason of the nonpayment of, all post-bankruptcy Taxes, due or
  assessed against Seller, except for any Taxes being contested in good faith; and

                 (e) Representations and Warranties. Not take any action that would make
  any representation and warranty of Seller inaccurate as of the Closing.

        5.3     Notification of Certain Matters. Seller shall give prompt notice to Buyer of
(i) the occurrence or non-occurrence of any event the occurrence or non-occurrence of which
would cause any representation or warranty of Seller contained in this Agreement to be untrue or
inaccurate in any material respect at or prior to the Closing and (ii) any failure to comply with or
satisfy any covenant, condition or agreement to be complied with or satisfied by Seller
hereunder; provided, however, that the delivery of any notice pursuant to this Section 5.3 shall
not limit or otherwise affect the remedies available hereunder to Buyer.

                                          ARTICLE VI

                       OBLIGATIONS SURVIVING THE CLOSING

       6.1      Further Assurances. Each Party shall execute and deliver after the date hereof
all such instruments and documents and take such other actions as the other Party may
reasonably request in order to carry out the intent of this Agreement or to better evidence or
effectuate the transactions contemplated herein.




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        6.2    Expenses. Each Party shall pay all of its respective costs and expenses incurred
or to be incurred by it in negotiating and preparing this Agreement and in carrying out and
closing the transactions contemplated by this Agreement whether or not this Agreement or the
transactions contemplated hereby are ever consummated.

        6.3     Taxes. Seller shall pay all Taxes of any kind or nature arising from the sale and
transfer of the Assets to Buyer. Seller shall pay all Taxes of any kind or nature arising from the
conduct or operation of the Business up to the Closing Date. If any Taxes required under this
Section 6.3 to be borne by Seller are assessed against Buyer or any of the Assets, Buyer shall
notify Seller in writing promptly thereafter and Seller shall be entitled to contest, in good faith,
such assessment or charge so long as such assessment does not materially adversely affect Buyer
or the Assets or Buyer’s business. Notwithstanding the foregoing, Buyer may (but shall not be
obligated to) pay any such Taxes assessed against it, its business or any of the Assets, but which
are payable by Seller pursuant hereto, if the Buyer’s failure to do so, in the reasonable judgment
of the Buyer, could result in the immediate imposition of an Encumbrance on any of the Assets
or any other assets of the Buyer or if Seller fails to contest such assessment or charge diligently
and in good faith, with Seller then to have the obligation to promptly reimburse Buyer for the
payment of any such Taxes.

                                         ARTICLE VII

                SURVIVAL OF REPRESENTATIONS AND WARRANTIES

       Except as specifically set forth in Article VI above, all of the respective representations
and warranties of Seller and Buyer set forth in this Agreement or in any of such Party’s
disclosure schedules, or in any certificates delivered by such Party on the Closing Date, shall
survive and remain in full force and effect following the Closing.

                                         ARTICLE VIII

           CONDITIONS PRECEDENT TO THE OBLIGATIONS OF BUYER

        The obligation of Buyer to consummate its purchase of the Assets from Seller is subject
to the fulfillment, or the waiver by Buyer, at or prior to the Closing, of each of the following
conditions precedent:

        8.1     Representations and Warranties. The representations and warranties made by
Seller in this Agreement shall be true and correct in all material respects, unless modified by
materiality in the representation or warranty, in which case they shall be true and correct in all
respects, on the date hereof and at and as of the Closing Date, with the same force and effect as if
made again at and as of that time.

        8.2     Absence of Stay or Injunction Preventing Sale Closing. There shall be no
order that has been issued by any court or governmental agency having jurisdiction that restrains
or prohibits the consummation of the purchase and sale of the Assets hereunder.




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        8.3     Performance of Obligations. Seller shall have performed and complied, in all
material respects, with all of the covenants required by this Agreement to have been performed
prior to the Closing.

       8.4     Delivery of Additional Instruments. On the Closing Date, Seller shall deliver,
or cause to be delivered to Buyer, the following documents and instruments, in form and
substance satisfactory to Buyer and its counsel, unless waived in writing by Buyer:

                (a) The Bill of Sale in substantially the form of Exhibit “C” hereto, duly
  executed by Seller (the “Bill of Sale”);

                 (b) Evidence of the receipt of all third-party consents necessary, if any, to
  enable Seller to consummate the transactions contemplated herein, except to the extent the
  Bankruptcy Court enters an order approving of Seller’s assumption and assignment to Buyer
  of the Assigned Contracts and any other relief which would render any such third-party
  consents unnecessary; and

                (c) Such other documents and instruments as Buyer or Buyer’s counsel may
  reasonably request so as better to evidence or effectuate the transactions contemplated hereby.

       8.5     Sale Order. The Bankruptcy Court shall have entered the Sale Order in a form
acceptable to Buyer, approving the sale or sale of the Assets on the terms specified in this
Agreement, by not later than November 2, 2022, with such Sale Order to contain all of the
provisions identified above. At the time of the Closing, the Sale Order shall not have been
reversed, stayed, modified or amended in any manner materially adverse to Buyer.

                                          ARTICLE IX

              CONDITIONS PRECEDENT TO OBLIGATIONS OF SELLER

        The obligation of Seller to consummate the sale of the Assets to Buyer is subject to the
fulfillment, or the waiver by Seller, at or prior to the Closing, of each of the following conditions
precedent:

       9.1      Representations and Warranties. The representations and warranties made by
Buyer in this Agreement shall be true and correct in all material respects, unless modified by
materiality in the representation or warranty, in which case they shall be true and correct in all
respects, on the date hereof and at and as of the Closing Date, with the same force and effect as if
made again at and as of that time.

        9.2     Absence of Stay or Injunction Preventing Sale Closing. There shall be no
order that has been issued by any court or governmental agency having jurisdiction that restrains
or prohibits the consummation of the purchase and sale of the Assets hereunder.

         9.3      Performance of Obligations. Buyer shall have performed and complied in all
material respects with all of its covenants required by this Agreement to have been performed by
it at or prior to the Closing.




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       9.4     Delivery of Additional Instruments. On the Closing Date, Buyer shall deliver,
or cause to be delivered to Seller, in form and substance reasonably satisfactory to Seller and its
counsel, such other documents and instruments as Seller or Seller’s counsel may reasonably
request so as better to evidence or effectuate the transactions contemplated hereby.

      9.5     Delivery of Consideration. At the Closing, Buyer shall deliver to Seller a cash
payment in the remaining amount of the Purchase Price beyond the Deposit.

                                          ARTICLE X

                                        THE CLOSING

       The consummation of the transactions contemplated hereby (the “Closing”) shall take
 place at the offices of Golden Goodrich LLP or at such other place as the parties may agree and
 shall occur no later than the Outside Closing Date, which Outside Closing Date may be
 extended by the mutual consent of Buyer and the Company, subject to the satisfaction or
 waiver of the closing conditions set forth in Section 8 and Section 9 above (the “Closing
 Date”). Buyer, in its sole and absolute discretion, shall have the right, but not the obligation, to
 effectuate the Closing at any time after the entry of the Sale Order and before the Outside
 Closing Date. If the Sale Order has not become a final order by November 18, 2022, Buyer
 shall have the unilateral right, at Buyer’s sole and absolute discretion, to extend the Outside
 Closing Date until the date that is three business days after the date that the Sale Order has
 become a final order or to terminate this transaction and receive a return of its deposit and have
 no further obligation to the Company. If the Buyer makes the determination to extend the
 Outside Closing Date, the Company will work collaboratively with the Buyer to take all
 reasonable steps to seek to defeat or dismiss any pending appeal of the Sale Order or motion
 for stay of the Sale Order.

       10.1 Closing Deliveries of Seller. At the Closing, Seller shall deliver, or cause to be
delivered to Buyer, the documents and instruments set forth in Section 8 above, in form and
substance reasonably satisfactory to Buyer and its counsel.

       10.2 Closing Deliveries of Buyer. At the Closing, Buyer shall deliver, or cause to be
delivered, the remaining Purchase Price to Seller and the documents and instruments set forth in
Section 9 above, in form and substance reasonably satisfactory to Seller and their counsel.

                                          ARTICLE XI

                                        TERMINATION

       11.1 Termination. Notwithstanding anything contained in this Agreement to the
contrary, this Agreement may be terminated at any time prior to the Closing Date:

                 (a) by mutual written agreement of Buyer and Seller;

                  (b) by Buyer if there has been a material breach by Seller of its
  representations, warranties or covenants set forth herein which is not or cannot be cured by
  Seller prior to the Closing or if any material condition to the obligation of Buyer under this




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  Agreement to be complied with or performed by Seller at or before the Closing shall not have
  been complied with or performed at the time required for such compliance or performance and
  such noncompliance or nonperformance shall not have been waived by Buyer or cured by
  Seller prior to the Closing;

                  (c) by Buyer if the Sale Order has not become a final order by November 18,
  2022 as set forth in Section X above;

                 (d) by either Buyer or Seller if any judgment, injunction, order or decree of a
  court or other governmental entity of competent jurisdiction enjoining Buyer or Seller from
  consummating the transactions contemplated by this Agreement shall have been entered;

                 (e) by Seller if there has been a material breach by Buyer of its
  representations, warranties or covenants set forth herein which is not or cannot be cured by
  Buyer prior to the Closing or if any material condition to the obligation of Seller under this
  Agreement to be complied with or performed by Buyer at or before the Closing shall not have
  been complied with or performed at the time required for such compliance or performance and
  such noncompliance or nonperformance shall not have been waived by Seller or cured by
  Buyer prior to the Closing; or

                 (f) by Seller if someone other than Buyer is the Successful Bidder at the
  Auction in compliance with the terms of the Bid Procedures Order in which case immediately
  following the conclusion of the Auction bankruptcy counsel to Seller shall return the Deposit
  to Buyer and concurrently with and as part of the sale closing to such other Successful Bidder
  Buyer shall be paid its $150,000 break-up fee.

       11.2 Procedure Upon Termination. In the event of termination of this Agreement by
Buyer or Seller or by both Buyer and Seller pursuant to Section 11.1 hereof, the transactions
contemplated herein shall be abandoned without further action by Buyer or Seller. In addition, if
this Agreement is terminated as provided herein:

                  (a) Each Party will redeliver all documents, workpapers and other material of
  any other party relating to the transactions contemplated hereby, whether so obtained before
  or after the execution hereof, to the party furnishing the same.

                  (b) All information of a confidential nature received by any party hereto with
  respect to the business of any other party (other than information which is a matter of public
  knowledge or which has heretofore been or is hereafter published in any publication for public
  distribution or filed as public information with any governmental authority) shall continue to
  be subject to any NDA between Buyer and Seller.

                 (c) Upon any termination of this Agreement pursuant to this Section 11, the
  respective obligations of the Parties under this Agreement shall terminate and no Party shall
  have any liability whatsoever to any other Party by reason of such termination, irrespective of
  the cause of such termination, except as set forth in this Section.

               (d) If Buyer is not the winning bidder at the Auction or terminates this
  Agreement pursuant to the provisions of Sections 11.1(a), (b) or (c), bankruptcy counsel to




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  Seller shall immediately return the Deposit to Buyer, and Buyer shall receive its $150,000
  break-up fee concurrently with and as part of the sale closing to such other Successful Bidder.

                                           ARTICLE XII

                                        MISCELLANEOUS

        12.1 Assignment. Neither Seller nor Buyer may assign this Agreement, or assign any
of their rights or delegate any of their duties hereunder, without the prior written consent of the
other Party except that Buyer may designate an alternative entity to serve as its nominee
provided that such alternative entity is either an affiliate of Buyer or is an affiliate of an affiliate
of Buyer. This Agreement will be binding upon, inure to the benefit of, and be enforceable by
the Parties and their respective successors and assigns, including any chapter 7 or chapter 11
trustee appointed in the Bankruptcy Case.

       12.2 Severability. Any provision of this Agreement which is illegal, invalid or
unenforceable shall be ineffective to the extent of such illegality, invalidity or unenforceability,
without affecting in any way the remaining provisions hereof.

        12.3 Governing Law. This Agreement shall be governed by and construed in
accordance with the Bankruptcy Code, to the extent applicable, and, where state law is
implicated, the internal laws of the state of California, without giving effect to any principles of
conflicts of law. Without limiting any Party’s right to appeal any Order of the Bankruptcy Court,
the Parties agree that if any dispute arises out of or in connection with this Agreement or any of
the documents executed hereunder or in connection herewith, the Bankruptcy Court shall have
exclusive personal and subject matter jurisdiction and shall be the exclusive venue to resolve any
and all disputes relating to this Agreement. The Bankruptcy Court shall have sole jurisdiction
over such matters and the parties affected thereby, and Buyer and Seller each hereby consent and
submit to such jurisdiction; provided, however, that if the Bankruptcy Case has closed and
cannot be reopened, the Parties agree to unconditionally and irrevocably submit to the exclusive
jurisdiction of the United States District Court for the district in which the Bankruptcy Court is
located and any appellate court thereof, for the resolution of any such claim or dispute. The
Parties hereby irrevocably waive, to the fullest extent permitted by applicable law, any objection
which they may now or hereafter have to the laying of venue of any such dispute brought in such
court or any defense of inconvenient forum for the maintenance of such dispute. Each of the
Parties hereto agrees that a judgment in any such dispute may be enforced in other jurisdictions
by suit on the judgment or in any other manner provided by law. In the event any such action,
suit or proceeding is commenced, the Parties hereby agree and consent that service of process
may be made, and personal jurisdiction over any Party hereto in any such action, suit or
proceeding may be obtained, by service of a copy of the summons, complaint and other
pleadings required to commence such action, suit or proceeding upon the Party at the address of
such Party set forth in Section 12.8 hereof, unless another address has been designated by such
Party in a notice given to the other Party in accordance with the provisions of Section 12.8
hereof.

      12.4 Entire Agreement; Amendment. This Agreement and the Exhibits and
Schedules hereto, and each additional agreement and document to be executed and delivered




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pursuant hereto, constitute all of the agreements of the Parties with respect to, and supersede all
prior agreements and understandings relating to the subject matter of, this Agreement or the
transactions contemplated by this Agreement. This Agreement may not be modified or amended
except by a written instrument specifically referring to this Agreement signed by the Parties.

        12.5 Waiver. No waiver by one Party of the other Party’s obligations, or of any
breach or default hereunder by any other Party, shall be valid or effective, unless such waiver is
set forth in writing and is signed by the Party giving such waiver; and no such waiver shall be
deemed a waiver of any subsequent breach or default of the same or similar nature or any other
breach or default by such other Party.

        12.6 Interpretation; Headings. This Agreement is the result of arms’-length
negotiations between the Parties and no provision hereof, because of any ambiguity found to be
contained therein or otherwise, shall be construed against a Party by reason of the fact that such
Party or its legal counsel was the draftsman of that provision. The section, subsection and any
paragraph headings contained herein are for the purpose of convenience only and are not
intended to define or limit or affect, and shall not be considered in connection with, the
interpretation of any of the terms or provisions of this Agreement.

        12.7 Counterparts. This Agreement may be executed in separate counterparts, each
of which shall be deemed an original, but all of which together shall constitute one and the same
instrument. This Agreement shall become effective when counterparts have been signed by each
of the Parties and delivered by facsimile or other means to the other Party. Signatures
transmitted by facsimile or electronically shall be deemed to have the same force and effect as
original signatures.

        12.8 Notices. Any notice shall be in writing and shall be deemed to have been duly
given or made when personally delivered, sent by facsimile or when mailed by registered or
certified mail, postage prepaid, return receipt requested, addressed or directed as follows, or as
may be furnished hereafter by notice, in writing, to the other Party on at least three (3) business
days’ prior notice, to the following parties. Any Party may from time to time, by written notice to
the other Party, designate a different address, which shall be substituted for the one specified
below. In addition to any other means of deliverance provided, all notices provided hereunder
must also be delivered by email.

       If to Seller:

               Hero Nutritionals, LLC
               1900 Carnegie Ave. Bldg. A
               Santa Ana, CA 92705
               Attn: Jennifer Hodges
               Email: jhodges@heronutritionals.com




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       with a copy to (which shall not constitute notice) given in a like manner to:


               David M. Goodrich, Esq.
               Golden Goodrich LLP
               650 Town Center Drive, Suite 600
               Costa Mesa, California 92626
               Email: dgoodrich@go2.law
               Phone: (714) 966-1000
               Facsimile: (714) 966-1002


       If to Buyer, to:

               15233 Ventura Blvd., Ste 900
               Sherman Oaks, CA 91403
               Attn: Legal Department
               Email: legal@vytalogy.com

       with a copy to (which shall not constitute notice) given in a like manner to:


               Michael Torkin, Esq.
               Simpson Thacher & Bartlett LLP
               425 Lexington Avenue
               New York, New York 10017
               Email: Michael.Torkin@stblaw.com
               Phone: (917) 680-9700
               Facsimile:


               Ron Bender, Esq.
               Levene, Neale, Bender, Yoo & Golubchik L.L.P.
               2818 La Cienega Ave.
               Los Angeles, California 90034
               Email: RB@LNBYG.COM
               Phone: (310) 229-1234
               Facsimile: (310) 229-1244


        12.9 Public Announcements. Neither Seller nor Buyer will make any public
announcements concerning matters set forth in this Agreement or the negotiation thereof without
the prior written consent of the other Party unless such disclosure is required by law or court
order or the information is otherwise publicly available, including in any filings with the
Bankruptcy Court. Any such disclosure shall be provided for review to the other Party in
advance of public release to the extent reasonably practical.




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        12.10 Attorneys’ Fees. If any action or proceeding relating to this Agreement or the
enforcement of any provision of this Agreement is brought by a Party against any other Party,
the prevailing Party shall be entitled to recover reasonable attorneys’ fees, costs and
disbursements (in addition to any other relief to which the prevailing Party may be entitled).
Any attorneys’ fees awarded to Buyer shall be payable from Seller’s bankruptcy estate, even if
Seller’s chapter 11 bankruptcy case is converted to chapter 7.

           [SIGNATURES ARE CONTAINED ON THE FOLLOWING PAGE]




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       IN WITNESS WHEREOF, each of Seller and Buyer has caused a duly authorized
representative to execute this Asset Purchase Agreement on the date first written above.



                                       BUYER:


                                       By:

                                       Name: ___________________
                                       Title: ___________________



                                       SELLER:

                                       HERO NUTRITIONALS, LLC


                                       By:

                                       Name: _______________
                                       Title: _______________




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                                                  SCHEDULES


                                                         EXHIBITS


              Exhibit A      Equipment Schedule

              Exhibit B      Purchase Price Allocation

              Exhibit C      Form of Bill of Sale




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                                       EXHIBIT A

                                    Equipment Schedule




                                           B-1



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                                              EXHIBIT B

                                        Purchase Price Allocation


                                            [To Be Supplied]




                                                  B-2



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                                           EXHIBIT C

                                       Form of Bill of Sale

              This Bill of Sale is made as of ________ __, 2022 (the “Effective Date”), by and
between Vytalogy Wellness, L.L.C. or its nominee (“Buyer”)2 and Hero Nutritionals, LLC
(“Seller”). Seller and Buyer are parties to a certain Asset Purchase Agreement dated as of
_______ __, 2022 (the “Asset Purchase Agreement”). Capitalized terms used without definitions
herein shall have the meanings ascribed to such terms in the Asset Purchase Agreement.

               1.        Sale and Assignment of Purchased Assets. Pursuant to the Asset
Purchase Agreement, Buyer has on the date hereof purchased the Assets from Seller. In
accordance with and subject to the terms and conditions set forth in the Asset Purchase
Agreement, for good and valuable consideration, the receipt of which is hereby acknowledged,
Seller does hereby sell, assign, bargain, transfer, convey and deliver unto Buyer all of Seller’s
right, title and interest in and to the Assets free and clear of all liens, claims, encumbrances and
interests (collectively, “Encumbrances”) pursuant to and in accordance with the sale order
entered by the Bankruptcy Court as Docket No. __.

            2.       No Assumption of Any of Seller’s Liabilities. Buyer does not agree to
assume or pay any debts, obligations or liabilities of Seller.

              3.      Cooperation. Buyer and Seller agree to cooperate with each other to
execute and deliver such other documents and instruments and to do such further acts and things
as may be reasonably requested by the other to evidence, document or carry out Seller’s sale of
the Assets to Buyer.

              4.       Effect of Agreement. Nothing in this Bill of Sale shall, or shall be deemed
to, modify or otherwise affect any provisions of the Asset Purchase Agreement or affect the
rights of the parties under the Asset Purchase Agreement. In the event of any conflict between
the provisions hereof and the provisions of the Asset Purchase Agreement, the provisions of the
Asset Purchase Agreement shall govern and control.

            IN WITNESS WHEREOF, Seller and Buyer have caused this Bill of Sale
Agreement to be executed on the Effective Date.


                                              BUYER:


                                              By:

                                              Name: ___________________
                                              Title: ___________________

2
 Buyer will likely be a newly formed special purpose entity formed for the purpose of serving as
Buyer herein.




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                                     SELLER:

                                     HERO NUTRITIONALS, LLC


                                     By:

                                     Name: _______________
                                     Title: _______________




                                       C-4



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            Case 8:22-bk-11383-SC Doc 20 Filed 08/31/22 Entered 08/31/22 18:07:39 Desc
                                   Main Document   Page 12 of 44
Fill in this information to identify the case:

Debtor name         Hero Nutritionals, LLC

United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)             8:22-bk-11383-SC
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1   Bank of Manhattan NA                         Describe debtor's property that is subject to a lien                           $0.00                    $0.00
      Creditor's Name                              Notice Only
      Attn: Corporation Service
      Company
      801 Adlai Stevenson Dr.
      Springfield, IL 62703
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                       No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                           No
      03/11/2014                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1306
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                           Contingent
          Yes. Specify each creditor,                  Unliquidated
      including this creditor and its relative         Disputed
      priority.



2.2   Cargo Express Freight                        Describe debtor's property that is subject to a lien                      $5,130.00                Unknown
      Creditor's Name                              All Assets
      Attn: Stephanie Saldivar
      1675 N. Main St.
      Orange, CA 92867
      Creditor's mailing address                   Describe the lien
                                                   Judgment Lien (recorded within 90 days of
                                                   bankruptcy)
                                                   Is the creditor an insider or related party?
                                                       No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                           No
      06/17/2022                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 5




                                                               EXHIBIT 3                     PAGE 64
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Debtor      Hero Nutritionals, LLC                                                                Case number (if known)    8:22-bk-11383-SC
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed because lien is avoidable
      priority.



2.3   HYG Financial Services Inc.                 Describe debtor's property that is subject to a lien                        $0.00            $0.00
      Creditor's Name                             Notice Only
      PO Box 35701
      Attn: President
      Billings, MT 59107
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   JPMorgan Chase Bank NA                      Describe debtor's property that is subject to a lien                        $0.00            $0.00
      Creditor's Name                             Equipment
      Collateral Mgmt Small
      Business
      PO Box 33035
      Louisville, KY 40232
      Creditor's mailing address                  Describe the lien
                                                  Financing Statement
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      03/2011                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   McCormick 107, LLC                          Describe debtor's property that is subject to a lien                 $2,500,000.00       Unknown
      Creditor's Name                             Blanket Lien
      Attn: Managing Member
      11350 McCormick Road,
      #902
      Hunt Valley, MD 21031
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Financing Statement
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 5




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Debtor      Hero Nutritionals, LLC                                                                Case number (if known)    8:22-bk-11383-SC
            Name

      Date debt was incurred                         No
      March 7, 2022                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




2.6
      NMHG Financial Services
      Inc.                                        Describe debtor's property that is subject to a lien                        $0.00               $0.00
      Creditor's Name                             Notice Only
      PO Box 35701
      Billings, MT 59107
      Creditor's mailing address                  Describe the lien
                                                  Financing Statement
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      US Small Business
2.7                                                                                                                        $331,000            $331,000
      Administration                              Describe debtor's property that is subject to a lien
      Creditor's Name                             Blanket Lien
      10737 Gateway West #300
      El Paso, TX 79935
      Creditor's mailing address                  Describe the lien
                                                  Financing Statement
                                                  Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      06/11/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.8   Wells Fargo                                 Describe debtor's property that is subject to a lien                     Unknown               $5,000
      Creditor's Name                             Koycera Copiers
      1010 Thomas Edison Blvd
      SW
      Attn: President
      Cedar Rapids, IA 52404
Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 5




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Debtor       Hero Nutritionals, LLC                                                                Case number (if known)       8:22-bk-11383-SC
             Name

       Creditor's mailing address                  Describe the lien
                                                   Secuirty Interest
                                                   Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.9    Wolters Kluwer                              Describe debtor's property that is subject to a lien                        $120,000              Unknown
       Creditor's Name                             Equipment
       Lien Solutions LLC
       PO Box 29071
       Glendale, CA 91209
       Creditor's mailing address                  Describe the lien
                                                   Financing Statement
                                                   Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       03/2011                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3415
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.




                                                                                                                            $2,505,130.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Casey Z. Donoyan, Esq.
        Hemar, Rousso & Heald, LLP                                                                          Line   2.5
        15910 Ventura Blvd., 12th Floor
        Encino, CA 91436

        US Small Business Administration
        Office of the General Counsel                                                                       Line   2.7
        312 N. Spring Street, 5th Floor
        Los Angeles, CA 90012

        William R. Edwards, Agent
        8267 E. Merrywesther Lane                                                                           Line   2.9
        Anaheim, CA 92808

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 4 of 5




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Debtor    Hero Nutritionals, LLC                                            Case number (if known)   8:22-bk-11383-SC
          Name




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  Fill in this information to identify the case:

  Debtor 1              HERO NUTRITIONALS, LLC
  Debtor 2
  (Spouse, if filing)

  United States Bankruptcy Court for the:    CENTRAL                    District of    California
                                                                                      (State)
  Case number           8:22-bk-11383-SC



Official Form 410
Proof of Claim                                                                                                                                                      04/16

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



Part 1:       Identify the Claim

1. Who is the current
   creditor?                    McCORMICK 107, LLC
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor

2. Has this claim been
   acquired from                 x     No
   someone else?                       Yes. From whom?

3. Where should notices         Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   and payments to the                                                                                          different)
   creditor be sent?
                                Hemar, Rousso & Heald, LLP                                                      McCormick 107, LLC
   Federal Rule of              Name    Attn: Jennifer Witherell Crastz                                         NameAttn: Timothy Cathey, Manager
   Bankruptcy Procedure
   (FRBP) 2002(g)               15910 Ventura Blvd., 12th Floor                                                 11350 McCormick Road, Suite 902
                                Number           Street                                                         Number          Street

                                Encino                               CA                         91436           Hunt Valley                 MD                  21031
                                City                                  State                      ZIP Code       City                          State                ZIP Code

                                Contact phone     (818) 501-3800                                                Contact phone   (410) 403-2069
                                Contact email     jcrastz@hrhlaw.com                                            Contact email   tcathey@beltwaycapital.com


                                Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend          x    No
   one already filed?
                                       Yes. Claim number on court claims registry (if known)                                             Filed on
                                                                                                                                                    MM   / DD   / YYYY


5. Do you know if anyone          x    No
   else has filed a proof
                                       Yes. Who made the earlier filing?
   of claim for this claim?




   Official Form 410                                                          Proof of Claim                                                              page 1
                                                                                                                                                                              B410




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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        x   No
   you use to identify the           Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
   debtor?



7. How much is the claim?            $   2,621,866.81                     . Does this amount include interest or other charges?
                                                                                  No
                                                                             x    Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 money loaned


9. Is all or part of the claim       No
   secured?                      x   Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                                 Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                                 Motor vehicle
                                            x    Other. Describe:           debtor's business assets

                                           Basis for perfection:         UCC-1 financing statement
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)


                                           Value of property:                           $ unknown
                                           Amount of the claim that is secured:         $ 2,621,866.81

                                           Amount of the claim that is unsecured: $ unknown                      (The sum of the secured and unsecured
                                                                                                                 amounts should match the amount in line 7.)


                                           Amount necessary to cure any default as of the date of the petition:           $


                                           Annual Interest Rate (when case was filed)               %
                                                 Fixed
                                                 Variable


10. Is this claim based on a     x   No
    lease?
                                     Yes. Amount necessary to cure any default as of the date of the petition.           $


11. Is this claim subject to a   x   No
    right of setoff?
                                     Yes. Identify the property:




Official Form 410                                                  Proof of Claim                                                         page 2



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12. Is all or part of the claim      x      No
    entitled to priority under
    11 U.S.C. § 507(a)?                     Yes. Check one:                                                                                       Amount entitled to priority

    A claim may be partly                        Domestic support obligations (including alimony and child support) under
    priority and partly                          11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                           $
    nonpriority. For example,
    in some categories, the                      Up to $2,850* of deposits toward purchase, lease, or rental of property or services for
    law limits the amount                        personal, family, or household use. 11 U.S.C. § 507(a)(7).                                       $
    entitled to priority.
                                                 Wages, salaries, or commissions (up to $12,850*) earned within 180 days before the
                                                 bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                $
                                                 11 U.S.C. § 507(a)(4).
                                                 Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                            $

                                                 Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                $

                                                 Other. Specify subsection of 11 U.S.C. § 507(a)(             ) that applies.                     $

                                          * Amounts are subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment.



Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                           I am the creditor.
FRBP 9011(b).                       X       I am the creditor’s attorney or authorized agent.
If you file this claim              I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
electronically, FRBP
                                    I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
5005(a)(2) authorizes courts
to establish local rules
specifying what a signature
                             I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
is.
                             amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
A person who files a
fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
fined up to $500,000,        and correct.
imprisoned for up to 5
years, or both.              I declare under penalty of perjury that the foregoing is true and correct.
18 U.S.C. §§ 152, 157, and
3571.
                             Executed on date 09/22/2022
                                                          MM / DD     /   YYYY




                                          /s/ Jennifer Witherell Crastz
                                          Signature

                                  Print the name of the person who is completing and signing this claim:

                                  Name                   JENNIFER WITHERELL CRASTZ
                                                         First name                           Middle name                          Last name

                                  Title                  Attorneys for creditor, McCormick 107, LLC
                                  Company                HEMAR, ROUSSO & HEALD, LLP
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address                15910 Ventura Blvd., 12th Floor
                                                         Number             Street

                                                         Encino                                                          CA          91436
                                                         City                                                       State          ZIP Code

                                  Contact phone          (818) 501-3800                                             Email          jcrastz@hrhlaw.com




   Official Form 410                                                             Proof of Claim                                                         page 3



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                                      SUMMARY OF PROOF OF CLAIM
                                     In re: Hero Nutritionals, LLC (“Debtor”)
                                            Case No. 8:22-bk-11383-SC

McCormick 107, LLC (“Claimant”) submits this summary of its claim in bankruptcy.

This case involves five commercial loans made by McCormick 107, LLC’s predecessor-in-interest, to Debtor
Hero Nutritionals, LLC. Claimant contends that Debtor breached its contractual obligations by failing to pay all
sums due and owing on the loans. Claimant contends that as a result of the aforementioned breaches, Debtor owes
Claimant over $2.3 million dollars.

As of the Petition Date, Debtor was indebted to Claimant in the principal amount of $2,312,667.10, together with
all accrued interest, late fees, costs and attorneys’ fees (the "Prepetition Indebtedness"). By virtue of a first
priority UCC-1, Claimant asserts a first priority lien on the Debtor’s personal property along with the rents, issues
and profits generated by same (the "Prepetition Collateral"). Claimant asserts that all of the Debtor's cash and
proceeds generated by the Prepetition Collateral are "cash collateral" of Claimant within the meaning of
Bankruptcy Code Section 363(a).

True and correct copies of the Loan Documents are attached hereto as EXHIBITS 1 through 15, and are
incorporated herein by this reference as though set forth in full.

EXHIBIT 1      (collectively referred to as the “Loan 703 Documents”):
     •         Promissory Note dated October 15, 2013 for $2 million (“Note 703”)
     •         Business Loan Agreement dated October 15, 2013 with the Rider thereto
     •         Business Loan Agreement dated January 15, 2015 with the Rider thereto;
     •         Bill of Sale and Assignment of Loan Documents (All rights, title and interest in the Loan 703
               Documents were subsequently assigned by Pacific Premier Bank, successor-by-merger to Plaza
               Bank, successor-by-merger to Bank of Manhattan, N.A. to Plaintiff.
       •       Allonge to the 703 Note
       •       Multiple Change in Terms Agreements and Loan Modification Agreements

EXHIBIT 2
     •    Commercial Security Agreement dated October 15, 2013 re: Loan 703 Documents
EXHIBIT 3
     •    UCC Financing Statement

EXHIBIT 4 (collectively referred to as the “Loan 707 Documents”):
     •    Promissory Note dated February 25, 2014 (the “707 Note”) for $463,009.10
     •    Allonge to 707 Note

EXHIBIT 5
     •    Commercial Security Agreement (re 707 Note), dated February 25, 2014
EXHIBIT 6
     •    UCC Financing Statement, and Continuation and Assignment thereof

EXHIBIT 7 (collectively referred to as the “Loan 706 Documents”):
     •    Promissory Note dated August 22, 2014 (the “706 Note”) for $303,040.63
     •    Allonge to the 706 Note




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EXHIBIT 8
     •    Commercial Security Agreement dated August 22, 2014, HERO LLC (re 706 Note)

EXHIBIT 9
     •    UCC Financing Statement and Assignment thereof

EXHIBIT 10 (collectively referred to as the “Loan 701 Documents”):
     •      Promissory Note dated October 29, 2014 (the “701 Note”) for $833,950.27
     •      Allonge to the 701 Note

EXHIBIT 11
     •     Commercial Security Agreement (re 701 Note) dated October 29, 2014

EXHIBIT 12
     •     UCC Financing Statement and Assignment thereof

EXHIBIT 13 (collectively referred to as the “Loan 705 Documents”):
     •      Promissory Note dated February 19, 2015 (the “705 Note”) for $500,000.00
     •      Allonge to the 705 Note

EXHIBIT 14
     •     Commercial Security Agreement dated February 19, 2015 (re 705 Note)

EXHIBIT 15
     •     UCC Financing Statement, Continuation and Assignment thereof

The total amount due, owing and unpaid from Debtor to Claimant as of September 14, 2022 equals not less than
$2,621,866.81 consisting of principal, interest, and late fees of $2,366,999.88, plus legal fees of $254,866.93:




Payoff statements and payment histories for each note as of 9/14/2022 are collectively attached hereto as
EXHIBIT 16. The payment history is behind each payoff statement.


Interest, late charges and fees will continue to accrue so long as Debtor is in default, and claimant reserves the
right to amend this proof of claim accordingly. All other rights, remedies, claims and defenses are expressly
reserved, and nothing herein constitutes a waiver.




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         EXHIBIT 1
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                                                     !..
                                                        .1:1 BANK of
                                                             MANHATTAN
                                                           PROMISSORY NOTE


      References in the boxes above are for Lender's use only and do not limit the appllcabllity of this document to any particular loan or Item.
                                An item above containin "***" has been omitted due to text I             . limitations.

   Borrower:      Hero Nutrttionals, LLC                                       Lender:          Bank of Manhattan, N.A.
                  991 Calle Negoclo                                                             Pasadena Office
                  San Clemente, CA 92673                                                        199 South Los Robles Avenue
                                                                                                Suite 130
                                                                                                Pasadena, CA 911 O1


    Prlnclpal Amount: $2,000,000.00                                                                          Date of Note: October 15, 2013
    PROMISE TO PAY. Hero Nutrltlonals, LLC ("Borrower") promises to pay to Bank of Manhattan, N.A. ("Lender"), or order, in lawful money of the
    United States of America, the principal amount of Two MIiiion & 00/100 Dollars ($2,000,000.00) or so much as may be outstanding, together
    with Interest on the unpaid outstanding principal balance of each advance. Interest shall be calculated from the date of each advance until
    repayment of each advance.
    PAYMENT. Borrower will pay this loan In one payment of all outstanding principal plus al accrued unpaid Interest on October 15, 2014. In
    addftion, Borrower will pay regular monthly payments of all accrued unpaid interest due as of each payment date, beginning November 15,
    2013, with all subsequent Interest payments to be due on the same day of each month after that. Unless otherwise agreed or required by
    appUcable law, payments will be applied first to any accrued unpaid Interest; then to principal; then to any late charges; then to any mpaid
    collection costs; and then to any escrow or reserve account payments as required wtder any mortgage, deed of trust, or other security
    Instrument or security agreement securing this Note. Borrower will pay Lenoor at Lender's address shown above or at such other place as
    Lender may designate In writing.
    VARIABLE INTEREST RATE. The Interest rate on this Note Is subject to change from time to time based on changes In an Independent Index
    whlch is the Wall Street Journal Prime Rate. as published in the Western Edition of the Wall Street Journal (the "Index•). The Index Is not
    necessarily the lowest rate charged by Lender on Its loans. If the Index becomes unavailable during the term of this loan, Lender may designate
    a substitute index after notifying Borrower. Lender will tell Bom:lY.er the rurrent Index rate~ Borrcmer's request. The interest rate change
    will not occur more often than each day. Borrower understands that Lender may make loans based on other rates as well. The Index currently
    ls 3.250% per annum. Interest on the unpaid principal balance of this Note will be calculated as described In the ~INTEREST CALCULATION
    METHOD• paragraph using a rate of 2.000 percentage points over the Index, adjusted ir necessary for any minimum and maximum rate
    limitations described below, resulting In an initial rate of 5.250%. NOTICE: Under no circumstances will the interest rate on this Note be less
    than 5.250% per annum or more than the maximum rate allowed by applicable law.
    INTEREST CALCULATION METHOD. Interest on this Note Is computed on a 365/360 basis; that Is, by applying the ratio of the Interest rate
    over a year of 360 days, multiplied by the outstanding principal balance, multlplled by the actual number of days the principal balance Is
    outstanding. All Interest payable under this Note is computed using this method. This calculatlon method results in a higher effective Interest
    rate than the numeric Interest rate stated In lhls Note.
    PREPAYMENT; MINIMUM INTEREST CHARGE. Borrower agrees that all loan fees and othetr prepaid finance charges are earned fully as of the
    elate of the loan and will not be subject to refund upon early payment (whether voluntary or as a result of default), except as otherwise required
    by law. In any event, even upon full prepayment of this Note, Borrower understands that Lender Is entitled to a minimum Interest charge of
    $100.00. ~ ttUl BorroNer's obUgation to pay cll'f ninirrum Interest dage, Borrcmer rray pay without penalty all a a portion of the
    amount owed earlier than It is due. Early payments will not, unless agreed to by Lender in writing, relieve Borrower of Borrower's obllgation to
    continue to make payments of accrued unpaid Interest. Rather, early payments will reduce the principal balance due. Borrower agrees not to
    send Lender payments marked ~paid In full•. "without recourse•, or similar language. If Borrower sends such a payment, lender may accept it
    without losing any of Lender's rights under this Note, and 80ITOW8r will remain obligated to pay any further amount owed to lender. All written
    communications concerning disputed amounts, including any check or other payment Instrument that indicates that the payment constitutes
    "payment In full" of the amount owed or that Is tendered with other condlUons or llmltatlons or as full satisfaction of a disputed amount must be
    malled or delivered to: Bank of Manhattan, N.A., 2700 East Foothill Boulevard, Suite 100 Puadena, CA 91107.
    LATE CHARGE.      If a payment is 10 days or more late, Borrower will be charged 6.0000/o r1f the ~ portia, d the reguarty sdlecUed
    ~        a S25.00, 'MlichENer is goaler".
    INTB1EST AFTER DEF.All..T. Upon default, the interest rate on this Note shall, if permitted under applicable law, immediately increase by adding
    an additional 5.000 percentage point margin (•Default Rate Margin"). The Default Rate Margin shall also apply to each succeeding Interest rate
    change that would have applied had there been no default.
    DEFAULT. Each of the following shall constitute an event of default ("Event of Default") under this Note:
        Payment Default. Borrower fails to make any payment when due under this Note.
        Other Defaults. Borrower fails to comply with or to perform any other term, obligation, covenant or oondition oontained in this Nole or in
        any of the related doa.iments or to comply with or to perfonn any term, obligation, covenant or condition contained in any other agreement
        between Lender and Borrower.
        Default In Favor of Third Parties. Borrower or any Grantor defaults under any loan, extension of credit, security agreement, purchase or
        sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's property or
        Borrower's abillty to repay this Note or perform Borrower's obligations under this Nole or any of the related documents.
        False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
        Note or the related documents is false or misleading In any material respect, either now or at the time made or furnished or becomes false
        or misleading at any time thereafter.
        Death or Insolvency. The dissolution of Borrower (regardless of whether election to continue is rrade), any rmnt>er withdraws from
        Borrower, or any other termination of Borrower's existence as a going business or the death of any member, the insolvency of Borrower,
        the appointment of a receiver for any part of Borrower's property, any assignment for the benefit of creditors, any type of creditor workout.
        or the commencement of any proceeding under any bankruptcy or Insolvency laws by or against Borrower.




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                                                               PROMISSORY NOTE
                                                                      (Continued)                                                                Page 2

        Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by Judicial proceeding, self-help,
        repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the loan.
        This lndudes a garnishment of any of Borrower's accounts, induding deposit accounts, with Lender. However, this Event of Default shall
        not apply if there is a good faith dispute by Borrower as to the validity or reasonableness of the daim whldl ls the basis of the creditor or
        forfeiture proceeding and if l3om:M.er gves Lender written notice of the creditor or forfeiture proceeding and deposits with Lender monies or
        a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in Its sole discretion, as being an adequate
        reserve or bond for the dispute.
         Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the indebtedness or any
         Guarantor dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any guaranty of the Indebtedness
         evidenced by this Note.
         Adverse Change. A material adverse change occurs in Borrower's financial condition, or Lender believes the prospect of payment or
         performance of this Note Is Impaired.
         Insecurity. Lender in good faith believes itself Insecure.
        Cure Provisions. If any default, other than a default In payment is curable and if 8orroM:lr has not been given a notice of a breach of the
        same provision of this Note within the preceding twelve {12) months, it may be cured if Borrower, after Lender sends written notice to
        Borro,.ver demanding cure of sudl default: (1) cures the default within fifteen (15) days; or (2) if the cure requires rrore than fifteen (15}
        days, lmnediately Initiates steps which Lender deems in Lender's sole discretion to be sufficient to cure the default and thereafter
        continues and completes all reasonable end necessary steps sufficient to produce compliance as soon as reasonably practical.
    LENDER'S RIGHTS. Upon default, lender may declare the entire unpaid principal balance under this Note and all accrued unpaid interest
    immediately due, and then Borrower will pay that amount.
    ATTORNEYS' FEES; EXPENSES. Lender may hire or pay someone else to help oollect this Nde if Bom:mer does not pay. Borrower will pay
    Lender that amount. This includes, subject to any limits under applicable law, Lender's attorneys' fees and Lender's legal expenses, whether or
    not there is a lawsuit, Including attorneys' fees, expenses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay
    or injunction), and appeals. Borrower also will pay any oourt costs, in addition to all other sums provided by law.
    JURY WAIVER. To the extent permitted by applicable law, Lender and Borrower hereby waive the right to any jury trial In any action,
    proceeding, or counterclaim brought by either Lender or Borrower against the other.
    GOVERNING LAW. This Note wlll be governed by federal law applicable to Lender and, to the extent not preempted by federal law, the laws of
    the State of California without regard to its conflicts of law provisions. This Note has been accepted by Lender In the State of California.
    CHOICE OF VENUE. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the courts of Los Angeles
    County, State of California.
    DISHONORED ITEM FEE. Borrower will pay a fee to Lender of $20.00 if Borm~r makes                  a payment on Borrower's loan and the check or
    preauthorizad charge with which Borrower pays is later dishonored.
    RIGHT OF SETOFF. To the extent pennitted by applicable law, Lender reserves a right of setoff in all Borrower's accounts with Lender (whether
    dlecking, savings, or some other account). This includes all accounts Borrower holds jointly with someone else and all accounts Borrower may
    open in the future. However, this does not Include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
    law. Borrower authorizes Lender, to the extent pennitted by applicable law, to charge or setoff all sums owing on the indebtedness against any
    and all such accounts, and, at Lender's option, to administratively freeze all such accounts lo allow Lender to protect Lander's charge and setoff
    rights provided in this paragraph.
    COLLATERAL Borrower acknowledges this Note is secured by the following collateral desaibed in the security Instrument listed herein:
    inventory, chattel paper, accounts, equipment and general intangibles described in a Commercial Security Agreement dated October 15, 2013.
    LINE OF CREDIT. This Note evidences a revolving line of credit. Advances under this Note, as well as directions for payment from Borrower's
    accounts, may be requested orally or in writing by Borrower or as provided In this paragraph. Lender may, but need not, require that all oral
    requests be confinned in writing. The following person or persons are authorized, except as provided In this paragraph, to request advances and
    authorize payments under the line of credit until Lender receives from Borrower, at Lender's address shown above, written notice of revocation
    of such authority: Jennifer L Hodges, Manager/Member of Hero Nutr1t1onals, LLC. Advances will be made In accordance with the Borrowing
    Base Certificate. Borrower agrees to be llable for all sums either. (A) advanced in accordance with the instructions of an authorized person or
    (B) credited to any of Borrower's accounts with Lender. The unpaid principal balance owing on this Note at any time may be evidenced by
    endorsements on this Note or by lender's Internal records, indudlng dally computer print-outs. lender will have no obligation to advance funds
    under this Note if: (A} Borrower or any guarantor is In default under the tenns of this Note or any agreement that Borrower or any guarantor
    has with Lerder, including any ageernant made in connection with the signing of this Note; (B) Borrower or any guarantor ceases doing
    business or Is insolvent: (C} any guarantor seeks, daims or otherwise attempts to limit, modify or revoke such guarantor's guarantee of this
    Note or any other loan with Lender; (D) Borrower has applied funds provided pursuant to 1his Note for purposes other than those authorized by
    Lender; or (E} Lender In good faith believes itself Insecure.
    SUCCESSOR INTERESTS. The terms of this Note shall be binding upon Borrower, and upon Borrower's heirs, personal representatives,
    successors and assigns, and shall Inure to the benefit of Lender and Its successors and assigns.
    NOTIFY US OF INACCURATE INFORMATION WE REPORT TO CONSUMER REPORTING AGENCIES. Borrower may notify Lender If Lender
    reports any inaccurate information about Borrower's account(s) to a consumer reporting agency. Borrower's written notice describing the
    specific inaccuracy(les) should be sent to Lender at the following address: Bank of Manhattan, NA, Pasadena Office, 199 South Los Robles
    Avenue, Suite 130, Pasadena, CA 91101.
    GENERAL PROV1SIONS. If any part of this Note cannot be enforced. this fact will not affect the rest of the Note. Lender may delay or forgo
    enforcing any of its rights or remedies under this Note without losing them. Borrower and any other person who signs, guarantees or endorses
    this Note, to the extent allowed by law, waive any applicable statute of limitations, presentment, demand for payment, and notice of dishonor.
    Upon any change In the terms of this Note, and unless otherwise expressly stated in writing, no party who signs this Note, whether as maker,
    guarantor, accommodation maker or endorser, shall be released from liability. All such parties agree that lender may renew or extand
    (repeatedly and for any length of time) this loan or release any party or guarantor or collateral; or impair, fail to realize upon or perfect Lender's
    security interest In the collateral; and take any other action deemed necessary by Lender without the consent of or notice to anyooe. All such
    parties also agree that Lender may modify this loan without the consent of or notice to an~e other than the party with whom the modification
    is made. The obligations under this Note are joint and several.




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                                                                           PROMISSORY NOTE
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    PRIOR TO SIGNING THIS NOTE, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS NOTE, INCLUDING THE VARIABLE
    INTEREST RATE PROVISIONS. BORROWER AGREES TO THE TERMS OF THE NOTE.
    BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSORY NOTE.

    BORROWER:




                                                              of Hero




                       USER PRO LlndlnO. V«. 132.20.010   c.p,. H..,_,,d   ~   SoluUon•. loc. 19117, 2013.   Alt   RJo1!t1 _ _ ,_ • CA   ~ T ~ l ' l P \ . ' { ) 2 0.fC TR-2109 ~.«)




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                                                     ··=·· M·AN HATTAN
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                                  BUSINESS LOAN AGREEMENT (ASSET BASED)
                                                                 .·Loan: No': •,                               Ac.count          :. offltert .'. trdtiats. ;\~
                                                                .     123~~ >                                                     r:i)w::(/ /..t.·,·- · · ·
     References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                               Any item above containing "***" has been omitted due to text le          h limitations .

  Borrower:      Hero Nutritlonals, LLC                                        Lender:          Bank of Manhattan, N .A.
                 991 Calle Negocio                                                              Pasadena Office
                 San Clemente, CA 92673                                                         199 South Los Robles Avenue
                                                                                                Suite 130
                                                                                                Pasadena, CA 91101



   THIS BUSINESS LOAN AGREEMENT (ASSET BASED) dated October 15, 2013, is made and executed between Hero Nutritionals, LLC
   ("Borrower") and Bank of Manhattan, N.A. ("Lender") on the following terms and conditions. Borrower has received prior commercial loans
   from Lender or has applied to Lender for a commercial loan or loans or other financial accommodations, including those which may be described
   on any exhibit or schedule attached to this Agreement. Borrower understands and agrees that: (A) in granting, renewing, or extending any
   Loan, Lender Is relying upon Borrower's representations, warranties, and agreements as set forth in this Agreement; (B) the granting,
   renewing, or extending of any Loan by Lender at all times shall be subject to Lender's sole judgment and discretion; and (C) all such Loans
   shall be and remain subject to the terms and conditions of this Agreement.
   TERM. This Agreement shall be effective as of October 15, 2013, and shall continue in full force and effect until such time as all of Borrower's
   Loans in favor of Lender have been paid in full, including principal, interest. costs , expenses, attorneys' fees , and other fees and charges. or
   until such time as the parties may agree in writing to terminate this Agreement.
   ADVANCE AUTHORITY.        The following person or persons are authorized, except as provided in this paragraph, to request advances and
   authorize payments under the line of credit until Lender receives from Borrower, at Lender's address shown above, written notice of revocation
   of such authority: Jennifer L. Hodges, Manager/Member of Hero Nutritionals, LLC. Advances will be made in accordance with the Borrowing
   Base Certificate.
   LINE OF CREDIT.   Lender agrees to make Advances to Borrower from time to time from the date of this /\greement to the Expiration Date,
   provided the aggregate amount of such Advances outstanding at any time does not exceed the Borrowing Base. Within the foregoing limits,
   Borrower may borrow, partially or wholly prepay, and reborrow under this Agreement as follows :
       Conditions Precedent to Each Advance. Lender's obligation to make any Advance to or for the account of Borrower under this Agreement
       is subject to the following conditions precedent, with all documents, instruments, opinions, reports, and other items required under this
       Agreement to be in form and substance satisfactory to Lender:
            (1) Lender shall have received evidence that this Agreement and all Related Documents have been duly authorized, executed, and
            delivered by Borrower to Lender.
            (2) Lender shall have received such opinions of counsel, supplemental opinions, and documents as Lender may request.
            (3) The security interests in the Collateral shall have been duly authorized, created, and perfected with first lien priority and shall be in
            full force and effect.
            (4) All guaranties required by Lender for the credit facility(ies) shall have been executed by each Guarantor, delivered to Lender, and
            be in full force and effect.
            (5) Lender, at its option and for its sole benefit, shall have conducted an audit of Borrower's Accounts, books, records, and
            operations, and Lender shall be satisfied as to their condition .
            (6) Borrower shall have paid to Lender all fees, costs, and expenses specified in this Agreement and the Related Documents as are
            then due and payable.
            (7) There shall not exist at the time of any Advance a condition which would constitute an Event of Default under this /\greement, and
            Borrower shall have delivered to Lender the compliance certificate called for In the paragraph below titled "Compliance Certificate."
       Making Loan Advances. Advances under this credit facility, as well as directions for payment from Borrower's accounts, may be requested
       orally or in writing by authorized persons. Lender may, but need not, require that all oral requests be confirmed in writing. Each Advance
       shall be conclusively deemed to have been made at the request of and for the benefit of Borrower (1) when credited to any deposit
       account of Borrower maintained with Lender or (2) when advanced in accordance with the instructions of an authorized person. Lender, at
       its option, may set a cutoff time, after which all requests for Advances will be treated as having been requested on the next succeeding
       Business Day.
       Mandatory Loan Repayments. If at any time the aggregate principal amount of the outstanding Advances shall exceed the applicable
       Borrowing Base, Borrower, immediately upon written or oral notice from Lender, shall pay to Lender an amount equal to the difference
       between the outstanding principal balance of the Advances and the Borrowing Base . On the Expiration Date, Borrower shall pay to Lender
       in full the aggregate unpaid principal amount of all Advances then outstanding and all accrued unpaid interest. together with all other
       applicable fees, costs and charges, if any, not yet paid .
       Loan Account. Lender shall maintain on its books a record of account in which Lender shall make entries for each Advance and such other
       debits and credits as shall be appropriate in connection with the cred it facility . Lender shall provide Borrower with periodic statements of
       Borrower's account, which statements shall be considered to be correct and conclusively binding on Borrower unless Borrower notifies
       Lender to the contrary within thirty (30) days after Borrower's receipt of any such statement which Borrower deems to be incorrect.
   COLLATERAL. To secure payment of the Primary Credit Facility and performance of all other Loans, obligations and duties owed by Borrower to
   Lender, Borrower (and others, if required) shall grant to Lender Security Interests in such property and assets as Lender may require . Lender's
   Security Interests in the Collateral shall be continuing liens and shall include the proceeds and products of the Collateral, including without
   limitation the proceeds of any insurance. With respect to the Collateral , Borrower agrees and represents and warrants to Lender:
        Perfection of Security interests. Borrower agrees to execute all documents perfecting Lender's Security Interest and to take whatever
        actions are requested by Lender to perfect and continue Lender's Security Interests in th e Collateral. Upon request of Lender, Borrower will




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                                        BUSINESS LOAN AGREEMENT (ASSET BASED)
   Loan No:.239                                                     (Continued)                                                                Page 2

       deliver to Lender any and all of the documents evidencing or constituting the Collateral, and Borrower will note Lender's interest upon any
       and all chattel paper and instruments if not delivered to Lender for possession by Lender. Contemporaneous with the execution of this
       Agreement, Borrower will execute one or more UCC financing statements and any similar statements as may be required by applicable law,
       and Lender will file such financing staterrents and all such similar statements in the appropriate location or locations. Borrower hereby
       appoints Lender as its irrevocable attorney-in-fact for the purpose of executing any documents necessary to perfect or to continue any
       Security Interest. Lender may at any time, and without further authorization from Borrower, file a carbon, photograph, facsimile, or other
       reproduction of any financing statement for use as a financing statement. Borrower will reimburse Lender for all expenses for the
       perfection, termination, and the continuation of the perfection of Lender's security interest in the Collateral. Borrower promptly will notify
       Lender before any change in Borrower's name including any change to the assumed business names of Borrower. Borrower also promptly
       will notify Lender before any change in Borrower's Social Security Number or Employer Identification Number. Borrower further agrees to
       notify Lender in writing prior to any change in address or location of Borrower's principal governance office or should Borrower merge or
       consolidate with any other entity.
       Collateral Records. Borrower does now, and at all times hereafter shall, keep correct and accurate records of the Collateral, all of which
       records shall be available to Lender or Lender's representative upon demand for inspection and copying at any reasonable time. With
       respect to the Accounts, Borrower agrees to keep and maintain such records as Lender may require, including without limitation
       information concerning Eligible Accounts and Account balances and agings. Records related to Accounts (Receivables) are or will be
       located at 991 Cal Negocio, San Clemente, CA 92673. The above is an accurate and complete list of all locations at which Borrower
       keeps or maintains business records concerning Borrower's collateral.
       Collateral Schedules. Concurrently with the execution and delivery of this Agreement, Borrower shall execute and deliver to Lender
       schedules of Accounts and schedules of Eligible Accounts in form and substance satisfactory to the Lender. Thereafter supplemental
       schedules shall be delivered according to the following schedule: With respect to Eligible Accounts, schedules shall be delivered monthly
       within fifteen (15) days after the end of each month.
       Representations and Warranties Concerning Accounts. With respect to the Accounts, Borrower represents and warrants to Lender: (1)
       Each Account represented by Borrower to be an Eligible Account for purposes of this -Agreement conforms to the requirements of the
       definition of an Eligible Account; (2) All Account Information listed on schedules delivered to Lender will be true and correct, subject to
       immaterial variance; and (3) Lender, its assigns, or agents shall have the right at any time and at Borrower's expense to inspect, examine,
       and audit Borrower's records and to confirm with Account Debtors the accuracy of such Accounts.
   CONDITIONS PRECEDENT TO EACH ADVANCE. Lender's obligation to make the initial Advance and each subsequent Advance under this
   Agreement shall be subject to the fulfillment to Lender's satisfaction of all of the conditions set forth in this Agreement and in the Related
   Documents.
       Loan Documents. Borrower shall provide to Lender the following documents for the Loan: (1) the Note; (2) Security Agreements
       granting to Lender security interests in the Collateral; (3) financing statements and all other documents perfecting Lender's Security
       Interests; (4) evidence of insurance as required below; (5) guaranties; (6) together with all such Related Documents as Lender may
       require for the Loan; all in form and substance satisfactory to Lender and Lender's counsel.                           ·
       Borrower's Authorization. Borrower shall have provided in form and substance satisfactory to Lender properly certified resolutions, duly
       authorizing the execution and delivery of this Agreement, the Note and the Related Documents. In addition, Borrower shall have provided
       such other resolutions, authorizations, documents and instruments as Lender or its counsel, may require.
       Fees and Expenses Under This Agreement. Borrower shall have paid to Lender ail fees, costs, and expenses specified in this Agreement
       and the Related Documents as are then due and payable.
       Representations and Warranties. The representations and warranties set forth in this Agreement, in the Related Documents, and in any
       document or certificate delivered to Lender under this Agreement are true and correct.
       No Event of Default. There shall not exist at the time of any Advance a condition which would constitute an Event of Default under this
       Agreement or under any Related Document.
   REPRESENTATIONS AND WARRANTIES. Borrower represents and warrants to Lender, as of the date of this Agreement, as of the date of each
   disbursement of loan proceeds, as of the date of any renewal, extension or modification of any Loan, and at ail times any Indebtedness exists:
       Organization. Borrower is a limited liability company which is, and at all times shall be, duly organized, validly existing, and in good
       standing under and by virtue of the laws of the State of California. Borrower is duly authorized to transact business in all other states in
       which Borrower is doing business, having obtained all necessary filings, governmental licenses and approvals for each state in which
       Borrower is doing business. Specifically, Borrower is, and at all times shall be, duly qualified as a foreign limited liability company in all
       states in which the failure to so qualify would have a material adverse effect on its business or financial condition. Borrower has the full
       power and authority to own its properties and to transact the business in which it is presently engaged or presently proposes to engage.
       Borrower maintains an office at 991 Calle Negocio, San Clemente, CA 92673. Unless Borrower has designated otherwise in writing, the
       principal office is the office at which Borrower keeps its books and records including its records concerning the Collateral. Borrower will
       notify Lender prior to any change in the location of Borrower's state of organization or any change in Borrower's name. Borrower shall do
       all things necessary to preserve and to keep in full force and effect its existence, rights and privileges, and shall comply with all regulations,
       rules, ordinances, statutes, orders and decrees of any governmental or quasi-governmental authority or court applicable to Borrower and
       Borrower's business activities.
       Assumed Business Names. Borrower has filed or recorded all documents or filings required by law relating to all assumed business names
       used by Borrower. Exduding the name of BorrovVer, the following is a complete list of all assumed business names under which Borrower
       does business: None.
       Authorization. Borrower's execution, delivery, and performance of this Agreement and all the Related Documents have been duly
       authoriz:ed by all necessary action by Borrower and do not conflict with, result in a violation of, or constitute a default under (1) any
       provision of (a) Borrower's artides of organization or membership agreements, or (b) any agreement or other instrument binding upon
       Borrower or (2) any law, governmental regulation, court decree, or order applicable to Borrower or to Borrower's properties.
        Financial Information. Each of Borrower's financial statements supplied to Lender truly and completely disdosed Borrower's financial
        condition as of the date of the statement, and there has been no material adverse mange in Borrower's financial condition subsequent to
        the date of the most recent financial statement supplied to Lender. Borrower has no material contingent obligations except as disclosed in
        such financial statements.
        Legal Effect. This Agreement constitutes, and any instrument or agreement Borrower is required to give under this Agreement when
        delivered will constitute legal, valid, and binding obligations of Borrower enforceable against Borrower in accordance with their respective
        terms.




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                                        BUSINESS LOAN AGREEMENT (ASSET BASED)
   Loan No: -239                                      (Continued)                                                                              Page 3

       Properties. Except as contemplated by this Agreement or as previously disclosed in Borrower's financial statements or in writing to Lender
       and as accepted by Lender, and except for property tax liens for taxes not presently due and payable, Borrower owns and has good title to
       all of Borrower's properties free and clear of all Security Interests, and has not executed any security documents or financing statements
       relating to such properties. All of Borrower's properties are titled in Borrower's legal name, and Borrower has not used or filed a financing
       statement under any other name for at least the last five (5) years.
       Hazardous Subst.ances. Except as disclosed to and acknowledged by Lender in writing, Borrower represents and warrants that: (1) During
       the period of Borrower's ownership of the Collateral, there has been no use, generation, manufacture, storage, treatment, disposal, release
       or threatened release of any Hazardous Substance by any person on, under, about or from any of the Collateral. (2) Borrower has no
       knowledge of, or reason to believe that there has been (a) any breach or violation of any Environmental Laws; (b) any use, generation,
       manufacture, storage, treatment, disposal, release or threatened release of any Hazardous Substance on, under, about or from the
       Collateral by any prior owners or occupants of any of the Collateral; or (c) any actual or threatened litigation or claims of any kind by any
       person relating to such matters. (3) Neither Borrower nor any tenant, contractor, agent or other authorized user of any of the Collateral
       shall use, generate, manufacture, store, treat, dispose of or release any Hazardous Substance on, under, about or from any of the
       Collateral; and any such activity shall be conducted in compliance with all applicable federal, state, and local laws, regulations, and
       ordinances, including without limitation all Environmental Laws. Borrower authorizes Lender and Its agents to enter upon the Collateral to
       make such inspections and tests as Lender may deem appropriate to determine compliance of the Collateral with this section of the
       Agreement. Any inspections or tests made by Lender shall be at Borrower's expense and for Lender's purposes only and shall not be
       construed to create any responsibility or liability on the part of Lender to Borrower or to any other person. The representations and
       warranties contained herein are based on Borrower's due diligence in investigating the Collateral for hazardous waste and Hazardous
       Substances. Borrower hereby (1} releases and waives any future claims against Lender for indemnity or contribution in the event
       Borrower becomes liable for deanup or other costs under any such laws, and (2) agrees to indemnify, defend, and hold harmless Lender
       against any and all claims, losses, liabilities, damages, penalties, and expenses which Lender may directly or indirectly sustain or suffer
       resulting from a breach of this section of the Agreement or as a consequence of any use, generation, manufacture, storage, disposal,
       release or threatened release of a hazardous waste or substance on the Collateral. The provisions of this section of the Agreement,
       including the obligation to indemnify and defend, shall survive the payment of the Indebtedness and the termination, expiration or
       satisfaction of this Agreement and shall not be affected by Lender's acquisition of any interest in any of the Collateral, whether by
       foreclosure or otherwise.
       Litigation and Claims. No litigation, claim, investigation, administrative proceeding or similar action (including those for unpaid taxes)
       against Borrower is pending or threatened, and no other event has occurred which may materially adversely affect Borrower's financial
       condition or properties, other than litigation, claims, or other events, if any, that have been disclosed to and acknowledged by Lender in
       writing.
       Taxes. To the best of Borrower's knowledge, all of Borrower's tax returns and reports that are or were required to be filed, have been
       filed, and all taxes, assessments and other governmental charges have been paid in full, except those presently being or to be contested by
       Borrower in good faith in the ordinary course of business and for which adequate reserves have been provided.
       Lien Priority. Unless otherwise previously disclosed to Lender in writing, Borrower has not entered into or granted any Security
       Agreements, or permitted the filing or . attachment of any Security Interests on or affecting any of the Collateral directly or indirectly
       securing repayment of Borrower's Loan and Note, that would be prior or that may in any way be superior to Lender's Security Interests and
       rights in and to such Collateral.
       Binding Effect. This Agreement, the Note, all Security Agreements (if any), and all Related Documents are binding upon the signers
       thereof, as well as upon their successors, representatives and assigns, and are legally enforceable in accordance with their respective
       terms.
   AFFIRMATIVE COVENANTS. Borrower covenants and agrees with Lender that, so long as this Agreement remains in effect, Borrower will:
       Notices of Claims and Litigation. Promptly inform Lender in writing of (1) all material adverse changes in Borrower's financial condition,
       and (2) all existing and all threatened litigation, claims, investigations. administrative proceedings or similar actions affecting Borrower or
       any Guarantor which could materially affect the financial condition of Borrower or the financial condition of any Guarantor.
       Financial Records. Maintain its books and records in accordance with GAAP, applied on a consistent basis, and permit Lender to examine
       and audit Borrower's books and records at all reasonable times.
       Financial Statements. Furnish Lender with the following :
            Interim Statements. As soon as available, but in no event later than thirty (30} days after the end of each month, Borrower's balance
            sheet and profit and loss statement for the period ended. prepared by Borrower.
            Tax Returns. As soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax reporting period
            ended, Borrower's Federal and other governmental tax returns, prepared by Borrower.
            Additional Requirements.
            Annual Statements. As soon as available, but in no event later than ninety (90) days after the end of each year. Hero Nutritional, LLC
            and Hero Nutritionals, Inc. to provide CPA reviewed and consolidated financial statements.
            Tax Return Schedules. Tax returns shall include all K-1s and applicable schedules.
            Tax Return Extension. In the event an extension for filing tax returns is filed, Borrower will provide copy of extension within thirty (30)
            days of such filing.
            Agings. As socn as available, but in no event later than fifteen (15) days after the end of each month, Borrower's borrowing base
            certificates, accounts receivable, accounts payable agings, inventory reports , work in process and related reports, which Lender may
            reasonably require.
            Audits. Without in erry \/1/aY limiting Lender's rights under any other provision of this Agreerrent, Lender shall be entitled to conduct
            semi-annual audits of Borrower's books during the Borrower's normal business hours. The costs and expenses incurred by Lender in
            connection with such audits shall be charged to Borrower. Lender will invoice Borrower for such CX)Sts and expenses and Borrower
            shall pay Lender the full amount of such costs and expenses within ten (10) days from the date of invoice
            Guarantor Financial Requirements: Furnish Lender with the following:
            Annual Statements. As soon as available, but in no event later than one hundred twenty (120) days after the end of each year,
            Jennifer Hodges to provide financial statement.




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                                       BUSINESS LOAN AGREEMENT (ASSET BASED)
   Loan No: t,1239                                                {Continued)                                                               Page 4

          Guarantor Tax Returns. As soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax
          reporting period ended, Federal and other governmental tax returns, prepared by Guarantor. Tax returns shall include all K-1s and
          applicable schedules.
          Guarantor Tax Return Extension. In the event       an extension for filing tax returns ls filed. Guarantor will provide copy of extension
          within thirty (30) days of such filing .
      All financial reports required to be provided under this Agreement shall be prepared in accordance with GAAP, applied on a consistent
      basis, and certified by Borrower as being true and correct.
      Additional Information. Furnish such additional information and statements, as Lender may request from time to time.
      Financial Covenants and Ratios. Comply with the following covenants and ratios:
          Minimum Income and Cash flow Requirements. Maintain not less than the following Minimum Net Income level:
           Debt Service Coverage. Maintain a minimum Debt Service Coverage Ratio of 1.250 to 1.000 on a rolling four (4} quarter basis. The
           term "Debt Service Coverage Ratio" means Borrower's earnings before income tax plus depreciation and amortization and annual debt
           payments. The line of credit debt payments will be assumed to be interest only, the term debt will be based on actual debt payments
           to be tested quarterly.
          Global Debt Service Coverago Requirement. Borrower and Guarantors to maintain a minimum global Debt Service Coverage of 1.25 to
          1.00 to be tested annually. The term "Debt Service Coverage Ratio" is define<.! as global cash income divided by global annual debt
          service for the borrower and guarantors. Other Cash Flow requirements are as follows:
           Profitability. Borrower cannot show two consecutive quarters of an operating !oss.
          Tangible Net Worth Requirements. Other Net Wortll requirements are as follows: Debt to Net Worth Ratio shall be calculated on a
          consolidated basis. In addition, Borrower shall comply with the following net worth ratio requirements:
               Debt / Worth Ratio. Maintain a ratio of Debt I Worth not in excess of 3.000 to 1.000. The ratio "Debt I Worth" means
               Borrower's Total Liabilities divided by Borrower's Tangible Net Worth. This leverage ratio will be evaluated as of quarter-end.
          Additional Requirements.
           Banking Relationship. Borrov.er and Guarantors shall maintain a banking relationship with Lender during the term of the Loan.
           Except as provided above, al! computations made to determine compliance with the requirements contained in this paragraph shail be
           made In accordance with generally accepted accounting principles, applied on a <XJnsistent basis, and certified by Borrower as being
           true and correct.
      lnsuranco. Maintain fire and other risk insurance, public liability Insurance, and such other insurance as Lender may require with respect to
      Borrower's properties and operations, in form , amounts, coverages and with insurance corrpanies acceptable to Lerder. Borrmver, U!X)I')
      request of Lender. will deliver to Lender from time to time the policies or certificates of insurance in form satisfactory to Lender, including
      stipulations that coverages will not be cancelled or diminished without at least twenty-one (21) days prior written notice to Lender. Each
      insurance policy also shall include an endorsement providing that coverage in favor of Lender will not be impaired in any way by any act,
      omission or default of Borrower or any other person. In connection with all policies covering assets in which Lender holds or is offered a
      security interest for the Loans, Borrower will provide Lender with such lender's loss payable or other endorsements as Lender may require.
      Insurance Reports. Furnish to Lender, upon request of Lender, reports on each existing insurance policy showing such information as
      Lender may reasonably request. including without limitation the iollowing: {1) the name of the insurer; (2) the risks insured; {3) the
      amount of the policy; (4) the properties insured; (5) the then current property values on the basis of which insurance has been obtained,
      and the manner of determining those values; and (6) the expiration date of tile policy. ln addition, upon request of Lender (however not
      more often than annually), Borrower will have an independent appraiser satisfactory to Lender determine, as applicable, the actual cash
      value or replacement cost of any Collateral. The cost of such appraisal shall be paid by Borrower.
      Guaranties. Prior to disbursement of any Loan proceeds, furnish executed guaranties of the Loans in favor of Lender, executed by the
      guarantors named below, on Lender's forms, and in the amounts and under the conditions set forth in those guaranties.
                     Names of Guarantors                           ~
                     Hero Nutritionals, Inc.                       Unlimited
                     Jennifer L. Hodges                            Unlimited
      Other Agreements. Comply with all terms and conditions of all other agreements, whether now or hereafter existing, between Borrower
      and any other party and notify Lender immediately in writing of any default in connection with any other such agreements.
      Loan Proceeds. Use all Loan proceeds solely for Borrower's business operations, unless specifically consented to the contrary by Lender in
      writing.
      Taxos, Charges and Liens. Pay and discharge when due a!I of its indebtedness and obligations, including without limitation all assessments.
      taxes, governmental charges, levies and liens, of every kind and nature, imposed upon Borrower or its properties, income, or profits, prior
      to the date on which penalties would attach, and all lawfui claims that, if unpaid, might become a lien or charge upon any of Borrower's
      properties, income, or profits. Provided however, Borrower will not be required to pay and discharge any such assessment, tax, charge,
      levy, lien or claim so long as (1) the legality of the same shali be contested in good faith by appropriate proceedings, and (2) Borrower
      shall have established on Borrower's books adequate reserves with respect to such contested assessment, tax, charge, levy, lien, or claim
      in accordance with GAAP.
      Performance. Perform and comply, in a timely manner, with all terms, conditions. and provisions set forth in this Agreement, in the Related
      Documents, and in all other instruments and agreements beh.veen Borrower and Lender. Borrower shall notify Lender immediately in
      writing of any default in connection with any agreement.
      Operations. Maintain executive and management personnel with substantially the same qualifications and experience as the present
      executive and management personnel; provide written notice to Lender of any change in executive and management personnel; conduct its
      business affairs in a reasonable and prudent manner.
      Environmental Studies. Promptly conduct and complete, at Borrower's expense, al\ such investigations, studies, samplings and testings as
      may be requested by Lender or any governmental authority relative to any substance, or any waste or by-product of any substance defined
      as toxic or a hazardous substance under applicable federal, state, or local law, rule , regulation, order or directive, at or affecting any
      property or any facility owned, leased or used by Borrower.




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       Compliance with Governmantal Requirements. Comply with all laws. ordinances, and regulations, now or hereafter in effect, of all
       governmental authorities applicable to the conduct of Borrower's properties. businesses and operations, and to the use or occupancy of the
       Collateral, including without limitation, the Americans With Disabilities Act. Borrower may contest in good faith any such law, ordinance,
       or regulation and withhold compliance during any prooeeding, including appropriate appeals, so long as Borrower has notified lender in
       writing prior to doing so and so long as, in Lender's sole opinion, Lender's interests in the Collateral are not jeopardized. Lender may
       require Borrower to post adequate security or a surety bond, reasonably satisfactory to Lender, to protect Lender's interest.
       Inspection. Permit employees or agents of Lender at any reasonable time to inspect any and all Collateral for the Loan or loans and
       Borrower's other properties and to exanine or audit Borrower's books, accounts, and records and to make copies and memoranda of
       Borrower's books, accounts. and records. If Borrower now or at any time hereafter maintains any records (including without limitation
       computer generated records and computer software programs for the generation of such records) in the possession of a third party,
       Borrower, upon request of Lender, shall notify such party to permit Lender free access to such records at all reasonable times and to
       provide lender with copies of any records it may request. all at Bormwer's expense.
       Compliance Certificates. Unless waived in writing by Lender, provide lender at least annually, with a certificate executed by Borrower's
       chief financial officer, or other officer or person acceptable to Lender, certifying that the representations and warranties set forth in this
       Agreement are true and correct as of the date of the certificate and further certifying that, as of the date of the certificate, no Event of
       Default exists under this Agreement.
       Environmental Compliance and Reports. Borrower shall comply in all respects with any and all Environmental Laws; not cause or permit to
       exist, as a result of an intentional or unintentional action or omission on Borrower's part or on the part of any third party, on property
       owned and/or occupied by Borrower, any environmental activity where damage may result to the environment, unless such environmental
       activity is pursuant to and in compliance with the conditions of a permit issued by the appropriate federal, state or local governmental
       authorities; shall furnish to Lender promptly and in any event within thirty (30) days after receipt thereof a copy of any notice, summons,
       lien, citation, directive, letter or other communication from any governmental agency or instrumentality concerning any intentional or
       unintentional action or omission on Borrower's part in connection with any environmental activity whether or not there is damage to the
       environment and/or other natural resources.
       Additional Assurances. Make, execute and deliver to Lender such promissory notes, mortgages, deeds of trust, security agreements,
       assignments, financing statements, Instruments, documents and other agreements as lender or its attorneys may reasonably request to
       evidence and secure the Loans and to perfect all Security Interests.
   LENDER'S EXPENDITURES. If any action or proceeding is oommenced that would materially affect Lender's interest in the Collateral or if
   Borrower fails to comply with any provision of this Agreement or any Related Documents, including but not limited to Borrower's failure to
   discharge or pay when due any amounts Borrower is required to discharge or pay under this Agreement or any Related Documents, Lender on
   Borrower's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited to discharging or
   paying all taxes, liens, security interests, encumbrances and other claims, at any time levied or placed on any Collateral and paying all costs for
   insuring, maintaining and preserving any Collateral. All such expenditures incurred or paid by lender for such purposes will then bear interest at
   the rate charged under the Note from the date incurred or paid by Lender to the date of repayment by Borrower. All such expenses will becorre
   a part of the Indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Note and be
   apportioned among and be payable with any installrnmt payments to bea:.:>rre due during either (1) the term of any applicable insurance policy;
   or (2) the remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable at the Note's maturity.
   NEGATIVE COVENANTS. Borrower covenants and agrees with lender that while this Agreement is in effect, Borrower shall not, without the
   prior written consent of Lender.
       Indebtedness and Liens. (1) Except for trade debt incurred in the normal course of business and indebtedness to Lender contemplated by
       this Agreement, create, incur or assume indebtedness for borrowed money, including capital leases, (2) sell, transfer. mortgage, assign,
       pledge. lease, grant a security interest in. or encumber any of Borrower's assets {except as allowed as Permitted Liens), or (3) sell with
       recourse any of Borrower's accounts, except to Lender.
       Additional Financial Restrictions. lend funds to affiliates or owners during the term of the loan with Lender.
       Continuity of Operations. (1) Engage in any business activities substantially different than those in which Borrower is presently engaged,
       (2) cease operations, liquidate, merge, transfer. acquire or consolidate with any other entity, change its name, dissolve or transfer or seli
       Collateral out of the ordinary course of business, or (3) make any distribution with respect to any capital account, whether by reduction of
       capital or otherwise.
       Loans, Acquisitions and Guaranties. (1) Loan. invest in or advance money or assets to any other person, enterprise or entity, (2)
       purchase, create or acquire any interest in any other enterprise or entity, or (3) incur any obligation as surety or guarantor other than in
       the ordinary course of business.
        Agreements. Enter into any agreement containing any provisions which would be violated or breached by the performance of Borrower's
        obligations under this Agreement or in connection herewith.
   CESSATION OF ADVANCES. If lender has made any commitment to make any Loan to Borrower, whether under this Agreement or under any
   other agreement, Lender shall have no obligation to make loan Advances or to disburse Loan proceeds if: (A) Borrower or any Guarantor is in
   default under the terms of this Agreement or any of the Related Documents or any other agreement that Borrower or any Guarantor has with
   Lender; (B) Borrower or any Guarantor dies, becomes incompetent or becomes insolvent, files a petition in bankruptcy or similar proceedings,
   or is adjudged a bankrupt; (C) there occurs a material adverse change in Borrower's financial condition, in the financial condition of any
   Guarantor, or in the value of any Collateral securing any Loan: or (D) any Guarantor seeks, claims or otherwise attempts to limit, modify or
   revoke such Guarantor's guaranty of the loan or any other loan with Lender; or (E) lender in good faith deems itself insecure, even though no
   Event of Default sha!I have occurred.
   RIGHT OF SETOFF. To the extent permitted by applicable law. Lender reserves a right of setoff in al! Borrower's accounts with Lender (whether
   checking, savings. or some other account). This indudes al! accounts Borrower holds jointly with someone else and all accounts Borrower may
   open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
   law. Borrower authorizes lender, to the extent permitted by applicable !aw. to charge or setoff all sums owing on the Indebtedness against any
   and all such accounts, and, at Lender's option. to administratively freeze all such accounts to allow Lender to protect Lender's charge and setoff
   rights provided in this paragraph.
   DEFAULT, Each of the following shall constitute an Event of Default under this Agreement:
        Payment Default. Borrower fails to make any payment when due under the loan.
        Other Defaults. Borrower fails to comply with or to perform any other term, obligation, covenant or condition contained in this Agreement




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        or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any other
        agreement between Lender and Borrower.
       Default In Favor of Third Parties. Borrower or any Grantor defaults under any loan, extension of credit, security agreement, purchase or
       sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's or any
       Grantor's property or Borrower's or any Grantor's ability to repay the Loans or perform their respective obligations under this Agreement or
       any of the Related Documents.
       False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
       Agreement or the Related Documents is false or misleading in any material respect, either now or at the time made or furnished or becomes
       false or misleading at any time thereafter.
       Death or Insolvency. The dissolution of Borrower (regardless of whether election to continue is made), any member withdraws from
       Borrower, or any other termination of Borrower's existence as a going business or the death of any member, the insolvency of Borrower,
       the appointment of a receiver for any part of Borrower's property, any assignment for the benefit of creditors, any type of creditor workout,
       or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower.
       Defective Collateralization. This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
       collateral document to create a valid and perfected security interest or lien) at any time and for any reason.
       Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
       repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the Loan.
       This includes a garnishment of any of Borrower's accounts, including deposit accounts, with Lender. However, this Event of Default shall
       not apply if there is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis of the creditor or
       forfeiture proceeding and if Borrovver gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender monies or
       a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in its sole discretion, as being an adequate
       reserve or bond for the dispute.
       Events Affecting Guarantor.   Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or any
       Guarantor dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
       Adverse Change. A material adverse change occurs in Borrower's financial condition, or Lender believes the prospect of payment or
       perfom1ance of the Loan is impaired.
       Insecurity. Lender in good faith believes itself insecure.
       Right to Cure. If any default, other than a default on Indebtedness, is curable and if Borrovver or C?rantor, as the case may be, has not been
       given a notice of a similar default within the preceding twelve (12) months, it may be cured if Borrower or Grantor, as the case may be,
       after Lender sends written notice to Borrower or Grantor, as the case may be, demanding cure of such default: (1) cure the default within
       fifteen (15) days; or (2) if the cure requires more than fifteen (15) days, immediately initiate steps which Lender deems in Lender's sole
       discretion to be sufficient to cure the default and thereafter continue and complete all reasonable and necessary steps sufficient to produce
       compliance as soon as reasonably practical.
   EFFECT OF AN EVENT OF DEFAULT. If any Event of Default shall occur, except where otherwise provided in this Agreement or the Related
   Documents, all commitments and obligations of Lender under this Agreement or the Related Documents or any other agreement immediately will
   terminate (including any obligation to make further Loan Advances or disbursements), and, at Lender's option , all Indebtedness immediately will
   become due and payable, all without notice of any kind to Borrower, except that in the case of an Event of Default of the type described in the
   "Insolvency" subsection above, such aa::eleration shall be automatic and not optional. In addition, Lender shall have all the rights and remedies
   provided in the Related Documents or available at law, in equity, or otherwise. _ Except as may be prohibited by applicable law, all of Lender's
   rights and remedies shall be cumulative and may be exercised singularly or concurrently. Election by Lender to pursue any remedy shall not
   exclude pursuit of any other remedy, and an election to make expenditures or to take action to perform an obligation of Borrower or of any
   Granter shall not affect Lender's right to declare a default and to exercise its rights and remedies.
   RIDER TO BUSINESS LOAN AGREEMENT. An exhibit, titled "Rider To Business Loan Agreement," is attached to this Agreement and by this
   reference is made a part of this Agreement just as if all the provisions, terms and conditions of the Exhibit had been fully set forth in this
   Agreement.
   MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
       Amendments. This Agreement, together with any Related Documents, constitutes the entire understanding and agreement of the parties
       as to the matters set forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing
       and signed by the party or parties sought to be charged or bound by the alteration or amendment.
       Attorneys' Fees; Expenses. Borrower agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees
        and Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help
        enforce this Agreement, and Borrower shall pay the costs and expenses of sudi enforcement. Costs and expenses include Lender's
        attorneys' fees and legal expenses whether or not there Is a lawsuit, including attorneys' fees and legal expenses for bankruptcy
        proceedings (including efforts to modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection
        services. Borrower also shall pay all court costs and such additional fees as may be directed by the court.
        Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
        provisions of this Agreement.
        Consent to Loan Participation. Borrower agrees and consents to Lender's sale or transfer, whether now or later, of one or more
        participation interests in the Loan to one or more purchasers, whether related or unrelated to Lender. Lender may provide, without any
        limitation whatsoever, to any one or more purchasers, or potential purchasers, any information or knowledge Lender may have about
        Borrower or about any other matter relating to the Loan, and Borrower hereby waives any rights to privacy Borrower may have with respect
        to such matters. Borrower additionally waives any and all notices of sale of participation interests. as well as all notices of any repurchase
        of such participation interests. Borrower also agrees that the purchasers of any such participation interests will be considered as the
        absolute owners of such interests in the Loan and will have all the rights granted under the participation agreement or agreements
        governing the sale of such participation interests. Borrower further waives all rights of offset or counterdaim that it may have now or later
        against Lender or against any purchaser of such a participation interest and unconditionally agrees that either Lender or such purchaser may
        enforce Borrower's obligation under the Loan irrespective of the failure or insolvency of any holder of any interest in the loan. Borrower
        further agrees that the purchaser of any such participation interests may enforce its interests irrespective of any personal claims or
        defenses that Borrower may have against Lender.
        Governing Law. This Agreement will be governed by federal law applicable to Lender and, to the extent not preempted by federa l law , the




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       laws of the State of California without regard to its conflicts of law provisions. This Agreement has been accepted by Lender In the State
       of California.
       Choice of Venue. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the courts of Los Angeles
       County, State of California.
       No Waiver by lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing
       and signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any
       other right. A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to
       demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender. nor any course of
       dealing between Lender and Borrower. or between Lender and any Grantor, shall constitute a waiver of any of Lender's rights or of any of
       Borrower's or any Grantor's obligations as to any future transactions. VVhenever the consent of Lender is required under this Agreement,
       the granting of such consent by Lender in any instance shall not constitute continuing consent to subsequent instances where such consent
       is required and in all cases such consent may be granted or withheld in the sole discretion of Lender.
       Notices. Any notice required to be given under this Agreement shall be given in writing, and shall be effective when actually delivered,
       when actually received by telefacsimile (unless otherwise required by law). when deposited with a nationally recognized overnight courier,
       or. if mailed, when deposited in the United States mail, as first dass, certified or registered mail post.age prepaid, directed to the addresses
       shown near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving formal written
       notice to the other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes, Borrower
       agrees to keep Lender informed at all times of Borrower's current address. Unless otherwise provided or required by law, if there is more
       than one Borrower, any notice given by Lender to any Borrower is deemed to be notice given to all Borrowers.
       Severability. If a court of competent jurisdiction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any
       circumstance, that finding shall not rrake the offending provision Illegal, invalid, or unenforceable as to any other cira.imstance. If feasible,
       the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot be so
       modified, it shall be considered deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or unenforceability
       of any provision of this Agreement shall not affect the legality, validity or enforceability of any other provision of this Agreement.
       Subsidiaries and Affiliates of Borrower. To the extent the context of any provisions of this Agreement makes it appropriate, including
       without limitation any representation, warranty or covenant. the word "Borrower" as used in this Agreement shall include all of Borrower's
       subsidiaries and affiliates. Notwithstanding the foregoing however, under no circumstances shall this Agreement be construed to require
       Lender to make any Loan or other financial accommodation to any of Borrower's subsidiaries or affiliates.
       Successors and Assigns. All covenants and agreements by or on behalf of Borrower contained in this Agreement or any Related
       Documents shall bind Borrower's successors and assigns and shall inure to the benefit of Lender and its successors and assigns. Borrower
       shall not, however, have the right to assign Borrower's rights under this Agreement or any interest therein, without the prior written
       consent of Lender.
       Survival of Representations and Warranties. Borrower understands and agrees that in extending Loan Advances, Lender is relying on all
       representations. warranties, and covenants made by Borrower in this Agreement or in any certificate or other instrument delivered by
       Borrower to Lender under this Agreement or the Related Documents. Borrower further agrees that regardless of any investigation made by
       Lender, all such representations, warranties and covenants will survive the extension of Loan Advances and delivery to Lender of the
       Related Documents, shall be continuing in nature, shall be deemed made and redated by Borrower at the time each Loan Advance is made,
       and shall remain in full force and effect until such time as Borrower's Indebtedness shall be paid in full, or until this Agreement shall be
       terminated in the manner provided above, whichever is the last to occur.
       Time is of the Essence. Time is of the essence in the performance of this Agreement.
       Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any jury trial in any action,
       proceeding, or counterclaim brought by any party against any other party.
   DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically
   stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms
   used in the singular shall indude the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
   defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code. Accounting words and terms not
   otheiwise defined in this Agreement shall have the meanings assigned to them in aCXX)rdance with generally accepted accounting principles as in
   effect on the date of this Agreement:
       Account. The word "Account" means a trade account, account receivable. other receivable, or other right to payment for goods sold or
       services rendered owing to Borrower (or to a third party granter acceptable to Lender).
       Account Debtor. The words "Account Debtor" mean the person or entity obligated upon an Account.
       Advance . The word "Advance" means a disbursement of Loan funds made, or to be made, to Borrower or on Borrower's behalf under the
       terms and conditions of this Agreement.
        Agreement. The word "Agreement" means this Business Loan Agreement (Asset Based), as this Business Loan Agreement (Asset Based)
        may be amended or modified from time to time, together with all exhibits and schedules attached to this Business Loan Agreement (Asset
        Based) from time to time.
        Borrower. The word "Borrower" means Hero Nutritionals, LLC and includes all co-signers and co-makers signing the Note and all their
        successors and assigns.
        Borrowing Base. The words "Borrowing Base" mean as determined by Lender from time to time, the lesser of (1) $2,000,000.00 or (2) the
        sum of (a) 80.000% of the aggregate amount of Eligible Accounts (not to exceed $2,000,000.00), plus (b) 75.00% of the CalCap
        Collateral Support Account (not to exceed $750,000.00) less (c) Dilution Reserve as recommended by Collateral Auditor
        Business Day. The words "Business Day" mean a day on which commercial banks are open in the State of California .
        Collateral. The word "Collateral" means all property and assets granted as collateral security for a Loan, whether real or personal property,
        whether granted directly or indirectly, whether granted now or in the future. and whether granted in the form of a security interest,
        mortgage, collateral mortgage, deed of trust, assignment, pledge, aup pledge, chattel mortgage, rollateral chattel mortgage, chattel trust,
        factor's lien, equipment trust, conditional sale, trust receipt, lien, dlarge, lien or title retention contract, lease or consignment intended as a
        security device. or any other security or lien interest whatsoever, whether created by law, contract. or otherwise. The word Collateral also
        includes without limitation all collateral described in the Collateral section of this Agreement.
        Eligible Accounts. The words "Eligible Accounts" mean at any time. all of Borrower's Accounts which contain selling terms and conditions




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      acceptable to Lender. The net amount of any Eligible Account against which Borrower may borrow shall exclude all returns, discounts,
      credits, and offsets of any nature. Unless otherwise agreed to by Lender in writing, Eligible Accounts do not include:
          (1) Accounts with respect to which the Account Debtor is a member, employee or agent of Borrower.
          (2) Accounts with respect to which the Account Debtor is affiliated with Borrower.
          (3) Accounts with respect to which goods are placed on consignment, guaranteed sale, or other terms by reason of which the
          payment by the Account Debtor may be conditional.
          (4) Accounts with respect to which the Account Debtor is not a resident of the United States, except to the extent such Accounts are
          supported by insurance, bonds or other assurances satisfactory to Lender.
          (5) Accounts with respect to which Borrower is or may become liable to the Account Debtor for goods sold or services rendered by
          the Account Debtor to Borrower.
          (6) Accounts which are subject to dispute, counterclaim, or setoff.
          (7) Accounts with respect to which the goods have not been shipped or delivered, or the services have not been rendered, to the
          Account Debtor.
          (8) Accounts with respect to which Lender, in its sole discretion, deems the creditworthiness or financial condition of the Account
          Debtor to be unsatisfactory.
          (9) Accounts of any Account Debtor who has filed or has had filed against it a petition in bankruptcy or an application for relief under
          any provision of any state or federal bankruptcy, insolvency, or debtor-in-relief acts; or who has had appointed a trustee, custodian, or
          receiver for the assets of such Account Debtor; or who has made an assignment for the benefit of creditors or has become insolvent
          or fails generally to pay its debts (including its payrolls) as such debts become due.
          {10) Accounts with respect to which the Account Debtor is the United States government or any department or agency of the United
          States.
          (11) Accounts which have not been paid in full within 90 days from the invoice date. The entire balance of any Account of any single
          Account Debtor will be ineligible whenever the portion of the Account which has not been paid within 90 days from the invoice date is
          in excess of 25.000% of the total amount outstanding on the Account.
          (12) That potion of the Accounts of CVS which exceeds 50.000% of all of Borrower's Accounts, that portion of the Accounts of
          United Natural Foods which exceeds 35.00% of all of Borrower's Accounts, and that potion of the Accounts of any other single
          Account Debtor which exceeds 25.000% of all of Borrower's Accounts.
      Environmental Laws.     The words "Environmental Laws" mean any and all state, federal and local statutes, regulations and ordinances
      relating to the protection of human health or the environment, including without limitation the Comprehensive Environmental Response,
      Compensation, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seq. ("CERCLA"), the Superfund Amendments and
      Reauthorization Act of 1986, Pub. L. No. 99-499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C. Section 1801, et seq.,
      the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901, et seq., Chapters 6.5 through 7 .7 of Division 20 of the California
      Health and Safety Code, Section 25100, et seq., or other applicable state or federal laws, rules, or regulations adopted pursuant thereto.
      Event of Default. The words "Event of Default" mean any of the events of default set forth in this Agreement in the default section of this
      Agreement.
      Expiration Date. The words "Expiration Date" mean the date of termination of Lender's commitment to lend under this Agreement.
      GAAP. The word "GAAP" means generally accepted accounting principles.
      Grantor. The word "Grantor" means each and all of the persons or entities granting a Security Interest in any Collateral for the Loan,
      including without limitation all Borrowers granting such a Security Interest.
      Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Loan.
      Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including without limitation a guaranty of all or part of the
      Note.
      Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical,
      chemical or infectious characteristics, may cause or pose a present or potential hazard to hurran health or the environment when
      improperly used, treated, stored. disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous
      Substances" are used in their very broadest sense and include without limitation any and all hazardous or toxic substances, materials or
      waste as defined by or listed under the Environmental Laws. The term "Hazardous Substances" also includes, without limitation, petroleum
      and petroleum by-products or any fraction thereof and asbestos.
      Indebtedness. The word "Indebtedness" means the indebtedness evidenced by the Note or Related Documents, including all principal and
      interest together with all other indebtedness and costs and expenses for which Borrower is responsible under this Agreement or under any
      of the Related Documents.
      Lender. The word "Lender" means Bank of Manhattan, N.A., its successors and assigns.
      Loan. The word "Loan" means any and all loans and financial accommodations from Lender to Borrower whether now or hereafter
      existing, and however evidenced, including without limitation those loans and financial accommodations described herein or described on
      any exhibit or schedule attached to this Agreement from time to time.
      Note. The word "Note" means the Note dated October 15, 2013 and executed by Hero Nutritionals, LLC in the principal amount of
      $2,000,000 .00, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of, and substitutions for the
      note or credit agreement.
      Permitted liens. The words "Permitted Liens" mean (1) liens and security interests securing Indebtedness owed by Borrower to Lender;
      (2) liens for taxes. assessments, or similar charges either not yet due or being contested in good faith; (3) liens of materiatmen,
      mechanics, warehousemen, or carriers, or other like liens arising in the ordinary course of business and securing obligations which are not
      yet delinquent; (4) purchase money liens or purchase money security interests upon or in any property acquired or held by Borrower in the
      ordinary course of business to sea.Jre indebtedness outstanding on the date of this Agreement or permitted to be incurred under the
      paragraph of this Agreement titled "Indebtedness and Liens"; (5) liens and security interests which, as of the date of this Agreement,
      have been disclosed to and approved by the Lender in writing; and (6) those liens and security interests which in the aggregate constitute
      an immaterial and insignificant monetary amount with respect to the net value of Borrower's assets.




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      Primary Credit Facility.         The words "Primary Credit Facility'' mean the credit facility described in the Line of Credit section of this
      Agreerrent.
      Related Documents. The words "Related Documents" mean all promissory notes, credit agreements. loan agreements, environmental
      agreements, guaranties . security agreements, mortgages, deeds of trust, security deeds, oollateral mortgages, and all other Instruments,
      agreements and documents, whether now or hereafter existing, executed in connection with the Loan.
      Security Agreement. The words "Security Agreement" mean and include without limitation any agreements, promises, covenants,
      arrangements, understandings or other agreements, whether created by law, contract, or otherwise, evidencing, governing, representing, or
      creating a Security Interest.
      Security Interest The words "Security Interest" mean, without limitation, any and all types of collateral security, present and future,
      whether in the form of a lien, charge, encumbrance, mortgage, deed of trust, security deed, assignment, pledge, crop pledge, cilattel
      mortgage, collateral chattel rrortgage, chattel trust, factor's lien, equipment trust, conditional sale, trust receipt, lien or title retention
      contract, lease or consignment intended as a security device, or any other security or lien interest whatsoever whether created by law,
      contract, or otherwise.
      Tangible Net Worth . The words "Tangible Net Worth" mean Borrower's total assets excluding all Intangible assets (i.e., goodwill,
      trademarks, patents, copyrights, organizational expenses, and similar intangible items, but including leaseholds and leasehold
      improvements) less total debt.
   BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS BUSINESS LOAN AGREEMENT (ASSET BASED) AND
   BORROWER AGREES TO ITS TERMS. THIS BUSINESS LOAN AGREEMENT (ASSET BASED) IS DATED OCTOBER 15, 2013.

   BORROWER:




                                                                           of Hero


   LENDER:




                           LASER PRO Lcr.<11;,g. V e,. , 3.2-20 .0 10 Copr, Hartnr.d Flnondal Sok.: tSona. 1:-:c.. 1997. 2013.   NI Rights Reserved.   - CA C:\APPUCATJ0NSUIARL..A.ND\C FN..Pl\Ct0.FC TR- 2109 PR-60




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                                                      RIDER TO BUSINESS LOAN AGREEMENT
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        References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item .
                                  An item above containing "***" has been omitted due to text le           h limitations.

  Borrower:         Hero Nutritionals, LLC                                                                                           Lender:                          Bank of Manhattan, N.A .
                    991 Calle Negocio                                                                                                                                 Pasadena Office
                    San Clemente; CA 92673                                                                                                                            199 South Los Robles Avenue
                                                                                                                                                                      Suite 130
                                                                                                                                                                      Pasadena, CA 911 01



   This RIDER TO BUSINESS LOAN AGREEMENT is attached to and by this reference is made a part of the Business Loan Agreement (Asset
   Based), dated October 15, 2013, and executed in connection with a loan or other financial accommodations between BANK OF MANHATTAN,
   N .A. and Hero Nutritionals, LLC.

   Failure to Provide Required Financial Information . E3orro\,\,er agrees to provide infom,ation as requested in the Business Loan Agreement or within
   forty-five (45) days of the written request of the Lender to permit the Lender, in the Lender's sole and absolute judgment, to verify the Minimum
   Debt Coverage Ratio as defined in the Business Loan Agreement. . The Ratio Information must include, but is not limited to, those required
   financial items as listed in the Business Loan Agreement. Fallure to provide the foregoing required information will result in the Margin, Floor
   and/or Fixed Note Rate being increased one hundred basis points of a percentage point (1.000%), effective on the 1st of the month following
   Borrower's failure to provide the required information by the required date . The increase is referred to hereafter as the "Rate Increase". A Rate
   Increase will only occur once unless a subsequent adjustment as described below occurs , and thereafter the Borrower again fails to comply with
   this requirement. Upon receipt by the Lender of the required infonnation after a Rate Increase, the Margin, Floor and/or Fixed Note Rate will be
   reduced to the original Margin, Floor and/or Fixed Note Rate. This reduction will be effective on the 1st day of the calendar month following the
   later of (i) ninety (90) days after the Rate Increase, or (ii) the 1st day of the month occurring th irty (30) days after the receipt of the required
   information . However, in no event will the monthly payment amount be adjusted other than on a regular Payment Change Date, as defined in
   the Note.
   Effect of Rider_ Except as modified by this Rider, the provisions of the Note and Business Loan Agreement shall remain unchanged .

   THIS RJDER TO BUSINESS LOAN AGREEMENT IS EXECUTED ON OCTOBER 15, 2013.

   BORROWER:




    LENDER:




                               L>SER PRO \.end ing, Va r. 11.2.20.010 Copr. Hanllnd l='lri.anelal Solut1ona. lr: c. 199 7, 20 13.   All Hight:, Rc-scrvod.   • CA C:\APPUCATIONS\H ARL.MO\CFl\!....P\.\C40.FC TR~2109 PR-60




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     References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                               An item above containing " ·0 *" has been omitted due to text lengL'-. limitations.

 Borrower:         Hero Nutritionals, LLC                                        Lender:         Bank of Manhattan, N.A.
                   1900 Carnegie Avenue, Building A                                              Pasadena Office
                   Santa Ana, CA 92705                                                           '199 South Los Robles Avenue
                                                                                                 Suite 130
                                                                                                 Pasadena, CA 91101



   THIS BUSINESS LOAN AGREEMENT (ASSET BASED) dated January 15, 2015, is made and executed between Hero Nutritionals, LLC
   ("Borrower") and Bank of Manhattan, N.A. ("Lender") on the following terms and conditions. Borrower has received prior commercial loans
   from Lender or has applied to Lender for a commercial loan or loans or other financial accommodations, including those which may be described
   on any exhibit or schedule attached to this Agreement. Borrower understands and agrees that: (A) in granting, renewing, or extending any
   Loan, Lender is relying upon Borrower's representations, warranties, and agreements as set forth in this Agreement; (B) the granting,
   renewing, or extending of any Loan by Lender at all times shall be subject to Lender's sole judgment and discretion; and (C) all such Loans
   shall be and remain subject to the terms and conditions of this Agreement.
   TERM. This Agreement shall be effective as of January 15, 2015, and shall continue in full force and effect until such time as all of Borrower's
   Loans in favor of Lender have been paid in full, including principal, interest, costs, expenses, attorneys' fees, and other fees and charges. or
   until such time as the parties may agree in writing to terminate this Agreement.
   ADVANCE AUTHORITY. The following person or persons are authorized , except as provided in this paragraph, to request advances and
   authorize payments under the line of credit until Lender receives from Borrower, at Lender's address shown above. written notice of revocation
   of such authority: Jennifer L. Hodges, Manager/Member of Hero Nutritionals, LLC. Advances will be made in accordance with the Borrowing
   Base Certificate.
   LINE OF CREDIT. Lender agrees to make Advances to Borrower from time to time from the date of this Agreement to the Expiration Date.
   provided the aggregate amount of such Advances outstanding at any time does not exceed the Borrowing Base. Within the foregoing limits,
   Borrower may borrow, partially or wholly prepay. and reborrow under this Agreement as follows:
        Conditions Precedent to Each Advance. Lender's obligation to make any Advance to or for the account of Borrower under this Agreement
        is subject to the following conditions precedent, with all documents, instruments, opinions. reports, and other items required under this
        Agreement to be in form and substance satisfactory to Lender:
              (1} Lender shall have received evidence that this Agreement and all Related Documents have been duly authorized, executed, and
              delivered by Borrower to Lender.
              (2) Lender shall have received such opinions of counsel, supplemental opinions, and documents as Lender may request.
              (3) The security interests in the Collateral shall have been duly authorized, created, and perfected with first lien priority and shall be in
              full force and effect.
              (4) All guaranties required by Lender for the credit facility(ies) shall have been executed by each Guarantor, delivered to Lender, and
              be in full force and effect.
              (5) Lender, at its option and for its sole benefit, shall have conducted an audit of Borrower's Accounts, Inventory, books, records, and
              operations, and Lender shall be satisfied as to their condition.
              (6) Borrower shall have paid to Lender all fees. costs, and expenses specified in this Agreement and the Related Documents as are
              then due and payable.
              (7) There shall not exist at the time of any Advance a condition which would constitute an Event of Default under this Agreement, and
              Borrower shall have delivered to Lender the compliance certificate called for in the paragraph below titled "Compliance Certificate."
        Making Loan Advances. Advances under this credit facility, as well as directions for payment from Borrower's accounts, may be requested
        orally or in writing by authorized persons. Lender may, but need not, require that all oral requests be confirmed in writing . Each Advance
        shall be conclusively deemed to have been made at the request of and for the benefit of Borrower (1) when credited to any deposit
        account of Borrower maintained with Lender or (2) when advanced in accordance with the instructions of an authorized person. Lender, at
        its option. may set a cutoff time, after which all requests for Advances will be treated as having been requested on the next succeeding
        Business Day.
        Mandatory Loan Repayments. If at any time the aggregate principal amount of the outstanding Advances shall exceed the applicable
        Borrowing Base, Borrower, immediately upon written or oral notice from Lender, shall pay to Lender an amount equal to the difference
        between the outstanding principal balance of the Advances and the Borrowing Base. On the Expiration Date, Borrower shall pay to Lender
        in full the aggregate unpaid principal amount of all Advances then outstanding and all accrued unpaid interest, together with all other
        applicable fees, costs and charges, if any, not yet paid .
        Loan Account. Lender shall maintain on its books a record of account in which Lender shall make entries for each Advance and such other
        debits and credits as shall be appropriate in connection with the credit facility. Lender shall provide Borrower with periodic statements of
        Borrower's account. which statements shall be considered to be correct and conclusively bind ing on Borrower unless Borrower notifies
        Lender to the contrary within thirty (30) days after Borrower's receipt of any such statement which Borrower deems to be incorrect.
   COLLATERAL. To secure payment of the Primary Credit Facility and performance of all other Loans, obligations and duties owed by Borrower to
   Lender, Borrower (and others, if required} shall grant to Lender Security Interests in such property and assets as Lender may require . Lender's
   Security Interests in the Collateral shall be continuing liens and shall include the proceeds and products of the Collateral, including without
   limitatio_
            n the proceeds of any insurance. With respect to the Collateral , Borrower agrees and represents and warrants to Lender:
        Perfection of Security Interests. Borrower agrees to execute all documents perfecting Lender's Security Interest and to take whatever
        actions are requested by Lender to perfect and continue Lender's Security Interests in the Collateral. Upon request of Lender, Borrower will
        deliver to Lender any and all of the documents evidencing or constituting the Collateral, and Borrower will note Lender's interest upon any
        and all chattel paper and instruments if not delivered to Lender for possession by Lender. Contemporaneous with the execution of this
        Agreement, Borrower will execute one or more UCC financing statements and any similar statements as may be required by applicable law,
        and Lender will file such financing statements and all such similar statements in the appropriate location or locations. Borrower hereby




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                                      BUSINESS LOAN AGREEMENT (ASSET BASED)
  Loan No: -1239                                    {Continued)                                                                            Page 2

      appoints Lender as its irrevocable attorney-in-fact for the purpose of executing any documents necessary to perfect or to continue any
      Security Interest. Lender may at any time, and without further authorization from Borrower, file a carbon, photograph, facsimile. or other
      reproduction of any financing statement for use as a financing statement. Borrower will reimburse Lender for a!I expenses for the
      perfection, termination, and the continuation of the perfection of Lender's security interest in the Collateral. Borrower promptly will notify
      Lender before any change in Borrower's name inciuding 3ny change io ~he assumed business names of Borrower. Borrower also promptly
      wili notify Lender before any change in Borrower's Social Security Number or Employer Identification Number. Borrower further agrees to
      notify Lender in writing prior to any change in address or location of Borrowers principal go,1ernance office or shou:d Bonower merge or
      consolidate with any other entity.
      Collateral Records. Borro'/.,er does now, and at all times hereafter shall, keep correct and accurate records of the Collateral, all of which
      records shall be available to Lender or U:inder's representative upon demand tor inspection and copying at any reasonable time. With
      respect to the Accounts, Borrower agrees to keep and rnaintain such records as Lender may require, including without limitation
      information concerning Eligible Accounts and Account balances and agings. Records related to Accounts (Receivables} are or will be
      located at 1900 Carnegie Avenue, Building A, Santa Ana, CA 92705. With respect to the Inventory, Borrower agrees to keep and maintain
      such records as Lender may require, inciuding without limitation information concerning Eligible Inventory and records itemizing and
      describing the kind, type, quality. and quantity of Inventory, Borrower's Inventory costs and selling prices, and the daily withdrawals and
      additions to Inventory. Records related to Inventory are or will be located at 1900 Carnegie Avenue, Building A, Santa Ana. CA 92705.
      The above is an accurate and complete list of all locations at which Borrower keeps or maintains business records concerning Borrower's
      collateral.
      Collateral Schedules. Concurrently with the execution and delivery of this Agreement, Borrower shall execute and deliver to Lender
      schedules of Accounts and Inventory and schedules of Eligible Accounts and Eligible Inventory in form and substance satisfactory to the
      Lender. Thereafter supplemental schedules shall be delivered according to the following schedule: With respect to Eligible Accounts,
      schedules shall be delivered monthly within fifteen (15) days after the end of each month.
      Representations and Warranties Concerning Accounts. With respect to the Accounts, Borrower represents and warrants to Lender: (1)
      Each Account represented by Borrower to be an Eligible Account for purposes of this Agreement conforms to the requirements of the
      definition of an Eligible Account; (2) AH Account information listed on schedules delivered to Lender will be true and correct, subject to
      immaterial variance; and (3) Lender, its assigns, or agents shall have the right at any time and at Borrower's expense to inspect, examine,
      and audit Borrower's records and to confirm with Account Debtors the accuracy of such Accounts.
      Representations and Warranties Concerning Inventory. With respect to the Inventory, Borrower represents and warrants to Lender: (1) All
      Inventory represented by Borrower to be Eligible Inventory for purposes of this Agreement conforms to the requirements of the definition of
      Eligible Inventory; (2) All Inventory values listed on schedules delivered to Lender will be true and correct, subject to immaterial variance;
      (3) The value of the Inventory will be determined on a consistent accounting basis; (4) Except as agreed to the contrary by Lender in
      writing, all Eligible Inventory is now and at all times hereafter will be in Borrower's physical possession and shall not be held by others on
      consignment, sale on approval, or sale or return; (5) Except as reflected in the Inventory schedules delivered to Lender, all Eligible
      Inventory is now and at all times hereafter will be of good and merchantable quality, free from defects; (6) Eligible Inventory is not now
      and wilt not at any time hereafter be stored with a bailee, warehouseman, or similar party without Lender's prior written consent, and, in
      such event, Borrower will concurrently at the time of bailment cause any such bailee, warehouseman, or similar party to issue and deliver
      to Lender, in form acceptable to Lender, warehouse receipts in Lender name evidencing the storage of Inventory; and (7) Lender, its
      assigns, or agents shall have the right at any time and at Borrower's expense to inspect and examine the Inventory and to check and test
      the same as to quality, quantity. value, and condition.
  CONDITIONS PRECEDENT TO EACH ADVANCE. Lender's obligation to make the initial Advance and each subsequent Advance under this
  Agreement shall be subject to the fulfillment to Lender's satisfaction of all of the conditions set forth in this Agreement and in the Related
  Documents.
      Loan Documents. Borrower shail provide to Lender the following documents for the Loan: (1) the Note; (2) Security Agreements
      granting to Lender security interests in the Collateral; (3) financing statements and all other documents perfecting Lender's Security
      Interests; (4) evidence of insurance as required below; (5) guaranties; (6) together with all such Related Documents as Lender may
      require for the Loan; all in form and substance satisfactory to Lender and Lender's counsel.
      Borrower's Authorization. Borrower shall have provided in form and substance satisfactory to Lender properly certified resolutions, duly
      authorizing the execution and delivery of this Agreement, the Note and the Related Documents. In addition, Borrower shall have provided
      such other resolutions. authorizations, documents and instruments as Lender or its counsel, may require.
      Fees and Expenses Under This Agreement. Borrower shall have paid to Lender alt fees, costs, and expenses specified ln this Agreement
      and the Related Documents as are then due and payable.
      Representations and Warranties. The representations and warranties set forth in this Agreement, in the Related Documents, and in any
      document or certificate delivered to Lender under this Agreement are true and correct.
      No Event of Default. There shall not exist at the time of any Advance a condition which would constitute an Event of Default under this
      Agreement or under any Related Document.
  REPRESENTATIONS AND WARRANTIES. Borrower represents and warrants to Lender, as of the date of this Agreement, as of the date of each
  disbursement of loan proceeds, as of the date of any renewal. extension or modification of any Loan, and at all times any Indebtedness exists:
      Organization. Borrower is a limited liability company which :s, and at all times shall be. duly organized, validly existing, and in good
      standing under and by virtue of the laws of the State of California. Borrower is duly authorized to transact business in all other states in
      which Borrower is doing business, having obtained all necessary filings, governmental licenses and approvals for each state in which
      Borrower is doing business. Specifically, Borrower is. and at all times shall be, duly qualified as a foreign limited liability company in al!
      states in which the failure to so qualify would have a material adverse effect on its business or financial condition. Borrower has the full
      power and authority to own its properties and to transact the business in which it is presently engaged or presently proposes to engage .
      Borrower maintains an office at 1900 Carnegie Avenue. Building A, Santa Ana, CA 92705. Unless Borrower has designated otherwise in
      writing, the principal office is the office at which Borrower keeps its books and records including its records concerning the Collateral.
      Borrower will notify Lender prior to any change in the location of Borrower's state of organization or any change in Borrower's name.
      Borrower shall do all things necessary to preserve and to keep in full force and effect its existence, rights and privileges, and shall comply
      with all regulations, rules, ordinances, statutes, orders and decrees of any governmental or quasi-governmental authority or court applicable
      to Borrower and Borrower's business activities.
      Assumed Businoss Names . Borrower has filed or recorded all documents or filings required by law relating to all assumed business names
      used by Borrower. Excluding the name of Borrower, the following is a complete list of all assumed business names under which Borrower
      does business: None.




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                                      BUSINESS LOAN AGREEMENT (ASSET BASED)
  Loan No: 91239                                    (Continued)                                                                              Page 3

      Authorization. Borrower's execution. delivery, and performance of this Agreement and all the Related Documents have been duly
      authorized by all necessary action by Borrower and do not conflict with, result in a violation of, or constitute a default under (1) any
      provision of (a) Borrower's articles of organization or membership agreements, or (bl any agreement or other instrument binding upon
      Borrower or (2) any iaw, governmental regulation, court decree, or order applicable to Borrower or to Borrower's properties.
      Financial lnfonnation. Each of Borrower's financial statements supplied to Lender truly and completely disclosed Borrower's financial
      condition as of the date of the statement, and there has been no material adverse change in Borrower's financial condition subsequent to
      the date of the rnost recent financial statement suppiied to Lender. Borrower has no material contingent obligations except as disclosed in
      such financial statements.
      Legal Effect. This Agreement constitutes, and any instrument or agreement Borrower is required to give under this Agreement when
      delivered will constitute legal, valld, and binding obligations of Borrower enforceable against Borrower in accordance with their respective
      terms.
      Properties. Except as contemplated by this Agreement or as previously disclosed in Borrower's financial statements or in writing to Lender
      and as accepted by Lender, and except for property tax liens for taxes not presently due and payable, Borrower owns and has good title to
      all of Borrower's properties free and clear of all Security Interests, and has not executed any security documents or financing statements
      relating to such properties. All of Borrower's properties are titled in Borrower's legal name, and Borrower has not used or filed a financing
      statement under any other name for at least the last five (5) years.
      Hazardous Substances. Except as disclosed to and acknowledged by Lender in writing, Borrower represents and warrants that: (1) During
      the period of Borrower's ownership of the Collateral, there has been no use, generation. manufacture, storage, treatment, disposal, release
      or threatened release of any Hazardous Substance by any person on, under, about or from any of the Collateral. (2) Borrower has no
      knowledge of, or reason to believe that there has been (a) any breach or violation of any Environmental Laws; (b) any use, generation,
      manufacture, storage, treatment, disposal, release or threatened release of any Hazardous Substance on, under, about or from the
      Collateral by any prior owners or occupants of any of the Collateral; or (c) any actual or threatened litigation or claims of any kind by any
      person relating to such matters. (3) Neither Borrower nor any tenant, contractor, agent or other authorized user of any of the Collateral
      shali use, generate, manufacture, store, treat, dispose of or release any Hazardous Substance on, under, about or from any of the
      Collateral; and any such activity shall be conducted in compliance with all applicable federal, state, and local laws, regulations, and
      ordinances, including without limitation all Environmental Laws. Borrower authorizes lender and its agents to enter upon the Collateral to
      make such inspections and tests as Lender may deem appropriate to determine compliance of the Collateral with this section of the
      Agreement. Any inspections or tests made by Lender shall be at Borrower's expense and for Lender's purposes only and shall not be
      construed to create any responsibility or liability on the part of Lender to Borrower or to any other person. The representations and
      warranties contained herein are based on Borrower's due diligence in investigating the Collateral for hazardous waste and Hazardous
      Substances. Borrower hereby (1) releases and waives any future claims against Lender for indemnity or contribution in the event
      Borrower becomes liable for cleanup or other costs under any such laws. and (2) agrees to indemnify, defend, and hold hamiless Lender
      against any and all daims, losses, liabilities, damages, penalties, and expenses which Lender may directly or indirectly sustain or suffer
      resulting from a breach of this section of the Agreement or as a consequence of any use, generation, manufacture, storage, disposal,
      release or threatened release of a hazardous waste or substance on the Collateral. The provisions of this section of the Agreement,
      including the obligation to indemnify and defend, shall survive the payment of the Indebtedness and the termination, expiration or
      satisfaction of this Agreement and shall not be affected by Lender's acquisition of any interest in any of the Collateral, whether by
      foreclosure or otherwise.
      Litigation and Claims. No litigation, claim, investigation, administrative proceeding or similar action (including those for unpaid taxes)
      against Borrower is pending or threatened, and no other event has occurred which may materially adversely affect Borrower's financial
      condition or properties, other than litigation, claims, or other events, if any, that have been disclosed to and acknowledged by Lender in
      writing.
      Taxes. To the best of Borrower's knowledge, all of Borrower's tax returns and reports that are or were required to be filed, have been
      filed, and al! taxes, assessments and other governmental charges have been paid in full, except those presently being or to be contested by
      Borrower in good faith in the ordinary course of business and for which adequate reserves have been provided.
      lien Priority. Unless otherwise previously disclosed to Lender in writing, Borrower has not entered into or granted any Security
      Agreements, or permitted the filing or attachment of any Security Interests on or affecting any of the Collateral directly or indirectly
      securing repayment of Borrower's Loan and Note, that would be prior or that may in any way be superior to Lender's Security Interests and
      rights in and to such Coliateral.
      Binding Effect. This Agreement, the Note, all Security Agreements (if any), and all Related Documents are binding upon the signers
      thereof, as well as upon their successors, representatives and assigns, and are legally enforceable in accordance with their respective
      terms.
  AFFIRMATIVE COVENANTS. Borrower covenants and agrees with Lender that, so long as this Agreement remains in effect, Borrower will:
      Notices of Claims and Litigation. Promptly inform Lender in writing of (1) all material adverse changes in Borrower's financial condition,
      and (2) all existing and al! threatened litigation, claims, investigations, administrative proceedings or similar actions affecting Borrower or
      any Guarantor which could materia!ly affect the financial condition of Borrower or the financial condition of any Guarantor.
      Financial Records. Maintain its books and records in accordance with GAAP, applied on a consistent basis, and permit Lender to examine
      and audit Borrower's books and records at an reasonable times.
      Financial Statements. Furnish Lender with the following:
           Interim Statements. As soon as available , but in no event later than thirty (30) days after the end of each month, Borrower's balance
           sheet and profit and loss statement for the period ended, prepared by Borrower.
           Tax Returns. As soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax reporting period
           ended, Borrower's Federal and other governmental tax returns, prepared by Borrower.
           Additional Requirements.
           Annual Statements. As soon as available. but in no event later than ninety (90) days after the end of each year, Hero Nutritional, LLC
           and Hero Nutritionals, Inc. to provide CPA reviewed and consolidated financial statements.
           Tax Return Schedules. Tax returns shall include all K-1 s and applicable schedules.
           Tax Return Extension. In the event an extension for filing tax returns is filed, Borrower will provide copy of extension within thirty (30)
           days of such filing .




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                                     BUSINESS LOAN AGREEMENT (ASSET BASED)
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         Agings. As soon as available, but in no event later than fifteen (15) days after the end of each month, Borrower's borrowing base
         certificates, accounts receivable, accounts payable agings, inventory reports, work in process and related reports, which Lender may
         reasonably require .
         Audits and Inspections. Without in any way limiting Lender's rights under any other provision of this Agreement, Lender shall ~e
         entitled to conduct semi-annual audits of Borrower's books and inventory during the Borrower's normal business hours. The costs and
         expenses incurred by Lender in connection with such audi!s and inspections shall be charged to Borrower. Lender will invoice
         Borrower for such costs and expenses and Borrower shall pay Lender the full amount of such costs and expenses within ten {10) days
         from the date of invoice
         Guarantor Financial Requirements: Furnish Lender with the following:
         Annual Statements. As soon as available, but in no event later than one hundred twenty (120) days after the end of each year,
         individual Guarantor to provide financial statement.
         Guarantor Tax Returns. As soon as available, but in no event later than thirty (30) days after the applicable filing date for the tax
         reporting period ended, Federal and other governmental tax returns, prepared by Guarantor. Tax returns shall include all K-1s and
         applicable schedules.
         Guarantor Tax Return Extension. In the event an extension for filing tax returns is filed, Guarantor will provide copy of extension
         within thirty (30) days of such filing .
         Sale of San Clemente Property. Individual Guarantor acknowledges and agrees the net proceeds from the sale of the property at 991
         Calle Negocio, San Clemente, CA 92673 once sold will be kept available for use by Borrower.
     All financial reports required to be provided under this Agreement shall be prepared in accordance with GMP, applied on a consistent
     basis, and certified by Borrower as being true and correct.
     Additional Information. Furnish such additional information and statements, as Lender may request from time to time.
     Financial Covenants and Ratios. Comply with the following covenants and ratios :
         Minimum Income and Cash flow Requirements. Maintain not less than the following Minimum Net Income level:
         Debt Service Coverage. Maintain a minimum Debt Service Coverage Ratio of 1.250 to 1.000 on a rolling four (4) quarter basis . The
         term "Debt Service Coverage Ratio" means Borrower's earnings before income tax plus depreciation and amortization and annual debt
         payments. The line of credit debt payments will be assumed to be interest only, the term debt will be based on actual debt payments
         to be tested quarterly.
         Global Debt Service Coverage Requirement. Borrower and Guarantors to maintain a minimum global Debt Service Coverage of 1.25 to
         1.00 to be tested annually. The term UDebt Service Coverage Ratio" is defined as global cash income divided by global annual debt
         service for the borrower and guarantors. Other Cash Flow requirements are as follows :
         Profitability. Borrower cannot show two consecutive quarters of an operating loss.
         Tangible Net Worth Requirements. Other Net Worth requirements are as follows: Debt to Net Worth Ratio shall be calculated on a
         consolidated basis. In addition, Borrower shall comply with the following net worth ratio requirements :
              Debt / Worth Ratio. Maintain a ratio of Debt / Worth not in excess of 3.000 to 1.000. The ratio "Debt / Worth" means
              Borrower's Total Liabilities divided by Borrower's Tangible Net Worth. Th is leverage ratio will be evaluated as of quarter-end .
         Additional Requirements.
         Banking Relationship. Borrower and Guarantors shall maintain a banking relationship with Lender during the term of the Loan.
         Except as provided above, all computations made to determine compliance with the requirements contained in this paragraph shall be
         made in accordance with generally accepted accounting principles, applied on a consistent basis, and certified by Borrower as being
         true and correct.
     Insurance. Maintain fire and other risk insurance, public liability insurance, and such other insurance as Lender may require with respect to
     Borrower's properties and operations, in form. amounts, coverages and with insurance companies acceptable to Lender. Borrower, upon
     request of Lender, will deliver to Lender from time to time the policies or certificates of insurance in form satisfactory to Lender, including
     stipulations that coverages will not be cancelled or diminished without at least twenty-one {21) days prior written notice to Lender. Each
     insurance policy also shall include an endorsement providing that coverage in favor of Lender will not be impaired in any way by any act,
     omission or default of Borrower or any other person. In connection with all policies covering assets in which Lender holds or is offered a
     security interest for the Loans, Borrower will provide Lender with such lender's loss payable or other endorsements as Lender may require.
     Insurance Reports. Furnish to Lender, upon request of Lender. reports on each existing insurance policy showing such information as
     Lender may reasonably request, including without limitation the following : (1) the name of the insurer; (2) the risks insured; (3) the
     amount of the policy; (4) the properties insured; (5) the then current property values on the basis of which insurance has been obtained ,
     and the manner of determining those values; and (6) the expiration date of the policy. In addition. upon request of Lender (however not
     more often than annually), Borrower will have an independent appraiser satisfactory to Lender determine, as applicable, the actual cash
     value or replacement cost of any Collateral. The cost of such appraisal shall be paid by Borrower.
     Guaranties. Prior to disbursement of any Loan proceeds, furnish executed guaranties of the Loans in favor of Lender, executed by the
     guarantors named below, on Lender's forms, and in the amounts and under the conditions set forth in those guaranties.
                   Names of Guarantors                            ~
                   Hero Nutritionals, Inc.                        Unlimited
                   Jennifer L. Hodges                             Unlimited
     Other Agreements. Comply with all terms and conditions of all other agreements, whether now or hereafter existing, between Borrower
     and any other party and notify Lender immediately in writing of any default in connection with any other such agreements.
     Loan Proceeds. Use all Loan proceeds solely for Borrower's business operations, unless specifically consented to the contrary by Lender in
     writing .
     Taxes, Charges and Liens. Pay and discharge when due all of its indebtedness and obligations, including without limitation all assessments,
     taxes, governmental charges, levies and liens , of every kind and nature, imposed upon Borrower or its properties. income, or profits, prior
     to the date on which penalties would attach, and all lawful claims that, if unpaid . might become a lien or charge upon any of Borrower's




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      properties, income, or profits. Provided however, Borrower will not be required to pay and discharge any such assessment, tax, charge,
      levy, lien or claim so long as (1) the legality of the same shall be contested in good faith by appropriate proceedings, and (2) Borrower
      shall have established on Borrower's books adequate reserves with respect to such contested assessment, tax, charge, levy, lien, or claim
      in accordance with GAAP.
      Performance. Perform and comply, in a timely manner, with all terms. conditions, and provisions set forth in this Agreement, in the Related
      Documents, and in all other instruments and ag(eements between Borrower and Lender. Borrower shall notify Lender immediately in
      writing of any default in connection with any agreement.
      Operations.   Maintain executive and management personnel with substantially the same qualifications and experience as the present
      executive and management personnel; provide written notice to Lender of any change in executive and management personnel; conduct its
      business affairs in a reasonable and prudent manner.
      Environmental Studies. Promptly conduct and complete, at Borrower's expense, all such investigations, studies, samplings and testings as
      may be requested by Lender or any governmental authority relative to any substance, or any waste or by-product of any substance defined
      as toxic or a hazardous substance under applicable federal, state, or local law, rule, regulation, order or directive. at or affecting any
      property or any facility owned, leased or used by Borrower.
      Compliance with Governmental Requirements. Comply with all laws. ordinances, and regulations, now or hereafter in effect, of all
      governmental authorities applicable to the conduct of Borrower's properties, businesses and operations, and to the use or occupancy of the
      Collateral. including without limitation. the Americans With Disabilities Act. Borrower may contest in good faith any such law, ordinance,
      or regulation and withhold compliance during any proceeding, including appropriate appeals, so long as Borrower has notified Lender in
      writing prior to doing so and so long as. in Lender's sole opinion, Lender's interests in the Collateral are not jeopardized. Lender may
      require Borrower to post adequate security or a surety bond, reasonably satisfactory to Lender, to protect Lender's interest.
      Inspection. Permit employees or agents of Lender at any reasonable time to inspect any and all Collateral for the Loan or Loans and
      Borrower's other properties and to examine or audit Borrower's books, accounts, and records and to make copies and memoranda of
      Borrower's books, accounts, and records. If Borrower now or at any time hereafter maintains any records (including without limitation
      computer generated records and computer software programs for the generation of such records) in the possession of a third party,
      Borrower, upon request of Lender, shall notify such party to permit Lender free access to such records at all reasonable times and to
      provide Lender with copies of any records it may request, all at Borrower's expense.
      Compliance Certificates. Unless waived in writing by Lender. provide Lender at least annually, with a certificate executed by Borrower's
      chief financial officer, or other officer or person acceptable to Lender, certifying that the representations and warranties set forth in this
      Agreement are true and correct as of the date of the certificate and further certifying that, as of the date of the certificate, no Event of
      Default exists under this Agreement.
      Environmental Compliance and Reports. Borrower shall comply in all respects with any and all Environmental Laws; not cause or pennit to
      exist. as a result of an intentional or unintentional action or omission on Borrower's part or on the part of any third party, on property
      owned and/or occupied by Borrower, any environmental activity where damage may result to the environment, unless such environmental
      activity is pursuant to and in compliance with the conditions of a pennit issued by the appropriate federal, state or local governmental
      authorities; shall furnish to Lender promptly and in any event within thirty (30) days after receipt thereof a copy of any notice, summons,
      lien, citation, directive, letter or other communication from any governmental agency or instrumentality concerning any intentional or
      unintentional action or omission on Borrower's part in connection with any environmental activity whether or not there is damage to the
      environment and/or other natural resources.
      Additional Assurances. Make, execute and deliver to Lender such promissory notes, mortgages, deeds of trust. security agreements.
      assignments, financing statements, instruments, documents and other agreements as Lender or its attorneys may reasonably request to
      evidence and secure the Loans and to perfect all Security Interests.
  LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially affect Lender's interest in the Collateral or if
  Borrower fails to comply with any provision of this Agreement or any Related Documents, including but not limited to Borrower's failure to
  discharge or pay when due any amounts Borrower is required to discharge or pay under this Agreement or any Related Documents, Lender on
  Borrower's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited to discharging or
  paying all taxes, liens, security interests. encumbrances and other claims. at any time levied or placed on any Collateral and paying all costs for
  insuring, maintaining and preserving any Collateral. All such expenditures incurred or paid by Lender for such purposes will then bear interest at
  the rate charged under the Note from the date incurred or paid by Lender to the date of repayment by Borrower. All such expenses will become
  a part of the Indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Note and be
  apportioned among and be payable with any installment payments to become due during either (1) the term of any applicable insurance policy;
  or (2) the remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable at the Note's maturity.
  NEGATIVE COVENANTS.         Borrower covenants and agrees with Lender that while this Agreement is in effect, Borrower shall not, without the
  prior written consent of Lender:
      Indebtedness and Liens. (1) Except for trade debt incurred in the normal course of business and indebtedness to Lender contemplated by
      this Agreement, create, incur or assume indebtedness for borrowed money, including capital leases, (2) sell, transfer, mortgage, assign,
      pledge, lease, grant a security interest in, or encumber any of Borrower's assets (except as allowed as Permitted Liens), or (3) sell with
      recourse any of Borrower's accounts, except to Lender.
       Additional Financial Restrictions. Lend funds to affiliates or owners during the term of the loan with Lender.
       Continuity of Operations. (1) Engage in any business activities substantially different than those in which Borrower is presently engaged,
       (2) cease operations, liquidate, merge, transfer, acquire or consolidate with any other entity, change its name, dissolve or transfer or sell
       Collateral out of the ordinary course of business, or (3) make any distribution with respect to any capital account, whether by reduction of
       capital or otherwise.
       Loans, Acquisitions and Guaranties. (1) Loan, invest in or advance money or assets to any other person, enterprise or entity, (2)
       purchase. create or acquire any interest in any other enterprise or entity, or (3) incur any obligation as surety or guarantor other than in
       the ordinary course of business.
       Agreements. Enter into any agreement containing any provisions which would be violated or breached by the performance of Borrower's
       obligations under this Agreement or in connection herewith.
  CESSATION OF ADVANCES. If Lender has made any commitment to make any Loan to Borrower, whether under this Agreement or under any
  other agreement, Lender shall have no obligation to make Loan Advances or to disburse Loan proceeds if: (A) Borrower or any Guarantor is in
  default under the terms of this Agreement or any of the Related Documents or any other agreement that Borrower or any Guarantor has with




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  Lender; (8) Borrower or any Guarantor dies, becomes incompetent or becomes insolvent, files a petition in bankruptcy or similar proceedings,
  or is adjudged a bankrupt; (C) there occurs a material adverse change in Borrower's financial condition, in the financial condition of any
  Guarantor, or in the value of any Collateral securing any Loan; or (0) any Guarantor seeks, claims or otherwise attempts to limit, modify or
  revoke such Guarantor's guaranty of the Loan or any other loan with Lender; or (E) Lender in good faith deems itself insecure, even though no
  Event of Default shall have occurred.
  RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reseNes a right of setoff in all Borrower's accounts with Lender (whether
  checking, savings, or some other account). This includes all accounts Borrower holds jointly with someone else and all accounts Borrower may
  open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
  law. Borrower authorizes Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the Indebtedness against any
  and all such accounts, and, at Lender's option, to administratively freeze all such accounts to allow Lender to protect Lender's charge and setoff
  rights provided in this paragraph.
  DEFAULT. Each of the following shall constitute an Event of Default under this Agreement:
      Payment Default. Borrower fails to make any payment when due under the Loan.
      Other Defaults. Borrower fails to comply with or to perform any other term, obligation, covenant or condition contained in this Agreement
      or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any other
      agreement between Lender and Borrower.
      Default in Favor of Third Parties. Borrower or any Grantor defaults under any loan, extension of credit, security agreement, purchase or
      sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of Borrower's or any
      Grantor's property or Borrower's or any Grantor's ability to repay the Loans or perform their respective obligations under this Agreement or
      any of the Related Documents.
      False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
      Agreement or the Related Documents is false or misleading in any material respect, either now or at the time made or furnished or becomes
      false or misleading at any time thereafter.
      Death or Insolvency. The dissolution of Borrower (regardless of whether election to continue is made). any member withdraws from
      Borrower, or any other termination of Borrower's existence as a going business or the death of any member, the insolvency of Borrower.
      the appointment of a receiver for any part of Borrower's property, any assignment for the benefit of creditors, any type of creditor workout,
      or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower.
      Defective Collateralization. This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
      collateral document to create a valid and perfected security interest or lien) at any time and for any reason.
      Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
      repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the Loan.
      This includes a garnishment of any of Borrower's accounts, including deposit accounts, with Lender. However, this Event of Default shall
      not apply if there is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis of the creditor or
      forfeiture proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender monies or
      a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in its sole discretion, as being an adequate
      reserve or bond for the dispute.
      Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or any
      Guarantor dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
      Adverse Change. A material adverse change occurs in Borrower's financial condition, or Lender believes the prospect of payment or
      performance of the Loan is impaired.
      Insecurity. Lender in good faith believes itself insecure .
      Right to Cure. If any default, other than a default on Indebtedness, is curable and if Borrower or Grantor, as the case may be, has not been
      given a notice of a similar default within the preceding twelve (12) months, it may be cured if Borrower or Grantor, as the case may be,
      after Lender sends written notice to Borrower or Grantor, as the case may be, demanding cure of such default: (1) cure the default within
      fifteen (15) days: or (2) if the cure requires more than fifteen (15) days, immediately initiate steps which Lender deems in Lender's sole
      discretion to be sufficient to cure the default and thereafter continue and complete all reasonable and necessary steps sufficient to produce
      compliance as soon as reasonably practical.
  EFFECT OF AN EVENT OF DEFAULT. If any Event of Default shall occur, except where otherwise provided in this Agreement or the Related
  Documents, all commitments and obligations of Lender under this Agreement or the Related Documents or any other agreement immediately will
  terminate (including any obligation to make further Loan Advances or disbursements), and, at Lender's option, all Indebtedness immediately will
  become due and payable, all without notice of any kind to Borrower, except that in the case of an Event of Default of the type described in the
  "Insolvency" subsection above, such acceleration shall be automatic and not optional. In addition, Lender shall have all the rights and remedies
  provided in the Related Documents or available at law, in equity, or otherwise. Except as may be prohibited by applicable law, all of Lender's
  rights and remedies shall be cumulative and may be exercised singularly or concurrently. Election by Lender to pursue any remedy shall not
  exclude pursuit of any other remedy, and an election to make expenditures or to take action to perform an obligation of Borrower or of any
  Grantor shall not affect Lender's right to declare a default and to exercise its rights and remedies.
  RIDER TO BUSINESS LOAN AGREEMENT. An exhibit, titled "Rider To Business Loan Agreement," is attached to this Agreement and by this
  reference is made a part of this Agreement just as if all the provisions. terms and conditions of the Exhibit had been fully set forth in this
  Agreement.
  MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
       Amendments. This Agreement, together with any Related Documents. constitutes the entire understanding and agreement of the parties
       as to the matters set forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing
       and signed by the party or parties sought to be charged or bound by the alteration or amendment.
       Attorneys' Fees; Expenses. Borrower agrees to pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees
       and Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help
       enforce this Agreement, and Borrower shalt pay the costs and expenses of such enforcement. Costs and expenses include Lender's
       attorneys' fees and legal expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses for bankruptcy
       proceedings (including efforts to modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection
       services. Borrower also shall pay all court costs and such additional fees as may be directed by the court.




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       Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
       provisions of this Agreement.
       Consent to Loan Participation. Borrower agrees and consents to Lender's sale or transfer, whether now or tater, of one or more
       participation interests in the Loan to one or more purchasers, whether related or unrelated to Lender. Lender may provide, without any
       !imitation whatsoever. to any one or more purchasers, or potential purchasers, any information or knowledge Lender may have about
       Borrower or about any other matter relating to the Loan, and Borrower hereby waives any rights to privacy Borrower may have with respect
       to such matters. Borrower additionally waives any and all notices of sale of participation interests, as well as all notices of any repurchase
       of such participation interests. Borrower also agrees that the purchasers of any such participation interests will be considered as the
       absolute owners of such interests in the Loan and will have all the rights granted under the participation agreement or agreements
       governing the sale of such participation interests. Borrower further waives all rights of offset or counterclaim that it may have now or later
       against Lender or against any purchaser of such a participation interest and unconditionally agrees that either Lender or such purchaser may
       enforce Borrower's obligation under the Loan irrespective of the failure or insolvency of any holder of any interest in the Loan. Borrower
       further agrees that the purchaser of any such participation interests may enforce its interests irrespective of any personal claims or
       defenses that Borrower may have against Lender.
       Governing Law; This Agreement will be governed by federal law applicable to Lender and, to the extent not preempted by federal law, the
       laws of the State of California without regard to its conflicts of law provisions. This Agreement has been accepted by Lender in the State
       of California.
       Choice of Venue. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the courts of Los Angeles
       County, State of California.
       No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing
       and signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any
       other right. A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to
       demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender, nor any course of
       dealing between Lender and Borrower, or between Lender and any Grantor, shall constitute a waiver of any of Lender's rights or of any of
       Borrower's or any Grantor's obligations as to any future transactions. Whenever the consent of Lender is required under this Agreement,
       the granting of such consent by Lender in any instance shall not constitute continuing consent to subsequent instances where such consent
       is required and in all cases such consent may be granted or withheld in the sole discretion of Lender.
       Notices. Any notice required to be given under this Agreement shall be given in writing, and shall be effective when actually delivered,
       when actually received by telefacsimile (unless otherwise required by law), when deposited with a nationally recognized overnight courier,
       or, if mailed, when deposited in the United States mail, as first class, certified or registered mail postage prepaid, directed to the addresses
       shown near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving formal written
       notice to the other parties. specifying that the purpose of the notice is to change the party's address. For notice purposes, Borrower
       agrees to keep Lender informed at all times of Borrower's current address. Unless otherwise provided or required by law, if there is more
       than one Borrower, any notice given by Lender to any Borrower is deemed to be notice given to all Borrowers.
       Severability. If a court of competent jurisdiction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any
       circumstance, that finding shall not make the offending provision illegal, invalid, or unenforceable as to any other circumstance. If feasible,
       the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot be so
       modified, it shall be considered deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or unenforceability
       of any provision of this Agreement shall not affect the legality, validity or enforceability of any other provision of this Agreement.
       Subsidiaries and Affiliates of Borrower. To the extent the context of any provisions of this Agreement makes it appropriate, including
       without limitation any representation. warranty or covenant, the word "Borrower'' as used in this Agreement shall include all of Borrower's
       subsidiaries and affiliates. Notwithstanding the foregoing however. under no circumstances shall this Agreement be construed to require
       Lender to make any Loan or other financial accommodation to any of Borrower's subsidiaries or affiliates.
       Successors and Assigns. All covenants and agreements by or on behalf of Borrower contained in this Agreement or any Related
       Documents shall bind Borrower's successors and assigns and shall inure to the benefit of Lender and its successors and assigns. Borrower
       shall not. however, have the right to assign Borrower's rights under this Agreement or any interest therein, without the prior written
       consent of Lender.
       Survival of Representations and Warranties. Borrower understands and agrees that in extending Loan Advances. Lender is relying on all
       representations. warranties. and covenants made by Borrower in this Agreement or in any certificate or other instrument delivered by
       Borrower to Lender under this Agreement or the Related Documents. Borrower further agrees that regardless of any investigation made by
       Lender, all such representations. warranties and covenants will survive the extension of Loan Advances and delivery to Lender of the
       Related Documents, shall be continuing in nature, shall be deemed made and redated by Borrower at the time each Loan Advance is made,
       and shall remain in full force and effect until such time as Borrower's Indebtedness shall be paid in full, or until this Agreement shall be
       terminated in the manner provided above, whichever is the last to occur.
       Time is of the Essence. Time is of the essence in the performance of this Agreement.
       Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any jury trial in any action,
       proceeding, or counterclaim brought by any party against any other party.
   DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically
   stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and tenns
   used in the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
   defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code. Accounting words and terms not
   otherwise defined in this Agreement shall have the meanings assigned to them in accordance with generally accepted accounting principles as in
   effect on the date of this Agreement:
       Account. The word "Account" means a trade account, account receivable, other receivable, or other right to payment for goods sold or
       services rendered owing to Borrower (or to a third party grantor acceptable to Lender).
       Account Debtor. The words "Account Debtor" mean the person or entity obligated upon an Account.
       Advance. The word "Advance" means a disbursement of Loan funds made, or to be made, to Borrower or on Borrower's behalf under the
       terms and conditions of this Agreement.
        Agreement. The word "Agreement" means this Business Loan Agreement (Asset Based), as this Business Loan Agreement (Asset Based)
        may be amended or modified from time to time, together with all exhibits and schedules attached to this Business Loan Agreement (Asset




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     Based) from time to time.
     Borrower. The word "Borrower" means Hero Nutritionals, LLC and includes all co-signers and co-makers signing the Note and all their
     successors and assigns.
     Borrowing Base. The words "Borrowing Base" mean as determined by Lender from time to time, the lesser of (1) $2,000,000.00 or (2) the
     sum of (a) 80.000% of the aggregate amount of Eligible Accounts (not to exceed $2,000,00Q.0O, plus (b) 25.000% of the aggregate
     amount of Eligible Inventory (not to exceed $500,000.00) plus (b) 75.00% of the balance of the CalCap Collateral Support AC'.r-..ount {not to
     exceed $750,000.00) less (c) Dilution Reserve as recommended by Collateral Auditor
     Business Day. The words "Business Day'' mean a day on which commercial banks are open in the State of California.
     Collateral. The word "Collateral" means all property and assets granted as collateral security for a Loan, whether real or personal property,
     whether granted directly or indirectly, whether granted now or in the future, and whether granted in the form of a security interest,
     mortgage, collateral mortgage, deed of trust, assignment, pledge, crop pledge, chattel mortgage, collateral chattel mortgage, chattel trust,
     factor's lien. equipment trust, oonditional sale, trust receipt, lien, charge, lien or title retention contract, lease or consignment intended as a
     security device, or any other security or lien interest whatsoever, whether created by law, contract, or otherwise. The word Collateral also
     includes without limitation all collateral described in the Collateral section of this Agreement.
     Eligible Accounts. The words ~Eligible Accounts" mean at any time, all of Borrower's Accounts which contain selling terms and conditions
     acceptable to Lender. The net amount of any Eligible Account against which Borrower may borrow shall exclude all returns, discounts,
     credits, and offsets of any nature. Unless otherwise agreed to by Lender in writing, Eligible Accounts do not include:
          (1) Accounts with respect to which the Account Debtor is a member, employee          or agent of Borrower.
          (2) Accounts with respect to which the Account Debtor is affiliated with Borrower.
          (3) Accounts with respect to which goods are placed on consignment, guaranteed sale, or other terms by reason of which the
          payment by the Account Debtor may be conditional.
          (4) Accounts with respect to which the Account Debtor is not a resident of the United States, except to the extent such Accounts are
          supported by insurance, bonds or other assurances satisfactory to Lender.
          (5) Accounts with respect to which Borrower is or may become liable to the Account Debtor for goods sold or services rendered by
          the Account Debtor to Borrower.
          (6) Accounts which are subject to dispute, counterclaim, or setoff.
          (7) Accounts with respect to which the goods have not been shipped or delivered, or the services have not been rendered, to the
          Account Debtor.
          (8) Accounts with respect to which Lender, in its sole discretion, deems the creditworthiness or financial condition of the Account
          Debtor to be unsatisfactory.
          (9) Accounts of any Account Debtor who has filed or has had filed against it a petition in bankruptcy or an application for relief under
          any provision of any state or federal bankruptcy, insolvency, or debtor-in-relief acts; or who has had appointed a trustee, custodian, or
          receiver for the assets of such Account Debtor; or who has made an assignment for the benefit of creditors or has become insolvent
          or fails generally to pay its debts (including its payrolls) as such debts become due.
          (10) Accounts with respect to which the Account Debtor is the United States government or any department or agency of the United
          States.
          (11) Accounts which have not been paid in full within 90 days from the invoice date. The entire balance of any Account of any single
          Account Debtor will be ineligible whenever the portion of the Account which has not been paid within 90 days from the invoice date is
          in excess of 25.000% of the total amount outstanding on the Account.
          (12) That potion of the Accounts of CVS which exceeds 50.000% of all of Borrower's Accounts, that portion of the Accounts of
          United Natural Foods which exceeds 35.00% of all of Borrower's Accounts, and that potion of the Accounts of any other single
          Account Debtor which exceeds 25.000% of all of Borrower's Acoounts.
     Eligible Inventory. The words •Eligible Inventory" mean, at any time, all of Borrower's Inventory as defined below, except:
          (1) Inventory which is not owned by Borrower free and clear of all security interests, liens, encumbrances, and claims of third parties.
          (2) Inventory which Lender, in its sole discretion, deems to be obsolete, unsalable, damaged. defective, or unfit for further processing.

          (3) Work in progress.
     Environmental Laws. The words "Environmental Laws" mean any and all state, federal and local statutes, regulations and ordinances
     relating to the protection of human health or the environment, including without limitation the Comprehensive Environmental Response,
     Compensation, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seq. ("CERCLA"), the Superfund Amendments and
     Reauthorization Act of 1986, Pub . L. No. 99-499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C . Section 1801. et seq.,
     the Resource Conservation and Recovery Act, 42 U .S.C. Section 6901, et seq., Chapters 6.5 through 7.7 of Division 20 of the California
     Health and Safety Code, Section 25100, et seq .. or other applicable state or federal laws, rules, or regulations adopted pursuant thereto.
     Event of Default. The words "Event of Default" mean any of the events of default set forth in this Agreement in the default section of this
     Agreement.
     Expiration Date. The words "Expiration Date" mean the date of termination of Lender's commitment to lend under this Agreement.
     GAAP. The word "GAAP" means generally accepted accounting principles.
     Grantor. The word "Grantor" means each and all of the persons or entities granting a Security Interest in any Collateral for the Loan,
     including without limitation all Borrowers granting such a Security Interest.
     Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Loan.
     Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including without limitation a guaranty of all or part of the
     Note.
     Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical.
     chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when




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       improperly used, treated, stored, disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous
       Substances" are used in their very broadest sense and include without limitation any and all hazardous or toxic substances, materials or
       waste as defined by or listed under the Environmental Laws. The tenn "Hazardous Substances" also includes, without limitation, petroleum
       and petroleum by-products or any fraction thereof and asbestos.
       Indebtedness. The word "Indebtedness" means the indebtedness evidenced by the Note or Related Documents, including all principal and
       interest together with all other indebtedness and costs and expenses for wh ich Borrower is responsible under this Agreement or under any
       of the Related Documents.
       Inventory. The word "Inventory" means all of Borrower's raw materials, work in process, finished goods, merchandise, parts and supplies.
       of every kind and description. and goods held for sale or lease or furnished under contracts of service in which Borrower now has or
       hereafter acquires any right, whether held by Borrower or others, and all documents of title, warehouse receipts, bills of lading, and all
       other documents of every type covering all or any part of the foregoing. Inventory includes inventory temporarily out of Borrower's custody
       or possession and all returns on Accounts.
       Lender. The word "Lender" means Bank of Manhattan, N.A., its successors and assigns.
       Loan. The word "Loan" means any and all loans and financial accommodations from Lender to Borrower whether now or hereafter
       existing, and however evidenced. including without limitation those loans and financial accommodations described herein or described on
       any exhibit or schedule attached to this Agreement from time to time.
       Note. The word "Note" means the Promissory Note dated October 15, 2013 in the original Principal Amount of $2,000,000.00 and all
       subsequent renewals, extensions or modifications thereof.
       Permitted Liens. The words "Permitted Liens" mean (1) liens and security interests securing Indebtedness owed by Borrower to Lender;
       (2) liens for taxes, assessments. or similar charges either not yet due or being contested in good faith; (3) liens of materialmen,
       mechanics, warehousemen , or carriers, or other like liens arising in the ordinary course of business and securing obligations which are not
       yet delinquent; (4) purchase money liens or purchase money security interests upon or in any property acquired or held by Borrower in the
       ordinary course of business to secure indebtedness outstanding on the date of this Agreement or permitted to be incurred under the
       paragraph of this Agreement titled "Indebtedness and Liens"; (5) liens and security interests which, as of the date of this Agreement,
       have been disclosed to and approved by the Lender in writing ; and (6) those liens and security interests which in the aggregate constitute
       an immaterial and insignificant monetary amount with respect to the net value of Borrower's assets.
       Primary Credit Facility.                   The words "Primary Credit Facility" mean the credit facility described in the Line of Credit section of this
       Agreement.
       Related Documents. The words "Related Documents" mean all promissory notes, credit agreements. loan agreements, environmental
       agreements, guaranties. security agreements, mortgages. deeds of trust, security deeds, collateral mortgages, and all other instruments,
       agreements and documents, whether now or hereafter existing, executed in connection with the Loan.
       Security Agreement. The words "Security Agreement" mean and include without limitation any agreements, promises, covenants.
       arrangements, understandings or other agreements, whether created by law. contract, or otherwise, evidencing, governing, representing, or
       creating a Security Interest.
       Security Interest. The words "Security Interest" mean. without limitation, any and all types of collateral security, present and future,
       whether in the form of a lien. charge, encumbrance, mortgage, deed of trust, security deed, assignment, pledge, crop pledge, chattel
       mortgage, collateral chattel mortgage, chattel trust, factor's lien, equipment trust, cond itional sale. trust receipt, lien or title retention
       contract, lease or consignment intended as a security device, or any other security or lien interest whatsoever whether created by law.
       contract, or otherwise.
       Tangible Net Worth.    The words "Tangible Net Worth" mean Borrower's total assets excluding all intangible assets (i.e., goodwill,
       trademarks, patents, copyrights, organizational expenses. and similar intangible items, but including leaseholds and leasehold
       improvements) less total debt.
  BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS BUSINESS LOAN AGREEMENT (ASSET BASED) AND
  BORROWER AGREES TO ITS TERMS. THIS BUSINESS LOAN AGREEMENT (ASSET BASED) IS DATED JANUARY 15, 2015.

   BORROWER:



  HERO NUT'3!J'?                    ·,
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       Jennife                           ~~ager/Member of Hero
       Nutritio       LC                 , J
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   LENDER:




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                                          RIDER TO BUSINESS LOAN AGREEMENT
                                                                                         l(irfNci ·                                                                            ·:;,.,c..c.'ounf ··•,(;')ffii~r< :   tnitia:Hf ·
                                                                                                  .·:239:                                                                                       ..: ... ,OW .
     References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                               Any item above containing "'""**" has been omitted due to text len th limitations.

 Borrower:          Hero Nutritionals, LLC                                                                          Lender:                         Bank of Manhattan, N.A.
                    1900 Carnegie Avenue, Building A                                                                                                Pasadena Office
                    Santa Ana, CA 92705                                                                                                             199 South Los Robles Avenue
                                                                                                                                                    Suite 130
                                                                                                                                                    Pasadena, CA 91101
= - ' - - = =-~·======================= ==== = ===
  This RIDER TO BUSINESS LOAN AGREEMENT is attached to and by this reference is made a part of the Business Loan Agreement (Asset
  Based), dated January 15, 2015, and executed in connection with a loan or other financial accommodations between BANK OF MANHATTAN,
  N .A. and Hero Nutritionals, LLC.

  Failure to Provide Required Financial Information. Borrower agrees to provide information as requested in the Business Loan Agreement or within
  forty-five (45) days of the written request of the Lender to permit the Lender, in the Lender's sole and absolute judgment, to verify the financial
  condition and ratios, if any, as defined in the Business Loan Agreement. The Ratio Information must include, but is not limited to, those required
  financial items as listed in the Business Loan Agreement. Failure to provide the foregoing required information will result in the Margin, Floor
  and/or Fixed Note Rate being increased one hundred basis points of a percentage point (1.000%), effective on the 1st of the month following
  Borrower's failure to provide the required information by the required date. The increase is referred to hereafter as the "Rate Increase". A Rate
  Increase will only occur once unless a subsequent adjustment as described below occurs, and thereafter the Borrower again fails to comply with
  this requirement. Upon receipt by the Lender of the required information after a Rate Increase, the Margin, Floor and/or Fixed Note Rate will be
  reduced to the original Margin, Floor and/or Fixed Note Rate. This reduction will be effective on the 1st day of the calendar month following the
  later of (i) ninety (90} days after the Rate Increase. or (ii) the 1st day of the month occurring thirty (30) days after the receipt of the required
  information . However, in no event will the monthly payment amount be adjusted other than on a regular Payment Change Date, as defined in
  the Note.
  Effect of Rider. Except as modified by this Rider, the provisions of the Note and Business Loan Agreement shall remain unchanged.

  THIS RIDER TO BUSINESS LOAN AGREEMENT IS EXECUTED ON JANUARY 15, 2015.

  BORROWER:



  HERO NUTRITIONALS,          UC
  a§:·:        CJ ,.
    .- Jennifer .--l---rnf+-'--i.~ ~5'-"l,,P~ ""-~--"7"""71-
                                                           e-ro-
          Nutrition s , LLC

  LENDER:



  BANK OF MANHATTAN, N.A.



  By,     ~
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                      BILL OF SALE AND ASSIGNMENT OF LOAN DOCUMENTS

              FOR VALUE RECEIVED, PACIFIC PREMIER BANK ("Assignor") hereby grants,
      assigns, sets over and transfers to MCCORMICK 107, LLC, a Maryland limited liability company
      ("Assignee"), whose address is 11350 McCormick Road, Suite 902, Hunt Valley, Maryland 21031,
      all of Assignor's right, title, and interest under those certain Loan Documents as defined on
      Exhibits A 1-8 attached hereto and made a part hereof.

             TOGETHER with the note or notes therein described or referred to, the money due and to
      become due thereon with interest, all other documents that evidence or secure the obligations under
      such note or notes, and all rights accrued or to accrue under the Loan Documents.

             THIS CONVEYANCE is made without recourse or representation of any kind or nature,
      except as expressly set forth in that certain Non-Recourse Loan Participation and Sale Agreement,
      dated as of December 28, 2018, by and between Assignor and Assignee.

             IN ~ITNESS WHEREOF, the undersigned ;hls executed, sig.                         nj   and sealed this Bill of
      Sale and Assignment of Loan Documents as of the        L
                                                      day of /:1a r                          · · , 2019.

                                                    PACIFIC f"'REMIER
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                                                                      BANK
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                                                    NOTARY ACKNOWLEDGMENT
         A notary public or other officer completing this
         certificate verifies only the identity of the
         individual who signed the document to which
         this certificate is attached, and not the
         truthfulness, accuracy, or validity of that
         document.

      State of California                               }                    /
      County of _ _ __ _ _ _ _ __
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                                                                     who proved to me on the basis of satisfactmy evidence to
                                                                     be the person(s) whose name(s) is/are subscribed to the
                                                                     within instrument and acknowledged to me that
                                                                     he/she/they executed the same in his/her/their authorized
                                                                     capacity(ies), and that by his/her/their signature(s) on the
                                                                     instrument the person(s), or the entity upon behalf of
                                                                     which the person(s) acted, executed the instrument
                                                                     l certify under PENALTY OF PERJURY under the laws
                                                                     of the State of California that the foregoing paragraph is
                                                                     true and correct.
                                                                     WITNESS my hand and official seal.

                     Place ,l/olaiy Seal Above
                                                                     Signature        ~~ ~~




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                                                   EXHIBIT 4                PAGE 99
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    CALIFORNIA ALL-PURPOSE ACKNOWLEDGMENT                                                               CIVIL CODE§ 1189


      A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
      document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.


    State of California
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    County of

    O n ~ 1,'?1 1,oJ?J                         before me,     LlkbL t)e \7~ Ntlffa$y'                   R2~zUC.
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    personally appeared - -                       u()\--l ~   i   A'WJ~
                                                                       Name(s) of Signer(s)


    who proved to me on the basis of satisfactory evidence to be the persorl{Sf whose nam$) is/efe
    subscribed to the within Instrument and acknowledged to me that he/s be/ th.P'( exec uted the same In
    his/~er/tpeir authorized capacity(ie§), and t hat by his/~ /th'eir signature(8Jo n t he Instrumen t the person~
    or the entity upon behalf of which the person(4'acted, executed the instrument.
                                                                    I certify under PENALTY OF PERJURY under the laws
                              K'. V.AN OE &ROOKE                    of the State of California that the foregoing paragraph
                 · . .     N1111ry. Public ~ Calltorn!a             is true and correct
            ··               · oi•nQO coonty              ~                               d official seal.
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                                                                                       Signature of Nota,y Public




        Place Notary Seal Above
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      Though this section is optional, completing this information can deter B/teration of the document or
                       fraudulent reattachment of this farm to an unintended document,
    Description of Attached Do71:1menl              _
    Title or Type of Document: ~ Y -v\~    OP .Q. ! ·              D
                                                           Document Date: _ _ __ _ _ __
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    Capacity(ies) Claimed by Signer(s)
    Signer's Name: _ _ __ _ __ _ _ _ __                                 Signer's Name: _ _ --·-·-- _ _ __
    IJ Corporate Officer - Title(s): _ _ _ __ __                        □ Corporate Officer - Title(s): _ _ _ _ _ __
    C Partner -       n
                    Limited C General                                   C Partner - LJ Limited /~~- General
    C Individual       C Attorney in Fact                               C Individual      : : Attorney in Fact
    C Trustee          LJ Guardian or Conservator                       C Trustee         ,-; Guardian or Conservator
    LJ Other: _ __ _ _ _ _ _ __ __ _ _ _                                L Other: _ _ _ _ __ _ _ _ _ __ __
    Signer Is Repressn1ing: _ __ _ _ _ __ __                            Signer Is Representing:


    ©2014 National Noiary Association· www.NationalNotary.org • 1-800-US NOTARY (1-B00-876-6827}                    Item !15907




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                                           Loan No.   7j5    fOOJ

          I.      Promissory Note in the original principal amount of Eight Hundred Thirty-three
                  Thousand Nine Hund.red Fii'ty and 27/100 Dollars ($833,950.27) dated October 29,
                  2014, (Loan Number -6001) made by Hero N utritionals, LLC, and in favor of
                  Pacific Premier Bank, successor-by-merger to Plaza Bank, successor-by-merger to
                  Bank of Manhattan N.A.

          2.      Commercial Security Agreement dated as of October 29, 2014, by and between Hero
                  Nutritionals, LLC, and Pacific Premier Banlc, successor-by-merger to Plaza Bank,
                  successor-by-merger to Bank of Manhattan N.A.

          3.      Guarantor Acknowledgement and Consent dated October 29, 2014 executed by Hero
                  Nutritionals, Inc. and Jennifer L. Hodges.

          4.      UCC Filing Insurance Policy No. 5023200-00001 l 7592 issued by First American Title.




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                                             EXHIBIT A-2



      1.    Promissory Note in the original principal amount of One Million and 00/100 Dollars
            ($1,000,000.00) dated October 27, 2015, made by Hero Nutritionals, LLC, and in favor of
            Pacific Premier Bank, successor-by-merger to Plaza Bank, as modified by Change in
            Tenns Agreement dated April 22, 2016, as further modified by Change in Terms
            Agreement dated July 27, 2016, as further modified by Change in Terms Agreement dated
            October 27, 2016, as further modified by Change in Terms Agreement dated January 27,
            2017, as further modified by Change in Terms Agreement dated June 27, 2017, as further
            modified by Loan Modification Agreement dated January 25, 2018, and as further modified
            by Loan Modification Agreement dated November 29, 2018.

      2.    Business Loan Agreement dated as of October 27, 2015, by and between Hero N utritionals,
            LLC, and Pacific Premier Bank, successor-by-merger to Plaza Bank.

      3.    Commercial Security Agreement dated as of October 27, 2015, by and between Hero
            Nutritionals, LLC, and Pacific Premier Bank, successor-by-merger to Plaza Bank.

      4.    Assignment of Deposit Accowited dated October 27, 2016, executed by Hero Nutritionals,
            LLC.

      5.     Commercial Guaranty dated October 27, 2015, executed by Jennifer L. Hodges.

      6.     Commercial Guaranty dated October 27, 2015, executed by Hero Nutritionals, Inc.

      7.     Guarantor Acknowledgements dated April 22, 2016, July 27, 2016, October 27, 2016,
             January 27, 2017, and June 27, 2017, executed by Hero Nutritionals, Inc. and Jennifer L.
             Hodges.




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                                              EXHIBIT A-3



         l.      Promissory Note in the original principal amount of Two Million and 00/100 Dollars
                 ($2,000,000.00) dated October 15, 2013, made by Hero Nutritionals, LLC, and in favor
                 of Pacific Premier Bank, successor-by-merger to Plaza Bank, successor-by-merger to
                 Bank of Manhattan N.A., as modified by Change in Tenns Agreement dated October
                 IO, 2014, as further modified by Change in Terms Agreement dated January 15, 2015,
                 as further modified by Change in Terms Agreement dated May 31, 2015, as further
                 modified by Change in Terms Agreement dated October 27, 2015, as further modified
                 by Change in Terms Agreement dated June 1, 2016, as further modified by Change in
                 Terms Agreement dated July 27, 2016, as further modified by Change in Terms
                 Agreement dated October 27, 2016, as further modified by Change in Terms
                 Agreement dated January 27, 201 7, as further modified by Change in Terms Agreement
                 dated June 27, 2017, as further modified by Loan Modification Agreement dated
                 January 25, 2018, and as further modified by Loan Modification Agreement dated
                 November 29, 2018.

         2.      Business Loan Agreement (Asset Based) dated as of October 15, 2013, by and between
                 Hero Nutritionals, LLC, and Pacific Premier Bank, successor-by-merger to Plaza Bank,
                 successor-by-merger to Bank of Manhattan N.A.

         3.      Business Loan Agreement (Asset Based) dated as of January 15, 2015, by and between
                 Hero Nutritionals, LLC, and Pacific Premier Bank, successor-by-merger to Plaza Bank,
                 successor-by-merger to Bank of Manhattan N.A.

         4.      Commercial Security Agreement dated as of October 15, 2013, by and between Hero
                 Nutritionals, LLC, and Pacific Premier Bank, successor-by-merger to Plaza Bank,
                 successor-by-merger to Bank of Manhattan N.A.

         5.      Assignment of Deposit Accounted dated October 2 7, 2016, executed by Hero
                 Nutritionals, LLC.

         6.      Commercial Guaranty dated October 15, 2013, executed by Jennifer L. Hodges.

         7.      Commercial Guaranty dated October 15, 2013, executed by Hero Nutritionals, Inc.

         8.      Guarantor Acknowledgements dated October 27, 2015, June l, 2016, July 27, 2016,
                 October 27, 2016, January 27, 2017, and June 27, 2017, executed by Hero Nutritionals,
                 lnc. and Jennifer L. Hodges.




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                                              EXHIBIT A-4


                                          Loan }lo. -3001

         1.      Promissory Note in the original principal amount of Five Hundred Fifty Thousand and
                 00/100 Dollars ($550,000.00) dated October 15, 2013, made by Hero Nutrition.a.ls,
                 LLC, and in favor of Pacific Premier Bank, successor-by-merger to Plaza Bank,
                 successor-by-merger to Bank of Manhattan N.A., as modified by Change in Terms
                 Agreement dated October 27, 2015.

         2.      Business Loan Agreement dated as of October 15, 2013, by and between Hero
                 Nutritiona)s, LLC, and Pacific Premier Bank, successor-by-merger to Plaza Bank,
                 successor-by-merger to Bank of Manhattan N.A.

         3.      Commercial Security Agreement dated as of October L5, 20L3, by and between Hero
                 Nutritionals, LLC, and Pacific Premier Bank, successor-by-merger to Plaza Bank,
                 successor-by-merger to Bank of Manhattan N.A.

         4.      Commercial Guaranty dated October 27, 2015, executed by Jennifer L. Hodges.

         5.      Commercial Guaranty dated October 27, 2015, executed by Hero Nutritionals, Inc.




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                                             EXHIBIT A-5



         1.       Promissory Note in the original principal amount of Five Hundred Thousand and
                  00/100 Dollars ($500,000.00) dated February 19, 2015, made by Hero Nutritionals,
                  LLC, and in favor of Pacific Premier Bank, successor-by-merger to Plaza Bank,
                  successor-by-merger to Bank of Manhattan N.A.

         2.      Commercial Security Agreement dated as of February 19, 2015, by and between Hero
                 Nutritionals, LLC, and Pacific Premier Bank, successor-by-merger to Plaza Bank,
                 successor-by-merger to Bank of Manhattan N.A.

         3.      Guarantor Acknowledgement and Consent dated February 19, 2015, executed by Hero
                 Nutritionals, Inc. and Jennifer L. Hodges.

         4.      UCC Filing Insurance Policy No. 5023200-0000125948 issued by First American Title.




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                                              EXHIBIT A-6



          1.       Promissory Note in the original principal amount of Three Hundred Three Thousand
                   Forty and 63/100 Dollars ($303,040.63) dated August 22, 2014, made by Hero
                   Nutritionals, LLC.

          2.       Commercial Security Agreement dated as of August 22, 2014, by and between Hero
                   Nutritionals, LLC, and Pacific Premier Bank, successor-by-merger to Plaza Bank,
                   successor-by-merger to Bank of Manhattan N.A.

          3.       Guarantor Acknowledgement and Consent dated August 22, 2014, executed by Hero
                   Nutritionals, Inc. and Jennifer L. Hodges.

          4.      UCC Filing Insurance Policy No. 5023200-0000113 791 issued by First American Title.




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                                             EXHIBIT A-7

                                          Loan No. ~ D O I

         1.       Promissory Note in the original principal amount of Four Hundred Sixty-three
                  Thousand Nine and 10/100 Dollars ($463,009.10) dated February 25, 2014, made by
                  Hero Nutritionals, LLC.

         2.       Commercial Security Agreement dated as of February 25, 2014, by and between Hero
                  Nutritionals, LLC, and Pacific Premier Bank, successor-by-merger to Plaza Bank,
                  successor-by-merger to Banlc of Manhattan N .A.




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                                               EXHIBIT A-8

                                 Additional Cross Collateralized Documents

          l.      Deed of Trust, dated October 27, 2015 made by Jennifer L. Hodges for the benefit of
                  Pacific Premier Barne, successor-by-merger to Plaza Bank and recorded on November
                  17, 2015, in the Official Records of Monterey County, California, as Document No.
                  2015065977.

         2.       Assignment of Rents, dated October 27, 2015 made by Jennifer L. Hodges for the
                  benefit of Pacific Premier Bank, successor-by-merger to Plaza Bank and recorded on
                  November 17, 2015, in the Official Records of Monterey County, California, as
                  Document No. 2015065978.

         3.       Hazardous Substances Certificate and Indemnity Agreement dated October 27, 2015
                  made by Jennifer L. Hodges for the benefit of Pacific Premier Bank, successor-by-
                  merger to Plaza Bank and recorded on November 17, 2015, in the Official Records of
                  Monterey County, California, as Document No. 2015065979.

         4.       Any and all policies of title insurance regarding the Deed of Trust and Assignment of
                  Rents described herein.




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                                            ALLONGE

            ALLONGE to be attached to and made a part of that certain Promissory Note in the
    original principal amount of Two Million and 00/100 Dollars ($2,000,000.00) dated October 15,
    2013, (Loan Nurn.ber -◊02) made by Hero Nutritionals, LLC, and in favor of Pacific
    Premier Bank, successor-by-merger to Plaza Bank, successor-by-merger to Bank of Manhattan
    N.A., as renewed, amended, or modified.

           Pay to the order of McCormick 107, LLC, a Maryland limited liability company, without
    representations, warranties or recourse.



                                               PACIFIC PREMIER BANK
                                                              \ •        ; \.     f

                                               By:              . .µ~. ·r   \\lu,,, !_)
                                               Name:
                                               Title:
                                               Date:




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                                                  CHANGE IN TERMS AGREEMENT
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    i .2.-0._o; ·1ro·o~oP". ,·A1ii1~2.0;1~. ll.$~:::t~2tttst :_ .                                                     .          . :OW_::_ ::            .
         References in the boxes above are for Lender's use only and do not limit the appltcability or this document lo any particular loan or item.
                                   An item above cootalnln .. .,.... has been omitted due Io text length limitations.

    Borrower:       Hero Nutritionals, LLC                                        Lender:         Bank of Manhattan, N.A.
                    1900 Carnegie Avenue, Building A                                              Pasadena Offi co
                    Santa Ana, CA 92705                                                           199 South Los Ro!>le& Avonue
                                                                                                  Suite 130
                                                                                                  Pasadena, CA 91101


      Prlncipal Amount: $2,000,000.00                                                                   Date of Agreement: January 15, 2015
      DESCRIPTION OF EXISTING INDEBTEDNESS.
      The Promissory Note and Business Loan Agreemsnt (Asset Based) dated October 15, 2013 In the original Principal Amount of $2.000,000.00
      and all subseqllf.lnt renewals, extensions or modifications thereof. The current outstanding Principal Amount of the Ncte is $1, 192.754.29.
      DESCRIPTION OF COLLATERAL.
      Collateral as described per Commercial Security Agreement dated October 15, 2013.
      DESCRJPTION OF CHANGE IN TERMS.
      The Maturity of the Nota is hereby e)(!ended from January 15, 2015 to May 31. 2015.
      Concurrently herewith Borrower shall execute a Business Loan Agreement (Asset Based).
      PAYMENT. Borrower will pay this loan in one payment of all outstanding principal plus all accrued unpaid interest on May 31, 2015. In
      addition, Borrower will pay regular monthly payments of all accrued unpaid inti!rast due as of each payment date, beginnln9 Fobruary 15, 2015,
      with all subsequent interest payments to be due on the same day of each month after that.
      VARIABLE INTEREST RATE. The interest rate on this loan is subject to change from lime to time based on changes in an independent index
      which is the Wall Street Journal Prime Rate, as published in the Western Edition of the Wall Street Journal (the "Index"). The Index is rmt
      necessarily the lowest rate charged by Lender on its loans. If the Index becomes unavailable during the term of this loan, Lender may designate
      a substitu,te index a fter notifying Borrower, Lender will tell Borrower the current ln(lex rate upon Borrower's request. The interest rate change
      w i ll not occur more often than each day. Borrower understands that Lender may make loans based on other rates as well. The Index currently
      is 3 .250% por annum. Interest on the unpaid principal balance o f this loan will be calculated as described in the "INTEREST CALCULATION
      MfcTHOD" paragraph using a rate of 2.000 percentage points over the Index, adjusted if necesS<Jry for any minimum and maximum rate
      limitations described below, resulting in an initial rate of 5.250%. NOTICE: Under no circumstances will the interest rate on this loan be less
      than 5.250% per annum or more than the maximum rate allowed by applicable law.
      INTEREST CALCULATION METHOD. Interest on this loan is computed on a 365/360 basls; that Is, by applying the ratio of ttle interest rate over
      a year of 360 day s, multiplied by the outstanding principal balance, mulUpHed by the actual number of days the principal balance I• outsta nding.
      All interest payable under this loan is computed using this mett,od. This calculation method results in a higher effective interest rate than the
      numeric iriterast rare sta1ed in the loan documents.
      CONTINUING VALIDITY. Except as expressly changed by this Agreement, the terms of the original obligation o r oblrgations, including all
      agreements evidenced or securing the obl.i gation{s), remain unchanged and in full force and effect. Consent by Lend er to this Agreement does
      not waive Lender's righl to strict performance of the obligalion(s) as changed, nor obligate Lender to make any ~.iture change in terms. Nothing
      in this Agreement will constitute a satisfaction of the obligation(s). It is Iha intention of Lender to retain as liable parties all makers and
      endorsers of the original obligauon(s), including accommodation parties, unless a party is expressly released by Lender in writing. Any maker or
      endorser, including accommodation makers, w!II not be re leased by vfrtue of this Agreement. If any person who s igned the original obligation
      does not sign lhfs Agreement below, then all persons signing below acimowledge that this Agreeme11t is given conditionally. based on the
      representation to Lender that the non-signing party consents to the changes and provisions of this Agreement or otherwise will not be released
      by it. This waiver applies not only to any initial extension, modification or release, but else to all such subsequent actions.




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                                        CHANGE IN TERMS AGREEMENT
  Loan No: 1111 239                             (Continued)                                                  Page 2



  PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND LINDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT, INCLUDING THE
  VARIABLE INTEREST RATE PROVISIONS. BORROWER AGREES TO THE TERMS OF THE AGREEMENT.

  CHANGE IN TERMS SIGNERS:




                             ager/Member of Hero




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                                                    ••• MANHATTAN
                                                            J
                                             CHANGE IN TERMS AGREEMENT
    P.rlnclpal         ·· Loan Date ..      Mafurity ·          Loari"No '                                                     Officer .
 $2,000,000,00.             3'1-201.s , .os-01-20-rs:
                       o.s::_                                       1239                                                         ow
    References in the boxes aoove are for Lender's use only. and do not limit the applicability of this document to any particular loan or item.
                              Any item above containin " - **" has been omitted due to text length llmitetions.

 Borrower:      Hero Nutrilionals, LLC                                        Lender:         Bank of Manhattan, N.A.
                1900 Carnegie Avenue, Building A                                              Pasadena Office
                Santa Ana, CA 92705                                                           199 South Los Robles Avenue
                                                                                              Suite 130
                                                                                              Pasadena, CA 91101


  Principal Amount: $2,000,000.00                                                                       Date of Agreement: May 31, 2015
  DESCRIPTION    OF EXISTING INDEBTEDNESS.
  The Promissory Note dated January 15, 2013 and Business Loan Agreement (Asset Based) dated October 15, 2015 In the original Principal
  Amount of $2,000,000.00 and all subsequent renewals, extensions or modifications thereof. The current outstanding Principal Amount of the
  Note is $1,746,498.98.
  DESCRIPTION OF COLLATERAL.
  Collateral as described per Commercial Security Agreement dated October 15, 2013.
  DESCRIPTION OF CHANGE IN TERMS.
  The Maturity of the Note ls hereby extended from May 31, 2015 to June 1, 2016.
  PAYMENT. Borrower will pay thi!l loan in one payment of all outstanding prtncipal plus all accrued unpaid interest on June 1, 2016. In addition,
  Borrower will pay regu!ar monthly payments of all accrued unpaid Interest due as of each payment date, beginning June 30, 2015, with all
  subsequent interest payments to be due on the same day of each month after that.
  VARIABLE INTEREST RATE. The interest rate on this loan is subject to change from time to time based on changes in an independent index
  which is the Wall Street Journal Prime Rate, as published In the Western Edition of the Wall Street Journal (the "Index"). The Index is not
  necessarily the lowest rate charged by Lender on its loans. If the Index becomes unavailable during the term of this loan, Lender may designate
  a substitute index alter notifying Borrower. Lender wil I tell Borrower the current Index rate upon Borrower's request. The interest rate change
  wlll not occur more often than each day. Borrower understands thal Lender may make loans based on other rates as well. The Index currently
  Is 3.250% per annum. Interest on the unpaid principal balance of this loan will be calculated as described in the "INTEREST CALCULATION
  METHOD" paragraph using a rate of 2.000 percentage points over the Index, adjusted if necessary for any minimum and maximum rate
  limitations descrillerl below, resulting in an initial rate of 5.250%. NOTICE: Under no circumstances will the interest rate on this loan be less
  than 5.250% per annum or more than the maximum rate allowed by applicable law.
  INTEREST CALCULATION METHOD. Interest on this loan is computed on a 365/360 basis; that is, by applying the ratio of the interest rate over
  a year of 360 days, multiplied by the outstanding principal b,dance, multiplied by the actual number of days the principal balance ii aulstand!ng.
  All interest payable under this loan is computed using lhis method. This calculation method results in a higher effective intOJrest rate than the
  numeric Interest rate stated rn the loan documents.
  CONTINUING VALIDITY. Except as expressly changed by this Agreement, the terms of the original obligation or obligations, including all
  agreements evidenced or securing the obligation(s), remain unchanged and in full force and effect. Consent by Lender lo this Agreement does
  not waive Lender's right to strict perfonnance of the obligation(s) as changed, nor obligate Lender to make any future change in terms. Nothing
  in this Agreement will constitute a satisfac~on of the obligation(s). It is the intention of Lender to retain as liable parties all makers and
  endorsers of the original obllgation(s), including accommodation parties, unless a party is expressly released by Lender in wnting. Any maker or
  endorser, ;ncluding accommodation makers, will not be released by virtue of this Agreement. If any person who signed the original obligation
  does not sign this Agreement below, then all persons signing below acknowledge that this Agreement is given conditionally, baSt;ld on the
  representation to Lender that the non-signing party consents to the changes and provisions of this Agreement or otherwise will not be released
  by ·rt. This waiver applies not only to any initial extension, modification or release, but also to all such sllbsequent actions.




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  Loan No: ■1239                               (Continued)                                                  Page 2




  PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT, INCLUDING THE
  VARIABLE INTEREST RATE PROVISIONS. BORROWER AGREES TO THE TERMS OF THE AGREEMENT.

  CHANGE IN TERMS SIGNERS:




                                   tary of Hero




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 Plaza Bank
                                              CHANGE IN TERMS AGREEMENT
    PrlncJpal                Loa_n Date      Matunty             Loan No                                                        Officer
$2.,000,00"o;OO              10-21-2015 ' 06..(11-2016          .1239                                                             KC
    References in the boxes above are for Lender's use only and do not limit the applicability of t his documenl to any particular loan or I
                              An item above conlainin ....T,. has been omittsd due to text leng1h limitations.

Borrower:           Hero NutritionaIs, LLC                                    Lender:         Plaza Bank
                    1900 Carnegie Avenue, Building A                                          Pasadena Office
                    Santa Ana, CA 92705                                                       199 South Los Robles Avenue,
                                                                                              Suite 130
                                                                                              Pasadena, CA 91101


 Principal Amount: $2,DDD,000.00                                                                    Date of Agreement: October 27, 2015
 DESCRIPTION OF EXISTING INDEBTEDNESS.
 ,he Promissory Note dated January 15, 2013 and Business Loan Agreement (Asset Based) daled October 15, 2015 in the Ofiginal Principal
 Amount of $2,000,000.00 and all subsequent reriewals, extensions or modifications thereof. The current outs1anding Principal Amount of the
 Nole is $1,746,498.98.
 DESCRIPTION OF COLLATERAL
 Collateral as described per Commercial Security Agreement dated October 15, 2013. Additional Collateral as per Deeds of Trust dated October
 27, 2015.
 DESCRIPTION OF CHANGE IN TERMS.
 Concurrently herewith, 991 Calle Negodo LLC shall execute a Deed of Trust. Assignment of Leases and Rents and Hazardous Substance
 Certificate and Indemnity Agreement securing the Note. In addition. Jennifer Hodges shall execute a Deed of Trust, Assignment of Rools and
 Hazardous Substances Certificate and Indemnity Agreement securing ttie Note.
 PAYMENT. Borrower will pay this loan in one payment of all outstanding principal plus alf accrued unpaid interest on J1Jne 1, 2016. ln addition,
 Borrower will pay regular ll"IQnthly paym,mts r,f alf accrue<J unpaid interest due as of each payment date, beginning Octob@r 30, 2015, with all
 subsequ11r1! interest payments to be due on the same day of each monlh after that.
 VARIABLE INTEREST RATE. The interest rate on this loan is subject to change from time to time based on changes in an independent index
 which is the Wall Street Journal Prime Rate, as published in the Western Edition of the Wall Street Journal (the "Index"). The Index is not
 necessarily the lowest rate charged by Lender on its loans. If the Index beoornes unavailable durlng the term of this loan. Lender may designate
 a substitute index after notifying Borrower. Lender will tell Borrmver the current Index rate upon Borrower's ~quest. The interest rate change
 wil I not oocur more often than each day. Borrower understands that Lender may make loans based on other rates as well. The Index currently
 is 3.250% per annum. Interest on the unpaid principal balance of this loan will be calculated as described in the 'INTEREST CALCULATION
 METHOD" paragraph using a rate of 2.000 percentage points over the Index, adjusted if necessary for any minimum and maximum rate
 limitations described below, resulting in an initial rate of 5.250%. NOolCE: Under no circumstances will the interest rate on this loan be less
 than 5.250% per annum or more than the maximum rate allowed by applicable law.
 INTEREST CALCULATION METHOD, Interest on this loan is computed on ii 365/360 basis; that is, by applylng the ratio of the Interest rate over
 a year of 360 days, multiplied by the outstanding principal balance, multiplied by the actual number of days lhe principal balam,e is outst,mding.
 All interest pilyabfe under this loan is tomputed using this method. This calculation method results in a higher effective interesl rate than the
 numerie i ntersst n le stated in the Joan docurnents.
 CONTINUING VALIDITY. Except as expressly changed by this Agreement, the terms or lhe □rigin,:,I obligation or ot>ligations, inciuding all
 agreements evidenced Of seruring the obligation(s). remain unchanged amt in full force and effect. Consent by Lender to this Agreement does
 not w,:,ive Lender's right to strict performance of the obligation(s) as changed. nor obligate Lender to make ,:,ny future change in terms. Nothing
 in this Agreement will constitute a satisfaction of the obligation(s). It is the intention of Lender to retain as liable parties all makers and
 endorsers of the original obligation(s), including accamrnodalion parties, unless a party is expressly released by Lender in writing. Any maker or
 endorser, including accommodation makers, will not be released by virtue of this Agreement. If any person who signed the original obligation
 does not sign this Agreement below, then all persons signing below acknowledge that this Agreement is given oonditTonally, based on the
 representation to Lender that the non-signing party consents to tt1e changes and provisions of this Agreement or otherwise will not be released
 by it. This waiver applies not only to any inltial extension, modification or release, but also to all such subsequent actions.


 PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT, INCLUDING THE
 VARIABLE INTEREST RATE PROVISIONS. BORROWER AGREES TO THE "TERMS OF THE AGREEMENT.

 CHANGE JN TERMS SIGNERS:



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       Nutritiona , LLC                (
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   Plaza Bank
                                                    CHANGE IN TERMS AGREEMENT


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                                                                                                     documenl to 8JlY particular loan or !te
                                  Ari Item above conlaini    , _,... has been omitted due to twd km th IJmitettons.

  Borrower:       Hero Nutrttlonal,, LLC                                                         Lender:                     Plaza Bank
                  1900 Cameglo Av11nua, Building A                                                                           Pasadena Office
                  S811IB Ana, CA 92705                                                                                       199 South Los Robles Avenue
                                                                                                                             Suite 1::10
                                                                                                                             Pa88.d&na, CA 91101


   Prlncfpal Amount: $2,000,000.00                                                                                                              Date of Agreement: July 27, 2016
   DESCRIPTION OF EXISTING INDEBTEDNESS,
   The Promissory Note dated October 15. 2013 encl Business Loan Agreement (Asset Based) dated Jenueiy 15, 2015 In ttia original Principal
   Amount of $2,000,000.00 and all subsequent renewals, extensions or mQdlficatlons !hereof. The current oulHlendlng Prin~el Amount of the
   Note is $1,893,113.77,
   DESCRIPTION OF COLLATERAL
   Collateral aa described per Commercial Sarurity Agreement dated October 15, 2013.
   Collateral es described per Deed of Trus.t de~ October 27, 2015 and recorded on November 17, 2015 as Instrument Na. 2015066977, In the
   County Recorder's omoo of Monterey County, Callforr1ia.
   Collateral ae described per Deed of Truat dated Octot>er 27, 2015 and recorded on November 17, 2015                                                     !Ill   Instrument No. 2015000590735, In
   the County Recolder'a Office of Omn(1e County, California.
   DESCRIPTION OF CHANGE IN TERMS.
   Th.e Matortty of Ille Note ls hereby extertded from July 27, 2016 to October 27, 201s.
   PAYMENT, BOl1'0WGr wm pey this loan In one payment of al outstanding prlnclpal plus ell 11Ccrued unpaid lntereet on Oct®er ZT, 2018. In
   addition, BOft'Owar will pay r&gular monthly ~ n t l l of all accnJod unpaid lnlllrost duo as of each payment date, bG11lnnlng August 1, 2018,
   with all eublleq,uent Jntervst payments tu be du, on the same !lay of each m onth after that.
   VARIABLE INTEREST RATE. Tile Interest rate on thlB loan is subject to change from Nme to ttme ba5ed on etumges. In a11 independ&nt index
   whlcn iS the Wall Street Journal Prlme Rsle, ss publi3hed In the Wall Str86t Journal (the •indax'1, The Index i~ not nsceessrli)' !he towvst rate
   cha~ by L&rd@r on lb, loans. Ir the Index becomes unavailable during tM term or lhls loan, Lende. may deelgnate II subsUtute Index after
   notifying BOITTJw.,r. Lenoor wlll tall Bomwer 1he C\lrrent tnde)( rate upon Borrower'& request. The interost rate change wlJI not occur more
   ol\Bn than each day. Borrower unden;tands that lender may make loans based on other rates as well. The lndm: currently I'll 3.500% por
   annum. Jntareat on the unpaid principal balance of this loan wlll b e calculated a& descri:Jed In the "INTEREST CALCULATION METI-iOD"
   paragraph using a rate of 2.000 percentage polnta over the Index, adJualed lf necess11ry fer any min!mum and maximum rate lim!latlons
   described be/ow, resulting in an ln!tlal rate of 5.500%. NOTICE: Under no circumstanoes will the Interest rate on tllls loan be 1~8 than 5.250%
   per anoum or more than th6 maximum rate alowed by apprta.tbki lew.
   INTEREST CALCULATION METHOD. lntatt111t en this loan Is computed on a 355/360 bash!; that Ill, by applylng the ratio of the Jntorast rate ovur
   a 'fG&r of 3 60 days, mulUpll;d by the outstanding pl'fnclpet balance, multlpllod by tho actual number of da\111 the principal balenco Is ou111tandlng.
   Al lntomat paya.blo un·der this loan Is computod using this mol hod. This calculllllon molhod nislJ!ts In a higher offoctlv0 lntorost rate than the
   numeric lnlorBBI rate state cl In ltla loan documants.
   CONTINUING VALIDITY. Except as expressly changed by this Agreement, lhe terms                                             or
                                                                                                      the or1glnal obllgatlon or obligaUons. Including ell
   agreements evidenced or securing the obllgetion(s), remain unchanged and lri full force and effect. Consent by Lender to this Agreement does
   not waive landefe right to atrlct performance of the obllgetion(s) 11s changed, nor ob!lgate Lender to make any futura ctiange in terms. N01hlng
   in lhls Agreement will consUtu te a satisfaotlon of the obligallon(s). It Is the Intention of Lender to ra!•ln as Hable partls& all mskers and
   endorsers of the or!ginal obDgallon(s), Including accommodation parties, unleas a p arty Is expressly released by Lemler In wrttl119. Any maker or
   endorser, Including accommodation makers, will rmt be released by vl.rtue of this Agreement. If any person who signed tha original obllgallon
   does not sign !his Agreement below, then all ~etsons signing below acknowledge tt11~t this A greement Is gfven amdltlonelly, based on lhe
   represenlBHon to Lender that the non-signing party consents to the changes and provisions of thle Agrsement or ofhaiwlee will not be released
   by it. This waiver app!les not only to any initial eX'lenslon, mO<llftcaUon or release, but also to ell such eubse,qo;ent actions.


   PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ ANO UNDERSTOOD ALL lliE PROYISIONS OF IBIS AGREEMENT, INCLUDING TI-IE
   VARlABLE INTEREST RATE PROVISIONS. BORROWER AGREES 10 THE TERMS OF ™E AGREEMENT.
   CHANGE IN TERMS SIGNERS:




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    Plaza Bank
                                                CHANGE IN TERMS AGREEMENT




  Borrower:       Hero Nub'ltiona.ls, LLC                                      Lender:        PIBZa Bank
                  1900 Carnsgl& Avenue, Building A                                            Pas-atlena Office
                  Santa Ana, CA 92705                                                         199 Soutl1 Loe Roblee Avenue
                                                                                              Suite 130
                                                                                              Pasadena, CA 91101

   Principal Amount: $2,000,000.00                                                                  Date of Agreement October 27, 2016
   DESCRIPTION OF EXlSTING INDEBTEDNESS.
   llm P romissory Nola daled October 15, 2013 in the original Principal Amount of $2,0oo.ooo.oo and all subsequent renewals, extensions or
   modllicaUons thereof. The current outstanding Principal Amount of the Nole is $1,893,11 3.77.
   CESCRIPTION OF COLLATERAL
   Collateral as described per Commercial Security Agreement dated Octobar 15. 2013.
   Collateral as descnbed per Daad of Trust daled October 27, 2015 and recorded on November 17, 2015 as lns!rument No. 2015065977, in the
   Couoty Reoorder's Office of Momerey County, California.
   Assignment of Deposit Account dated October 27, 2016.
   DESCRJPllON OF CHANGE IN TERMS.
   The Maturity of the Note is hereby e:<tended from October 27, 2016 to January 27, 2017.
   Tl1e following collateral is hereby deleted from the Loan:
   Collateral as described par Deed of Trust dated Oct-Ober 27, 2015 nnd recorded on November 17, 2015 a~ Instrument No. 2015000590735, Jn
   the County Recorder's Olf1Ce of Orange County, CaRfomla.
   The following collateral is hereby added lo the Loan:
   .Assignment.of Deposit Account dated October 27, 2016.
   PAYMENT. Borrower will pay this loan In om, payment of all outstanding prfnclJ)al plus all accrued unpaid Interest on Januaiy 27, 2017. In
   addition, Borrows, will pay regular monthly payments of all accrued unpaid l nlerast due as of each J)llyment date, beginning November 27,
   2 016, 'With all subsequent lntel'llllt paym ents to be due on tho same day of oach month after thaL
   VARIABLE INlEREST RATE. The interest rate on this loan is subject to change from time to Ume based on changes in an independent index
   which is the Wall S treet Journal Prime Ra.le, as published In the Wall S treet Journal (the "Index"). The Index ls not necessarRy the lowest rate
   ctlarged by Lender on Its loans. If the Index becomes unavailable during the term or this loan, lender may Qesignate a substiMe Index after
   noUfylng Borrower. Lender will tell Borrower the current Index rate upon ~orrower's request. The Interest rate change will not occur more
   oftlln than each day. Borrower understands that Lende1 mey m ake loans ba!le(! on other rates as well. The Index cu&Tently Is 3.500% par
   annum. Interest on lhe unpaid princ!pal balance of this loan will be calculated as described In the "INTEREST CALCUlATl ON METHOD"
   paragraph using a rate of 2.000 percentage points over the Index. adjusted if ne<:essary for any minimum and maximum rate llmltatJons
   described below, resulting in an Initial rate of 5.500%. NOTICE: Under no circumstances wlll the Interest rate on this loan be less than 5.250%
   per annum or more than the maximum rate allowed by eppllcable law.
   INTEREST CALCULATION METHOD. Interest on this loan Is computed on a 3~/360 basis; that Is, by applying tho reUo of the lntemst rete over
                                                                                 by tho actual number of daya tho principal balance Is oul.61andlng.
   11 year of 360 days, multlpllod by the outstanding principal balance, multlplled
   All lttterust payable under this loan Is computed using this method. This cslculatlon method rasull8 In a higher effective lntereat rate than tho
   numeric Inter est rate aratod In the loan documents.
  CONTINUING VALIDITY. Except as OJ<pressly changed by this Agreement, the terms of the original obllgaUon or obligations, lnc:tudlrig all
  agreem ents evldenced or securing the obligation(s), remain unchanged and In full force and effect. consent by L!'lnder to this Agreement    does
  not waiw lender's right t o shict performance or the obligation(s) as changed, nor obligate Lender to make any future change In terms. Nothing
  in this Agreement wfll constllute a setisfacUon of the obligation(s). It Is Iha inten tion of Lender lo retain as liable parties all maker& end
  endof!ler, of the original obllgation(s), Including accommodation parties, unless a party is expressly released by L.ender In writing. Any ma~er or
  endorser, including accommodation makers, will not be released by vlrtu.e of this Agreement. If any person who slgried the orlglnal obffgation
  doas not sign lhis Agreem11nt below, then all persons signing below acknowledge that this Agreemonl ia given condltlonelly, based on the
  representation to Lerider that the non-slg nlng party consents 10 lhe changes and provisions of this Agreement or otherwise will not be released
  by it This waiver applies not only lo eny Initial e>dension, modification or release, but also to all such subsequent actions.




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   PRlOR TO SIGNING llflS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT, INCLUDING THE
   VARIABLE INTEREST RATE PROVISIONS. BORROWER AGREES TO THI: TERMS OF TitE AGREEMENT.

   CHANGE IN TERMS SIGNERS:




                                           Hero




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 Plaza Bank
                                              CHANGE IN TERMS AGREEMENT
 _, P.rh:i~Jp.?I _       -Loan Date         Maturity                                                       . Account
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$2 o.o:o·ooo.o.o·       ot;:17.201-1     06-2t-=2017·.                                                                            ,**":'
    References in the boxes above are for Lender's use only and do no t limit the applicab ility of this document to any particular loan or ite
                              An item above containing ............ has been omitted due to text le_n th limitations.

Borrower:         Hero Nutritionals, LLC                                      Lender:          Plaza Bank
                  1900 Carnegie Avenue, Building A                                             Pasadena Office
                  Santa Ana, CA 92705                                                          199 South Los Robles Avenue
                                                                                               Suite 130
                                                                                               Pasadena, CA 91101


 Principal Amount: $2,000,000.00                                                                     Date of Agreement: January 27, 2017
 DESCRIPTION OF EXISTING INDEBTEDNESS.
 The Promissory Note dated as of October 15, 2013 in the original principal amount of Two Million -and 00/100 Dollars ($2,000.000.00) and all
 subsequent renewals. extensions or modifications thereof with a current outstanding principal balance of $1,893,113.77.
 DESCRIPTION OF COLLATERAL.
 The Note is secured by the Collateral as described in the Commercial Security Agreement, date<:1 as cf October 15, 201 3. executed by Grantor
 in favor of Lender.
 The Note is secured by a Deed of Trust, dated as of October 27, 2015, on property commonly known as 77820 Vineyard Canyon Road and
 Vacant land, San Miguel, CA 93451, recorded November 17, 2015 as Instrument Number 2015065977 in the Official Records of Monterey
 County, State of California.
 The Note is secured by the Collateral as described in the Assignment of Deposit Account, dated as of October 27, 2016.
 DESCRIPTION OF CHANGE IN TERMS.
 The Maturity of the Note is hereby extended from January 27, 2017 to June 27, 2017.
 CONTINUING VALIDITY. Except as expressly changed by this Agreement, the terms of the original obligation or obligations, including all
 agresments evidenced or securing the obligation(s), remain unchanged and in full force and effect. Consent by Lendsr to this Agreement does
 not waive Lender's right to strict performance of the cbligation(s} as changed. nor obligate Lender to make any future change in terms. Nothing
 in this Agreement will constitute a satisfaction of the obligation(s). It is the intention of Lender to retain as liable parties all makers and
 endorsers of the original obligation(s). including accommodation partles, unless a party ls expressly released by Lender in wriling. Any maker or
 endorser, including accommodation makers, will not be released by virtue of this Agreement. If any person who signed the original obligation
 does not sign this Agreement below, then all persons signing below acknowledge that this Agreement is given conditionally, based on the
 representation to Lender that the non-signing party consents to the changes and provisions of this Agreement or otherwise will not be released
 by ii. This waiver applies not only lo any inillal extension, modification or release, but also to al\ such subsequent actions.


 PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT. BORROWER
 AGREES TO THE TERMS OF THE AGREEMENT.    •

 CHANGE IN TERMS SIGNERS:



 HERON
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  By:    L
        Jennifer                                   o f Hero
        Nutritiona s,




                                                   EXHIBIT 4                    PAGE 118
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        iii?>
 Plaza Bank
                                              CHANGE IN TERMS AGREEMENT
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$2,000,000.00          . o.s :-.21-2011 12-27~2017                             _ :._'4~110;1:llit...... --·...... .. ...... ·-   __ _. __J.M... .    __
    References in the boxes above are for Lender's use onlX and do not limit the applicabilily of this document to any particular loan or ll m .
                              An item above containing · -•· has been omitted due to text length limitations.

Borrower:        Hero Nutritionals, LLC                                       Lender:             Plaza Bank
                 1900 Carnegie Avenue, Building A                                                 Pasadena Office
                 Santa Ana, CA 92705                                                              199 Soulfl Los Robles Avenue
                                                                                                  Suite 130
                                                                                                  Pasadena, CA 91101


 Principal   Amount: $2,000,000.00                                                                          Date of Agreement June 27, 2017
 DESCRIPTION OF EXISTING INDEBTEDNESS.
 The Promissory Note dated as of Oclober 15, 2013 in the original principal am ount of Two Million and 00/1 00 Dollars {$2,000,000.00) and all
 subsequent renewals, extensions or modifications thereof with a current outstanding principal balance of $1 ,893,113.77.
 DESCRIPTION OF COLLATERAL
 The Note is secured by the Collateral as described in the Commercial Secur~y Agr.,ernent, dated as of October 15. 2013, executed by Granter
 in favor of Lender.
 The Note is secure(! by a Deed of Trust, dated as of October 27, 2015, on property commonly known as 77820 Vineyard Canyon Road and
 Vacant land, San Miguel, CA 93451, recorded November 17, 2015 as Instrument Number 201 5065977 in the Officia l Records of Monterey
 County. Slate of California.
 The Note is secured by the Collateral as described in the Assignment of Deposit Account, dated as of October 27, 2016.
 DESCRIPTION OF CHANGE IN TERMS.
 The maturity of the Note is hereby extended from June 27. 2017 to December 27, 2017.
 PAYMENT. Borrower will pay thls loan in one payment of all outstanding principal plus all accrued unpaid interest on December 27, 2017. In
 addition, Borrower will pay mgular monthly payments of all accrued unpaid interest due as of each payment date, beginning July 27, 2017, with
 aU subsequent inklrest payments to be due on the same day of each month after that.
 VARIABLE INTEREST RATE. The interest rate on this loan is subject to change from lime to time based on changes in an independent index
 which is the Wall Street Journal Prime Rate, as published in the Wall Street Journal (the "Index"). The Index is not necessarily the lowest rate
 charged by Lender on its loans. If the Index becomes unavailable during the term of this loan, Lender may designate a substitute index after
 notifying Borrower. Lender will tell Borrower the current Index rate upon Borrowe fs request. The interest rate change will not occur more
 often than each day. Borrower understands that Lender may make loar1s based on other rates as well. The Index currently is 4. 250% per
 annum. Interest on the unpaid principal balance of this loan will be calculated as described in the ·INTEREST CALCUtATION METHOD"
 paragraph using a rate of 2.000 percentage points over the Index, adjusted if necessary for any minimum and maximum rate limitations
 described below, resulting in an initial rate of 6.250%. NOTICE: Uneler no circumstances will the interest rate on this loan be less than 5.250%
 per annum or more than the maximum rate allowed by applicable law.
 INTEREST CALCULATION METHOD. Interest on this loan is computed on a 365f360 basis; that is, by applying the ratio of the inlerest rate over
 a year of 360 days, multiplied by the outstanding principal balance, rnul.l lpllcd by the actual number of days the principal balance is outstanding.
 All interest payable under lllis loan is computed using this method. This calculation method results in a higher effective Interest ·rate than the
 numeric interest rate staled 1n the loan documents.
 CONTINUING VALIDITY. Except as expressly changed by tllis Agreement, the terms of the original obligation or ooligations, including all
 agreements evidenced or secu·ring the obligation(s). remain unchanged and in full force and effect. consent by Lender to ·this Agreement does
 not waive Lende~s right to strict performance of the obl lgation(s) as changed, nor obligate Lender to make any futu re change in terms. Nothing
 in this Agreement will constitute a sa\isfac_tion of the obligalion(s). It is the intention of Lender to retain as tlable parties all makers and
 endorsers of the original obligatlop(s), including accommodation parti.es, unless a party is expressly released by Lender In w riting. Any maker or
 endorser, Including accommodation makers, will not be released by virtue of this Agreement. If any person who signed the original obligation
 does not sign this Agreement below, then all persons signing below acknowledge that this Agreement is given conditionally, based on the
 representation to Lender th at the non-s igning party consents to the changes·and provisions of this Agreement or .otherwlse will not be released
 by it. This waiver applies not only to any initial extension, modification or release, but also to all such subsequent actions.


 PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD All THE PROVISIONS OF THIS AGREEMENT, INCLUDING THE
 VARIABLE INTEREST RATE PROVISIONS. BORROWER AGREES TO THE TERMS OF THE AGREEMENT.

 CHANGE IN TERMS SIGNERS:




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                                                               LOAN MODIFlCATION AGREEMENT

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        Borrower:              Haro Nutr.mon<115, LLC                                                                Leno er:               P'Rr:rfir. Prcr1Hfn 3,,n~.
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   B ORROWER AGREES TO THE Tc.RMS OF THIS AGREEMENT




   Hm~ N,rl,ttiooals, LLC




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                                                 LOAN MODIFICATION AGREEMENT
                                                                       (Short-Term Extension)

       Original Note Date
       October 15, 2013
                                    I      Maturity Date
                                         January 2, 2019             I                                  I
                                                                                                              Call/ Coll       J Account      I          I
                                                                                                                                               Officer Initials

               References in the boxes above are for Lendets use only and do not limit lhe applicability of this document lo any particular loan or item.
                                              Any item above containing :••••" has been omitted due to text length limitations.
      Borrower:         Hero Nutritionats, LLC                                           Lender:            Pacific Premier Bank
                        190D Carnegie Avenue                                                                17901 Von Karman Avenue
                        Santa Ana, CA 92705                                                                 Suite 1200
                                                                                                            Irvine, CA 92614
                                                                                                            (949) 864-8000



   THIS LOAN MODIFICATION AGREEMENT (the "Agreement") is made as of November 29, 2018, by and among Hero Nutritionals, LLC ("Borrower') and
   Pacific Premier Bank ("Lender"). Borrower entered into a loan (the "loan") evidenced by a Promissory Note dated October 15, 2013, originally payable to
   Bank of Manhattan, N.A., or order. in the original principal amount of Two Million and No/100 Dollars ($2,000,000.00) (the "Nole"). Lender acquired the
   Loan by merger wilh Ptaza Bank on     or
                                          about November 1, 2017 and now holds all of Plaza Bank's rights and interest under the Loan· Documents.
   The Note and all other loan documents given lo Plaz.a Bank or Lender either evidencing lhe Loan or to induce Plala Bank or Lender to make or modify
   the Loan are referred to collectively as the "Loan Documents".
                                                                            AGREEMENT
   NOW. THEREFORE, in consideration of the promises herein contained, the parties hereto ilgree as follows:
  DESCRIPTION OF LOAN MODIFICATION. As of the date of th~ Agreement, the Note and other Loan Documents are hereby amended as follows:
         Maturity Dale. The maturity date of the Note is hereby extended to January 2, 2019 (the "Maturity Dale"). Borrower shall continue to pay regular
         monthly payments of all accrued unpaid interest due as of each payment data until the Maturity Date. On the Maturity Dale, Borrower shal! pay the
         Loan in one payment of all outstanding principal plus all accrued unpaid in!eresl and all other amounts owed under the Note.
  CONTINUING VALIDITY. In all other respects, Borrower acknowledges and agrees that all terms, conditions and provisions of the Loan Documents are
  continued in full force and effect, except as specifically set forth above, and remain unaffec1ed and unchanged. This Agreement in no way acts as a
  release or relinquishment of, and in no way affeds, the liens, security interests and rights created by or arising under the Loan Documents, or the priority
  thereof. Such liens, security interests and rights are hereby ratified, confirmed, renewed and extended in all respects. The Loan Documents, any other
  security for payment of the Note, and alt rights, remedies, ti11es, liens and equities securing the Note as hereby modified and the indebtedness represented
  thereby are hereby recognized, renewed, extended and continued in full force and effect for the benefit of the holder of the Nole and the indebtedness
  evidenced thereby. This Agreement in no way acts as a release or relinquishment of, and in no way affects, the liens, security interests and right,, created
  by or arising under any security instrument or other Loan Documents that secure the Note or other Loan Documents, or the priority thereof. Such liens,
  security interests and rights are hereby ratified, confirmed, renewecl and extended in all respects.
  WARRANTIES, REPRESENTATIONS AND AGREEMENTS. Borrower hereby ratifies, confirms, admowledges and agrees that the Loan Documents
  represent valid, enforceable and collectible obligations of Borrower and that there are no existing claims, defenses, personal or otherwise, or rights of
  setoff whatsoever with respect to any of such documents or instruments. Borrower further acknowledges and rep,esents that no event has occurred and
  no condition exists which would constitute a defau~ under any of the Loan Documents or this Agreement. either with or without notice or lapse of time or
  both.
  RELEASE AND WAIVER OF CLAIMS. In consideration of Lender's agreement to enter into this Agreement, Borrower hereby agrees as follows:
     Release of All Claims. Borrower, on behalf of itself, its general partners, its members, its officers, its affiliates and lts and their successors and assigns
     (collectively the "Releasing Parties"), nereby releases and foreverdischaIges Lender and all oflts subsidiaries, affiliates, officers, directors, employees,
     agents, attorneys, advisors, and its and their successor5 and assigns (colleclive)y the "Released Parties') from any and all claims, demands, debts,
    liabilities, contracts, obligations, accounts, torts, causes of action or claims for relief of whatever kind or nature. whelher known or unknown, whether
    suspected or unsuspected, which the Releasing Parties may have or which may hereafter be c1sserted or accrue against Released Parties, or any of
    them, resulting from or in any way relating to any act or omission done or committed by Released Parties, or any of them, arising directly or indirectly
    out oflhe Loan, the Loan Documents. the transactions evidenced or contemplated thereby, the approval, the origination, the funding and the dosing of
    the Loan: the review, approval. or disapproval of any and all documents, instruments, insurance and all other items submitted lo Lender in connection
    wilh the Loan; the disbursements of funds under the Loan: the modification of the Loan made pursuant to this Agreement; Lender's ads, statements,
    conduct. representations and omissions made in connection with the modification of lhe Loan, including, without limitation, the terms and conditions of
    this Agreement; any fad. matter. transaction or event re laling thereto; or the relationships existing or transactions or dealings occurring between Lender
    and Releasing Parties up to and as of the date of this Agreement (the "Claims").
   Release I ncJudes Unknown Claims. The release described in the immediately preceding paragraph and in this paragraph applies lo alt Claims which
   the Releasing Parties have or which may hereafter arise against the Released Parties. or any of them. as a result of acts or omissions occurring before
   the date of this Agreement. whether or not known or suspected by the Parties hereto. Releasing Parties expressly acknowledge that. although it may
   be that ordinarily a general release does no\ extend to claims which the releasing party does not know or suspect to exist in his favor, which if known
   by him must have materially affected his settlement with the party released, ii has carefully considered and taken into account in delermining to enter
   into this Agreement the possible exis1erice of such unknown losses or Claims.
   Without limiting the genera lily of the foregoing, Releasing Parties expressly waive any and all rights conferred upon it by any statute or rule ol law which
   provides that a release does not extend to claims which the releasing party does not know or suspect to exist in the releasing party's favor at the time
   of executing the release, which if known by the releasing party must ha~e materially affected the releasing party's settlement with the released party.
   including. without limitation. the following provisions of California Code of Civil Procedure Section 1542:
                      "A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHJCH THE CREDITOR DOES NOT KNOW
                      OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH
                                                                                -1 -




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                                      IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HJS OR HER SEffiEMENT WITH
                                      THE DEBTOR.•
          Complete Defense. This release by Releasing Parties shall constitule a complete defense to any claim, cause of action, defense, contract. liability,
          indebtedness, obligation, liability, claim or cause of action exists which is within the scope of those hereby released.
          No Reliance. Releasing Parties hereby acknowledge that it has nol relied upon any representation of any kind made oy Lender in making the foregoing
          release.
     GENERAL. Borrower shall execute such addllional documents as Lender may require to fully effectuate the intent of this Agreement. If any action, suit
    or other proceeding is brought to enforce lhe obligations of lhe undersigned under this Agreement, the prevailing party shall be entitled lo receive all of
    such party's costs and expenses of suit, including attorneys' fees, incurred in each and every such action, suit or other proceeding, including any and all
    appeals or petitions therefrom. As used in this Agreement, attorneys' fees shall mean the full and aclual cost of any legal services actually perfonned in
    connection with the matters involved, calculated on the basis of the usual fee charged by lhe attorneys performing such services and shall not be limited
    to "reasonable attorneys' fees" as defined in any statute or rule of court. This Agreement shall be governed by, and lnte,preted in accordance wilh, the
    laws of the jurisdiction governing interpretation of the Note (however, nol to the exclusion of any applicable Federal law), w~hout regard lo state statutes
    or judicial decisions negarding choice of law questions.
    COUNTERPARTS. This Agreement may be executed in counterparts, each of which, when so executed, shall be deemed an original, out all such
    counterparts, taken together, shall constltute one and the same instrument. Delivery of an execuled counterpart of this Agreement by lelefac;simile 01
    electronically shall be equally as effective as delivery of a manually executed counterpart of this Agre_ement.


    PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT AND
    BORROWER AGREES TO THE TERMS OF THIS AGREEMENT,


    BORROWER:




          By: c----:-::-'-==-ct-:--Jrr._._.'--:''--c-:+--',,,-=.
             Jenn            /                                 ero Nulrilionals, LLC


    LENDER:

    PACIFIC                c .

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    Name:          S h.-:i rn n
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                                   LOAN MODIFICATION AGREEMENT
                                             (Loan No.         9002)

                THIS LOAN MODIFICATION AGREEMENT (this "Agreement") is by and
         between HERO NUTRITIONALS, LLC, a Ca1ifornia limited liabiJity company (the
         "Borrower"), and MCCORMICK 107, LLC, a Maryland limited liability company (the
         "Lender"), successor-in-interest to Pacific Premier Bank, successor-by-merger to Plaza Bank,
         successor-by-merger to Bank of Manhattan N.A., and is made as of the date shown opposite the
         Lender's signature on the signature page (the "Agreement Date").

                                                  RECITALS:

                 WHEREAS, the Borrower has executed and delivered to Bank of Manhattan N.A. that
         certain Promissory Note in the original principal amount of $2,000,000.00 dated October 15,
         2013, made by Hero Nutritionals, LLC, and in favor of Pacific Premier Bank, succcssor-by-
         merger to Plaza Bank, successor-by-merger to Bank of Manhattan N.A., as ~odified by Change
         in Terms Agreement dated October 10, 2014, as further modified by Change in Tenns
        Agreement dated January 15, 2015, as further modified by Change in Terms Agreement dated
        May 31, 2015, as further modified by Change in Terms Agreement dated October 27, 2015, as
        further modified by Change in Terms Agreement dated June I, 2016, as further modified by
        Change in Terms Agreement dated July 27, 2016, as further modified by Change in Tenns
        Agreement dated October 27, 2016, as further modified by Change in Terms Agreement dated
        January 27, 2017, as further modified by Change in Terms Agreement dated June 27, 2017, as
        further modified by Loan Modification Agreement dated January 25, 2018, as further modified
        by Loan Modification Agreement dated June 20, 2018, and as further modified by Loan
        Modification Agreement dated November 29, 2018 (as amended from time to time, the "Note"),
        evidencing a business purpose loan extended to the Borrower (the "Loan");

               WHEREAS, the Note is subject to the terms and conditions set forth in that certain
       Business Loan Agreement (Asset Based) dated as of January 15, 2015 (as amended from time to
       time, the "Loan Agreement");

             WHEREAS, Lender entered into a Non-Recourse Participation and Loan Sale Agreement
       with Pacific Premier Bank and has become the owner of, among other things, the Loan
       Documents (as defined below);

               WHEREAS, all indebtedness evidenced by the Note, and any extensions, renewals,
       restatements and modifications thereof and all principal, interest, fees and expenses relating
       thereto; however arising, whether liquidated or unliquidated, whether absolute or contingent, and
       of whatever nature, including without limitation, costs and expenses of collection and
       enforcement of the Loan Documents (as defined below), including without limitation attorneys'
       fees of both inside and outside counsel, are referred to in this Agreement as the "Obligations'';

             WHEREAS, the Obligations are secured by the property set forth in the following
       documents (collectively, as amended from time to time, the "CoJJateral Documents"):




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                 Deed of Trust, dated October 27, 2015, executed by Jennifer L. Hodges and recorded on
                 November 17, 20 I 5, in the Official Records of Monterey County, California, as
                 Document No, 2015065977, as assigned to Lender;

                 Assignment of Rents, dated October 27, 2015, executed by Jennifer L. Hodges and
                 recorded on November 17, 2015, in the Official Records of Monterey County, California,
                 as Document No. 2015065978, as assigned to Lender;

                 Commercial Security Agreement dated as of October 15, 2013;

                 Assignment of Deposit Accounted dated October 27, 2016;

                 Deposit Account Control Agreement;

                (The property described in the Collateral Documents is collectively referred to in this
                Agreement as the "Collateral");

                WHEREAS, the Obligations are guaranteed pursuant to the following guaranties
                (collectively, the "Guaranties") in favor of Lender:

                Commercial Guaranty dated October 15, 2013, executed by Hero Nutritionals, Inc.;

                Commercial Guaranty dated October 15, 2013, executed by Jennifer L. Hodges;

                (The entity or individuals executing the Guaranties are referred to in this Agreement as
                the "Guarantors");

              'WHEREAS, the Note, the Collateral Documents, and the Guaranties, as well as any other
       loan documents executed by the Borrower or the Guarantors pursuant thereto or in connection
       therewith, as the same may be amended from time to time, are referred to collectively in this
       Agreement as the "Loan Documents";

               WHEREAS, the Note has matured, and the Obligations have not been paid·in full; and

             WHEREAS, the Bmrnwer has requested that the Lender modify the terms of the Loan
       Documents, and the Lender is willing to do so upon the terms and conditions set forlh in this
       Agreement.

                                               AGREEMENT:

              NOW, THEREFORE, in consideration of the above recitals, the agreements set forth in
       this Agreement and other good and valuable consideration, the receipt and sufficiency of which
       are acknowledged, the parties agree:

               L.     Recitals; Capitalized Terms. The Borrower acknowledges that the recitals set
       forth above are true and correct, and are made a part of tbis Agreement. Capitalized terms used


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         and not defined m this Agreement have the meanings assigned to such terms in the Loan
         Documents.

                 2.      Unpaid J>Nncjpal Balance of Note. Borrower acknowledges, admits, and agrees
         that the outstanding principal balance of the Note, as of February 25, 2019 is $1,842,170.80.

                3.      LoahModificritions. The Loan Documents are amended and supplemented as
         follows, with the amendments in th1s Section to be effective as of the Agreement Date, so Jong as
         the conditions to effectiveness set forth in Section 4 are satisfied or waived as provided in
         Section 4:

                       a.      Change fo Maturity Date. Notwithstanding anything in the Loan
                Documents, the Note will mature    on
                                                   June 15, 2019 (the "Maturity Date").
                       b.      Miscellaneous. All references in the Loan Documents to a "Note" mean
                that "Note" as modified and supplemented by this Agreement.

                4.     Conditions to Effectiveness or- Agrc~ment'.        The Borrower shall deliver (or
        cause to be delivered) to the Lender each of the following:

                       a.      an original of this Agreement, duly executed by the Borrower and
                notarized;

                       b.      a ratification and consent to this Agreement, in form and content
                acceptable to the Lender, duly executed by the Guarantors and notarized;

                       c.      a Demand Account Control Agreement, in form and content acceptable to
                the Lender, duly executed by the Borrower and Pacific Premier Banlc; and

                       d.     such additional information or documentation as the Lender may require.

       The later of (a) the date on which the last of the conditions and requirements in this Section 4 has
       been satisfied, or waived in writing by the Lender; and (b) the Agreement Date is called the
       "Closing Date," The provisions of this Section 4 are solely for the Lender's benefit and
       protection. If the Lender has not received all of the items stated above in this Section 4 by
       March 5, 2019 (the "Closing Deadline''), then the Lender shall have the right in its sole and
       absolute discretion either to (y) waive any missing items by giving written notice to the
       Borrower at any time after the Closing Deadline, or (z) tenninate this Agreement by giving
       written notice to the Borrower not later than 30 days after the Closing Deadline ("Termination
       Notice"). Upon Lender's delivery of a Termination Notice to the Borrower, this Agreement
       shall have no further force or effect, and the parties' rights and obligations shall continue to be
       governed by the Loan Documents and the Note as they existed without the modifications
       contemplated by this Agreement.

               5.      Evidence of Insurance. Upon the execution of this Agreement, and as requested
       by the Lender from time to time, and as otherwise required by the Loan Documents, the
       Borrower shall deliver to Lender updated evidence of property damage and liability insurance as


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         to aJl Collateral securing the Loan in such form and substance acceptable to Lender in its
         discretion, with lender loss payable endorsements on all casualty coverages naming Lender, and
         its successors and/or assigns, aB loss payee am.I mortgagee.

                6.      Acknowledgments. The Borrower acknowledges and agrees that as of the
        Closing Date: (a) the Obligations exist and are owing without offset, defense or counterclaim
        assertable by the Borrower against the Lender; and (b) the Collateral Documents continue to
        secure all the Obligations of the Borrower under the Note and all other Loan Documents.

                7.      Ratification of Loan Documents. The Borrower represents that on and as of
        the Closing Date and after giving effect to this Agreement all of the representations and
        warranties contained in the Loan Documents are true, correct and complete in all respects as of
        the Closing Date as though made on and as of such date, except for changes expressly pennitted
        by the terms of the Loan Documents. The parties further acknowledge that the Note, as amended
        and supplemented by this Agreement, and the other T,nan Document~ remain in full force and
        effect. Without limiting the generality of the foregoing, the Borrower represents and warrants
        that the Collateral Document continues to secure the obligations of the Borrower under the Note,
        as amended and supplemented by this Agreement.

                8.      General Release and Waivers.

                        a.      The Borrower, for and on behalf of itself and its legal representatives,
               successors and assigns, does waive, release, relinquish and forever discharge the Lender,
               its parents, subsidiaries, and affiliates, its and their respective past, present and future
               directors, officers, managers, agents, employees, insurers, atto~neys, representatives and
               all of their respective heirs, successors and assigns (collectively, the ''Released Parties"),
               of and from any and all manner of action or causes of action, suits, claims, demands,
               judgments, damages, levies and executions of whatsoever kind, nature or description
               arising on or before the Closing Date, including, without limitation, any claims, losses,
               costs or damages, including compensatory and punitive damages, in each case whether
               known or unknown, asserted or unasserted, liquidated or unliquidated, fixed or contingent,
               direct or indirect, which the Borrower, or its legal representatives, successors or assigns,
              ever had or now has or may claim to have against any of the Released Parties, with respect
              to any matter whatsoever, including, without limitation, the Loan Documents, the
              administration of the Loan Documents, the negotiations relating to this Agreement and the
              other Loan Documents executed in connection with this Agreement and any other
              instruments and agreements executed by the Borrower in connection with the Loan
              Documents or this Agreement, arising on or before the Closing Date. The Borrower
              agrees not to sue any Released Party or in any way assist any other person or entity in
              suing a Released Party with respect to any claim released in this Section. The Borrower
              acknowledges that it has been informed of its rights under and the provisions of Section
              1542 of the Civil Code of the State of California and expressly waives and relinquishes all
              rights and benefits that it has or may have had under such statute, which reads as follows:

                       "A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH TIIE
              CREDlTOR DOES NOT KNOW OR SUSPECT TO EXIST IN HJS OR HER FAVOR


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                AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR
                HER MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH
               THE DEBTOR."

                         b.      The Borrower irrevocably waives, to the extent permissible under ]aw, any
                 and all rights of redemption, the right to notice of any proposed sale of any of the
                 Collateral constituting personal property (the "Personal Property Collateral"), or of any
                 other disposition of any of the Personal Property Collateral, and any other rights with
                 respect to the Personal Property Collateral under the Unifonn Commercial Code or other
                 laws of any state.
                        c.      The Borrower's failure to repay the Loan in full on or before the maturity
               date of January 2, 2019, constitutes defaults under one or more of the Loan Documents
               (collectively, the "Identified Defaults"). The Borrower has requested that the Lender
               waive the Identified Defaults. Effective upon the Closing Date, the Lender waives the
               Identified Defaults, provided, h6:-.vever, that the waiver granted in this Agreement is
               limited to the Identifi.ed Default and is not intended, and will not be construed, to be a
               general waiver of any term or provision of any Loan Document or a waiver of any other
               existing or future default, including any default similar to the Identified Default.

              9.      S uccession. The parties acknowledge and agree that McCormick 107, LLC, a
       Maryland limited liability company is the successor-in-interest to Pacific Premier Bank,
       successor-by-merger to Plaza Bank, successor-by-merger to Bank of Manhattan N.A. and has
       succeeded as to all rights as Lender under the Loan Documents.

               I 0,   'No D u.r ess ·or R eliance. The Borrower acknowledges and agrees that the
       Borrower has received the advice of independent coWJsel, appraisers and accountants selected by
       the Borrower, or the opportunity to obtain such advice, before entering into this Agreement and
       the other Loan Documents referred to in this Agreement, and has not relied upon the Lender or
       any of its officers, directors, employees, agents or attorneys concerning any aspect of the
       transactions contemplated by this Agreement and the other Loan Documents referred to in this
       Agreement. The Borrower executed and delivered this Agreement of the Borrower's own free
       will and will execute and deliver the other instruments required by this Agreement of the
       Borrower's own free will. The Borrower further acknowledges that the Lender has not taken
       advantage of the Borrower by threats, overreaching, unconscionable conduct or other activities
       and that the Borrower is proceeding in all transactions contemplated in this Agreement as a
       volunteer and in what the Borrower perceives to be the Borrower's own best interest.

              11.    Notices. Any notice or other communication to any party in connection with this
      Agreement or any Loan Document shall be in writing and shall be sent by manual delivery,
      facsimile transmission, overnight courier or United States mail (postage prepaid) addressed to
      such party at the address specified below, or at such other or additional address as such party
      shall have specified to the other party in writing. All periods of notice (if any) shall be measured
      from the date of delivery of the notice if manualJy delivered, from the date of sending if sent by
      facsimile transmission, from the first business day after the date of sending if sent by overnight
      courier, or from four days after the date of mailing if mailed. Each notice or other
      communication should be addressed as follows:


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                  If to Lender:         Mc Connick I 07, LLC
                                        11350 McCormick Road, Suite 902
                                        Hunt Valley, MD 21031
                                        Attn: Sean Schroeder

                 If to the Borrower:    Hero Nutritionals, LLC
                                        1900 Carnegie Avenue
                                        Santa Ana, CA 92705

                 Ifto the Guarantors: Hero Nutri1ionals, Inc.
                                      1900 Carnegie Avenue
                                      Santa Ana, CA 92705
                                      Attn: Jennifer L. Hodges

                                        Jennifer L. Hodges
                                        2988 Terry Road
                                        Laguna Beach, CA 92651

        The parties agree that the notice addresses set forth in this Agreement supersede and replace all
        prior notice addresses.

                12.    Representations and War.t:t'nties. The Borrower warrants and represents that
        (a) on and ?S of the Closing Date and after giving effect to this Agreement, other than the
        Identified Defaults, there will exist no default under the Note, as amended by this Agreement, the
        Collateral Document, or any other instruments executed by the Borrower in connection with this
        Agreement or the Loan Documents, or circumstances that with the giving of notice, the passage
        of time or both wi II constitute an event of default under any Loan Document on such date; (b) the
        Bmrower has the power and legal right and authority to enter into, deliver and perform this
       Agreement, and any other documents or agreements executed by Borrower in connection with
       this Agreement, and that neither this Agreement, nor the agreements contained in this Agreement
       or any documents or agreements executed by Bon-ower in connection with this Agreement
       contravene any provision of or constitute a default under any agreement, instrument or indenture
       to which the Borrower is a party or signatory or any provision of the Borrower's constituent
       documents or any other agreement or requirement of Jaw; ( c) this Agreement and aJl other
       documents or agreements executed by Borrower in connection with this Agreement have been
       duly executed and delivered by the Borrower and constitute the legal, valid and binding
       obligation of the Borrower, enforceable against it in accordance with its terms, except as such
       enforceability may be limited by applicable bankruptcy, insolvency, reorganization, moratorium
       or similar laws affecting creditors' rights generally and by general principles of equity; and (d)
       no consent, approval or authorization of or registration or declaration with any party, including
       but not limited to any governmental authority, is required (except for those which the Borrower
       has obtained or provided) in connection with the execution and delivery by the Borrower of this
       Agreement, or any other documents or agreements executed by Borrower in connection with this
       Agreement, or the performance of the obligations of the Borrower described in this Agreement.



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                 13.     Further Assurances. The Borrower shall promptly correct any defect or error
         that may be discovered in any Loan Document or in the execution, acknowledgment or
         recordation of any Loan Document. Promptly upon request by the Lender, the Borrower also
         shall do, execute, acknowledge, deliver, record, re-record, file, re-file, register and re-register,
         any and all deeds, conveyances, mortgages, deeds of trust, trust deeds, assignments, estoppel
        certificates, financing statements and continuations thereof, notices of assignment, transfers,
        certificates, assurances and other instruments as the Lender may reasonably require from time to
        time in order: (a) to carry out more effectively the purposes of the Loan Documents; (b) to
        perfect and maintain the validity, effectiveness and priority of any security interests intended to
        be created by the Loan Documents; and ( c) to better assure, convey, grant, assign, transfer,
        preserve, protect and confirm unto the Lender the rights granted now or hereafter intended to be
        granted to the Lender under any Loan Document or under any other instrument executed in
        connection with any Loan Document or that the Borrower may be or become bound to convey,
        mortgage or assign to the Lender in order to carry out the intention or facilitate the perfonnance
        of the provisions of any Loan Document. The Borrower shall furnish to the Lender evidence
        satisfactory to the Lender of every such recording, filing or registration.

                14.     Copies; ·E ntire Agreement; Modification, The Borrower acknowledges the
        receipt of a copy of the Note and all other Loan Documents. The Note and all of the Loan
        Documents are each a "transferable record" as defined in applicable law relating to electronic
        transactions. Therefore, the Lender may, on behalf of the Bonower, create a microfilm or
        optical d1sk or other electronic image of the Note and any or all of the Loan Documents that is an
        authoritative copy as defined in such law. The Lender may store the authoritative copy of the
        Note and any or all of the Loan Documents in its electronic form and then destroy the paper
        original as part of the Lender's normal business practices. The Lender, on its own behalf, may
        control and transfer such authoritative copy as permitted by such law.

                15.    Additional Provisions. TIME IS OF THE ESSENCE WITH RESPECT TO
        ALL PROVISIONS OF THIS AGREEMENT. No amendment, modification or waiver of the
       provisions of this Agreement or any Loan Document is effective unless the same is in writing
       and signed by the party against whom it is to be enforced, and then such amendment,
       modification or waiver shall be effective only in the specific instance and for the specific
       purpose for which given.         THIS AGREEMENT SHALL BE GOVERNED BY AND
       CONSTRUED UNDER AND IN ACCORDANCE WITH THE LAWS OF THE STATE OF
       CALIFORNIA. The Loan Documents as modified by this Agreement, and this Agreement, shall
       represent the entire agreement between the Borrower and the Lender with respect to the
       modification of the Note, shall supersede any prior oral negotiations or agreements, and shall be
       binding upon the pa1ties to this Agreement and their respective legal representatives, successors
       and assigns. In the event of any conflict between the provisions of this Agreement and the
       provisions of any Loan Document, the provisions of this Agreement shall govern. If any part of
       this Agreement is held to be illegal, invalid or unenforceable, (a) the remainder of this
       Agreement shall continue in full force and effect, notwithstanding such illegality, invalidity or
       unenforceability and (b) the judge or arbiter holding that part illegal, invalid or unenforceable
       shall attempt to reform that part so as to give effect to the original intent of the parties. Section
       headings in this Agreement are for convenience of reference only and shall not constitute a part
       of this Agreement for any other purpose. This Agreement may be executed in different


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         counterparts with the .same effect as if the signatures were on the same instrument, and will be
         effective upon delivery of all such counterparts to the Lender. Facsimiles or other photocopies
         or images of executed signature pages to this Agreement shall be considered originals.

               16.  No Commitment to Extend, Modify or Forbear.     EXCEPT AS
         SPECIFICALLY PROVIDED IN THiS AGREEMENT, THE LENDER IS NOT
         COMMITTED, AND IS NOT COMMITTING AT TI-11S TIME, TO EXTEND, MODIFY OR
        OTHERWISE RESTRUCTURE ANY LOAN, OR FORBEAR FROM EXERCISING ANY OF
        ITS RIGHTS OR REMEDIES UNDER THE NOTE, AS AMENDED BY THIS AGREEMENT.
        NO PRIOR COURSE OF DEALING, NO USAGE OF TRADE, AND NO ORAL
        STATEMENTS OR COMMENTS BY THE LENDER OR ITS OFFICERS, EMPLOYEES,
        ATTORNEYS OR OTHER AGENTS WILL BE DEEMED TO BE A COMMITMENT BY
        THE LENDER TO EXTEND, MODIFY, OR OTHERWISE RESTRUCTURE ANY LOAN OR
        FORBEAR FROM EXERCISING ANY OF ITS RJGHTS OR REMEDIES, EXCEPT AS
        EXPRESSLY SET FORTH JN THIS AGREEMENT, OR UNLESS THE SAME SHALL BE
        REDUCED IN WRITING AND SIGNED BY AN AUTHORIZED REPRESENTATIVE OF
        THE LENDER.

              17. B-orrower's Undets'tanding. THE BORROWER ACKNOWLEDGES THAT:
        (A) TH1S AGREEMENT CONTAINS A COMPLETE RELEASE OF CLAIMS AND
        WAIVERS OF CERTAIN RIGHTS; (B) THE BORROWER HAS READ AND
        UNDERSTOOD THIS AGREEMENT IN ITS ENTIRETY PRIOR TO SIGNING AND FULLY
        AGREES TO EACH, ALL AND EVERY PROVISION OF THIS AGREEMENT; AND (C)
        THE BORROWER HAS RECEIVED A COPY OF THIS AGREEMENT.

               18.  iucy Waiver, J:udiciatRcfere1rce. For the purposes of this Section 18, Borrower
        and Lender may be individually referred to as a "Party" and collectively referred to as the
        "Parties":

               18.1. TO THE EXTENT PERMITTED BY LAW, BORROWER AND LENDER
               HEREBY JOINTLY AND SEVERALLY WAIVE ANY AND ALL RIGHT TO
               TRIAL BY JURY IN ANY ACTION OR PROCEEDING RELATING TO THIS
               AGREEMENT,     THE   LOAN   DOCUMENTS,    THE  OBLIGATIONS
               THEREUNDER, ANY COLLATERAL SECURING THE OBLlGATIONS, OR
               TRANSACTION ARISING THEREFROM OR CONNECTED THERETO.
               BORROWER AND LENDER EACH REPRESENTS TO THE OTHER THAT
               THIS WAIVER IS KNOWlNGLY, WILLINGLY AND VOLUNTARILY GIVEN.

               18.2. Any and all disputes, claims and controversies arising out of this Agreement, the
               Loan Documents or the transactions contemplated thereby (including, but not limited to,
               actions arising in contract or tort and any claims by a Party against Lender related in any
               way to the Loan) (individually, a ''Dispute") that are brought before a fornm in which
               pre-dispute waivers of the right to trial by jury are invalid under applicable law shall be
               subject to the terms of this Section 18 in lieu of the jury trial waivers otherwise provided
               in this Agreement and/or the Loan Documents.



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                 18.3. Any and all Disputes shall be heard by a referee and resolved by judicial reference
                 pursuant to California Code of Civil Procedure Sections 638, et seq.

                 18.4. The referee shall be a retired California state court judge or an attorney licensed to
                 practice law in the State of California with at least ten (10) years experience practicing
                 commercial law. The Parties shall not seek to appoint a referee that may be disqualified
                 pursuant to California Code of Civil Procedure Section 641 or 641.2 without the prior
                 written consent of all Parties.

                18.5. If the Parties are unable to agree upon a referee within ten (10) calendar days after
                one Party serves a written notice of intent for judicial reference upon the other Party or
                Parties, then the referee will be selected by the court in accordance with California Code
                of Civil Procedure Section 640(b).

                 18.6, The referee shall render a written statement of decision and shall conduct the
                proceedings in accordance with the California Code of Civil Procedure, the Rules of
                Court, and California Evidence Code, except as otherwise specifically agreed by the
                parties and approved by the referee. The referee's statement of decision shall set forth
                findings of fact and conclusions of law. The decision of the referee shall be entered as a
                judgment in the court in accordance with the provisions of California Code of Civil
                Procedure Sections 644 and 645. The decision of the referee shall be appealable to the
                same extent and in the same manner that such decision would be appealable if rendered
                by a judge of the superior court.

                  18.7. Nothing in this Section 18 shall be deemed to apply to or limit right of Lender (a)
                 to exercise self help remedies such as (but not limited to) setoff, or (b) to foreclose
                 judicially or non-judicially against any real or personal property collateral, or to exercise
                 judicial or non-judicial power of sale rights, (c) to obtain from a court provisional or
                 ancillary remedies (including, but not limited to, injunctive relief, a writ of possession,
                prejudgment attachment, a protective order or the appointment of a receiver), or (d) to
                pursue rights against a Party in a third-party proceeding in any action brought against
                Lender (including actions in bankruptcy court). Lender may exercise the rights set forth
                in the foregoing clauses (a) through@, inclusive, before, during or after the pendency of
                any judicial reference proceeding. Neither the exercise of self help remedies nor the
                institution or maintenance of an action for foreclosure or provisional or ancillary
                remedies or the opposition to any such provisional remedies shall constitute a waiver of
                the right of any Party, including, but not limited to, the claimant in any such action, to
                require submission to judicial reference the merits of the Dispute occasioning resort to
               such remedies. No provision in this Agreement and/or the Loan Documents regarding
               submission to jurisdiction and/or venue in any court is intended or shall be construed to
                be in derogation of the provisions in this Agreement and/or any Loan Document for
               judicial reference of any of Dispute.

               18. 8. If a Dispute includes multiple claims, some of which are found not subject to this
               Section 18, the Parties shall stay the proceedings of the Disputes or part or pa11s thereof
               not subject to this Section 1 8 until all other Disputes or parts thereof are resolved in


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                  accordance with this Section 18. Ifthere are Disputes by or against multiple parties, some
                  of which are not subject to this Section I 8, the Parties shall sever the Disputes subject to
                  this Section 18 and resolve them in accordance with this Section 18.

                  18.9. During the pendency of any Dispute which is submitted to judicial reference in
                 accordance with this Section 18, each of the Parties to such Dispute shall bear equal
                 shares of the fees charged and costs incurred by the referee in performing the services
                 described in this Section 18. The compensation of the referee shall not exceed the
                 prevailing rate for like services. The prevailing party shall be entitled to reasonable court
                 costs and legal fees, including customary attorney fees, expert witness fees, paralegal
                 fees, the fees of the referee and other reasonable costs and disbursements charged to the
                 party by its counsel, in such amount as is determined by the Referee.

                  18. J 0. In the event of any challenge to the legality or enforceability of this Section 18,
                 the prevailing Party shall be entitled to recover the costs and expenses from the non-
                 prevailing Party, including reasonable attorneys' fees, incurred by it in connection
                 therewith.

                18.11. THE AGREEMENTS IN THIS SECTION 18 CONSTITUTE A "REFERENCE
                AGREEMENT" BETWEEN OR AMONG THE PARTIES WITHIN THE MEANING
                OF AND FOR PURPOSES OF CALIFORNIA CODE OF CIVIL PROCEDURE
                SECTION 63 8.

            19.  IMPORTANT: READ BEFORE SIGNING. THE TERMS OF THIS
       AGREEMENT SHOULD BE READ CAREFULLY BECAUSE ONLY THOSE TERMS
       IN WRITING AND SIGNED BY THE PARTIES ARE ENFORCEABLE. NO OTHER
       TERMS OR ORAL PROMISES NOT CONTAINED IN THIS WRITTEN CONTRACT
       MAY BE LEGALLY ENFORCED. THE TERMS OF THIS AGREEMENT MAY ONLY
       BE CHANGED BY ANOTHER WRITTEN AGREEMENT. THIS NOTICE SHALL
       ALSO BE EFFECTIVE WITH RESPECT TO ALL OTHER CREDIT AGREEMENTS
       NOW IN EFFECT BETWEEN THE BORROWER AND THE LENDER.           A
       MODIFICATION OF ANY OTHER CREDIT AGREEMENTS NOW IN EFFECT
       BETWEEN THE BORROWER AND THE LENDER, WHICH OCCURS AFTER
       RECEIPT BY mE BORROWER OF THIS NOTICE, :MAY BE MADE ONLY BY
       ANOTHER WRITTEN INSTRUMENT. ORAL OR IMPLIED MODIFICATIONS TO
       SUCH CREDIT AGREEMENTS ARE NOT ENFORCEABLE AND SHOULD NOT BE
       RELIED UPON.

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                                         SIGNATURE PAGE
                                                TO
                                   LOAN MODIFICATION AGREEMENT

               IN WITNESS WHEREOF, the patties to this Agreement have caused it to be duly
        executed as of the date set forth below.

                                                  BORROWER:

        DATE:         3 /
                       1
                            1   ,2019            HERO NUTRJTIONALS, LLC, a California
                                                 limited liability_: p · y

                                                 ~y:,_.::,=::.1--1---::_ _.A-_     _ __
                                                 Nam
                                                 Title: Managfog Member




                                                 LENDER:

       DAIE: ~                   2019            MCCORMICK 107, LLC,
                                                 a Maryland limited liability company


                                                 By: _.::,
                                                        - ~,...-....--=.zi.....:it,L-~~..--------
                                                 Name:
                                                 Title:




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                              [INSERT: CALIFORNIA ALL-PURPOSE
                      CERTIFICATE OF ACKNOWLEDGMENT FOR BORROWER]




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                                                        ... ••••• BANKof
                                                        =·=·· MANHATTAN
                                            COMMERCIAL SECURITY AGREEMENT
      Principal            Loan Dale   : Maturity ·. ,               Loan· No       .:.-       -·c.ii1:1.co11 ··       Account           Offfcor     Initials- ·
  $2 000··008. 0Q         10~1'5-201-3 10-1:5.-20'(4                      -239\--. - ~     !     ,.~:--
                                                                                                                                          DW
      References in the bo»es above are for lender's use only and do not limit the applicability of 111is document to any particular loan or item.
                                An item above containin "H•" has been omil\ed due to text len              limitations.

  Granter:        Hitro Nutritionals, u.c                                          Lender:                 Bank of Manhattan, N.A.
                  991 Calle Negocio                                                                        Pa aadena Offie e
                  San Clemente, CA 92673                                                                   199 South Los Robles Avenue
                                                                                                           Suite 130
                                                                                                           Pasadona, CA 9 t 1 O1



   THIS COMMERCIAL SECURITY AGREEMENT dated Octoi>er 15, 2013, ls made ;md executed between Haro Nutrillonals, LLC ("Grantor") and
   Bank of Man h,ttan, N.A.. {"Lender'').
   GRANT OF SECURITY INTEREST, For valuable consideration, Grantor gnints to Lender a security interest in Iha Collateral fo secure the
   lndabtadnass and agrees that Le11der shall hava tho rights statt!d in this Agraeme11t with respect to the Collateral, in addition to all other rights
   which Lender may have by law.
   COLLATERAL DESCRIPTION. The word ~collateral" as used in this Agreement means the following described property, wtiether now owned or
   hereafter acquired, whether now existing or hereafter arising, and whereve r located, In Which Grantor is giving to Lender a security iriterest for
   the payment of the Indebtedness and performance of all other obligations under lhe Note and this Agreement:
        All inventory, equipment, accounts ~ncludlng but not limited to all heallh-care.Jnsuranco roceivables), chattel paper, ins truments (including
        but not l imited to all promissory notes), letter-of-credit rights, letters of credit, documents, deposit accounts, investment property, money,
        other rights to p.iyment and performance, and general Intangibles pncludlng but not limited to all software and all payment intangiblos): all
        oil, gas and other minerals before extraction: all oil, gas, other minerals and accounts cons1ituting as~xtract.e d collateral; all flxtures; all
        timber to be cut; all attachments, accessions, accessories, fittings, increases, tools, parts, lllpaim, svpplies, and commingled goods relating
        to tho foregoing property, and a11 additions, replacements of aad substitutions for all or any part of the foregoing property; all ill!lurance
        rafunds relating lo the foregoing property; all goad will relating to the foregoing property; all records and data and embedded software
        ro!atlng 10 lhe foregoi11g property, and all equipment, Inventory and software to llllllze, create, maintai11 and process any such records and
        data on eiectronic media; and all suppolting obligatlons relating to the foregOlng property; all whether now existing or hereafter ari&ing,
        whether now owned or hereafter acquired or whether now or hereafter subject to any rights In the foregoing-property; and all products and
        proceeds (lnck,ding but not limited to all insuranco payments) of or relating to the foregoing property.
   In addition, the word "Collaleral" also includes all the following, whether now owned or hereafter acquired, whether now existing or hereafter
   arising, and wnerever located:
        (A) Al I accessions, attachments, accessories, tools, parts, supplies, replacements of and additions to any of the collateral described herein,
        whether added now or later.
        (B) All products and produce of any or the property described In this Collateral section.
        (C) All accounts, general intangibles, instruments, rents, monies, payments, and all other rights, arising out of a sale, lease, consignment
        or other disposition of any of the property described in this C-Ollaleral section.
        (D) All proceeds (induding insurance proceeds) from the sale, destruction, loss, or other dispos~ion of any of the property desclibed in this
        Collateral section, and sums due from a third party who has damaged or destroyed the C-Olla!sral or from that party's insurer, whether due
        to judgment. settlement or othor process.
        (E) All records and data relating to any of the property described In this Collateral section, whether in the form of a writing, pholqgraph,
        microfilm, microfiche, or e lectronic media , together w ith all of G rantor's right, title, and interest in and to all GQfllJuter software requfred 10
        utilize. create, maintain, and process any such records or data on electronic media.


   CROSS-COLLATERALJZATION. In addition to lhe Note, this Agreement secures all ot>llgalions, debts and liabilities, plus interest thereon, of
   Granter to Lender, or any one or more of them, as well as all claims by Lander against Grantor or any one or more ol lhern, whether now
   existing or here;:ifler arising, whether related or unrelated to the purpose of the Note, whether voluntary or otherwise, whether due or not due,
   direct or indirect. determined or undetemiined, absolute .o r conilngenl, lfquidated or unllquidated, whether Grantor may be nable individually or
   jointly with others, wh ether obligated as guarantor, su rety, accommodation party or o therwise, and w hether recovery upon such amoun~ may
   be or here after may become barred by any stalule of lrmilations, and whether the o bligation to repay such all)ounts may be or hereafter may
   become otherwise unenforceable.
   FUTIJRE ADVANCES. In addition to the Note, this Agreement secures all future advances made by Lender to Granter regard!ass of whether the
   advances ;,re made a) pursuant to a commitment orb) for lhe same purposes.
   RIGHT OF SETOFF, To the extent permitted by applicable law, Lender reserves a right of setoff in all Granters accounts with Lender (whether
   en ecl<ing. savings, or somr. other account). This includes all accounts Grantor holds jointly with someone else end all accounts Gran tor may
   open in the ruture . However , this does nol l ncluoe any IRA or Keogh accounts, o r any trust accounts lor w hich seloil would be proh ibited by
   Jaw. Grantor authorizes Lender, to lhe extent permitted by applicable law. to charge or setoff all sums owing on t he lndebtedriess against any
   and all such accounts, and, at Lender's opllon , to administratively freeze all such accounts to allow Lender to protect Lender's ch319e and s etoff
   rights provided In this paragraph.
   GRANTOR'S REPRESENTATIONS AND WARRAITTlES WITH RESPECT TO THE COLLATERAL. With respect to the COllateraJ. Grantor represents
   and promises to Lender that:
        Perfection of Secu rity Interest. Granter agrees to take whatever actions are requested by Lender to perfect ancl continue Lender's security
        interest in lhe Collateral Upon request of Lender, Grantor will deliver to Lender any and all of the documents evidenclng or constituting Iha
        Collateral, and Granlor will note Lender's inlernst upon any and all ~hattel paper and instruments if not delivered to Lender for possession
        by Lender, This is a continuing Security Agrnement and will continue rn effect even though all or any part of tho /ndobtedness is paid in full




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     and even though for a period of time Grantor may not be Indebted to Lender.
     Notices to Lender. Granter will promptly notrfy Lender in writing at Lender's address shown a bove (or such other addresses as Lender may
     design11te from time to Ume) prior to any (1) change In Grantor's name; (2) change in Grantor's assumed business name(s}; (3) change
     in the management or in the members or managern of the limited lhabillty oorrpany Granter; (4) change in the autholfzed slgner{s); (5)
     change in Grantor's principal office address; (6) change in Grantor's s late of organization; (7) oonverslon of Grantor to a new or different
     type of business entity; or (8) change in any other aspect of Granter that directly or indirectly relates to any agreements between Grantnr
     and Lender. No change in Grantor's name or state of organization will lake effect until after Lender has received notice.
     No Violation. The execution and delivery of this Agreement will' not violate any law or agreement governing Grantor or to which Grantor is
     a party, and Jts membership agreement does not prohibit any term or condition of this Agreement.
     Enforceability of Collateral. To the extent the Collateral consists of accounts, chattel paper, or ger-.eral intangibles, as defined by the
     Uniform Commercial Code, the Collateral is enforceable In accordance with its terms, is genuine, and fully complies with all applicable laws
     and regulations concerning form, content and manner or preparatlon and execution, and all persons appearing to be obligated on the
     Collateral have a v thorlty and c apacity to contract and are in fact obligated as they appear to be on the Collateial. At the time any account
     becomes subject to a security interest In favor of Lender, the account shall be a good and valid account representing an undisputed, bona
     fide indebtedness incurred by the account debtor, for merchandise held subject to delivery instructions or previously shipped or delivered
     pursuant to a contract of sale. or for services previously performed by Grantor with or for the acrount debtor. So long as this Agreement
     remains in effect, Granter shall not, without Lender's prior written consent, compromise, settle, adjust, or extend payment under or with
     regard to any such Accounts. There shall be no seloffs or counterclaims against any of the Collateral . and no agreement shall have been
     made under which any deductions or discounts may be claimed concerning the Collateral except those disclosed to Lender in writing.
     Location of the Collateral. Except in the ordinary course of Grantor's business, Gn=1ntor agrees to Keep the Collateral (or to the extent the
     Collateral consists of intangible property such as accounts or general Intangibles, the records concerning the Collateral) at Grantor's
     address shown above or at such other locations as are acceptable to Lender. Upon Lender's raquest, Grantor will deliver to Lender in farm
     satisfactory to Lender a schedule or real properties and Collateral locat!ons relating to Grantor's operations. including without limitation the
     following: (1) all real property Granto, owns or ls purchasing; (2) all real property Grantor Is renting or leasing; (3) all storage facilities
     Grantor owns, rents, leases, or uses; and (4) all other properties where Collateral is or may be located.
     Removal of the Collateral. Except in the ordinary course of Grantor's business, including the sales of inventory. Grantor shall not remove
     the O:>llateral from its existing location without Lender's prior written consent. To the extent that the Collateral consists of vehicles, or
     other liUed property, Grantor shall not 18l<e or penTiit any action which would require application for certificates of title for the vehides
     outside the State of Galifomia, without Lender's prior written consent. Grantor shall, whenever requested, advise Lender of the exact
     locatlon of the Collateral.
     Transactions Involving Collateral. Except for inventory sold or accounts collected in the ordinary course of Grantor's business, or .is
     otherwise provided for in this Agreement, Gran1or shall not sell, offer to sell. or otherwise transfer or dispose of the Collateral. While
     Grantor is not in default under this Agreem ent, Grantor may sell inveritory, but only in the ordinary course. of Its business and only to buyers
     who qualify as a buyer in the ordinary course o f business. A sale in the ordinary course of Grantor's business does not include a transfer in
     partial or totol satisfaction of a debt or any bulk sale. Granter shall not pledge, mortgage, encumber or otherwise permit the Collateral to
     be subject lo any lien, security interest, encumbrance, or charge, other than the security Interest provided for in this Agreement, without
     the prior written consent of Lender. This includes security interests even if junior in right to the security interests granted under this
     Agreerrent Unless waived by Lender, all proceeds from any disposition of the Collateral (for whatever reason) shall l>e held in trust for
     Lender and shall not be commingled with any other funds; provided however. this requirement shall not constitute consent by Lender to any
     sale or other disposition. Upon receipt. Grantor shall immedia;itely d eliver any such proceeds to Lender.
     Title. Grantor represents and warrants to Lender that Grantor holds good and marketable title to the Collateral, free and clear of all liens
     and encumbrances except for the lien of this Agreement. No financing siatement covering any of the Collateral is on file in any public
     office other than those which reflect the security inleresi created by this Agreement or lo which Lender has specifically consented.
     Grantor shall defend Lender's rights in the Collateral against the daims and demands of all other perrons.
     Repairs and Maintena11ce. Granter agrees to keep and maintain, and to cause others to keep and maintain, the Collaleral in good order,
     repafr and condition at all times while this Agreement remains in affect Grantor further agrees to pay when due all claims for work done
     on, or services rendered or material furnished in connection with the Collateral so that no lien or eno.imbrance may ever attach to or be
     filed against the Collateral.
     Jnspection of Collateral. Lender and Lender's designated representatives and agents shall have the right at all reasonable times to examine
     and inspect the Collateral wherever located.
     Taxes, Assessments and Liens. Grantor will pay when due an taxes, assessments and liens upon the Collateral, ils use or operation, upon
     this Agreement, upon any promissory note or notes evidencing the Indebtedness. or upon any of the other Related Documents. Grantor
     may withhold any such payment or may elect lo contest any lien if Grantor is in good faith conducting an appropriate proceeding to contest
     the obligation to pay and so long as Lender's interest in the Collateral is not jeopardized In Lender's sole opinion. If the Collateral is
     subjected to a lien which is not discharged within fifteen (15) days, Granter shall deposit with Lender cash. a sufficient corpcrate surety
     bond or other security satisfactory to Lender in an amount adequate to provide for the discharge of the lien plus any interest, costs,
     attorneys' fees or other charges that oould eccrue as a result of foreclosure or sale of the Collateral. In any contest Grantor shall defend
     itself and Lender and shall satisfy any final adverse judgment before enforcement against the Collateral. Grantor shall name Lender as an
     adctlUonal obligee under any surety bond rurnlshed in the contest proceedings. Grantor further agrees to furnish Lender with evidence that
     sudl taxes, assessments, .ind governmental and other charges have been paid in full and in a timely manner. Grantor may withnold any
     such payment or may elect to contest any lien if Granter is in good faith conducting an appropriate proceeding lo contest the otiligalion lo
     pay and so long as Lender's interest in the Collateral is not jeopardized.
     Compliance with Governmental Requirements. Grantor shall comply promptly with all laws, ordinances, rules and regulations of all
     governmental authorities, now or hereafter in effect, applicable to the ownership, production, disposition. or use of the Collateral, [nduding
     all laws or regulatior\S relating to the undue erosion of highly-.enxlible land or relating to the conversion of wetlands for the productlon of an
     agricultural product or commodity. Grantor may contest in good faith any such law. ordinance or regulation and withhold compliance
     during any proceeding, including appropriate sppeals, so long as Lenders interest in the Collateral, in Lender's opinion, is not jeopardized.
     Hazardous Substances. Grantor repnesents and warrants that the Collateral never has been. and never will be so long as this Agreement
     remains a lien on the Collateral, used in violation of any Environmental Laws or for the generation, manufacture. storage. transportation.
     treatment, disposal, release or threatened release or any Hazardous Substance. The representations and warranties contained herein are
     based on Grantor's due diligence in investigating the Collateral for Hazardous Substances. Grantor hereby (1) releases and waives any
     future claims against Lender for indemnity or contribution in the event Grantor beoomes liable for deanup or other costs under any




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        Environmental Laws, and (2) agrees to indemnify. defend, and hold harmless lender against any .ind all claims and losses resulting from a
        breach of this provision of this Agreement This obligation lo indemnify and defend shall survive lhe payment of lhe Indebtedness and the
        satisfaction of this Agreement.
       Maintenance of Casualty Insurance. Gran tor shall procure and maintain all risks insurance, including withou I limitation fire, theft and
       liability coverage together with such other Insurance as Lender may require with respect to lhe Collateral, in form, amounts. coverages and
       basis reasonably acceptable to Lender and issued by a company or companies reasonably acceptable to Lender. Grantor, upon request of
       Lender, will deliver 10 Lender from tTme lo time the policies or certificates of insurance In form satisfactory to Lender, including s tipulations
       that ooverages will not be cancelled or diminished without at least twenty-one (21) days' prior written notice to Lender and not lnc1uding
       any disclaimer of the insurer's liability for failure ta give such a notice. Each insurance policy also shall include an endorsement providing
       that coverage in favor of Lender wlll not be impaired in any way by any act, omission or default of Grantor or any other person. In
       connection with all policies covering assets In which Lender holds or is offered a security interest. Grantor will provide Lender with such
       loss payable or other endorsements as Lender may require. IF Granter at any Ume fails to obtain or malnlaln any insuranca as required
       under !his Agreement, Lender may (but shall not be obligated to) obtain such insurance as Lender deems appropriate, including if Lender so
       chooses "single interest insurance," which will rover only Lender's interest in the Collateral.
       Application of Insurance Proceeds. Granter 5half promptly notify Lender of any loss or damage to the Collateral if the estimated =st of
       repair or replacement exceeds $25,000.00, whether or not such casualty or loss is covered by insurance. Lender may make proof or loss
       ii Granlor fails to do so within fifteen (15) days of the casualty_ All proceeds of any insurance on the Collateral, including accrued proceeds
       thereon. shall he held by Lender as part of the Collateral. If Lender oonsents to repair or replacement of the damaged or destroyed
       Collsteral, Lender shall, upon satisfactory proof of expendilure. pay or reimburse Grantor from the proceeds for the reasonable cost of
       repair or restoration. If Lender does not consent to repair or replacement of the Collateral, Lender shall retain a sufficient amount of the
       proceeds to pay all of the Indebtedness, aml shall pay the balance to Granter. MY proceeds which have not been disbursed within six (6)
       months after their receipt and which Granter h.is not committed to the repair or restoration of the Collateral shall be used to prepay the
       Indebtedness.
       Insurance Reserves. Lender may require Granter to maintain with Lender reserves for payment of insurance premiums. which reserves shall
       be created by monthly payments from Grantor of a sum estimated by Lender to be sufficient to produce, at least fifteen (15) days before
       the premium due dale, amounts at least equal to the insurance premiums to be paid. If fills en (15) days before payment Ts due, the reserve
       funds are insufficient, Granlor shall upon demand pay any deficiency to Lender. The reserve funds shall be held by Lender as a general
       deposit and shall constitute a non-interest-bearing account which Lender may satisfy by payment of the insurance premiums required to be
       paid by Grantor as they become due. Lender does not hold the reserve funds in trust for Grantor, and Lender is not the agent of Grantor
       for payment of the insurance premiums required to be paid by Grantor. The responsibility for the payment of premiums shall remain
       Grantor's sole responslbllI1y.
       Insurance Reports. Grantor, upon request of Lender, shall furnish lo Lender reports on each existing policy of lnsuranoe showing such
       information as Lender may reasonably request including the following: (1) the name of the insurer, (2) the risks insured; (3) the amount
       of the policy; (4) the property insured; (5) the then current value on the basis of which insurance has been obtained and the manner of
       determining that value; and (6) the expiration da1e of the policy. In addition. Grantor shall upon requesf by Lender (however not more
       often than annually) have an independent appraiser satisfactory to Lender determine, as applicable, the cash value or replacement cost of
       the Collateral.
        Financing Statements. Grantor authoJizes Lender to file a UCC financing statement. or alternatively, a copy or this Agreement to perfect
        Lender's security interest. At Lender's request, Grantor addl~onally agrees lo sign all other documents ttiat are necessary to perfect,
        protect, and continue Lender's security interest in the Property. Grantor will pay all filing fees, title transfer fees, and other fees and costs
        involved unless prohibited by law or unless Lender is required by law to pay such fees and costs. Grantor Trrevocably appoints Lender to
        execute documents necessary to transfer tide if there is a defaulL Lender may file a copy of this Agreement as a financing statement.
   GRANTOR'S RIGHT TO POSSESSION AND TO COLLECT ACCOUNTS. Until default and except as otherwise provided below with respect to
   accounts, Granter may have possession of the tangible personal property and beneficial use of all the Collateral and may use it in any lawful
   rranner not inconsistent wllh this Agreement er the Related Documents, provided that Grantor's right to possession and beneficial use shall not
   apply to any Collateral where possession of the Collateral by Lender is required by law to perfect Lender's security interest in such Collateral.
   Until otherwise notified by Lender, Grantor may collect any of lhe Collateral consisting of accounts. At any time and even though no Event of
   Default exists, Lender may exercise its rights to collect the accaunts and to notify account debtors to make payments dlrect!y to Lemler for
   application to the Indebtedness. If Lender at any time has possession of any Collateral, whether before or after an Event of Default, Lender shall
   be deemed to have exercised reasonable care in the custody and preservation of the Collateral if Lender takes such action ror that purpose as
   Grantor shall request or as Lender. in Lender's sole discretion, shall deem appropriate under the circumstances, but failure to honor any request
   by Granto, shall not or itself be deemed to be a failure to exercise reasonable care. Lender shall not be required to lake any steps necessary lo
   preserve any rights in the Collateral against prior parties, nor to protect, preserve or maintain any security interest given to secure the
   Indebtedness_
   LENDER'S EXPENDITURES. If any action or proceeding is commenced that would matelially affect lender's interest in the Coilalel<il or if
   Grantor fails to OOfllJIY with any provision of this Agreement or any Related Documents, including but not limited to Grantor's failure to
   discharge or pay when due any amounts Grantor is required to discharge or pay under lhis Agreement or any Related Documents, Lender on
   Grantor's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited to discharging or
   paying all taxes, liens, security interests, encumbrances and other claims, at any time levied or plaoed on the Collateral and paying all costs for
   insuring, maintaining and preserving the Collateral. All such expenditures incurred or paid by Lender for such purposes will then bear interest at
   the rate charyed under the Note from the date incurred or paid by Lender to !he date of repayment by Granlor. All such expenses will becorre a
   part of the lndeble_dness and. at Lender's option, will {A) be payable on demand; (B) be added to the balance of the Note and be apportioned
   among and be payable with any installrrent payments to bea:xre due during eitlier ( 1 J the term of any applicable Insurance policy: or (2) the
   remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable at the Note's maturity_ The Agreement also
   will secure payment of these arrounls. Such right shall be in addition to all other rights and remedies to which Lender may be entitled upon
   Default.
   DEFAULT. Each of the following shall oonstitute an Event of Default under this Agreemerit
        Payment Default Granter fails to make any payment when clue under the Indebtedness.
        Olher Defaults. Granlor fails to comply with or to perform any other term. obligation, covenant or condition contained in this Agreement or
        in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained In any other
        agreement between Lender and Grantor.
        Default in Favor of Third Parties. Any guarantor or Grantor defaults under any loan. eX1ension of credit, security agreement. purchase or
        sales agreement, or any other agreement, in favor of any other creditor or person that may materially affect any of any guarantor's or




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       Grantor's property or abil ily ta perform their respective obligations under this Agreament or any of the Related Documents.
       Fatso Statements. Any warranty, representation or statement made or furnished to Lender by Grantor or on Grantor's behalf under this
       Agreement m t/\e Related Documents is false or misleading in any material respect, either now or at the time made or furnished or becomes
       false or misleading at any time thereafter.
       DefecUve Collateralizatiori. This Agreement er any or the Related Documents caases to be ln full force and effect {inciuding failure of any
       collateral dOCI.Jmenl to create a valid and perfected security intere~t or lien) al any time and for any reason.
       Insolvency.   The dissolution of Grantor (regardless of whether election to continue is rrade), any merrber withdraws from the limited
       liabillty oompany, or any other temnlnation of G rantor's existence as a goi ng business or the death of any m ember, the insolvency of
       Grantor, the appointment of a recefver for any par1 of Grantor's property, any assignment for the benefit Qf creditors, any type of creditor
       workout . or the commencement of any proceeding tinder any banl<Nptcy or insolvency laws by or againsl Grantor.
       Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help.
       repossession or any other method. by any creditor of Granter or by any governmenlal agency against any collateral securing the
       Indebtedness. This includes a garnis hment or any of Grantor's accounts, including deposit accounts, w ith Lender. However, this Event of
       Default shall not apply If there Is a good faith dispute by Grantor as to the validity or reasonableness of the claim which is the basis of the
       creoitor or forfei!ure proceeding a.nd if Qantor g~ Lender w ritten notice or the creditor or forfelture proceeding and deposits with Lender
       monies or a s urety bond for t he creditor or "forfeiture proceeding, in an amount detennined by LendeF, In Its sole discretion. as being an
       adequate reserve or bond for the dispute.
       Events Affeetin(l Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the IndabtedMss or Guarantor
       dies or becomes incompetent or revokes or disputes the validity or. or liabllity u11der, any Guaranty of the Indebtedness.
       Advel"$e Change. A malarial adverse change occurs in Granto~s financial condition. or Lender believe1s the prospect of payment or
       performance of the Indebtedness is impaired.
       ln!MlCtlrtty. Lender in good faith believes Itself insecure.
       Cure Provisions. If any default, other than a default in payment is curable and if Gra-1ta- has not been given a notice of a breach of 111e
       same provision of this Agreement within the preceding twelve (12) months, ii may be cured if Granter. after Lender sends wrllten notica to
       Granter demanding cure of such default (1) cures the default w ithin fifteen (15) days; or (2) if the rure requires rrore than llfteen (15)
       days, lmroodlately initiates st.epS which Lender deems In Lender's sole discretion lo be sufficient to cure the default and thereafter
       oominues and completes all reasonable and necessary steps sufficient lo produce compliance as soon as reasonably practical.
   RJGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under this Agreement, at any time thereafter, Lender shall have all the
   rights of a seCtJred party under the California Uniform Commercial Code. In addition and without limitation. Lender may exercise any one or
   more of the following rights and remedies:
       Accelerate Indebtedness. Lender may declare the enlire Indebtedness, including any prepayment penalty which Granier would be required
       to pay. immediately due and psyable, without notice of any kind to Granlor.
       Assemble Collateral. Lender may require Granlor to deliver to Lender all or any portio.n of U,.e Collateral and any and all certificates of title
       and other documents relating lo t he Collateral. Lender may require Grantor to assemble the Collateral and make it available to Lender at a
       place to be designated by Lender. Lender also shall have full power to enter upon the property of Grantor to take possession of and
       remove Ille Collateral. If the Collateml contains other goods not covered by th is Agreement at the time of repossession, Grantor agrees
       Lender may lake such other goods, provided that Lender makes reasonable efforts to return them I□ Gr.inlor aflsr repossession.
       Sell the Collateral. Lender shall have full power to sell, lease. transfer. or othorwise deal with the Collateral or proceeds thereof in Leodet's
       own name or that of Granter. Lender may sell the Collateral at public auction or private sale. Unless the Collateral threatens to decline
       speedily In value or Is of a type customarily sold on a recognized market. Lender will give Ganter, and other persons as required by law.
       reasonable nollce of t he tlmfl and place of any public sale, o r the lime after which Emy prilfl:lte sale or any other disposition of the Collateral
       ls to be made. However, no notice need be provided to any person who, after Event of Default occurs. enters into and authenticates an
       agreement waiving that person's right Lo notlncation of sale. The requirements of reasonable nollce shall be met If such notice is 9 iven at
       least ten (10) days before the time of the sale or disposition. A ll expenses relating to the disposition of Lhe Colla teral, including w ithout
       limitation the expenses o f retaking, holding, Insuring, preparing for sale and selling the Collateral, shell become a part of the Indebtedness
       secured by th is Agreement and shall be. payable an demand, with interest at the Note rale from de.le of expenditure until repaid.
       Appoint Receiver. Lender shall have the right to have a receiver appointed to take possession of all or ary part of the Collateral, with the
       power to protect and preserve the Collateral, lo opE!rate the Collateral preceding foreclosurE! or sale, and ta oollect the rents rrom lhe
       Cortateral and a pply the proceeds, over and above the cost of the receivership, against the Indebtedness. The receiver may serve without
       bend if pennilted by l aw . Lender's right lo the a ppointment of a receiver shall exist whether ar not the apparent value of the Collateral
       exceeds Iha Indebtedness by a subs tanfi_al amount. Employment by Lender shall not disqualify a person from serving as a receiver.
       Collect Revenues, Apply Accounts. Lender. either itse If or through a receiver. may collect the payments, rents, incoma, and revenues from
       the Collateral. Lender may at any lime in lender's discretion transfer any Co!lateral into Lenders own name ar thal of Lender's nominee
       and receive the payments. rents, income, and revenues therefrom and hold the same as security ror the Indebtedness or apply It to
       payment of 1he Indebtedness In such order of preference as Lender may determine. Insofar as lhe Collateral consists of accounts, general
       intangibles. insurance policies, instruments, chattel paper. Choses In actio n, or slmllar pro perty, Lender may demand, co'lrect, re<,elpt for,
       settle, compromise, adjust. sue for. foredose, or realize on lhe Collateral as Lender may determine. whether or not Indebtedness or
       Collateral is U1en due. For these purposes, Lender may, on behalf of and in lhe name of Granter, receive, open and dispose of mail
       addressed to G rantor. change any address to which rrail and payments are 10 be sent; and endorse notes. ch ecks, drafts. money orders,
       documents of t itle, instruments and Items per1aln1ng to payment, shipment. or storage of any Collateral. To facilitate collection, Lender
       rnay notify account debtors and obligors on any Collateral to make paymenls directly to Lender.
       Obtain Defic iency. If Lender chooses to sell any or all of the Collateral. Lender may obtain a judgment against Granter for any deficiency
       remaining on the Indebtedness due to Lender after application of all amounts received from the exercise of the rights provided in this
       Agreemenl. Grantor shall be liable for a defidency even if the transaction desaibed in this subsection is a sale of accounts 0< challel
       paper,
       Other Rights and Remedies. Lender shall have ><ll the rights and remedies of a secured creditor under the provisions of the Uniform
       Commercial Code. as may tJe amended from time to time. In addition, Lender shall have and may exercise any or all other rights and
       remedies it fT'a'/ have available at law, in equity. or other,vise.
       Elcctiori of Remedios. ExGepl as may be prohibited by applicable law, all of Lender's rights ami remedies, whether evidenced by !his
       Agreement. the Related Documents. or by any other writing, shall be cumulalive an d may be exercised singularly or concurrently. Elaction




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       by Lender to pursue any remedy shall not exdude pursuit of any other remedy. and an election to make expendllures or to take action to
       perform an obligation of Grantor under this Agreement, after Grantor's failure to perform, shall not affect Lender's right to dedara a default
       and exercise its remedles.
   MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
       Amendments. This Agreement, together w ith any Related Documents. c onslilutes the entire und erstanding and agreement of the partles
       as to the matters set forth In ihls Ai;ireernenl No alteration of or amendment lo this Agreement shall be effective unless glvan in writing
       and signed b_y the party or parties sought to be charged o r bound by the alteration or amendment.
       Attomeys' Fees; Expenses. Granter agrees to pay upon demand all of Lender's costs and expenses. including Lender's attorneys' fees and
       Lender's legal expenses, incurred In connection with the enforcement of this Agreement. Lender may hire or pey someone else to help
       enforce this Agreement, and Granter shall pay the costs and expenses of such enforcement. Costs and expenses Include Lender's
       attorneys' fees and legal expenses whether or not there is a lawsuit, including attorneys' fees and legal expenses tor bankruptcy
       proceedings (Including efforts to modify or vacate any automaUc stay or injunction), appeals, and siny anticipated post-Judgment collection
       services. Granter also shall pay all court costs and such additional fees as may be directed by the coun.
       Caption Headings. Caption headings in this Agreement are for mnvenience purp:ises only and are no! to be used to interpret or define the
       provisions of this Agreement.
       Governing Law. This Agreement will be governed by federal law applicable to Lender and, lo the extent not preempted by federal law, the
       l:aws of the State of California without regard to its conflicts of law provisions. This Agreement has been accepted by uinder in the State
       of Califomia.
       Choice of Venue. If there is a lawsuit, Grantor agrees upon Lender's request to submit to the jurisdic~on of the courts of Los Angeles
       County, State of California.
       Preferenc e Payments. Any monies Lender pays because or an asserted preference claim in Grantor's bankruptcy will become a part of the
       Indebtedness and, at Lender's option, shall be payable by Grantor as provided in this AgreemenL
       No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such w aiver Is given in writing
       and signed by Lender. No delay or omission on the part of Lender in exercising any right shall operate as a waiver of such right or any
       other righL A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to
       demand strict compliance w ith t hat provision or any other provision of this Agreement. No prior waiver by Lender, nor any course of
       dealing between Lender and Granter, shall constitute a waiver or any of Lender's rights or of any of Grantor's obligations as to any future
       transactions. V\ohenever t he consent of Lender Is required uhder this Agreemenl the granting of such consent by Lender In any instance
       s hall not constitute continuing consent lo subsequent instances where such consent is required and In all cases such consent may be
       granted or withheld In the sole discretion of Lender.
       Notices. Any notice required lo be given under this Agreement sr,all be given in writing, and shall be effective when actually delivered,
       when actually received by telefacsimile (unless otherwise required by law). when deposited with a nationally recognized overnight co urier,
       or, if mailed. wheri deposited in the United States mail, as first cla,,s, certified or registered ITTJil postage prepaid, directed to the addresses
       show n near the beginning of this Agreemenl Any party may change its address for notices under this Agreement by giving Formal written
       notice to the other parties, specifying that the purpose of the notice· is to change the party's address. For notice purposes, Granter agrees
       to keep Lender Informed al all times o f G rantor's current address. Unless otherwise provided or re.quired by law. if there is more than one
       Granter, any notice given by Lender to any Granlor is deemed to be notice given to all Granters.
       Power of Attorney. Granter hereby appoints Lender as Grantor's irrevocable attorney-in-fact for the purpose of executing any documents
       necessary to perfect, amend, or lo continue the security Interest granted in this Agreement or to demand termination of filings of other
       secured parties. Lender may at any Ume, and without further authorization from Granter. f11e a carbon, photographic or other reproduction
       of any financing statement or o f this Agreement for use as a financing s1atement. Grantor wi!I reimburse Lender for all expenses for the
       perfection and the continuation of the perfec!ion of Lender's security interest in !he Collateral.
       Waiver of Co-Obligor's Rights. Ir m:,re than one persori Is obligated for the lndet>tedness, Grantor irrevoc:ably waives, disclaims and
       relinquishes all claims against such other person which Grantor has or would otherwise have by virtue of payment of the Indebtedness or
       any part thereof, specifically Including but not limited to all rights of indemnity, contribution or exoneration.
       Severability. If a court of competent jurisdiction finds any provision of this Agreement to be illegoil, invalid, or unenforceable as to any
       cirrumstance, that finding shall not make the offending pnovision illegal, invalid, or unenforceable as to any otiler circumstance. If feasible,
       the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot be so
       modified, it shall be considered deleted from this Agreement. Unless otherwise requiied by law, the illegality, Invalidity, or unenforceabillty
       of any provision of this Agreement shall not affect the legallty, val idity or e nforceability of <"ny other provision of this Agreement
       Successors and Assigns. Subject to any limitations stated in this Agreement on transfer of Grantor's interest, this Agreement shall be
       binding upon and inure to the benefit of the parties, their successors and assigns. If ownership of the Collateral becomes vested in a
       person other than Gran tor, Lender, without notice lo Grantor, may deal with Grantor's successors with referenoe to this ~reement and the
       Indebtedness by way of forbearance or extension without releasing Granter from the obligations of this Agreement or liability under the
       Indebtedness.
       Survival of Representations <'Ind Warranties. All representations, warranties, and agreements made by Granter in this Agreement shall
       survive the execution and delivery of this Agreement, shall be continuing in nature, and shall remain in full force and effect until such time
       as Grantor's Indebtedness shall be paid in full.
       Time is of the Essence. Time is of the essence in the performance of this Agreement
       Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any Jury bial in any action,
       proceeding, or counterclaim brought by any party against any other party.
  DEFINITIONS. The following capttanzed words and terms shall have the following meanings when used in this Agreement. Unless specifically
  stated to the contrary, all referenoe.s to dollar amounts shall mean amounts in lawfu l money or the United Stales of America. Words and terms
  used in the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
  defined in this Agreement shall have the meanings <'lllributed to such terms In the Uniform Commercial Code:
       Agreement. The word "Agreement'' means this Commercial Security Agreement, as this Commercial Security Agreement may be amended
       or modified from time lo lime, together with all exhibits <"nd schedules attached to this Commercial Security Agreement from time to time.
       Borrower. The word "Borrower'' means Hero Nutrilionals, LLC and includes all co-signers and co-makers signing the Note and all their
       successors and assigns.




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                                            COMMERCIAL SECURITY AGREEMENT
   Loan No: .1239                                                 (Continued)                                                              Page 6

      Collateral. The word "Collateral" means all of Grantor's right, title and interest in and to all the Collateral as described in the Collateral
      Description section of this Agreement.
      Default. The word "Default" means the Default set forth ir1 this Agreement in the section titled "Default".
      Environmental Laws. The words "Environmental laws" mean any and all state. federal and local statutes, regulations and ordinances
      relating to the protection of human health or the environment, including without limitation the Comprehensive Environmental Response.
      CompensaUon, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, el seq. ('CERCLA"), the Superfund Amendments and
      Reauthorization Act of 1986, Pub. L. No. 99-499 ("SARA"), the Hazardous Materials Transportation Act, 49 U.S.C. Sectlon 1801. et seq.,
      the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901, et seq., Chapters 6.5 through 7.7 of Division 20 af the California
      Health and Safety Code, Section 25100, et seq., or other applicable state or federal laws, rules, or regulations adopted pursuant thereto.
      Event of Default. The words "Event of Defau\r mean any of the events of default set forth in thfs Agreement In the default section of this
      Agreement.
      Granter. The word "Grantor'' means Hero Nubitionals, LLC.
      Guarantor. The word "Guarantor'' means any guarantor, surety, or accommodation party of any or all of the Indebtedness.
      Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including without limitation a guaranty of all or part of the
      Note.
      Hazaroous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical,
      chemical or infectious characteristics, may cause or pose a present or potential hazard to hurrnn health or the environment when
      in-properly used, treated, stored, disposed of, generated, manufacturad, transported or otherwise handled. The wards "Hazardous
      Substances" are used in their very broadest sense and include withou I limitation any and all hazardous or to1<ic substances, materials or
      waste as defined by or listed under the Environmental Laws. The term "Hazardous Substances" also includes, without limitation, petroleum
      and petroleum by-products or any fraction thereof and asbestos.
      Indebtedness. The word "Indebtedness• means the indebtedness evidenced by the Note or Related Documents, incJuding all principal and
      interest together with all other indebtedne5S and costs and expenses for which Grantor is responsible under this Agreement or under any of
      the Related Documents. Specifically, without limitation. Indebtedness includes the future advances set forth in the Future Advances
      provision, together with all interest thereon and all amounts that may be indirectly secured by the Cross--Collateralization provision of this
      Agreement.
      Lender. The word "Lendet'' means Bank of Manhattan. NA.. its successors and assigns.
      Nole. The word "Note" means the Note dated October 1 S, 2013 and e,cecuted by Hero Nutritionals, LLC in the principal amount of
      $2,000,000.00, together with all renewals of, extensions of, modifications of, refinanclngs of, consolidations of. and substitutions for the
      note or credit agreement
      Property. The word "Property" means all of Grantot's right, title and interest in and to all the Property as described in the "Collateral
      Description· secUon of this Agreement
      Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
      agreements, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other Instruments, agreements
      and documents, whether now or hereafter existing, executed in amnection with the Indebtedness.
   GRANTOR HAS READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS COMMERCIAL SECURITY AGREEMENT AND AGREES TO ITS
   TERMS. THIS AGREEMENT IS DATED OCTOBER 15, 2013.

   GRANTOR:




                                              er of Hero




                                              EXHIBIT 4                    PAGE 142
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         EXHIBIT 3
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UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     Gisella Melenda;:
     800-331-3282
B. E-MAIL CONTACT AT FILER (cptkmal)


C. SEND ACKNOVIA.EDGMENT TO:                 (Name ancl Address)
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     2727 ALLEN PARKWAY                                                                                                                        DOCUMENT NUMBER: 47529660002
     HOUSTON, TX 77019                                                                                                                         FILING NUMBER: 15-7452856378
     USA                                                                                                                                       FILING DATE: 03/03/2015 08:57

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         1a ORGANIZATION'S NAME
         Hero Nt1tritionals, LLC
OR       1b. 11101\IIDUAt-'S SURNAME                                                                   FIRST PERSONAl NAME                                      ADDITIONAL NAME(SYINITIAl.lS)                   SUFFIX


1c, MAILING All ORES S
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         2a. ORGAIIIIZATION'S NAME


OR
         2b. INDIVl□ UAL'S SURIIIAME                                                                   FIRST PERSONAL NAME                                      AODlrlONAL NA"1E(S)IINITIAI.($)                 SUFFIX


2c, MAILING ADDRESS                                                                                    CITY                                                     STATE       l POSTAL CODE                       COUNTRY




3.   SECURED PARTY'S NAME                (or NAME cf ASSIGNEE of ASSIGNOR S ECUREC PARTY): Provide only= Socunod Party name (:la or 3b)

         3a. ORGANIZATION'S NAME
         Bank of Manhattan
OR
         3b.   INDIVI O\JAL'S $ URNAME                                                                 FIRST PERS 0NAL NAME                                     ADDITIONAL NAME(9ytNmAl(S)                      SUFFIX



3c. MAILING ADORESS
2700 83it Foothill Boul&Jard, Sl.lite200
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     See Attachment(&)




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  Collateral as described per Exhibit A; whether any of the foregoing is owned
  now or acquired later; all accessions, additions, replacements, and
  substitution relating to any of the foregoing; all records of any kind relating
  to any of the foregoing.




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HERO NUTRITIONALS, LLC
  February 19, 2015

                                                           EXHIBIT A

     Quantity                                             Description
        2         Tightening roller #Wl 73930
        1         Air Cooled Ch Iller Model #CGAM070F2
       26         18 Gage Galv 48x90 W0#41837
        1         Hyster - W40Z - 4,000 LBS Cla5s SN#B218N31198M
        1         Additional Electical Work Quote #HNU-6360-Pl
        1         Proposa I #HNU-6337-Pl
        1         Tank 120 Gallon Stalnless Steel Crepaco Jacketed, Agitation #5573873
        1         Indoor Conditioning Unit
        1         Indoor Stacked Proces5 Unit
        1         Indoor Stacked Process Unit
       4.1        40" High Cube #DFSU64S2470
       4.1        40" High Cube nCNU5766761
        1         Frequency Converter Model #S0INDVC6050
        1         Steam Heated DI Water Loop 119D65-950O
        1         Temperature Control Equipment #9065-9500
        1         Sartorius Entris 6202-1S
        1         Ohaus 071P100QL
        s         Adjusting Ring for tightening shaft #W108725
        1         Sprocket for shaft ltW159444
        1         Threaded Pin for shaft ffW107986
        1         Parallel Key for shaft #W109158
        l         Spocket#Wl59841
        1         Treaded pin #Wl08047
        l         Parallel Key #W109165
        2         Sprocket #W253359
        2         Sprocket #W159876
        1         Sprocket iiW159505
         2        Chain carrying bar for trasport below the depositor #WS79384
         2         Conveyor Chain depositing chain #Wi39813
         1         Chatn tightener #Wl54777
         1         Chain tightener #W579289
         l         Chain tightener #579384
         1         Spoket #W579287
      1.283M       Roller chain #W235082
         1         Chain Connector #W235083
      2.648m       roller chain #W235097
         l         Chaln Connector #W23S098
         2         Chaln earring bar #174045
         2         Chain carrying bar#W579275
         2         V-B-elt di!;:: #W174149
         2         V·belt#Wll4647




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    4      adjusting ring #W10875-0
    2      sprocket lfW579284
    2      threaded p!n /:IW108048
    2      Parailel key #W109167
    4      Sprocket #W579283
    2      adjusting ring #W108751
    2      sprocket ifW579286
    2      parallel key #W109288
    2      threaded pin #W107947
    2      sprocket #W!.59910
    2      Flange for driving shaft #Wl 73559
    2.      parallel key #W109294
    2      thraded pin #Wl08047
    2      sprocket #W15990S
    4      adjusting ring #Wl08751
    2      sprocket #W159913
    2       Return wheel for turning shaft ltW173743
    8       adjusting ring ltW108751
    2       chain carrying bar#W375639
    2       Chain earring bar #W375640
    1       Transport Chain #Wl39737
    l       T.-!:llnen-...+
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    4       chain canying bar#W375643
    4       chain carrying bar UW37S644
     2      chain carrying bar IIW37564S
  2.800m    Roller chain #W:?.34667
     l      chain connector #W234668
    1       chain connector #WZ.34669
    3       sprocket #W159891
    3       threaded pin #VV107945
    2       para Itel key #W109166
    l       Idler for driving shaft #W173583
    2       adjusting ring #W108751
    l       paraliei key itW109294
    2       Sprocket #W579282
    2       adjusting ring #W108751
    2       flange #IW173559
    2       sprocket #W159910
     2      threaded pin #W107947
     2       parallel key lfW109296
     1       chaln tightener #Wl54790
     2       chain car,ying bar itN350436
     2       chain carrying bar #W275642
     4       chain canylng bar #W350419
     4       chain carrying bar #W350442
     2       conveyor chain #W139736
     2       idler ttW173S83




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    4       adjusting rlng #Wl08751
    2       chatn carrying bar #Y./350509
    4       Chain guide #W579274
    12      flex!ble bustiing for slevln13 section tlW115235
    2       conveyor chain #W139734
   37g      Q-Ring for pump p!stons cf your pump ff\A/50143€
   378      Piston ring for pump pistons #W113522
   0.25     felt #W308107
   38.64    v-belt #Wll4659
    4       connector #W234387
    1       welding tongs for v belt #IW120433
     1      mitre tongs #W120434
     l      weilding   head #W120436
     2      v-belt #W114637
  30.000m   v-belt #Wl14658
   8200     Starch Trays (ST1O99)




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UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCT IONS
IA NAME & PHONE OF CONTACT AT FILER (optional)
   UCC Administrator
     916-564-7800
8. E-MAIL CONTACT AT FILER (optlonel.)



c. SEND ACKNOIM..EDGMENT TO: (Na'Tle and Address)
     CLAS INFORMATlON SERVICES
     2020 HURLEY WAY STE 350                                                                                                              DOCUMENT NUMBER: 83181690003
     SACRAMb"NTO, CA 95h'25                                                                                                               FILING NUMBER: 19-77433433
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7c. MAIL.lNC: ADDRE:SS
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 10. OPTIONAL FILER REFERENCE DATA:

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UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (op~onal)
      UCC Admillistrator
      916-564-7800
B. E-MAIL CONTACT AT FILER (op\lona)


c. SEND ACKNOW.EDGMENT TO: (N~e 3r.Q Ad<lress)
      CLAS INFORMATION SERVICES
     2020 HURLEY WAY STE 350                                                                                                               DOCUMENT NUMBER: 83161690004
      SACRAMENTO, CA 9582.S                                                                                                                FILING NUMBER: 19-77433437
     USA                                                                                                                                   FILING DATE: 10/29/2019 13:40

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G. CURRENT RECORD INFORMATION: Completo lor Party fnformlflon CharQO - Pr<lVide ""Y ll!lll n.ome (Sa or Sb)
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OR
          6b, 'lllDIVIDUAl-'S SURNAME                                                               IFIRST PERSONAL NAME                                  I AODITIONAL NAME\S)IINITIALIS)                SUFFIX



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          7il. ORGANIZATION'S NAME



          7b. INDIVIDUAL:$ SURNAME


 OR
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              INDIVIDUAL'S ADDITIONAL NAME(S)~NITIAL(S)                                                                                                                                                  SUFFIX



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 9. NAME OF SECURED PARlY OF RECORD AUTHORIZING THIS AMENDMENT: PCQ\llde"'11jr~ name {9eor9b) (nomealAs•lgnor, fliU• i•anAssignmem)
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          a. ORGANlrATION'S NAME
          McCormick I 07, LLC
 OR
          b. INDIVIDUAL'S SURNAME                                                                    IFIRST FERS O fol.AL NAME                             IADDITIOfolAL NAME(SYINlflAl..(S)              SUFFIX




 10. 0F'T10NAL FILER REFERENCE DATA:

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UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS
 A. NAME & PHONE OF CONTACT AT FILER (optional)
      Laura Lightlu;ilder
      4142775387
8 , E-MAIL CONTACT AT FILER (optional)



C. SEND ACKNOW..EDGMENT TO: (Name and 11.!dren)
      Quarles & Brady LLP
      411 E Wisconsin Ave                                                                                                                      DOCUMENT NUMBER: 63486720D02
      Suite2400                                                                                                                                FILING NUMBER: 1~7745365663
      Milwaukee, WI 53202-53202                                                                                                                FILING DATE: 11/06/201914:50
      USA                                                                                                                                      IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
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        1a. ORGANIZATION S NA~
        Hero Nutritional$, LLC
OR
        1b, INDIVIDUAL'S SURNAME                                                                           FlRSTPERSONALNAME                                  ADDITIONAL NAMEIS)IINITIAL(S)                 SUFFD\



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 OR
         2b. INDIVIDUAL'S SURl'IAME                                                                        FIRST PERSONAL NAME                                ADDITIONAL NAMEj$)/INITIAL($)                 SUFFIX



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         McCormick 107, LLC
 OR                                                                                                        FIR$T PERSONAL NAME                                ADDITl0NALNAME(S)/1NITIAl.(S)                 SUFFD(
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      See Attachmenl(s)




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                                                 EXHIBIT A
                                                      TO
                                        FINANCING STATEMENT

                             Debtor:        Hero Nutritionals, LLC

                    Secured Party:          McCormick 107, LLC



    This financing statement covers the following described property, whether now owned or
    hereafter acquired, whether now existing or hereafter arising, and wherever located:
    All Inventory, equipment, accounts (Including but not limited to all health-care-Insurance
    receivables), chattel paper, Instruments (including but not limited to all promissory notes), letter-
    of-credit rights, letters of credit, documents, deposit accounts, Investment property, money, other
    rights to payment and performance, and general Intangibles (including but not limited to all
    software and all payment intangibles); all oil, gas and other minerals before extraction; all oil,
    gas. other minerals and accounts constituting as-exb:acted collateral; all fixtures; all timber to be
    cut; all attaclnnents, accessions, accessories, fittings, increases, tools, parts, repairs, supplies, and
    commingled goods relating to the foregoing property, and all additions, replacements of and
    substitutions for all or any part of the foregoing property; all insurance refunds relating to the
    foregoing property; all good will relating to the foregoing property; all record& and data and
    embedded software relating to the foregoing properl)', and all equipment, inventory and software
    to utilize, create, maintain and process any such records and data on electronic media; and all
    supporting obligations relating to the foregoing properly; all whether now existing or hereafter
    arising, whether now owned or hereafter acquired or whether now or hereafter subject to any
    rights in the foregoing property; and all products and proceeds (including but not limited to all
    Insurance payments) of or relating to the foregoing property.

    Including all the following, whether now owned or hereafter acquired, whether now existing or
    hereafter arising, and wherever located:

    (A)     All accessions, attachments, accessories, tools, parts, supplies, replacements of and
    additions to any of the collateral described herein, whether added now or later.
    (B)     All products and produce of any of the property described herein.
    (C)     All accounts, general intangibles, instruments, rents, monies, payments, and all other
    rights, arising out of a sale, lease, consignment or other disposition of any of the property
    described herein.
    (D)     All proceeds (including Insurance proceeds) from the sale, destruction, loss, or other
    disposition of any of the property described herein. and sums due from a third party who has
    damaged or destroyed the Collateral or from that party's insurer, whether due to Judgment,
    settlement or other process.
    (E)      All records and data relating to any of the property described herein, whether in the form
    of a writing, photograph, microfilm, microfiche, or electronic media, together with all of
    Debtor's right, title, and interest in and to all computer software required to utilize, create.
    maintain. and process any such records or data on electronic media.




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                                                      ••••• BANKef
                                                    =·=·· MANHATTAN
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                                                          PROMISSORY NOTE


     References in the boxes above are for Lender's use onfy and do not limil the applieabillty or this document to any particular loan or item.
                               Any item above containing ,.,._*" has been omitted due to text length limitations.

 Borrower;      Hero NutritlonaJs, LLC                                        Lender:         Bank of Manhattan, N.A.
                991 Calle Negocio                                                             Pasadena Office
                San Clemente, CA 92673                                                        199 South Los Robles Avenue
                                                                                              Suite 130
                                                                                              Pasadena, CA 91101


  Principal Amount: $463,009.10                                                                            Date of Note: February 25, 2014
  PROMISE TO PAY. Hero Nulrltionals, LLC {"Borrower"') promises to pay to Bank of Manhattan, N.A. ('"Lender''}, or order, In lawful money of the
  United States of America. the principal amount of Four Hundred Sixty-three Thousand Nine & 101100 Dollars ($463,009.10), together with
  interest on the unpaid principal balance from February 25, 2014. calculated as described In the "INTEREST CALCULATION METHOD" paragraph
  using an Interest rate of 5.690%, until paid In full. The interest rate may change under the terms and conditions of the "IMTEREST AFTER
  DEFAULT.. section.
  PAYMENT. BorToWer will pay this loan In 84 payments of $6,712.11 each payment. Borrower's first payment is due March 25, 2014, and all
  subsequent payments are due on the same day of each month after that. BorTower's final payment wlll be due on February 25, 2021, a11d will
  be for al! principal and all accrued interest not yet paid. Payments Include principal and Interest. Unless otherwise agreed or required by
  applicable law, payments will oo applled first to any accrued unpaid Interest; then to princlpal; then to any late charges; then to aoy unpaid
  collection costs; and then to any escrow or reserve account payments as required under any mortgage, deed of trust, er other security
  instrument or security agreement securing this Nole. Borrower will pay Lender al Lender's address shown above or at such other place as
  Lender may designate in writing.
  INTEREST CALCULATION METHOO. Interest on this Note is computed on a 365/360 basis; that Is, by applyiog the ratio of the interest rate
  over a year of 360 days, mulliplied by the out.standing principal balance, mulliplled by the actual number of days the principal balance ls
  outstanding. Alt interest payable under this Note is computed using this method. This calculation method results in a higher effective Interest
  rate than the numerlc interest rate stated in this Note.
  PREPAYMENT; MINIMUM INTEREST CHARGE. In any event even upon full prepayment of this Note, Borrower understands that Lender is
  entitled to a minimum interest charge of $100.00. Olher than Borrower's obligation to pay any minimum interest charge, BorTower may pay
  without penalty all or a portion of the amount owed earlier than it is due. Early payments will not. unless agreed to by Lender in writing, relieve
  Borrower of Borrower's obligation to continue lo make payments under the payment schedule. Rather, early payments will reduce the principal
  balance due and may result in Borrower's making fewer payments. Borrower agrees not to send Lender payments marked "paid in full",
  "'Without recourse", or similar language. If Borrower sends such a payment, Lender may accept it without losing any of Lende(s rights under
  this Note, and Borrower will remain obligated to pay any further amount owed to Lender. All written communications concerning disputed
  amounts, including any check or other payment instrument that indicates that the payment constitutes ··payment in full" of the amount owed or
  that is tendered with other conditions or limitations or as full satisfaction of a disputed amount must be malled or delivered to: Bank of
  Manhattan, N.A., 2700 East Foothill Boulevard, Suite 100 Pasadena, CA 91107.
  LATE CHARGE.      If a payment is 10 days or more late, Borrower will be charged 6.000% of the unpaid portion of the regularly scheduled
  payment or $25.00, whichever is greater,
  INTEREST AFTER DEFAULT. Upon default, the interest rate on this Note shall, if permitted under applicable law, immediately increase by 5.000
  percentage points.
  DEFAULT. Each of the following shall constitute an event of default ("Event of Default") under this Note:
      Payment Default. Borrower fails to make any payment when due under this Note.
      Other Defaults. Borrower fails to comply with or to perform any other term, obligation. covenant or condition contained in this Note or in
      any of the related documents or to comply with or to perform any term, obligation, covenant or condition contained in any other agreement
      between Lender and Borrower.
      Default in Favor of Third Parties. Borrower or any Granter defaults under any loan, extension of credit, security agreement, purchase or
      sales agreement, or any other agreement, in favor of any other crnditor or person that may materially affect any of Borrower's property or
      Borrower's ability to repay this Note or perform Borrower's obligations under this Note or any of the related documents.
      False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
      Note or the related documents is raise or misleading in any material respect, either now or at the time msde or fumished or becomes false
      or misleading at any time thereafter.
      Death or Insolvency. The dissolution of Borrower (regardless of whether election lo continue is made), any member withdraws from
      Borrower, or any other termination of Borrower's existence as a going business or lhe death of any member, 1he insolvency of Borrower,
      lhe appointment of a receiver for any part of Borrower's property, any assignment for lhe benefit of creditors, any type of creditor workout,
      or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower.
      Creditor or Forleiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whe1her by judicial proceeding, self-help,
      repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the loan.
      This includes a garnishment of any of Borrower's accounts, including deposit accounts. wilh Lender. However, this Event of Default shall
      not apply if there is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis of the creditor or
      forfeiture proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with lender monies or
      a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in its sole discretion, as being an adequate
      reseJ\le or tiond for the dispute.
      Events Affecting Guarantor. Any of the preceding events occurs with respect to any guarantor, endorser, surety, or accommodation party
      of any of lhe indebtedness or any guarantor, endorser, surety, or accommodalion party dies or becomes incompetent, or revokes or




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         disputes the validity of, or liability under, any guaranty of the indebtedness evidenced by this Note.
         Adverse Change. A material adverse change occurs in Borrower's financial condition, or Lender believes the prospect of payment or
         performance of this Note is impaired.
         Insecurity. Lender in good faiih believes itself insecure.
         Cure Provisions. If any defa ult, other than a default In payment Is curable and if Borrower has not been 9iven a no tice of a breach of the
         same provision of this Note within the preceding twelve (12) months, It may be cured if Borrower, after Lender sends written notice to
         Borrower demanding cure of such default: (1) cures !he default within fifteen {15) days: or (2) if the cure requires more than fifteen (15)
         days, immediately initiates steps which Lender deems in Lender's sole discretion lo be sufficient to cure the default and thereafter
         continue-s and com pletes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
  LENDER'S RIGHTS. Upon default, Lender may declare the entire unpaid principal balance under lhis Mote and all accrued unpaid interest
  immediately due, and then Borrower will pay that amount.
  ATTORNEYS' FEES; EXPENSES. l ender may hlre or pay someone else to help colleol this Nole if Borrower does not pay. Borrower will pay
  Lender that amount. This includes, subject to any limits under applicable law, Lender's attorneys· fees and Lender's legal expenses, whether or
  not there is a lawsuit, including attorneys' fees, expenses for bankruptcy proceedings (including efforts lo modify or vacate any automatic stay
  or injunction), and appeals. Borrower also will pay any c,;iurt costs, in addition to all other sums provided by law.
  JURY WAIVER. To the extent permitted by applicable law, Lender and Borrower hereby waive the right to any Jury trial in any action,
  proceeding, or counterclaim brought by either Lender or Borrower against the other.
  GOVERNING LAW. This Note will be governed by federal law applicable to Lender and, lo the extenl not preemp1ed by federal raw, the laws of
  the State of California without regard to its conflicts of law provisions. This Note has been accepted by Lender in the State of California.
  CHOICE OF VENUE. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the courts of Los Angeles
  County, Slate of California.
  DISHONORED ITEM FEE. Borrower will pay a fee lo Lender of $20.00 if Borrower makes a payment on Borrower's loan and the check or
  preaulhorized charge with which Borrower pays is later dishonored.
  RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Borrower's accounts with Lender (whether
  checking, savings, or some· other account}. This includes all accounts BoJTower holds jointly with someone else and all accounts Borrower may
  open in the future. However, this does not in.elude any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
  law. Borrower authorizes Lender, to the extent pennitled by applic,ible law, to c harge or setoff all sums owing on the indebtedness against any
  and all such accounts, and, al Lender's option, lo administratively freeze all such accounts lo allow Lender to protect Lender's charge and setoff
  rights provided in this paragraph.
  COLLATERAL. Borrower acknowledges this Note is secured by the following collateral described in the security instrument listed herein:
  equipment described in a Commercial Security Agreement dated February 25. 2014.
  SUCCESSOR INTERESTS. The terms of this Note shall be binding upon Borrower, and upon Borrower's heirs, personal representatives,
  successors and assigns, and shall inure to the benefit of Lender and Its successors and assigns.
  NOTIFY US OF INACCURATE INFORMATION WE REPORT TO CONSUMER REPORTING AGENCIES. Borrower may notify Lender if Lender
  reports any inaccurate information about Borrower's a ccounl{s) to a consumer reporting a·gency. Borrower's written notice describing the
  specific inaccuracy(ies) should be s ent to Lender at the following address: Bank of Manhattan, N.A. 2700 East Foothill Boulevard, Suite 100
  Pasadena. CA 91107.
  GENERAL PROVISIONS. If any part of this Note cannot be enforced, this fact will not affect the rest of the Note. Lender may delay or forgo
  enforcing any of its rights or remedies under this Note without losing them. Borrower and any other person who signs, guarantees or endorses
  this Nole, to the extent allowed by law, waive any applicable statute of limitations, presentment, demand for payment, and notice of dishonor.
  Upon any change In the terms of this Note, and unless otherwise expressfy slated in writing, no party who signs this Note. whether as maker,
  guarantor. accommodation maker or endorser, shall be released from llability. All such partles agree tha t Lender may renew or extend
  (repeatedly and for any length of time) this loan or release any party o r guarantor or collateral; or impair, fail lo reali.z e upon or perfect Lender's
  security interest in the collateral; and take any other action deemed necessary by Lender without the consen1 of or notice l o .anyone. All such
  parties also agree that Lender may modify this loan without the consent o_f or notice lo anyone other than the party with whom the modification
  Is made. The obligations under this Note are joint and several.
  PRIOR TO SJGNJNG THIS NOTE, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS NOTE. BORROWER AGREES TO THE
  TERMS OF THE NOTE.
  BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSORY NOTE.

  BORROWER:




  By:
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       Nutrllionals,




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                                             ALLONGE

             ALLONGE to be attached to and made a part of that certain Promissory Note in the
     original principal amount of Four Hundred Sixty-three Thousand Nine and 10/100 Dollars
     ($463,009.10) dated February 25, 2014, (Loan Number   I]   6001) made by Hero Nutritionals,
     LLC, and in favor of Pacific Premier Bank, successor-by-merger to Plaza Bank, successor-by-
     merger to Bank of Manhattan N.A., as renewed, amended, or modified.

            Pay to the order of McCormick 107, LLC, a Maryland limited liability company, without
     representations, warranties or recourse.



                                                PACIFIC PREMIER BANK
                                                                             \
                                                                         \       -.

                                                By:
                                                Name:
                                                Title:
                                                Date:




     QB\55S26303.3




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                                         COMMERCIAL SECURITY AGREEMENT
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     References in the boxes above are for Lender's use only and do not limit lhe applicapility of this document to any particular loan or item.
                               Any Ttem above containing ""'*''"' has bee.n omitted due to tex t length limitallons.

 Grantor:       Hero N utritionals, LLC                                        Lender:         Bank of Manhattan, N.A.
                991 Calle Negocio                                                              Pasadena Office
                San Clemente, CA 92673                                                         199 South Los Robles Avenue
                                                                                               Suite 130
                                                                                               Pasadena, CA 91101



  THIS COMMERCIAL SECURITY AGREEMENT dated February 25, 2014, is made and executed between Hero Nutrilionals, LLC ("Grantor") and
  Bank of Manhattan, N.A. f"Lender").
  GRANT OF SECURITY INTEREST. For valuable consideration, Grantor grants to Lender a security iriterest in the Collateral to secure the
  Indebtedness and agrees that Lender shall have the rights stated in this Agreement wit h respecl to the Collateral, In addltlon to all other rights
  which Lender may have by law.
  COLLATERAL DESCRIPTION. The word "Collateral" as used in this Agreement means the following described property, whether now owned or
  hereafter acquired, whether now existing or hereafter arising, and wherever located, in wh ich Granier is giving to Lender a security interest for
  the payment of the Indebtedness and performance of all other obligations under the N ote and this Agreement:
       Collateral as described per Exhibt A
  In addition, the word "Collateral" also includes ail the following, whether now owned of hereafter acquired, whether now existing or hereafter
  arising, and wherever located:
        (A) All accessions, attachments. accessories, tools, parts. supplies, replacements of and additions to any of the collateral described herein,
        whether added now or later.
       (B) All products and produce of any of the property described in lhis Collateral section.
       (C) All accounts, general intangib les, instruments, renls, monies, payments, and all other rights, arising out of a sale, lease, consignment
       or other disposition of any of the property described in this Collateral section.
       (DJ All proceeds (including insurance proceeds) from the sale, destruction, loss, or other disposition of any of the property described in this
       Collateral section, and sums due fro m a third party who has damaged or deslroyed lhe Collateral or from that party's insurer, whether due
       to judgment, settlement or olher process.
       (E) All records and data relating lo any of the property described in this Collateral section, whether in the form of a wrlllng, photograph,
       microfilm, microfiche, or electronic media, together with all of Grantor's right, title, and inleresl in and to all computer software required io
       utilize, create, maintain, and process any such records or data on electronic media_


  CROSS-COLLATERAUZATION. In addition to the Note, this Agreement secures all obligations, debts and liabillties, plus interest thereon, of
  Grant□r lo Lender, or any one or more of them, as well as all claims by Lender agains t Grantor or any one or more of lhem, whether now
  e xisting or hereafter arising, whether related or unrelated l o the purpose of the Note, whether voluntary or otherwise. whether due or not due,
  d irect or indirect, determined or undetermined, absolute ·Or contingent, llquidated or unllquidated, whether Grantor may be liable individually or
  jointly with others, whe·ther obligated as guarantor, surety, accommodation party Of otherwise. and whelher recovery upon such amounts may
  be or hereafter may become barred by any statute of lim itations, and whether the obligation to repay such amounts may be ar herea.fler may
  become otherwise unenforceable.
  RIGHT OF SETOFF. To the extenl permitted by applicable law, Lender reserves a right of setoff in all Grantor's accounts witll Lender (whether
  checking, savings, or some othe.r account). This includes all accounts Granter holds jointly w ith someone else and all accounts Grantor may
  open in the future. However, this does not include any IRA or Keogh accounts, or any trust accounts for Which setoff would be prohibited by
  la w. Grantor authorizes Lander, to the extent permitted by applfcable law , to charge or setoff all sums owing on lhe Indebtedness agafnsl any
  and all such accounts, and, at lender's option, to administratively freeze all such accounts to allow Lender lo protect Lender's charge and seloff
  rights provided in this paragraph.
  GRANTOR'S REPRESENTATIONS ANO WARRANTIES WITH RESPECT TO THE COLLATERAL. With respect to the Collateral, Granlor represenl s
  and promises to Lender that:
        Perfecllon of Security Interest. Granier agrees to take w hatever actions are requested by Lender to perfecl and continue Lender's security
        interest in the Collate ral. Upon requesl of Lender, Granter will deliver to Lender any and all of lhe documents evidencing or constituting the
        Collateral, and Granter will note Lender's interesl upon any and all chattef-..paper..and instruments if not delivered to Lender for possession
        by Lender. This is a c ontinuing Security Agreement and will continue in effect even though all or any part of the Indebtedness is paid in full
        and even though for a period of time Grantor may not be indebted t o Lender.
      Notices to Lender. Granlor will promptly notify Lender in writing at Lender's address shown above (or such other addresses as Lender may
      designate from time to tirne) prior to any (1} change in Grantor's name; (2) change in Grantor's assumed business name(s); (3) change
      in the rnanagemenl or In the members ar manage.rs of the limited liability company Granlor; (4) change in the authorized signer(s); (5)
      change in Grantor's principal o ffice address; (6) change in Grantor's state o f organization; (7) conversion of Granter to a new o r d ifferent
      type o f business entity; or (Bl change in any other aspect of Graritor thal directly or indirectly relates to any agreements between Grantor
      and Lender No change in Grantor's name or slate_ of organization will ta ke e ffect until after Lender has received nolice.
       No Violation. The execulion and delivery of this Agreement will not violate any law or agreement governing Granto, or to which Granter is
       ~ party, and its membership agreement does not prohibit any term or condition of this Agreement.

       Enforceability of Collateral. To the extent the Collateral cons1sts of accounts, challel paper, or general inlangibles, as defined by the
       Uniform Commercial Code, the Collateral is enforceable in accordarce with its terms, is genuine, and fully complies with all applicable laws




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     and regulations concerning form, content and manner of preparation and execution, ai"\d all persons appearing to be obligated on the
     Collateral have authority and capacity to contract and are in fact obligaled as they appear to be on the Collateral. There shall be i"\O setoffs
     or counterclaims against any of the Collateral, and no agreement shall have been made under which any deductions or discounts may be
     claimed concerning the Collateral except those disclosed to Lender in writing.
    Location of the Collateral. Except in the ordinary course of Grantor's business, Granter agrees to keep the Collateral at Grantor's address
    shown above or at such other locations as are acceptable to Lender. Upon Lender's request, Grantor will deliver lo Lender in form
    satisfactory to Lender a schedule of real properties and Collateral locations relating to Grantor's operations, including without limitation the
    following: (1) all real property Gran tor owns or is purchasing; (2) all real property Granier is renting or leasing: (3) all storage facilities
    Grantor owns, rents, leases, or uses; and (4) all other properties where Collateral is or may be located.
    Removal of the Collateral. Except in the ordinary course of Grantor's business. Grantor shall not remove the Collateral from its existing
    location without Lender's prior written consent. To the extent that the Collateral consists of vehicles, or other titled property, Granter shall
    not take or permit any action which would require application for certificates of title for the vehicles outside the State of California. without
    Lender's prior written consent_ Granter shall, whenever requested, advise Lender of the exact location of the Collateral.
    Transactions Involving Collateral. Except for inventory sold or accounts collected in the ordinary course of Grantor's business, or as
    otherwise provided for in this Agreement, Grantor shall not sell, offer to sell, or otherwise transfer or dispose of the Collateral. Granter
    shall not pledge, mortgage, encumber or otherwise permit the Collateral to be subject to any lien, security interest, encumbrance, or
    charge, other than the security interest provided for in this Agreement, without the prlor written consent of Lender. This includes security
    inlerests even if junior in right to the security interests granted under this Agreement. Unless waived by lender, all proceeds from any
    disposition of th.e Colla teral (for whatever reason) shall be held in trust for Lender and shall not be commingled with any other funds;
    provided however, this requirement shall not constitute consent by Lender to any sale or other disposition. Upon receipt, Granter shall
    immediately deliver any such proceeds to Lender.
    Title. Grantor represents and warrants to Lender that Granter holds good and marketable title lo the Collateral, free and clear of all liens
    and encumbrances except for the lleri of this Agreement. No financing statement covering any of the Collateral is on file in any public
    office other than those which reflect the security interest created by this Agreement or to which Lender has specmcally consented.
    Grantor shall defend Lender's rights in the Collateral against the claims and demands of all other persons.
    Repairs and Maintenance. Grantor agrees lo keep and maintain, and to cause others to keep and maintain, the CollateIal in good order,
    repair and condition at all times while this Agreement remains in effect. Grantor further agrees to pay when due all claims for work done
    on, or services rendered or material furnished in connection with the Collateral so that no lien or encumbrance may ever attach to or tie
    filed against the Collateral.
    Inspection of Collateral. Lender and Lenders designated representatives and agents shall have the right at all reasonable times to examine
    ai"\d inspect the Collateral wherever located.
    Taxes, Assessments and Liens. Grantor will pay when due all taxes, assessments and liens upon the Collateral, its use 01 operation, upon
    this Agreement, upon any promissory note or notes evidencing the Indebtedness, or upon any of the other Related Documents. Grantor
    may withhold any such payment or may elect lo contest any lien if Grante r is in goQd 'faith conducting an appropriate proceeding lo contest
    the obligation to pay and so !orig as Lender's interest in lhe Collat eral is not jeopardlze.d in Lender's sole opinion. If the Collateral is
    subjected to a lien which is not discharged within fifteen (15) days, Grantor shall deposit with Lender cash, a sufficient corporate surety
    bond or other security satisfactory to Lender in an amount adequate to provide for the discharge of the lien plus any interest, costs,
    anorneys' fees or other charges that could accrue as a result of foreclosure or sale of the Collateral. In any contest Grantor shall defend
    itself and Lender and shall satisfy any final adverse judgment before enforcement against the Collateral. Gran1or shall name Lender as an
    additional obligee under any surety bond furnished in the contest proceedings. Granter further agrees to furnish Lender v,ith evidence that
    such taxes, assessments, and governmental and other charges have been paid in full and in a timely manner. Granter may withhold any
    such payment or may elect lo contest any lien if Grantor is in good faith conducting an appropriate proceeding to contest the obligation to
    pay and so long as Lenders interest in the Collateral is not jeopardized.
    Compliance with Governmental Requirements. Gran.tor shall comply promptly with all laws. ordinances., rules and regulations of all
    governmental authorities, now or hereafter in effect, appllcable lo the ownership, production, disposition, or use of the Collateral , including
    all laws or regulations relating to the undue erosion ·of highly-erodible land or relating lo the conversion of wetlands for the production of on
    agricultural product or commodity. Granter may contest in good faith any such law, ordinance or regulation and withhold compliance
    during any proceeding, including appropriale appeals, so long as Lender's interest in the Collateral, in Lender's opinion, is not jeopardized.
    Hazardous Substances. Gran1or represents and warrants that the Collateral never has been, and never will be so long as this Agreement
    remains a lien on the Collateral, used in violation of any Environmental Laws or for the generation. manufacture. storage, transportation,
    treatment, disposal, release or lhreatened release of any Hazardous Substance. The representations and warranties ccnlained herein are
    based on Grantor's due diligence in investigating the Collateral for Hazardous Substances. Gran tor hereby (1) releases and waives any
    future claims against Lender for indemnity or contribution in the event Granter becomes liable for cleanup or other costs under any
    Environmental Laws, and (2) agrees to indemnity, defend, and hold harmless Lender against any and all claims and losses resulting from a
    breach of th is provision of this Agree men!. This obligation to indemnify ancl defend shall survive the payment of the Indebtedness and the
    satisfaction or this Agreement.
    Maintenance of Casualty Insurance. Granter shall procure ana maintain all risks insurance, including without lirnilation fire, theft and
    liability coverage together with such other insurance as Lender may require with respect to the Collateral, in form. amounts, coverages and
    basis- reasonably acceptable to Lender and issued by a company or companies reasonably acceptable to Lender. Grantor, upon request of
    Lende'r, will deliver to Lender from lime to time the policies or certificates of insurance in form satisfactory to Lender, including stipulations
    that coverages will not be cancelled or diminished witheut at least twenty-one (21) days' prior written nolice to Lender and no\ inducting
    any disc laimer of the insurer's liability for failure to give such a notice. Each insurance· policy also shall include an endorsement providing
    that coverage iri raver of Lender will not be impaired in any way by any act, omission or defaull of Grantor or any other person. In
    connection with all policies covering assets in which Lender holds or is offered a security interest, Granier will provide Lender with such
    loss payable or o ther endorsements as Lender may require. If Grantor at any time fails to obtain or maintain any insurance as required
    under lhls Agreement, Lender may (but shall not be obligated to) obtain such insurance as Lender deems appropriate, Including if Lender so
    chooses "single interest insurance," which will cover only Lender's interest in the Collaternl.
    Application of Insurance Proceeds. Granter shall promptly notify lender or any loss or damage to the Collateral if the estimated cost of
    repair or replacement exceeds $25,000 00, whether or not such casualty or loss is covered by insurance. Lender may make proof of loss
    if Granlor fails to do so within fifteen (15) days of the casualty. All proceeds of any insurance on the Collateral, including ~ccrued proceeds
    thereon, shall oe held by Lender as part of the Collateral. If lender consenls to repair or replacement of the damaged or destroyed
    Collateral, Lender shall, upon satisfactory proof of expenditure, pay or reimburse Granier from lhe proceeds for the reasonable cost of
    repair or restoration. If Lender does not consent to repair or replacement of \he Collateral, Lender shall retain a sufficient amount of the




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       proceeds to pay all of the Indebtedness, and shall pay the balance to Grantor. Any proceeds which have nol been disbursed wrrhin six (6)
       months after their receipt and which Grantor has not committed to the repair or restoration of the Colla1eral shall be used to prepay the
       Indebtedness.
       Insurance Reserves. Lender may require Grantor lo maintain with Lender reserves for payment of insurance premiums, which reserves shall
       be created by monthly payments from Granter of a sum estimated by Lender ta be sufficient to produce, at least fifteen (15) days before
       the premium due date, amounts at least equal to the insurance premiums to Ile paid. If fifteen (15) days before payment is due, the reserve
       funds are insufficient, Granter shall upon demand pay any deficiency to Lender. The reserve funds shall be held by Leader as a general
       deposit and shall constitute a non-interest-bearing account which Lender may satisfy by payment of the insurance premiums required to be
       paid by Grantor as they become due. Lender does not hold the reserve funds in trust for Grantor, and Lender is not the agent of Grantor
       for payment of the insurance premiums required to be paid by Granto,. The responsibility for lhe payment of premiums shall remain
       Grantor's sole responsibility.
       lnsurarice Reports. Granter, upon request of Lender, shall furnish to Lender reports on each existing policy of insurance showing such
       information as Lender may reasonably request including the following: (1) the name of the insurer; (2) the risks insured; (3) the amount
       of the policy; (4) the property insured; (S) the then current value on the basis of which insurance has been obtained and the manner of
       determining that v.,lue: and (6) the expiration date of the policy. In addition, Grantor shall upon request by Lender {however not more
       often than annually) tiave an independent appraiser satisfactory to Lender determine, as applicable, the cash value or replacement cost of
       lhe Collateral.
       Financing Statements. Grantor authorizes Lender to file a UCC financing statement, or alternatively, a copy of this Agreement to perfect
       Lender's security interest. At Lender's request, Granter additionally agrees to sign ;,II other documents that are necessary to perfect,
       protect, and continue Lender's security interest in the Property. qranlor will pay all filing fees. title transfer fees, and other fees and costs
       involved unless prohibited by law or unless Lender is required by law to pay such fees and costs. Grantor irrevocably appoints Lender ta
       execute documents necessary to transfer title if there is a default. Lender may file a copy of this Agreement as a financing statement.
  GRANTOR'S RIGHT TO POSSESSION. Until default, Grantor may have possession of the tangible personal property and beneficial use of all the
  Collateral and may use it in any lawful manner not inconsistent with this Agreement or the Related Documents, provided that Grantor's right to
  possession and beneficial use shall not apply to any Collaterai where possession of the Collateral by Lerider is required by law to perfect
  Lender's security interest in such Collateral. If Lender at any time has possession of any Collateral, whether before or after an Event of Default.
  Lender shall be deemed to have exercised reasonable care in the custody and preservation of the Collateral if Lender lakes such action for that
  purpose as Grantor shall request or as Lender, in Lender's sote discretion, -shall deem appropriate under the circ_umstances, but failure to honor
  any request by Grantor shall not of itself be deemed to be a failure to f';lxercise reasonable care. Lender shall nol be required lo take any steps
  necessary to preserve any rights in the Collateral against prior parties, nor to protect, preserve or maintain any security interest given to secure
  the Indebtedness.
  LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially affect Lender's interest in the Collateral or if
  Granlor fails to comply with any pro11ision of this Agreement or any Related Documents, including but not limited to Granto~s failure to
  discharge or pay when due any amounts Granter is required to discharge or p.>y under this Agreement or any Related Documents, Lender an
  Grantor's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited lo discharging or
  paying all taxes, liens. security interests, encumbrances and other claims, at any time levied or pfaced on the Collateral and p.iying all costs for
  insuring, maintaining and preserving the Collateral. All such expend itures incurred or paid by Lender for such purposes will then bear interest at
  the rate charged under the Note from the date incurred or paid by Lender lo the date of repayment -by Granlor. All such expen~es w fll become a
  part of the Indebtedness and, at Lender's opUon, will (A) be payable on demand; (B) be added to the balance of the Note and be apportioned
  among and be payable with :sny installment payments to tiecome due during either (1) the term of any applicable insurance policy; o r (2) the
  remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable al the Note's maturity. Tha Agreement also
  will secure payment of these amounts. Such right shall be in addition to all other rights and remedies ta which Lender may be entitled upon
  Default.
  DEFAULT. Each of the following shall constitute an Event of Default under this Agreement:
      Payment Default. Grantor fails ta make any payment when due under the Indebtedness.
      other Defaults. Granter fails to comply with or to perform any other term, obligation, covenant or condilion contained in this Agreement or
      in any of the Related Documents or ta comply with or to perform any term, obligation, covenant or condition contained in any other
      agreement between Lender and Granter.
      Default in Favor of Third Parties. Granter deraulls under any loan, extension of credit, security agreement, purchase or sales agreement, or
      any other agreement, in favor of any other creditor or per5□n that may materially affect any of Grantor's properly or ability to perform
      Grantor's obligations under this Agreemenl or any of the Related Documents.
      False Statements. Any warranty, representation or statement made or furnished to Lender by Granter or on Grantor's behalf under this
      Agreement or the Related Documents is false or misleading in any material respect, either now or at the time made or furnished or becomes
      false or misleading at any time thereafter.
      Defective Collateralization. This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
      collateral document to create a valid and perfected security interest or lien) at any time and for any reason.
      Insolvency. The dissolution of Grcintor (regardless of whether election to continue is made), any member withdraws from the limited
      liability company. or any other termination of Gran1or's exlstence as a going business or !he death of any member, the insolvency of
      Granlor, the appointment of a receiver for :sny p.irt of Grantor's property, any assignment for lhe benefit of creditors, any type of c reditor
      workout, or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Grantor.
      Creditor or Forfeiture Proceedings. Commencernenl of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
      repossession or any other method. by any creditor of Grantor or by any governmental agency against any collateral securing the
      Indebtedness. This includes a garnishment of any of Grantor's accounts, including deposit accounls, with Lender. However, this Event of
      Default shall not apply if there is a good faith dispute by Grantor as to the va lidity or reasonableness of the claim which is lhe basis of the
      creditor or rorfeiture proceeding and if Grantor gives Lender written noUce of the creditor or forfeiture proceeding and deposits with Lender
      monies or a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in its sole discrelion, as being an
      adequate reserve or band for the dispute.
      Events Affecting Guarantor. Any of the preceding events occurs with respect to any guarantor, endorser, surely, or accommodation party
      of any of the Indebtedness or guarantor, endorser. surety, or accommodation party dies or becomes incompetent or revokes or disputes the
      validity of, or liability under, any Guaranty of the Indebtedness.
      Adverse Change.     A material adverse change occurs in Grantor's financial condition, or Lender l>elieves the prospect of payment or




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      performance of the Indebtedness is impaired.
      lnsecurlty. Lender in good faith belleves itself insecure.
      Cure Provisions. If any default, other 1han a default in payment is curable and if Grantor has not been given a notice of a breach of the
      same provision of this Agreement within the preceding twelve (12) months, it may be cured if Grantor, after Lender ·sends written notice to
      Grantor demanding cure of s_uch default: (1) wres the default wlth1n fifteen (15) days; or (2) if lhe cure requires more than ·fifteen (15)
      days, immediately initiates steps which Lender deems in Lender's sole discretion to be sufficient to cure the defaull and thereafter
      continues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
  RIGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under this Agreement, at any lime thereafter, Lender shall have all the
  rights of a secured party under the California Uniform Commercial Code. In addition and without llmitation, Lender may exercise any one or
  more of the following rights and remedies:
      Accelerate Indebtedness. Lender may declare the entire Indebtedness, including any prepayment penalty which Graritor would be required
      to pay, immediately due and payable, without notice of any kind to Grantor.
      Assemble Collateral. Lender may require Grantor to deliver to Lender all or any portion of the Collateral and any and an certificates of title
      and other documents relating to the Collateral. Lender may require Granlor to -assemble the Collateral and ma Ke it available to Lender at a
      place to be designated by Lender. Lender also shat! have full power to enter upon the property of Granter to take possession of and
      remove the Collateral. If the Collateral contains other goods not covered by this Agreement at the time of repossession, Grantor agrees
      Lender may take such other goods, provided that Lender makes reasonable efforts to return them to Grantor after repossession.
      Sell the Collateral. Lender shall have full power to sell, lease, transfer, or otherwise deal with the Collateral or proceeds thereof in Lender's
      own name or that of Granter. Lender may sell 1he Collateral at public auction or private sale. Unless the Collateral threatens to decline
      speedHy in value or is of a type customarily sold on a recognized market. Lender will give Gra ntor, and other persons as required by law,
      reasonable notlce of the lime and place of-any public sale, or the time after which any private sale or any other disposition of the Collateral
      is to be made. However, no notice need be provided to any person who, after Event of Default occurs, enters into and authenticates an
      agreement waiving that person's right to notification of sale. The requirements of reasonable notice shall be met if such notice is given at
      least ten ( 1O)· days before the time of the sale or disposition. All expenses relating to the disposition of the Collateral. including w iChout
      limitation the expenses of retaking, holding, insuring, preparing for sale and selling the Collateral, shall become a part of the Indebtedness
      secured by this Agreement and shall be payable on demand, with interest at the Nole rate from date of expenditure until repaid.
      Appoint Receiver. Lender shall have the right to have ,a recelyer appeinted to take possession of all or any part of the Collateral, w ith the
      power to protect and preserve the Collateral. to. operate the Collateral preceding fofeclosure or sale, and to collect the r11nts from the
      Collateral and apply the proceeds, over and above the cost of the receiv.e rship, against the lndeb_tedness. The receiver may serve without
      bond if permitted by law. Lender's right 1o the appointment o f a receiver shall exist whether or not the apparent value of the Collateral
      exceeds the Indebtedness by a substantial amount. Employment by Lender shall not disqualify a person from serving as a receiver.
      Collect Revenues, Apply Accounts. Lender, either itself or through a receiver. may collect the payments, rents, income, and revenues from
      the Collateral. Lender may al any lime in L ender's discretion transfer any Collateral into Lender's own name or that of Lender's nominee
      and receive the payments, rents, income, and revenues therefrom and hold the same as security for the Indebtedness or apply it to
      payment of the Indebtedness in ·such order of preference as Lender may determine. Insofar as the Collateral consists of accounts, general
      intangibles. insurance policies, instruments. chattel paper, ctioses In aclion, or similar property, Lender may demand, collect, re_ceipt for,
      settle, compromise, adjust, sue for. foreclose, or realize on the Collateral as Lender may determine, whether or not Indebtedness or
      Collateral is then due. For these purposes. Lender may, on behalf of and in the nam_        e of Granter, receive, open and dispose of mail
      addressed to Grantor: change any address to which mail and payments are to be sent; and endorse notes, checks, drafts, money orders.
      documents of title, instruments and items pertaining to payment, shipment. or storage of any Collateral. To facilitate collection, Lender
      may notify account debtors and obligors on any Collateral to make payments directly to Lender.
      Obtain Deficlel')cy. If Lender chooses lo sell any or all of the Collateral, Lender may obtain a judgment against Grantor for any defcciency
      remaining on the Indebtedness due to Lender after application of all amounts received from the exercJse of the rights provided in this
      Agreement. Granter shall be liable for a deficiency even If the transaction described in this subsection is a sale of accounts or chattel
      paper.
      Other Rights and Remedies. Lender shall have all the rights and remedies of a secured creditor under the provisions of the Uniform
      Commercial Code. as may be amended from time to time. In addition. Lender shall have and may exercise any or all other rights and
      remedies ,t may have available at law, in equity, or otherwise.
      Election of Remedies. Except as may be prohibited by applicable law, all of Lender's rights and remedies, whether evidenced by this
      Agreement, the Related Documents, or by any other writing. shall be cumulative and may be exercised singularly or concurrently. Election
      by Lender to pursue any remedy shall not exclude pursuit of any other remedy, and an election to make expenditures or lo take ac tion to
      perform an obligation of Grantor. under this Agreement, a fter Grantor's failure to perform, shall n ot affect Lender's right lo declare a default
      and exercise its remedies.
  MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
      Amendments. This Agreement. together with any Related Documents, constitutes the entire understanding and agreement of the parties
      as to the matters set forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing
      and signed by the party or parties sought to be charged or bound by the alteration or amendment.
      Attorneys' Fees; Expenses. Granlor agrees to pay upon demand all of Lender's costs and e~penses, including Lender's attorneys' fees and
      Lender's legal expenses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay someone else to help
      enforce this Agreement, and Granier shall pay the costs a nd expenses of such enlorcemenl. Costs and expenses include Lender's
      attom_e ys' lees and legal expenses whether o r not there is a lawsuit, Including a1tomeys' fees and legal expenses for bankruptcy
      proceedings (including efforts 10 modify or vacate any automatic slay or injunetion), appeals, and any anticipated post-judgment collection
      services. Granter also shall pay all covrt costs and suc h additfonal fees as may be directed by !he court.
      Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to be used lo interpret or de~ne the
      provisions of tnis Agreement.
      Governing Law. This A greement will be governed by federal law appllcable to Lender and, to the extent not pn,empted by federal law, the
      laws of the State of Canfornla without regard to Its conflicts of la,w provisions. This Agreement has been accepted by Lender in the Slate
      of California.
      Choice of Venue. If there is a lawsuit, Granter agrees upon Len de r's request to submit to the jurisdiction of the courts of Los Angeles
      County, State of California




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                                               COMMERCIAL SECURITY AGREEMENT
  Loan No:"1306                                                     (Continued)                                                                Page 5

       Preference Payments. Any monies Lender pays because of an asserted preference claim in Grantor's bankruptcy will become a part of the
       Indebtedness and, at Lender's option, shall be payable by Grantor as provided in this Agreement.
       No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writing
       and signed by Lemler. No delay or omiss;on on the part of Lender in exercising any right shall operate as a waiver of such right or any
       other right. A waiver l:ly Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's rtght otherwise to
       demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender. nor any course of
       dealing between Lender and Grantor, shall constitute a waiver of any or Lender's rights or of any of Grantor's obligations as to any ruture
       transactions. Whenever the consent of lender is required under this Agreement, the granting of such consent by Lender in any instance
       shall not constitute continuing consent to subsequent instances where such consent is required and in all cases such consent may be
       granted or withheld in the sole discretion of Lender.
       Notices. Any notice required to be given under this Agreement shall be given in writing, and shall be effective when actually delivered,
       when actually received by telefacsimile (unless o\her,11ise required by law}, when deposited with a nationally recognized overnight courier,
       or, if mai!ed, when deposited in the United States mail, as first class, certified or registered mail postage prepaid, directed to the addresses
       shown near the beginning of this Agreement. Any party may change its address ror notices under this Agreement by giving formal written
       notice to the other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes, Granier agrees
       to keep Lender Informed at all times of Grantor's current address. Unless otherwise provided or required by law, if there is more than one
       Granter. any notice given by Lender to any Grantor is deemed to be notice given to all Grantors.
       Power of Attorney. Grantor hereby appoints Lender as Grantor"s irrevocable attorney-in~fact for the purpose of executing any documents
       necessary to perfect, amend, or to continue the security inlerest granted in this -Agreement or to demand termination of filings of other
       secured parties. Lender may at any time. and without further authorizalion from Grantor, file a carbon, photographic or other reproduction
       of any financing sta temenl or of this Agreement for use as a financing statement. Grantor will reimburse Lender for all expenses for the
       perfection and the continuation of the perfection of Lender's security i nterest in the Collateral.
       Waiver of Co-Obliger's Rights. If more than one person is obligated for the Indebtedness, Granter iJTevocably waives, disclaims and
       relinquishes all claims against such other person which Grantor has or would otherwise have by virtue of payment of the Indebtedness or
       any part thereof, specifically including but not limited to all rights of indemnity, contribution or exoneration.
       Severability. If a oourt of competent j urisdiction finds any provision of this Agreement to be illegal, invalid, cir unenforceable as to any
       circumsta nce, that finding shall not make the offending provision illegal, invalid. or unenforceable as to any other circumstance. If feasible,
       the offending provision shall be considered modified so that it bec:omes legaJ, valid and enforceable. If the offending provision cannot .be so
       modified, it shall be consld'e red deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or unenforceability
       of any provTsion of this Agreement shall not affect the legality, validity or enforceability of any other provision of this Agreement.
       Successors and Assigns. Subject to any limitations stated in this Agreement on transfer of Grantor's interest, this Agreement shall be
       blnding upon and inure lo the benefit of the parties, their successors and assigns. If ownership of the Collaler.l becomes vested in a
       person other than Grantor, Lender, without notice to Grantor, may deal \Nilh Gra ntor's successprs with reference to this Agreement and the
       Indebtedness by way of forbearance or extension without releasing Granter from the obligations of th is Agreement or liabillty under the
       Indebtedness.
       Survival of Representations and Warranties. All representations, warranties, and agreements made by Grantor in this Agreement shall
       survive the execution and delivery of this Agreement, shall be continuing in nature, and shall remain Tn full force and effect until such time
       as Grantor's Indebtedness shall be paid in full.
      Time is of the Essence. Time is of the essence in the performance of this Agreement.
      Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any jury trial in any action,
       proceeding, or counterclaim brought by any party agah)st any other party.
  DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specifically
  slated lo the contrary, all references to dollar amounts shall mean amounts in lawful money of the United Stales of America. Words and terms
  used In the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
  defined in this Agreement shall have the meanings attributed to such terms In the Uniform Commercial Code:
      Agreement. The word "Agreement" means this Commercial Security Agreement, as this Commercial Security Agreement may be amended
      or modified from time to time, together with all exhibits and schedules attached to this Commercial Security Agreement from lime to time.
      Borrower. The word "Borrower" means Hero Nutritionals, LLC and includes all co-signers and co-makers signing the Note and all their
      sue<;essors and assigns.
      Collaleral. Tile word "Collateral" means all of Grantor's right. title and interest in and lo all lhe Collateral as described in t~e Collateral
      Description section of this Agreement.
      Defau It. The word "Default" means the Default set forth in this Agreement in the section tltled "Default".
      Environmental Laws. The words "Environmental Laws• mean sny and all state, federal and local statutes. regulations and ordinances
      relaHng to the protection of human health o r the environment. including w ithout limitation the C:omprehensive Environmenlal Re_sponse,
      Compensation, and Liability A ct of 1980, as amended, 42 U.S.C. SecJ-(on 9601, et seq. ("CERCLA"), the Superfund Amendments and
      Reauthorization· Act of 1986, Pub. L No. 9 9-499 ("SARA"), the Hazardous Materials Transportation Act. 49 U.S.C Section 1801, el seq.,
      the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901, et seq., Chapters 6.5 through 7 ,7 of Division 20 of the California
      Health and Safety Code, Section 25100, et seq., or other applicable state or federal laws, rules, or regulations adopted pursuant thereto.
      Event of Defau It. The words "Event of Default" mean any of the events of default set forth in this Agreement in the default section of this
      Agreement.
      Grantor. The word "Granter" means Hero Nutritionals, LLC.
      Guaranty. The word "Guaranty• means the guaranty from guarantor, endorser, surety, or accommodation party to Lender, including
      without limitation a guaranty of all or part of the Note.
      Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantity, concentration or physical,
      chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or lhe environment when
      improperly used, treated, stored, disposed of, generated, manufactlired, transported or othe iwise handled       The .words "Hazardous
      Substances" are used in their very broadest sense and include wilhoul llmitalion any and all hazardous or toxic substances, materials ·or
      waste as defined by or lis1ed under lhe Environmental Laws. The term "Hazardous Substances" also includes, without limitallon, petroleum
      and petroleum by-products or any fraction thereof and asbestos.




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                                           COMMERCIAL SECURITY AGREEMENT
  Loan No: .1306                                    (Continued)                                                                       Page 6

     Indebtedness. The word "Indebtedness" means \he indebtedness evidenced by the Note or Related Documents, including all prindpal and
     interest together with all other indebtedness and costs and expenses for which Granto, ;s responsible under this Agreement or under any of
     the Related Documents. Specifically, without limitation, Indebtedness includes all amounts that may be indirectly secured by the
     Cross-Collateralization provision of this Agreement.
     Lender. The word "Lender" means Bank of Manhattan, N.A.. its successors and assigns.
     Note. The word "Note" means the Note dated February 25, 2014 and executed by Hero Nutritionals, LLC in the principal amount of
     $463,009.10, together with all renewals of, extensions of. modifications of, refinancings of, consolidations of. and substi!utions for the
     note or credit agreement.
     Property. The word "Property" means all of Grantor's right. title and interest in and to all the Property as described in the "Collateral
     Description" section of this Agreement.
     Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements. environmental
     agreements, security agreements, mortgages, deeds of trust, security deeds. collateral mortgages, and all other instruments, agreements
     and documents, whether now or hereafter existing. executed in connection with the Indebtedness.
  GRANTOR HAS READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS COMMERCIAL SECURITY AGREEMENT AND AGREES TO ITS
  TERMS. THIS AGREEMENT IS DATED FEBRUARY 25, 2014.

  GRANTOR:




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UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS (front a,:id back\ CAREFULLY
A. NAME & PHONE OF CONTACT AT FILER [opUonal)
UCC Division
800-932-9966
B. SEND ACKNOWLEDGMENT TO: (Name and Address)
First American Title !mwranoo Company
901 S. 2nd Street                                                                  DOCUMENT NUMBER: 42036630002
                                                                                   FILING NUMBER: 14-7402568653
Suite 201                                                                          FILING DATE: 03/11/2014 11 :16
Springfield, IL 62704                                                              IMAGE GENERATED ELECTRONICALLY FOR XML FILING
USA                                                                                THE ABOVE SPACE IS FOR CA FILING OFFICE USE ONLY
1. DEBTOR'S EXACT FULL LEGAL NAME - insert onlv one debtor name (1a or 1 bl - do not abbreviate or combine names
    1a. ORGANIZATION'S NAME
-- Hero Nutritionas, U.C
   1b. INDIVIDUAL'S LAST NAME                                     FIRST NAME                               MIDDLE NAME                   SUFFIX

 c. MAILING ADDRESS                                               CITY                                     STATE       ~:OSTAL CODE      COUNTRY
991 Cale Nooxio                                                   IS:,nCle-ne1te                           CA           2673             USA.
~d. SEE          ADD'L DEBTOR INFO                                  TYPE OF
                                                                  ~8-                 ~f. JURISDICTION 1g. ORGANIZATIONAL 10#, if any
Ni:tTRIICTll'\N~                                                  PRGANIZATION        t>F ORGANIZATION
                                                                                                                                    rNONE
                                                                  l.i rnitoolia       {:,A
                                                                                                           199507310020
                                                                  bi!ltyCornp cmi
2. ADDITIONAL DEBTOR'S EXACT FULL LEGAL NAME • ln.s ert onlv nnia .d ebtor name 12a or 2b • do not abbreviate or combi ne names
    2a. ORGANIZATION'S NAME

    b. INDIVIDUAL'S LAST NAME                                     IOIRST NAME                              MIDDLE NAME                   ~UFFIX

2c. MAILING ADDRESS                                               ~ITV                                     STATE       rOSTALCODE        COUNTRY


2d._§g         ADD'L DEBTOR INFO                                  2e. TYPE OF          2f. JURISDICTION 2g. ORGANIZATIONAL ID#, If any
INSTRllCTIOIJ~                                                    ORGANIZATION         OF ORGANIZATION
                                                                                                                                     L NONE
3, SECURED PARTY'S NAME /or NAME of TOTAL ASSIGNEE of ASSIGNOR SIP) - Insert only one secured =rtv name 13a or 3bl
   3a. ORGANIZATION'S NAME
n- Ba,k of Ma:iha:t:cn, NA
   3b. INDIVIDUAL'S LAST NAME                                        FIRST NAME                MIDDLE NAME                          SUFFIX


3c. MAILING ADDRESS                                                  CITY                      STATE       tOSTALCODE               COUNTRY
199 &',11th Loo Robles Avrnue S\Jlte 130                             P'~ooem                   ~~A           ·1 10·1                UM
4. This FlNANCI NG STATEMENT COVGI'$ the foll owing collateral:
Cc-llEta-aJ as oos::ribEd per Exhibit A; whether af"o/ of the foregoing is owned n(MI or a:x:iuira:J IEter; al ~     ons, addition-s,
replaosments, and s..ib!ltitutions refati ng to any of thefor9Joing; al rocords of any kind re!cting to a-iy of thefo,eg)ing.




~-ALT DESIGNATION: r ,LESSEE/LESSOR         r   CONSIGNEE/CONSIGNOR CBAILEE/BAILOR L SELLER/BUYER L AG. LIEN                   C
                                                                                                                     NON-UCC FILING
Cs. This FINANCING STATEMENT Is to be filed [for record) (or        7 , Check to REQUEST SEARCH REPORT($) on Debtor(s)
recorded) in the REAL ESTATE RECORDS                                 ADDITIONAL FEE]     [opUonalJ t7AII Debtors r oebtor 1 CDebtor 2
~ttach Addendum £if arinlicablel
18. OPTIONAL FILER REFERENCE DATA
Loa; No. Debtor: Ha-o Nutritionas, LLC

FILING OFFICE COPY




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UCC FINANCING STATEMENT AMENDMENT
FOLLOW INSTRUCTIONS
A . NAME & PHONE OF CONTACT AT FILER (optional)
     UCC Administrator
     916-564-7800
B E-MAIL CONTACT AT FILER (optional)



C SEND ACKNOWLEDGMENT TO: (Name                          and Address)
     CLAS INFORMATION SERVJCES
     2020 HURLEY WAY STE 350                                                                                                                     DOCUMENT         NUMBER: 83181690002
     SACRAMENTO, CA 95825                                                                                                                        FILING NUMBER:     19-77433432
                                                                                                                                                 FILING   DA TE: 10129/2019 13:35
     USA
                                                                                                                                                 IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
                                                                                                                                                 THE ABOVE SPACE IS FOR CA FILING OFFICE USE ONLY

1a INITLAL FINANCING STATEMENT FILE MUM BER                                                                                       1b   r  This FINANCING STATEMENT AMENDMENT is to ba filad !for record] (or
                                                                                                                                       recor<!sd) in Iha REJ\L ESTATE RECORDS. Filer: AltachAmendmenl Addendum
 14-7402568653                                                                                                                         (Form UCC3Ad) and provide Deblor's name in ilom l 3


2, rTERMINATION: Effecli..,eness of (he Financing Slalement identified above is terminated wilh respect to the secufity intersst(.s) of Secured Parly authorizing lhis Termination Statement

3    P ASSIGNMENT (full or partial}: Provide name of Assignee in i1em 7a or7b, and address of Assignee in itern 7c and name of Assignor ln item 9
      For partial assignment, complete •lems 7 ~nd 9 and also indicate affected collateral in item B


4.   I     CONTINUATION: Effectiveness of the Financing Statement identiried above with respect to the securily intere&t(s) of Secured Party autho,iz.ing this Continuation Statement i.s continued for lhe
      additional period provided by applicable law

5     r     PARTY INFORMATION CHANGE
Check ~ of lhese two boxes:                                            AND Check !l!ll!OI these three boxes lo:

This Chango attecls      r   Deblor 2[   r   Secured Parly of record
                                                                             r    CHANGE namo a 1id/01 addro": Complelo
                                                                                  l!om6a 0,60; Qlll!ltom ?a and 7b !llll!llsm 7o
                                                                                                                                             r    ADD nomo: Complete ilem
                                                                                                                                                  la or 7b. ll!lllilem 7c      r   DELETE name: Glvo record name
                                                                                                                                                                                   to ba doleied in rtom 6a or Sb

6. CURRENT RECORD INFORMATION: Complete for Party lnformalion Chango• provide only one neme (6a or 6b)
          6a, ORGANIZATION'S NAME

OR
          6b INDIVIDUAL'S SURNAME                                                                  I   FIRST PERSONAL NAME                                   IADDITIONAL NAME(SYIN!TIAL(S)             SUf'FI)(



7. CHANGED DR ADDED INFORMATION: Complete for Assignment or Party Information Change - provide only~ name (7a or 7b) (use exact, full name; do not omit, modiry, or abbrevialo any parl of tho
    Deblo~, name)

          7a ORGANIZATION'S NAME
          McCormick 107, LLC
          7o. INDIVIDUAL'S SURNAME

 OR
               INDIVIDUAL'S FIRST PERSONAL NAME



               INDIVIDUAL'S ADDITIONAL NAME(S)IINITIAl(S)                                                                                                                                              SUFFIX



 7c MAILING ADDRESS
    11350 McCormick Road, Suite 902
                                                                                                   IHunt Valley
                                                                                                       CITY                                                  IMD I21031
                                                                                                                                                                 STATE       POSTAL CODE               COUNTRY
                                                                                                                                                                                                       USA

 8.   I     COLLATERAL CHANGE: AlsocheckW2of lhesefourboxos:
      indicate collat~ral:
                                                                                 r   ADD oolloleral    r      DELETE collateral    ·r      RESTATE covered collateral    r   ASSIGN collateral




 9 NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only Q!l2 name (9a or 9b) (name of Assignor. if lhis is an Assignment)
         If this is an Amendment aulhorizad by a DEBTOR, check hare rand provide name of authorizir,,g Debtor

           a. ORGANIZATION'S NAME
           Bank of Manhattan, N.A.
    OR
           b. INDIVIDUAL'S SURNAME                                                                     I
                                                                                                       FIRST PERSONAL NAME                                    I  ADDITIONAL NAME(S)/IMITIALIS)         SUFFIX



    1 O. OPTIONAL FILER REFERENCE DATA:
                       CA SOS

FILING OFFICE                COPY




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                                                                  ••1 BANK of
                                                             ::i•• MANHATTAN
                                                                   PROMISSORY NOTE
         Principal·· • . · C:oan' Date.             Maltlflty,            ;:l!oa"rl' f{o ·.. :. . Crill/·.con ~ :        . Account :         , Officer'      l'l!tlals ·
    · $363''u4·tfaa·;·""'" (6at2tJ21Jj)f' oif:22;2021'' .,.·- ~-                ~s~·.r--:, ~--·. -···.'. ·•· •. ~- . _ · ·:,,-· · ·- ·-, ': · · bw :"' :-r- :.: ....,..~,
         Ri!Jefi!oce~,ln the·bD)(e·s- abov~ are-for Lcnder:'s )Jse ontr, and..4p no.t ih:nll':ihe appllcablllty of t/iis document to any partlculerloan or:!iem.
                                        An Item above <Xentalnin • •~•... t;as been omitt~ duo to text Jen th llmilaHons.

    Borrower:         Hero Nutritlonals, LLC                                             Lender:             Bank of Manhattan, N.A.
                      991 Calla Negoclo                                                                      Pasadena Office
                      San Clemente, CA 92673                                                                 19!I Sou1h Los Ro bh•• 4 venue
                                                                                                             Suite 130
                                                                                                             Pasadena, C.t. 91101


      Principal Amount: $303,040.63                                                                                        Date of Note: August 22, 2014
      PROMISE TO PAY. Hero Nutritlonals, LLC ("Borrowor") promises to pay to Bank of Manhattan, N.A. ("Londer"), or oroer, In lawful money of the
      United States of America, the principal amount of Thrcn Hundred Throo Thousand Forty & 63/100 Dollars ($303,040.63), together with lnlermil
      on the unpaid principal balance from Augu st 22, 2014, calculated n described In t he "INTEREST CALCULATION METHOD" pngr1ph using on
      interest rate of 5.590%, unUI paid In full. Tho Interest rate may change under the terms and conditions of the " INTEREST AFTER DEFAUt.,
      section.
      PAYMENT. Borrower wm pay this loan In 84 payments of $4,379.58 each payment. BorTOwer's flrst payment 11 duo Soptcmbar 22, 2014, and
      all -subsequont payments are due on the same day of eoch month after thaL Borrower's flnal payment will bo due on August 22, 2021 , and will
      bo for all principal and all accrued Interest not yet paid. Paymonts Include principal and lnteresL Unless olherwlMi agreed or required by
      appHcable law, payments wUI be applied flm to 8Jly accrulld unpaid Interest ; then to principal; then to any late charges; lhtn lo any unpaid
      colleclion costs; and than to arry e&crow or rnerve account paymonts as required under any mortgage, deed of trust, 01' other security
      Instrument or security agreement securing this Note. Borrower will pay Lender at Lender's addran shown above or at such other place as
      Lender may dnlgnate In writing.
      INTEREST CALCULATION METHOD. lntera&t on th.ls Note Is computed on a 365/360 basis; that Is, by applying the ratio of tho Interest rata
      over a year of 360 days, multiplied by the outstanding principal bala~. multiplied by the actual number of days tho pnnc!p.il balance 11
      outstanding. All lntenu;t payable under this Note Is computed using this method. This calculation method tesults In a higher effactive lntersst
      rate than the numeric lnto,est rate statod In lhls Note.
     PREPAYME.NT; MINIMUM INTE~ST CHARGE. In any evonl. even upon full propaymenl of this Note, Bon-ower understands that Lender Is
     oniltled to. a. minimum ls,to~l)litl. c_h<!Tlll' of.'$ 10O:00. Other than Borrower!s qbUgallon·    \o pay any mi,iimum lnl~rest 1.l)arge, Borrower may pay
     without penally all, 01 a ·port\on ,of· the atno,uJ'lt owep earlier -than' rt ls"due. Ear;ly payments ,will not, unless--agreed·-lo by ,Lender In wr\tlng, relieve
     Borrg.wer,of BorTD~er's ob!(se1m to continue-tomako pay~ uoder the ~yment schedule. Rather. earty,payment!l will reduce the principal
     balance due and rriay msult iri Bom:,wer's making fewer pa)l!nenls, Borrower agreos not to send Lender payments ma11«1d "paid In full",
     "without recourse•. or similar language. If Borrower sends SU-Oh a payment, Lender may acxept it without losing any of Lender'a rights under
     this Noto, and BoJTOWer will remain obligated to pay any further amount owed to Lender. All wri~n communications coneeming disputed
     arnounl&, Including any check or other payment !nsuumont that l11dlcatas that the payment ~onstltutes "payment In full" of the amount owed or
     that ls tendered with other conditions or llmltatlons or as full satisfaction of a disputed amount muat be malled 01' dellvaced lo: Bank of
     Manhattan, NA; Paaadena Office; 199 South Los Robles Avenue; Sullo 130; Pasadena, C.t. 91101.
     LATE CHARGE. If a payment is 10 days or mo<e late, BCITOWeC' will be chatged 6.000% of the unpttld poJtlon of the regula1ly scheduled
     payment or $25.00, whichover Is greater.
     INTEREST AFTER DEFAULT. Upon default. (he interest rate on this Note shall, if permitted under applicable law. immediately increase by 5.000
     percentage points.
     DEFAULT. Each of the following shall oonslilute an event of default ("Event of Default") undsr this Note:
          Payment OofaulL Borrower falls to mal<e any pa~nt when due under thls Nole.
          Other Cklfaults. Bonower fails to comply wilh or to perform any olher term, obligation. covenant or condition conlained In this Note or in
          any of the related documents o r to comply with or to perform any term. obllgallon, covenant or condition contained In any other agreement
          between Lender and 801TOwer.
          Default in Favor of Third Partie•. Borrower or any Grantor defaults under ooy loan, extension of credit, security agreement, purchase or
          sales agreement, or any other agreement, in fawr of any other Ctllditor or person that may materially affect any or Borrower's property or
          Bo/T'OW8r's abi!ity to repay this Noto or perform Borrower's obligations under this Note or any of the related documents.
          False Statements. Al1y warranty, representelion or slatement made or furnished to Lender by Botrower or on Borrower's behalf under this
          Note or the related documents is false or misleading in any material respect. either now or et lhe time mad a or furnished Ol" becomes false
          or misleading at any lime thereafter.
          Death 01' Insolvency. The dissolution of Borrower {regardless of whether elect!on to continue I& made). any member withdraws from
          Bom>wer. Of any other termination or BOITT>wer's existence as a going business or the death of any member. the Insolvency or Borrowet,
          the appointment of a receiver for any part of Borrower's property, any assignment ror the benefit of creditors. any typo of creditor workout,
          or Iha commencamenl of any proceeding under any bankruptcy or insolvency laws by or against Sorrower.
          Creditor or Forfeituro Ptoccodings. Commencement of foreclosure or forfeiture proceedings, whether by Judicial procaeding. self-help,
          repossession or any 0Ihar molhod. by any creditor or Bomiwer.,OI' by ~"Y. governmental agency against any collateral secoriflg the loan.
          This includes a gamlshmont of any o f Borrower's accounts. indudlng deposit accoi.lnls. with lender. However, lhls Evelll or Default shaU
          not apply if lhere Is a good faith dispute by Borrower as to the validity or reasonableness of tho daIm which is the basis of the creditor or
          forfeiture proceeding and if Borrower gives Lende, wrillen notlce or the credi_tor or rorfeiture ptoceeding and doposilS with Lender monies 0f
          e surety bond for Iha credttor or forfeiture proceeding, In en amounl detennlned by Lender. In its sole discretion, as bei'1:) an adequate
          reserve or bond for the dispute.
         Event.. Affecting GUDrantor. Any of the preceding events occurs wUh respect to any Guarantor of any of the indebtedness or any
         Guarantor dles or becomes incompetent, or revokos or disputes the valldity of, or fiability under. any guaranty of Iha indebtedness




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           evidencad by 11'\is Note.
           Adverse Change. A material adverse change occurs in Borrower's financial condition, or Lender bslieves lhe prospect of payment or
           perlonnance of this Note la impaired.
           lnMi;urity. Lender In good faith believes Itself insecure.
          Curo--P"ravbloris. Ir any, &rauft. other lhan a defatilt·in P,ilyr'/)9nt is"cilr,abl,e el'.l4;_! )r Bofl'ower has· not been given a notice or a' bream of'~e
          same provi$lon or this NO!o wll!Jin Iha peecedlng:_~lve (l.2) month_s. ll may..be cu_red ir Borrower, after Lender se!J$ .writ~n noUc~:to
          Borr~~:d~f'/1.andlng qure-or su<;h-_de.fau1t: (1 ). ctl{es the default wi!hln "filleen ( 15)-days; or ·(2) }f the cure requires J!!Oro tlian·1mo11n· (15)
          day;s, fmmedlat~ly, .l~l.tliite·s s_t~ps wtil¢1'd,ander deen;i.s In: l'en~er's sole• dlscrelloh    to      be sufficient to cure lh!i .ce!oull, an<! 11,erea(l~r
          conUrlues an<f-completes all reasoQable and: Oec&$Scl/y'$1ops,suflicte_nt-to- pro(!~·compllance as s~n·as reasonably practlcal.
     LENDER'S RIGHTS. Upon default, Lender may declare the entire unpaid principal balance under this Noto and all accrued uripald Interest
     lmmedfately due, and then Borrower will pay that amount
     ATTORNEYS' FEES; EXPENSES. Lender may hire or pay someooe else to help collect this Note If Borrower does not pay. Borrower wlll pay
     lender that amount. This lndudes, subject to any limits under aPP!lcable law, Lender's attorneys' recs and Lender's legal expenses, whether or
     not there Is e lawsu!t, including attorneys' fees, expenses for bankruptcy proceedings (including efforts to modify or vacate any eulomalic slay
     0< Injunction), end appeals. Borrower also will pay any court costs, In addition to all other sums provided by law.

     JURY WAlVER. To the extent permitted by appllc:able law, Lender and Bon-ower horvby waive the right ID any Jury b1al In any action,
     proceedi ng, or c:ounten:lalm brought by eilhor LendOf or Bon-owor agal n•1 Iha other.
     GOVERNING LAW. This Nole wlll be governed by federal law applicable to Londor and, to the extent not proompled by federal law, t he laws of
     the Stato of California without regard to its confllc:13 of raw provlsJona. This Note has been accepted by Lender In the State ot California.
     CHOICE OF VENUE. If there is         e   lawsuit. Borrower agrees upon Lender's request lo submit lo the jurisdlclion of the               courts o f   Los Angeles
     County, State of Callfomla.
     DISHONORED ITEM FEE. Bcnuwef' will pay a lee to Lender of $20.00 If Borrower makes '" paymenl on Borrower's loan and the cliecil or
     presuthorized charge with which Booower pays is later dishonored.
     RIGHT OF SETOFF. Tn,ttie Bl!ient permitted J?y;app,li~bt~JaW. 'ken~er .reser.vas. a pgnt_of seloff In .?II Bqi:rower's accounts w ith Lend81" (whelher
     checldng, savings, or some Qiher account)'. ii,Js,lnoludesJll-spoounts-8of!9"feT holds Jp.lnUy wi_lh .som~·r ie else and all accounts Borrower may
     open in 1he future. HO",Wver·i lhls doe_s not lnc!_ude !30~ _IRA -or Keosih accoonts1 or any. trusl-accounts for which setoff would be prohibited by
     law. Borrower authorizes !,arider, tq lh~.e~ent:permllled-l;iy.llppll_i:able law, to charge Of serorf all sums awing on the Indebtedness against any
                                                                                                                               to
     and all such accounts, and;,:al--L.e nd(!{s opllojl,-,t~-ii<lmlhtstrplN.elY. rtj!~i!! all such accounts to ·l!l,low Le~J?r• protect Lender's charge and setoff
     rights provided In this paragraph.
     COLLATERAL Borrower acknowledges this Note Is secured by the following colialernl described In the security Instrument llsled herein:
     collateral described in a Convnerclal Security Agreement dated August 22, 2014.
     SUCCESSOR INTERESTS. The lerms of this Note shall be binding upon Borrower, and upen Borrower's heli'S, pe=nal representaUves,
     successors and assigns, and shall Inure to the benefit of Lender end ils successors and assigns.
    NOTIFY US OF INA CCURATE INFORMATION WE REPORT TO CONSUMER REPORTING AGENCIES. Borrower may notiry Lender Ir Lender
    reports any inaccurate Information about Borrower's account(s) lo a consumer reporting agency. Borrower's written nolice descflblng the
    specific lnaccuracy(ies) should be sent to Lender at the following addross: Bank or Manhattan, N.A., Pasadena Office. 199 South Los Robles
    Avenue, Suite 130, Pasodon::J, CA 91101 .
     GENERAL PROVISIONS. If eny part of this Note cannot be enforced, this fact will not affect the rest of the Note. Lender m~ delay or forgo
    enrorcing any or Its rights 0< remedies under this NOie without losfng th"em: Bcn'O\'JtY."a¢·any olher,pf!rson who signs, guaranle<!s or.endors_es
     this Nole, to the axtonl allowed by law, waive any applicable slatute or fimllaUons, -i,:resentmenl, demand for pa.YfliBnl, and nolk:e of•dlshooor.
     Uppn ~ny change In the -!~rms or this Nqte. and !,fl'lless·otherwlse-expre.ssly stated In writing, n,> party wno slgns-lhl;s NoJe, \~helher- miiker,     as:
    gua·r anror, acconimodaUon , malw or- ~rJdqrs111;, slial1'1,b13 reloas!J.d from liabillly, All such pa-,.lles agfee lhal, l,.ender',(My" re~ or.:' e~en,~.
    (repealedly and ror any, length of lime) th(s Jo~ 1or·ro)easci ·any p;;irty or gu~ntor or collaleraJ; or lmpair,_.fall to realize upon or perfect Lcnc:lo~:s
    security in:ersst In the .conateral; and lake.any._othi!r adl6n' de~IJ\lKI necess:al)' by ,Lender without the consent of or nolic:e to anyone-. NI' such
    p~les qlso -agree that Lcnder·may modlfY; this loan wilho0t the consent or or notice lo anyone.olher ltJan the' p_       a rty with whom the_ mcx!lfie;,UQn
    is macle. l'he c;ibllgaUorw Uni:ler this Nqte·ara 'joint' _and..several.
    PRIOR TO SIGNING THIS NOTE, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS NOTE. BORROWER AGREES TO THE
    TERMS OF TME NOTE.
    BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSORY NOTE.

    BORROWER,




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                                             ALLONGE

             ALLONGE to be attached to and made a part of that certain Promissory Note in the
     original principal amount of Three Htmdred Three Thousand Forty and 63/100 Dollars
     ($303,040.63) dated August 22, 2014, (Loan Number alil400l) made by Hero Nutritionals,
     LLC, and in favor of Pacific Premier Banlc, successor-by-merger to Plaza Bank, successor-by-
     merger to Bank of Manhattan N.A., as renewed, amended, or modified.

            Pay to the order of McCormick 107, LLC, a Maryland limited liability company, without
     representations, warranties or recourse,



                                                PACIFIC PREMIER BANK


                                               By:
                                               Name:
                                                              L t) ~~t,,,)
                                               Title:
                                                Date:       Mu)" I      , 2019




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   Exhibit 21




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                                                              •••••        J
                                                              ■■I          MANHATTAN
                                                 COMMERCIAL SECURITY AGREEMENT

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    -- 3 0.,-O-it0:.63:      ,0_o::22~20f4.. uB.,:-22::-2 02'1.                                        :         ,      -· _   ~   · · :- - .., :20,W          -       .:.. ·
         References 1n 'the to)tes obove a_re for L.endef's use,-onl,>.'. afld do 1:10~.l!rnii the·applic.,6nlty,o f thl;i ,dp~ument to any partictdar loan or item.
                                     An item above con!alna           ,...,_... hllS been omftled' due J:p· text length Umltatlons.

    Grantor:          Haro Nutrillooala, LLC                                              Lender:            Bank of Manhattan, N.A
                      991 Ca Ile Negcx:io                                                                    Paudenil Office
                      San Clemente, CA 92673                                                                 199 South Les Robles Avenue
                                                                                                             Suite 130
                                                                                                             Pasadena, CA 91101



      THIS COMMERCIAL SECURllY AGREEMENT dated Augu,t 22, 2014, ls made and executed between Hero Nutrltlonals, LLC l~Grantor'') and
      Bank of Manhattan, N.A. ("Lender').
      GRANT OF SECURITY 1/fTEREST. For v ;,luable consideration, 0..an(or grnnta to lender a aocurily inlenist In the Collatenl lo secure lt!o
      lndabtedna59 and agrees that Lender !.hall have the rights stated In this Agreement with respect to tho Collateral, in addition to all other tights
      which Lander may have by law,
      COLLATERAL DESCRIPTION. The word "Collateral" es used in this Agreement means the rollowing described property, whether now owned or
      herearter acquired, whether now existing or herearter arising, end wherever localed, in which Granter Is giving to Lender a security Interest tor
      the payment of the lndeblednoss and performance of all other obligations under the Note and lhis Agreement;
          Collateral a.s deecribad per El<hibit A
      In odditlon, the word "Collateral" also inciudes all the following, whe1her now owned or hereafter acquired, whether now existing or hernafter
      arising, and wherever located:
          (A) All accessions, attachments. i!GCessories, raplecements of and additions to any Of the collateral described herein, whether added now
          or later.
          (B) All produe1s end produce of any of the property described in this Collateral section.
          (C) All accounts. general intangibles, Instruments, rents. monies, payments. and all other rights. arising wt of a sale, lease, consignment
          or othoc disposition of any of the property described in this Collateral section.
          (0) All proceeds (Including Insurance procesds) from Iha sate, destruction, loss, or other dlspos!tlon of any of the property descnbed in this
          Collateral section, and sums due from a lhlrd party who has damaged or destroyed the Collateral or from Iha! party's insu1er, whether due
          to judgment, setttement or other process.
          CE) AU records and dala relating lo any of the property described in this Collateral section, whether In the form ot a wriling, pholograph,
          microfilm, microfiche. or electronic media. 1ogether with an of Grantor's right, title, and interost In and to au computer soflw-are required to
          utilize, create, maintain, end process any such records or data on electronic media.


     CROSS-COUATERAUZATION. In addition to the Note. this Agreement secures all obligallons. debts and liabilitles, plus Interest !hereon, or
     Grantor to Lender, or any one or mom of them, as well as aD c!alms by Lendor against Grantor or any one or more or them, whelher now
     existing or hereafter arising, whelher related or unrelated to the purpose of the Note, whether voluntary or ot/ierwise, whether due or not due,
     direct or Indirect, de!ormlned or undetermined, absolute or contingent, llquidated or unliquidated, whether Grantor may be liable lndlvldually or
     joinUy with othera, whether obligated as guarantor, surety, accommodation party or olherwiae, end whother recovery upon such amounts may
     be or hereafter may become barred by any statute or limitations, end whether lhe obllgaUon 10 repay such amounts may be or herearter may
     become otherwise unenforceable.
     Fl/TURE ADVANCES. ln addition to the Note, this Agreement secures all ruture advances made by Lender to Granter regardless or whether the
     advances are made e) pursuant to a commitment or b) for the ssme purposes.
     RIGHT OF SETOFF. To the extent permitted by applicoble law. Lender rese<ves a r1ght of setoff In all Grantor's accounts with Lender (whether
     checking, savings. or some other account). This includoG all eccountG Granter holds jolnUy with someone else and all aCCOlllls Gran!Dr may
     open in !he future. However, this does not Include any IRA or Keogh accounts, or any trust accounts ror which setoff would be prohibited by
     law. Gran!or authorizes Lender, to the B)t!ent permitted by applicable law. 10 charge or setoff all sums owlng on the Indebtedness against any
     and aa such accounts, and, at Lender's option, to administratively freeze all such accounts to allow Lender to proleci Lender's charge end setoff
     rights provided in this paragraph.
     GRANTOR'S REPRESENTATIONS AND WARRANTIES WT1l{ RESPECT TO THE COLLATERAL With respect lo the Collateral , Granter roprnsents
     and promises to Lend er that:
         Perfection of Socurity lnterul Granter agrees to take whatever actions are requesled by lender to perfect and continue Lender's security
         lnteras! in !he Collateral. Upon request of Lender, Granter will der,ver to Lender any and all of Iha documents evidencing 01 constituting the
         Collateral, and Granter will note Lender's interest upon any and all chattel paper and instruments if not delivered to Lender for possession
         by Lender. Thi" Is a continuing Security Agreement and wlll continue in effoct oven though all a,- any part of the lndeblednus I• paid In full
         and oven though for a porlod of time Grantor may not be Indebted to Lend.,r.
         Nollcas to Lender. Granlor will promptly notify Lender In writing at Lender's address shown above (or such other addresses as Lender may
         designate from Ume to time) prior to any (1) change in Gran1or's name; (2) change in Grantor's assumed business nerne{s): (3) change
         In the management or in the members or managers of the limlted llabillty company Granter, (4} diange in the authorized signerts); (5)
         change in Grantor's principal office address: (6) change in Grantor's state of organization; (7) conversion or Grantor to a new or different
         lype of business entity; or (8) change In any other aspect of Granter that dlrecily or indlredly relates to any agfl!emenls between Granto,
         and Lender. No cliange in Grantor's name or stale of organization will lake erfect until after Lender has received notice.
         No Violation, The execution and delivery of this Agreement wlll not violate any law or agreement governing Grantor or to which Granto, is
         a party, and its membership agreement does not prohibff any tenn or OOOdition o f !his Agreement.




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        Enforceability of Collateral. To Iha extent tho Collateral consists of accounts, chattel paper, or general Intangibles. as defined by the
        Unifonn Comme<cial Code, the Collateral Is enforceable in ac:coroance wi1h its terms, is genuine, and fully complies with al applicable laws
        and regulallons concerning rorm, content and manner or preparation and exeootion, and eD perwns appearing to be obligated on the
        Coflaloral have authority and capacity to contract and are in fact obligated a.s they appear to be on the Collateral. There shall be no setotrs
        or counterclaims against any of tho Collateral, and no agreement shall hevo been mado under which any deduc tions or disCQunts may be
        dalmed concerning tho Collateral excepl those dlsdosed to Lender In writing.
        Location of the Collateral. Except In the ocdlnary course of Grantor's business. Grantor agrees lo keep lhe Collateral at Grantor's address
        shown above or at such other locations as are acceptable to Lender. Upon Lender's request, Grantor will dellver to Lender in form
        satisfactory to Lender a schedule o f real properties and Collateral locations relating to Grantor's operaUons, inolvding without limitation the
        followfng: (1) all reel property Grar,lor owns or 15 purchasing; (2) all real property Grantor Is renting a leasing; (3) ell storage facilities
        Grentor owns, rents, leases, or uses; and (4) all other properties where Collateral is or may be located.
        Removal of the Collateral. Except in the ordinary course of Grantor's business, Granlor shell not remove tho Collateral from its existing
        location without Lender's prior written consenl Granlor shall. whenever requested, advise Lender o f the exact location of the Collateral.
        Transactions Involving Collateral Except for inventory sold or accounts collected in the ordinary course of Grantor's business, or e&
        otherwise provided for In this Agreement, Grantor shall not sell, offer to sell, or otherwise transfer or dispose of the Collatoral. Grantor
        shall not pledge, mortgage, encumber or otherwise permil the Collateral to be subject to any lien, security Interest, encumbrance, or
        charge, other then the security Interest provided for In this Agreement, without the prior w ritten con.sent of Lender. This Includes security
        interests even if junior In rlghl to the security interests granted under this Agreement. Unless waived by Lender. all proceeds from any
        disposlllon of the Collateral (for whatever reason) shall be held in trust for Lender and shall not be corrmlngled with any other funds.;
        provided however, this requirement shall nol consUlute .consent by Lender to any sale or other dispositiOn. Upon receipt , Granter shaft
        immediately deliver any sudi proceeds to Lender.
        TIiie. Grantor represents and warrants to Lender that Grentor holds good and marf{etabte title to the Collateral, free and clear or all Uens
        and encumbrances except for the lien of this Agreement. No financing statement covering any of lhe Collateral Is on file In any publfc
        office other than those which renect Iha security Interest created by this Agreement or to which Lender has specmcolly consented.
        Grantor shall defend Lender's rights In the Collateral against lhe claims and demands of an other persons.
        Repairs and Maintenance, Grantor agrees to keep end maintain, and to cause others to keep and maintain, the Collateral In good order,
        repair and conclttlon at all times while this Agreement remains In effect. Grantor further agrees to pay when due all ctelms ror work done
        on, or services rendered or material furnished In connection with the Collateral so that no llen or encµmbrance may evil/ attach to or bo
        filed against the Collateral.
        Inspection of Collateral. Lender and Lender's designated representati11e11 and agents shaH have the right at all re11so11abkl Hmas lo exarr-.ne
        and Inspect the Collateral wherever located.
       Taxes, Assessmenb and Liens. Grenlor will pay when due all laxes. assessments and Hens upon the Collateral, its use or operaUon, upon
       1his Agreement, upon any promissory note or notes evidencing the ln<lebt!l(lness, on,,pon :any of the other Related Documents. Granto,
       may withhold any such payment or may elect to contest ony lien If Gi':intopt~ /n,90¢ ~)ih:'conductlng an appropriate proceeding to contest
       the obligation to pay and so long as Lender's Interest In the Collateral _is not f,eopai'dized In Lender's sole opinion . If tho Collateral Is
       subjecte<I to a fien which Is not discharged within fifteen (15) days. Granlor shall deposit with Lender cash. a sufficient corporate surely
       bond or other security satisfactory to Lender In an amount adequate to provide for the discharge of the lien plus any lnte,est, costs.
       attorneys' fe~ or other charges that could accrue as a result of foreclosure or sale of the Collateral. In any contest Granter shall defend
       itself and Lender end shall satisfy any final adverse (udgment before enforcement against the Collateral. Granter shall name Lender as an
       addltlonal obligee under any surety bond furnished In lhe contest proceedings.. Granter further agrees lo furnish Lender with evidence that
       such ta>ces, assessments, and governmental and other charges have been paid in full and In a timely manner. Granter may withhold any
       such payment or may elect to contest any fien if Grentor is in good faith conducting an appropriate proceeding to contest the obllgatlon to
       pay and so long as Lender's interest In lhe Collalerat Is not Jeoportflzed.
       Compliance with Governmental Requlremenu. Grantor shall comply promptly with all lows, ordinances, rules and regulations of an
       governmental authorities, now or hereafter in effect, applicable to the ownership, produd.ion, disposition, or use of lhe Collateral, Including
       all laws or regulations relating to the undue erosion of hlghly-erodlblo land or relaUng lo the conversion of wetlands for tho production of an
       agricultural product or commodity. Grantor may contest in good faith any such law. ordinance or regulation and withhold comp/lance
       during any proceeding, lnduding appropriate appeals, so long as Lender's Interest in Iha Collateral. in Lender's opln!on. is not Jeopardized.
       Ha:nirdou:s Substances. Granter repn,$8n\s end warrants that the Collateral never h<1s been, and never- will be so long a~ this Agreement
       remains a lien on the Collateral, used in violation of any Env!ronmental Laws or for the generation. manufacture, stor39e, transportation,
       treatment, disposal, release or threatened releese of any Hazardous Substance. The representations and warranties c0<1talned herein are
       based on Grantor's due diligence In lnvesUgeUng the Collateral ror Hazardous Subotances. Grantor horeby (1) releases and waives any
       future delms against Lender for Indemnity or contrfbullon in the ov,mt Granior becomes liable for deanup or other oosts under any
       Environmental Laws. and (2) agrees to indemnify, defend, and hold hannless Lender against any and all claims and losses resul1ing from a
       brea<:h of this provision of this Agreemenl This obrigation lo Indemnify and defend shall survive the payment of the lnde!ltedness and the
       satisfaction of this Agreement.
       Maintenance of Casually ln5urance. Grantor shall procure and maintain all risks Insurance, Including without limitation fire, theft and
       fiabillty cover~e together with such other insurance as Lender may require with respect to the Collateral, In form, amounts, COl.'Of'ages and
       basis reasonably acceptable lo Lender and Issued bye company or companies reasonably acceptable to Lender. Granto,, upon request of
       Lender, wlll deliver to Lender from time to time the ponoes or certilicates or insurance In form satisfactory to Lender. indudlng stipulations
       that coverages w ill not be cancelled or dlmlnl.s hed without et least lwenly-one (21) days' prior written notice to Lender and not induding
       any dlsciaimer of Iha insurer's llabllily for ra~ure to give such a notice. Each Insurance policy also shall include an endoisement providing
       that coverage fn favor of Lender wlll not be impaired in any way by any act, omission or default of Grantor or any other person. In
       connection with all policies covering assets in which Lander holds or is offered a security Interest, Granter will provide Lender with such
       loss payable or other endorsements as Lender may require. If Granter at any lime rails to obtain or maintain any insurance as required
       unclar this Agreement, Lender may (but shall not be obligated to) obtain such insvranco as Lender deems appropriate. Including if Lender so
       chooses "single Interest insuranco,• which will cover only Lender's Interest in the Collateral.
       Application of Insurance Proci,eds. Granter shall promptly notify Lender or any loss or damage to Iha Collateral if the estimated cost of
       repair or replacement e~ceeds $25,000.00, whether or not such casualty or loss Is covered by Insurance. Lender may make proof of loss
       if Granlor fails to do so within fifteen (15) days of the casualty. All proceeds of any Insurance on the Collateral. lncludlng accrued proceeds
       thereon, shall be held by Lender as part of the Collateral. If Lender consents to repair or replacement of Iha damaged or destroyed
       Collateral. Lender shall, upon satisfactory proof of oxpcndilure. pay or reimburse Grantor from Iha proceeds ror the reasonable cost of
       repair or restoration. If Lender docs not consent to repair or replacement of the Collateral. Lender shall retain a sufficient amount of Iha




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           proceeds to pay an of the Indebtedness, and shall pay the balance to Grantor. Any proceeds which have not boon dlsbursod within six (6)
           months after their receipt and which Granter has not committed to the repair or restoration ot Iha Collateral shall be used lo prepay the
           lndebte<Jness.
          Insurance Reserves. Lender may require Granter to maintain with Lender reserves for payment of insurance premiums, whlch reserves shall
          be created by monthly payments from Granter of a sum estimated by Lendor to be sufficient to produce, al least nrtean (15) days bela-e
          the premium due date, amounts al least equal to the insuronce premiums to be paid. If nneen (15) days befora payment Is due, the reserve
          funds are insufficient. Grantor shall upon demand pay any deficiency to Lender. The reserve funds shall be held by Lender es e general
          deposit and shall conslllute a non-lntorest-beartng account which Lender may satisfy by payment of the Insurance premiums required to be
          paid by Granter as they become-due. Lander does not hold the reserve funds In trust for Grantor, end Lender is not the agent of Granter
          for payment of the Insurance premiums required to be paid by Granter. The responsibility for the payment of premkJms shall remain
          Grantor's sole responsibility.
          lmsurnnce Reports, Granter, upon request of Lender, shall furnish to Lender reports on each exlsllng policy of Insurance showing such
          Information as Lender may reasonably request Including the following: (1) the name of Iha Insurer; (2) lhe risks Insured; (3) the amount
          of the policy; (4) tha property Insured; (5) the then current value on the basis of which lnsuranoo has bean obtained and the manner of
          determining that value; and (6) 1he expiration date of the policy. In addition, Grentor sheU upon request by Lender (however not more
          often than annually) have an Independent appraiser satisfactory to Lender determine, as applicable, lhe cash value or replacement cost or
          the Collateral.
          Financing Statements. Grantor authorizes lender to file a UCC financing statement, or alternaUvely, a copy of this Agreement to perfect
          Lender's securily interest. At Lender's reqt1est, Granter additionally agrees to sign all other doet.Jments that are neCfflSery to perfect,
          protect, and rontlnue lender's secur!ly interest In the Property. Granter wlll pay all filing fees, tiUe transfer fees, and other fees and cosls
          Involved unless proh)bttad by law or unless Letider Is required by law to pay sucl1 fees and costs. Grantor Irrevocably appoints Lender lo
          execute documents necessary to transfer t!Ua if there ls a default. Lender may file a copy of this Agreement as a financing statemenL
     GRANTOR'S RIGHT TO POSSESSION. Unlll default. Grantor may have possession of the tangible personal property and beneficial 1.11!8 of all the
     COiiaterai and may use it. rn any law(ul:i'rt?ni;ler not Inconsistent with t~is J.\g(lle_m!:lnt .o'r t11i3, Relat~ oci~m13(1~, pr.0)/l~ed that Grantor's right to
     possession end beneficial u,s e slial1 nol, apply to any Collateral whl!re possession ,of the €o!latC!'ral. by Leriper _        is re:qulred by law to perfect
     Lender's security-interesfin•·such Collateral. Ir lender at any trme has P<?SSE!s5ion or eny 'dirtateral, whather 'bdore·ot after ao Event or Default.
     Lender shaU 119 deemed to lia~ exercised reasonable care in tho custody ancl' preservatJon,of the CollatemJ if ·lender lakes such ection for that
     purpose as Granter shall request or-as Lender, In Lender's sole disefl!tton, shall deem appropriate uncfer the circumstances, but fe~ura. to honor
     any request by Grantor shall not of Itself be deemed to be a failure to exercise reasonable care. Lender shan not be required to take any steps
     necessary to preserve any rights In the Collateral against prior parties, nor to protect, preserve or maintain any security Interest given to secure
     the Indebtedness.
     LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially affect Lender's interest In tho Collateral or If
     Granter falls to comply with any provision of this Agreement or any Related Documents, Including but not limited to Grantor's ranuro to
     dlschllI,le or pay when due any amounts Granter Is roqulred to discharge or pay under this Agreement or any Relale<l Documents. Lender on
     Grantor's behalf may (but shall not be obligated to) take any action U1sl Lender deems appropriate, Including but not limited to discharging or
     paying an taxes, liens, security Interests. encumbrances and other claims, at any lime levied or placed on the Collateral and paying all rosts for
     insuring, maintaining and preserving the Collateral. All such exponditures Incurred or paid by Lender for such purposes will then bear Interest at
     the rate charged under the Nots from the date Incurred or paid by Lender to lhe dato o r repayment by Grantor. All such expenses will become a
     port of the Indebtedness and, at Lender's opUon, will (A) be payable on demand; (B) be added to the balance of the Nole 8lld be apportioned
     among and be payable with any Installment payments to become due during either (1) Iha term o f any applicable Insurance policy; or (2) the
     remaining term of the Note; or (C) be treated as a balloon payment which will be due and payable et the Note's maturity. The Agreement also
     will secure payment or these amounts. Such right shall be in addition to all other rlghls and remedies to which Lender may be entlUed upon
     Default.
     DEFAULT. Each of t he following shall constitute an Event of Default under this Agreement
         Payment Default. Gran tor rails to make any payment when d~e under the Indebtedness.
         other 0ofaulls. Granter falls to comply with OJ to perform any other tam,, obllgetlon. covenant or condition contained In this Agreement or
         In any of the Related Docurnenls or to comply with or to perform any term, obllga1lon, covenant or condition contained in any other
         agreement between Lender and Granter,
         Default In Favor of Third Parties. Any guarantor or Grantor defaults under any loan, extension of credit, security agreement, purchase or
         sales agreement. or any other agreement. in favor of any other creditor or pOfSOn that may materially affect any ot any guarantor's or
         Grantor's property or ability to perform their respective obligations under this Agreement Of any or the Related Documents.
         False Statements. Any warranty, representation or s1atement made or furnished to Lendor by Granter or on Grantor's behall under this
         Agreement or the Related Documents Is false or mlsleadlng In any material respect, either now or at the time made or furnished or becomes
         false or misleading at any time thereafter.
         Defective Collamralizatlon. This Agreement or any of the Related Documents ceases to be In fuH ron::a and effect (lndudng failura of any
         collateral document to create e valid and perfected security inlerest or lien) at any time and for any reason.
         Insolvency. The dlssolunon or Granter (regardless of whether election ID continue is made), any member withdraws from the limited
         llabUlty company, or any other termination or Grantor's existence es a going business or the death of any member, lhe Insolvency of
         Granter, the appointment of a receiver for any part of Grantor's property. any assignment for the benefit of creditors, any type of creditor
         workout, or the commencement o r any proceeding under any bankruptcy or insolvency laws by or against Granter.
         Creditor or Forfclturu Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
         repossession or any other method, by any creditor or Granter or by any governmental agency against any collalersl securing the
         Indebtedness. This includes a garnishment of any of Grantor's accounts, including deposit ocoounts, with Lender. However, this Event or
         Default shall not apply if there is a good faith dispute by Gnanlor as to the validity or reasonableness of the claim which is the basis of the
         creditor or forfeiture proceeding and if Grantor gives Lender written notice or the crodilor or forfeiture proceeding and deposits with Lender
         manias or a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, In Its sole discretion, as being an
         adequate reserve or bond for lhe dispule.
         Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any or the Indebtedness or Gueranlor
         dies or becomes Incompetent or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
        Adverse Change. A materlal adverse change occurs in Grantor's nnancial condJtion, or lender befieves the prospect of payment or
        performance of the Indebtedness Is Impaired_




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                                                   COMMERCIAL SECURITY AGREEMENT
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          lnseciirity. Lender ln good fa ith believes ilself Insecure.
         Cure Provisions. If any default, other than a default In payment is curable and If Graritbr _hi:ls i)o\ bee'n._given. a notice .ol a breach oJ: the
         same provision of this Agreement within the preceding twelve (12) months, it may be cured Jr Grantor. afler Lendor ~ri9s.wrllle!l 'notice to
         Grantor demanding cure of such default: (1) ~es the default within rmoen (15) days: or (2) if the cure ·requlres·,nore 11\an firte.en· (1.6)
         days, lrrvnedlately initiates steps which Lender deems in !:ender's sole discretion to be sufficient to· cure the defau~ and thiireaftet
         contlnues and completes all reasonablu and necessary steps sufficient to produce compllance as soon e:1 ·reasonably practical.
     RIGHTS AND REMEDIES ON DEFAULT. If an Event or Default occurs under this Agreement, at any lime thereafter, l ender shall have all tho
     rights or a secured party under the California Uniform Commerclal Code. In addition al'\d without limitation. Lendor may exercise any one or
     more of the following rights and remedies:
         Accelerate Indebtedness. Lendor may declare the enllre Indebtedness. Including any prepayment penalty which Granto, would be required
         to pay, immedlalely due and payable, without notice of any kind to Grantor.
         Assemble Collateral lender may require Grantor to deliver to Lender all or any portion or the Collateral and any and an certlflcetes of tltlo
         and other documents relating to the Collateral. Lender may require Granter to assemble the CoDateral and make It available to lender at a
         place to be designated by Lander. Lender also shall have full power to enter upon the property of Granter to take poss8$Slon of and
         remove the Collateral. If the Collateral contains other goods not covered by this Agreement al the lime of repossession, Granter agrees
         Lender may take such other goods, provided lhat Lender makes reasonable efforts to return them to Grantor after repossesslon.
         Sell the Collateral. Lendor shall have ruff power to sell, lease, transfer,   °'
                                                                                      otherwise deal with the Collateral or proceeds thereof In Lel'\der•s
         own name OI' that of GrantOI'. Lender may sell the Collateral at public auction or private sale. Unloss the Collateral thn:atens to decline
         speedily In value or is of a type cuslomanly sold on a recognized market. Lender wm give Granter, 3nd other persons as requlrad by law.
         reasonable notice of the Ume and place of any public sale, or the time after which any private sere or any other disposition of the Collat.eml
         ls lo be made. However. no notlce noed be provided to any person wh o, after Event or Default occurs, enters into and authenticates an
         agreement waiving that person•s right to notiflcallon of sale. The requirements o r reasonable notice shall be met if such notlco is given at
         least ten (10) days before the time of the sale or disposition. All e"penses relating to the disposition of the Collateral. ~ ding without
         limitation Jhe expenses o r retaking, holding, insuring, preparing for sale end selling the Collateral, shell become a part of the Indebtedness
         secured by this Agreement and shell be payable on demand. wilh Interest at the Note rate rrom date of expenditure untll repaid.
         Appoint Receive,-. Lender shall have the right lo have a .re~~vor apP,Pint~:io· t;iJkifROilse.sslon of all or any.A Aflof tlie .Conateral, .Wi.lh t!lft'
         power to protect and preserve the Collateral. to operate the Collateral preceding roreclos.ure or sale. and to oone'ct 'Jl)e renls: fr;em the'
         Collateral and apply the proceeds, over and above the oosl of the receivership, against the Indebtedness. The receiveiinay: serve .wJU'iot.it
         bond if permitted by law. lender's right to the appointment or a re~lver-shall, exist whether or not lhe·.appnrent.valae-ol the .Co!la1eral
         exceeds the Indebtedness by a substantial amounl Employment by Lender Shall not disqualify a person from serving as a receiver.
        Collect Revenu~, Apply Accounts. Lender, either Itself or through a receiver. may collect the paymenlS. rents, Income, aod revenues from
        tho Collateral. Lender may at any time in Lender's discretion transfer any Collateral Into Lender's own name or that o r Lendel's nominee
        and receive the payments. rents. Income. and revenues therefrom and hold the same as security for the Indebtedness or apply it to
        payment of the Indebtedness in such order of preference as Lendor may determine. In.sorer as the Collateral consists o r acoounts, general
        intangibles, Insurance policies, instruments, chattel paper, choses In action, or similar property, Lender may demand, collect, receipt for,
        settle, compromise. adjust, sue for. foreclose. or realize on the Collateral as Lender may determine. whether or not Indebtedness or
        Collateral is then due. For these purposes, Lender may. on behalf of and in the name of Granter. receive, open and dispose of mall
        addressed to Grantor, change any address to which mail and payments aro to be sent; and endorse notes, checks, dra11s. money orders,
        documents or title, instruments and Hems pertaining to payment, shipment, or storage of any Collateral. To facllltale collection, Lander
        may notify aCGOunt debtors and obllgors on any Collateral to make payments directly to Lender.
        Obt ain Deficiency. If Lender choosos to sell any or oil or the Collateral, Lender may obtain a Judgment against Granier for any derlCiency
        remaining on the Indebtedness due lo Lender al\ar appllcallon of all amounts received from the exercise of the rights provided In this
        Agreement Granter shall be liable for a deflcrency even if the transaction described in this subsecticn (s a sale of accounls or chattel
        paper.
        Other Ri ghts and Remedios. Lender shall have all the righls and remedies of a secured creditor under the provisions of the Uniform
        Commercial Code, as may be amended from time to lime. In addition, Lender shall have and may exercise any o r all other rights and
        remedies it may have available at 18W. In equity. or otherwise.
        Election of Romedles. Except as may be prohibited by applicable law, ell of lender's rights and remedies, whether evidenced by this
        Agreement, the Related Documents, or by any other writing, shall be cumulative and may be exercised singularly or concurrently. EJecUon
        by Lender to pursue any remedy shall not exclude pursuit of any other remedy, and an electlon to make expenditures or to lake action to
        perform an obligation of Grantor under this Agreement, a~er Grantor's failure lo perform, shall not offect Lender's right lo declare a default.
        and exercise its remedies.
    MISCELLANEOUS PROVISIONS, The followlng miscellaneous provisions are a part of this Agreement:
        Amendmanls. This Agreement. together with any Related Documents. constitutes the entire understanding and agreement of the parties
        as to the mattars se1 forth In this Agreement. No alteraUon or or amendment to this Agreement Shall be effective unles!l given In writing
        and signed by the party 01' parties sought lo be charged or bound by the alteration or amendment
        A ttorneys• Fees; Expenses. Granter agrees to pay upon det'T18nd all or lender's costs and e"penses. Including Lender's aHomeys' rees and
        lander's legal expenses, incurred in connection with the enforcement of this Agroernent: lender may hire or pay someone else to help
        enforce this Agreement, end l3ranlor shall pay tho costs and expenses o r such enforcement. Costs· and expenses Include Lender's
        allorneys' fees and legal expenses' whether or not there is a lawsuit, Including · attorneys' fees and legal e"penses for bankruptcy
        proceedings (including efforts to modify or vacate any automatic stay or lnjun~n), appeals, and any anllclpat&d post-Judgment collection
        services. Granter also shell pay an court costs and such add!llonal fees as may be directed by the court.
        Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not lo be used to interpret or define the
        provisions of this Agreement.
        Gov erning Law. This Agreement wrtl be governed by federal Jaw applicable to Lender and, to Iha extent not preempted by f'ederal law, the
        laws or the State of California wllhout regard to its conflicts or law provisions. This Agreement hn boen accopted by lsnder In Ute Stahl
        of Callfomla.
        Choice of Venue. If there Is e laws uit. Granto, agrees upon Lender's request to submh to the jurisdiction of the courts o r Los Angeles
        County, State or CallJomia.
        Preteronco P3yments. Any monies Lender pays becouse o f an assert8Cl preference Claim in Grantor's bankruptcy w ill become e part o f the




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                                                    COMMERCIAL SECURJTY AGREEMENT
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          lndebl&doess and, at Lender's option, shall be peyallle by Grantor as provided in this Agreement.
         No Waiver by Lander. Lender shall not be deemed to have waived any rights under this Agreement unless such wakrer Is given in wrlUng
         and signed by Lender. N9 delay or omission on the part of Lendll( i(l oxercising.,any right stiall 9P.erate            .as
                                                                                                                                 ~ .\wlver-of ~ riQhl-°' any
         olhar rlgtil. A wblyer~y Lehder of a p·rq'l~1on of this Agreement ~all not prejudice or. conslilute a walv.er. o.( Lehd~r',;. rl!jjt .o tf'ieiwlsa ·t0
         demand sin.c t compnance.-wiJh thlit provision o( any· ottier provlston or this Agreement N.o prior waiver by lender. nor any -·c ou~ of
         dealing between t oncfiir and "Grantor,. shall'c:ons\itlJte a-waiver of.:llny or !:ender's righis or of'any of. Gi:antor's obligations.es to-any future
         transacllons. Wheriever tho.consent of lender·ls required under ll)ls P,ig~l!:ment, the grim«ng:of svch •_~ n t b>'·t;e,r;,d.ei In 1!_ny..l115tanc.e
         shall not constlti.rts oonllnulng consent to subsequent Instances .w hara ·such consent!~ retjul(lltl, and ln _all·. aises spi:IJ,cpnse_tlt tni:Jy' be
         granted or withheld rn lhe sole disaetlon of Lender.
         Noticos. Any notice required to be glven under this Agreement snan be'~illen in writing, and shall bQ effective w~n--actuafy.,peli11ered,
         when actually received by telefacsimlle (unless otherwise requlred;'b)' l!!w). when deposited with a ~tl~ny (~lze~ c,,,e_              m tghl coyri!!f·,
         or, If mailed, whon deposited In the United Stales mail, as Rrst class, .certmed oi,roglste.re.d mailJ>ostago P(epaR!, dliei:;tod,tcf lhe",1ildre5¥s
         shown near tr.a beglrji)ing or·th1s Agr(!em'erit: Any party mai thango Its address for .noliCE!S' underthls.ligreement bY,:givtng:fon-rjat 'wrftten
         notice to lhe other par'.ies. specifying that the purJ)(1S8 of-the no!lce is to ~ e the party's ~ddrass. For poUce purposes. Grantor agrees
         to keep Lender Informed at all times or•Grar)lot's curi'e_n!,'acklre~.- tJnles.:s.olherwl~' provided br. req,u ired by lpw, if Uiem is more' than ~
         Granter. any nqllce glve·n t,y1Londer to any.·Grantor is.deemed iobe nollce given lo all Granters.
         Powor of-Atfomoy. Grnritor her.eby oppolo_!s. l,en&r .as Grnntot';; -trre'l~le attorney-In-fact for lhe purpose o f executing any documents
         necessa,y lo perfect,   amend, o,- to conllnue: lhe s!lGW'ity lnter~t'.granted-ln this Agreement or to demand termination o( filings of other
         ~cured paitles. te"!(!er may at any time, and without furtherau_Uiori:tatlon from Grantor, file e carbon, photographic or other reproduction
         df,1my linan·sIn9,slate,:nent or o f this Agre.emenl for"u:Se, as a financing statement. Grantor wilt reimburse Lender for all eKpenses for the
         perfectlon-al)d the contiriuo!lon bf the par1E(cilon or Lend~r's ~ecurlty Interest in the Collateral.
         Walvor of Co-Obllgor's Rights. If more than one person is obligated for the Indebtedness, Granter Irrevocably waives, dlsdaims and
         relinquishes all clolms against such other person which Granto, has °' would otherwise have by virtue of payment of the Indebtedness or
         any part thereof, spec!lically lnduding but not limited to all rights of lndemilty. contribution or exoneration.
         Severabillty. If a court of competent jurisdiction finds any provision of this Agreement to be Illegal, Invalid, or unenforceable as to any
         circumstance. tho! finding shel.I not mako the offending provision Illegal, invalid, or unenforceable as to any other crcumstance. If feasible.
         the offending provision shall be considered modified so that it becomes legal. valid and enforceable. If the offending provision cannot be so
         modified, It shall be considered deleted from this AgreemenL Unless otherwise required by law. the Illegality, invalidity, or unenforceablllty
         of any provision or this Agreement shall not affect the legality. validity or enforceability of any other provision of !his Agreement.
         Suceossors and .Assig)U. Sub,lecl to M';J tlmilatlorts staled ' in !llis Agreement on transfer o r G~nlo(s Jnte,:esl. lh!s Agreerperil shall be
         binding upon and Inure to the benam o r the parties. their ·s u~sors and assigns. If ownership ·of Ille'. eollateral ~ v~ted in a
         !i~r~. othiir than Granto~. L~n.de,r. Wltl:loul-notfce to :Grar.itor. may•deal with Grantor's succos·sors with 'rnti,i:en,::e to lh~ Agieefl\il.nl. and the
         lndebtedneS:s b'y way of'forbe~riince or oxter:,slon wllh0ut ,:etea'!ilng Grantor from the obligations of this Agroemenl or llablllty under lhe
         Indebtedness.
         Survival of Representations and Warranties. All representa~ons. warranties, and agreements made by Grantor in this Agreement shall
         survive the execution and delivery of this Agreement. shall be continuing in nature. and shall remain in full force and effect unut such lime
         as Grantor's-Indebtedness shall be paid in full.
         Time is o,f the Essenc:e. ,me ii; of the essence in the performance of this AgreemenL
        Wp(ve Jury. To the extent permitted by appllc:ablo law, all parties to this Agreement hereby waive the right to any jury Illa! in any action,
        proceeding, or counterclaim brought by any party against any other party.
    DEFINITIONS. The following cap/tall.tad wordl> 'and terms snail have the following meanings when used In this Agreemenl Unless spec!Hcally
    slated to the contraty. all references to dollar amounts st,a!l mean amounts in lawful money of the United Slates of America Words and terms
    used in the singular shell Include the.plural. and the plUral.shalrlnclude the singular. as the context may require. Words and terms not olherwlSB
    defined In this Agreement shall have the meanings,atiributiliHo such terms in the Uniform CommorcJal Code;
        AgreomonL The word "Agreement" means this Commercial Security Agreement. as this Commercial Security Agreement may be emonded
        or modified rr-om tlme to time. together with all exhibits and schedules attached to this Commercial Security Agreement /mm Ume to Ume.
        BorTowor. The word "Borrower" means Hero Nutritlonals, LLC and includes all co-signers and co-makers signing the Note ar,d aft their
        succ~sors and assigns.
        Ccflaleral. TIie word "Collateral" means all of Grantar's right, tllle and irllerast in and to all Iha Collateral as descnbed In the Collateral
        Description section of this Agreement.
        Default. The word "Default'' means the Delault set forth In this Agreement in the sectior, til1e<I •□efault".
        Envlrorvnentat Laws. The words "Envlronin•e ntol Laws" mean any and all slate, federal and local statutes, regulations and ordinances
        relatlng to lbe protection- of human heaJlh er the environment. including without limitation the Comprehensive Environmental Response,
        Comp11nsalion, and lia~ijity Act _of, 1,980, es amended, 42 U.S.C . Section 9601, et seq. {'CERCLA"), the Superfund Amendments and
        Reauthorizalion Ali:! of 1986: Pub. I.:. No. 99-499 ("SARA''), the Hazardous Materials Transportation Act, 49 U.S.C. Section 1801 . el seq.,
        the Resource Conservation and Recovery Act, 42 U.S-C. Section 6901, et seq., Chapters 8 .5 through 7.7 of Division 20 of the Callfoml3
        Heallh end Safety Coda. SGCtion 25100. el seq.• or other applicable stale or federal laws. rules. or regulations adopted pllfSuant thereto.
        Event of Default. The words "Event of Default" mean any of the evants of default set forth In this Agreement in the default section of this
        Agreement.
        Grantor. The word "Granter" means Hero Nutrltiona\s, LLC.
        GuaranlOf'. The word "Guarantor• means any guarantor, surely. or accommodation party of any or a h of 1he Indebtedness.
        Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, Including wlt11out timltallon a guaranty of all or pert of tfie
        Note.
        Hazardous Substances, The words •Ha~rdous Substances· mean materials that, because of !hoir quantity, concentration or physical,
        chemical or Infectious charocteristics, may cause or pose a present or potential haiard to human he.ilth or the environment when
        Improperly used. treated, slored, disposed of. generated, manufncturad, transported or otherwise handled. The wor:ds "Hazardous
        Substances· are used in their very broadest sense and Include without limitation any and all liazardous or toxic substances. mate·n als or
        waste as defined by or lls1ed under the Environmental Laws. The term "Hazardous Substances· also lndudes. without limi1alion, petroleum




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        and petroleum by-products or any fractlon thereof and asbestos.
        Indebtedness. The word "Indebtedness• means the Indebtedness evidenced by the Note or Related Documents, lnctudlng all principal and
        Interest together with ell other Indebtedness and costs and expenses ror which Grantor Is responsible under this AQreemenl or under any of
        the Related OOOJments. Specifically, wlthoul limitation, Indebtedness includes tho Mure advances set forth In the Future Advances
        provision, together with all interest thereon and aTI amounts that may be Indirectly secured by lhe Cross-Collalerall:zalion provision of this
        Agreement
        Lander. The word "lender'' means Bank of Manhattan. NA., Its successors and assigns.
        Note. The wort! "Note" means the Note dated August 22, 2014 and executed by Hero Nutrilionals, I.LC In Iha principal amount of
        $303,040.63, together with all renewals o r, extensions of, modifications of, refmancings of, consolidations o f, and subsUt.ulions f,x the
        note or credit B9fBement.
        Property. The word "Propertv" moans all of Grantor's right, tiUa and interest In and to       au   the Property aa desc:rlbed In the "Collateral
        Oesaiptlon" section of this Agreement.
        Related o«umonts. The words "Relate·d Documents"· mean all promissory notes, credit agreements, loan agreemeru, environmenllll
        agreements , security agreements, mortgam3s, deeds of trust, security deeds, collateral mortgages, and all other Instruments, agreements
        and documents, whether now or hercaner exlstlpg; executed In connection with the Indebtedness.
    GRANTOR HAS READ AND UNDERSTOOD ALL lHE PROVISIONS OF THIS COMMERCIAL SECURITY AGREEMENT AND AGREES TO ITS
    "TERMS, THIS AGREEMENT IS DATED AUGUST 22, 2014.

    GRANTOR:



    HERO NU .


    By:...,.,,=,,=-.-,h-rh~.,.--':r::-:-:¥.~=~-::.--..=-




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   UCC FINANCING STATEMENT
   FOLLOW INSTRUCTIONS                                                                                                              CT Llltn Solutlons
                                                                                                                                    Rapresenlallon of filing
       A.. NAME   a PHONE OF C0NTAC"T AT FILER (opllonal)
           Phone: 217-5-47-8635 Fax: 217-522-JSTO
                                                                                                                                                   Thia firing 111 Complelod
       a. E-MAIL CONTACT AT FILER (optional)                                                                                                       FIie Number: 147425980515
           cokeele@fln.lem.com                                                                                                                     FIie Dale : 27-Aug-2014
    C, SEND ACKNOWLEDGMENT TO: (Nome end AddAIH)
                                                                                      18436 • FIRST

        ~lrst American TIiie Insurance
             901 S. 2nd Street
                                                                                            44664368             7
             Sulla 201                                                                    CALI
             Springfield, IL 62704
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        L                                  FIie with: Sect81arv of Stale, CA                                                          THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
   1. DEBTOR'S NAME: PrtMC!o cnly JI.Ill Oeol<>r name (In ur 1b) (ua& end. full namo: donol<lflllt, modify. er obbn>•l•lo any fl'ltl al Iha O,,btor'• o,me); I! any part ol n,.11"/Mdval Dob1or1
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          Hero Nulrllionals, LLC
   OR lb. INOMOUAL'S SURNAl.{E                                                                            ARST P£RSONAl. H,MIE                                 ADDITJONA!. N.WE(SlolNmAl.(S)                  SUFFIX


    le. MIJUHG AOOFIESS                                                                                   CITY                                                 STATE     IPOSTAL CODE                         C.OUITTRY

       991 Callo Nogoclo                                                                                  San Clomenle                                          CA        92673                                USA
   2. DEBTOR'S NAME: P""'""' only Rill Deblo/ 1111m• (2• or :lb)(u"'                        """°'·IUU name; don0l omit. modlfY, or abb<evlaie rnypart ol lho Ooblo(o name}: K any pert olthe lndMdual Debio(,
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   3   SECURED PARTY'S NAME (or NAME of "'5SIGIIEE or ASSIGNOR SECURED PI\RlY): p..,._,lda only !lllR &cumd Porty nemo f.lo <>< lb)
          lL atlWtllATICWS IW.IE

             Bank of Manhattan
   OR 3". INlllV1DUAI."S StJfiW, ME                                                                       FIR~ p.:,,sONAI. w.l.lE                              AODITIOfW. IW..E(S)M<JT\AL(SI                  SUFFIX



    le. WJl.lNG /,OORESS                                                                                  CITY                                                 STATT,.   IPOS~AJ.COOE                         COIJITTRY

       2700 East Fo_olhlll Boulevard Su.Ile 200                                                            Pasadena                                             CA        91107                                USA
   4. COtlAlERAI..: Tlll• ffneJ\dl\g llalemenl CIOV811 Ill& following colla1tral:
   CoOeleral es daaCllbed par Exhlbll A; whether any of the foregoing ls owned now or acquired later; all accessions, additions, ropla'-".lments, and
   substlluUons relal!ng to any of lh1;1 roreg~ng; all records or any kind relating lo any of lhe foregoing.




   5.. Cllod< JIJl!I( ~ al)lll)tat>le and chodt. l!!lh:O'IO t>ow: Col!al8"'J lo       hold In a TNII aoo UCC1Ad. II.om 17 aod l/Ult\lellons           bolno admlnlslerod        a Decodonr1. Porsonal Ro ros.ontalNo
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  •8. OPTIONAL FllER REFERENCE OAT~
         ■                                            ~      364 - Hero Nulritionals
                                                                                                                                                                             P ~ br Cl t..btl SoWo.... P.O. 8o11 29071,
   FILING OFFICE COPY- UCC FINANCING STATEMENT (Fonn UCCi) (Rev. 04120/11)                                                                                                   Gl1111diilm. CA IU'2'09-till011 T• ,aoO} JJ,.).2'e.2




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  HERO NUTRITIONALS, UC
     August 22, 2014

                                                           EXHIBIT A

       Qua11tlty                                           Description
         220       zu OD X .065p B/A Tubing 304l PROIB153412
          10       2"00 Wall Flange 304
          12       2"00 90 Elbow 2WCL 304
          6        2"Ball Valve T/C 316
          4        2"OD B7W TEE 304
          12       2" Ferrule Short 14WMP T/C 304
          12       2~ Clamp 13MHHM Heavy Duty 304
          12       2~ Gasket Buna T/C 40MPU
         160       1''0D x 065" B/A Tubing 3O4l
          14       l"OD 90 Elbow 2WCL 304
          4        l"OD 82WK 45 Elbow 304
          8        l"Ferrule Short 14WMP T/C 304
          3        l"Ball Valve T/C 316
          6        1" & l•l/2 Oamp 13MHHM Heavy Duty 304
          6        l'' Gasket EPOM T/C 40MPE
          6        1"0D Hex Hanger 304 W/ Poly Collar
          2        2~ x 1"0D B31W Concentric Reducer 304
          4        2"OD 90 Elbow 2WCL 304
          3        r1so1t Hex Plug 304
          1        1"150# Hex Plug 304
          1        1/2" 150# Hex Plu11304
           1       1/4u 150# Hex Plug 304
          l        2"T/Cx 2"MPT 21MP Male Adapter 304
          1        2"T/C x 1·1/2"FNPT 22MP Female Adapter 304
          4        l"T/C 1t MPT 21MP Male Adapter 304
                   501NDVC6050 Freq. Converter: Input: 480V 3phase 60Hz Output 400V 3phase SOHz
                   Standard Premium P/N 5011NDVC6050 (SOk VA, Input: 480V 3-phase 60Hz, Output: 400V3-
          1        phase SOHZ
          1        Curing Room Control System
          4        INT96002404 "Int S/S z4•g X   4.so~•
                   A•INT 5/S 24" x 4.50"
                   (1.00) 9600..04--24-511-STD 9600114 4.5 24 MDL
                   (1.00) 0009-03-04·010A·STD Wearpan 3&4 RTN
                   (1.00) 0090-04-00-010-STO MOL-STD MDL S/S 4.50 SPLC
                   (l.00I 3600-o4-24-010.5TD 3600 5/S 4.5 24 W/S
          4        INT96002404 Serle:s 9600-24" Module Assy
          20       01-0408·070 LF880 k-4 5" SldflexlngTable Chain
          20        01-2350-098 Formed Stainless Rall w/UHMWPE Insert
           8        Brackets• Standard Adjustable Gulde Brackets
           l        legs - 9600 Standard Sheet Metal Support




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            109418 Herman Miller A02 Workstations 8' x 8' with (1) BBF Pedestal (1) Lateral File, (1)
    18      Tasklight (1) Storage Overhead all Powered grey fabric
            Verde Series, Reception Desk Unit, Reception Desk Shell, Reception Return Shell, BBF
     1      Pedestal, FF Pedestal with Espresso finish
    18      Cubes Default Code M
    1       Reception Desk Defualt Code M
    1       Renee Cube Default Code M




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      UCC FINANCING STATEMENT AMENDMENT                                                                                                           01/23/2020 15:16
      FOllOW/NSTRUCTIONS
          A. NAME      ~ PHONE           OF CONTACT AT FILER (oplionol)                                                                                                                 FILED
            Laur.a Lighlhold&r                                                                                                                                                          '-AL.l~OANti:io

          a E-MAIL CONTACT AT FILER (opllonal)                                                                                                     \llllllll lllll l\\ll ll \Ill        ll.CRE:TARl ' os: 'iiTAlq"

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       c. Sfi:NO ACKNO\',t.eOGIY.rnTTO:                      (Nomo and AddreHj

           jQua.rl0s & Brady LLP
             411 E. Wisconsin Ave
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      10. INJTIAL FINANCING STATEMENT FILE NUMeeR                                                                         r1b,O Thi<  FIMANCING 51AJfh1EtlT A~fNPMENT 1, lo~- r;1,o [lo, ,.,.,d,I
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             f.Ol ,oe,llal IIISS~fl~ent. Clll'l'\PleLa IIDms 7 .1:1M '8 anJ1 llllO lnd'.kal@ .arl □ C:l&CI ca41a1oraJ Ill item B

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            OD. ORGJ\1411'.ATION'o NAME


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              71. 01\GANIZATlCN'S NA~E
              McCormick 107, LLC
     OR       7b, INOIVIOVAL'S SURNAME


                 INOIVIOU,\L'S FIRST PERSON-'\L NAME



                 INOIVIOUAl'S ADDITIONAL /IAME(S)IINITIAl(S)                                                                                                                                                          SUFFIX


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     9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Pro,iQo onty llM nOJT1, 19• orgbi 1nam• ol AB•goor, If 1~;, 1, •nAs1i9rvnon1:
        11 lhis ;, onAmondmont outl>On<Od bj a DEBTOR, <llo,:k horo
           9•. OflGAIIIZMION'S N IE
              Bank of Manha\lan
     OR 11>, INOl\/1D UA~S SURN"-ME                                                                      FIRST PEHSONAL NAl~E                                                                                        SUFflX



     10. OPTIONAL FILER REFERENCE DATA:
                                  CA SOS
                                                                 ucc FINANCING STATEMENT AM!:NOMENT (Form UCC3) (Rev, omo11 l)




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                                                    ••I■■,:& BANK of
                                                             MANHATTAN
                                                          PROMISSORY NOTE


     References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular Joan or item.
                 -             A ny item above containing •-•-... has been omitted due to text length limitations.

 Borrower:      Hero Nutrltiona/s, LLC                                        Lender:          Bank of Manhattan, N.A.
                991 Calle Negoclo                                                              Pasadena Office
                San Clemente, CA 92673                                                         199 South Los Robles Avenue
                                                                                               Suite 130
                                                                                               Pasadena, CA 91101


  Principal Amount: $833,950.27                                                                              Date of Note: October 29, 2014
  PROMISE TO PAY. Hero Nutrl!lonals, LLC ("Borrower") promises to PllY to Bank of Manhattan, N.A. ('"Lender'}, or order, in lawful money of the
  United States of America, tha principal amount of Eight Hundred Thirty-three Thousand Nina Hundred Fifty & 2711 0 0 Dollars ($833,950.27),
  together with Interest on the unpaid p rincipal balanCi! from October 29, 2014, calculated as described In the "INTEREST CALCULATION
  METHOD" paragraph using an Interest rate of 5.460%, untll paid in full. The Interest rate may change under the terms and conditions of the
  "INTEREST AFTER DEFAULr section.
  PAYMENT. Borrower will pay 1hls loan in 84 payrnenls of $11,999.69 each payment. Borrower's first payment is due November 29, 2014,
  and all subsequent payments are due on the same day of each month after that. Borrower's final payment will be due on October 29, 202.1,
  and wiJI be for all principal and all accrued interest not yet paid. Payments Include principal and interest. Unless otherwise agreed or required
  by appllcable law, payments will be applied first to any accrued unpaid interest; then to prJnclpal; then to any late charges; then to any unpaid
  collection costs; and then to any escrow or reserve account payments as required under any mortgage, deed of trust, or other security
  instrument or security agreement securing this Note. Borrower will pay Lender at Lender's address shown above ot at such other place as
  Lender may designate in writing.
  INTEREST CALCULATION METHOD. Interest on this Note is computed on a 365!360 basis; that is, by applying the ratio of the Interest rate
  over a year of 360 days, multlplied by the outstanding prl11clpal balance, multiplied by the actual number of days the principal balance Is
  outstanding. All interest payable under this Note Is computed using this method. This calculatron method results In a higher effective Interest
  rate than the nurmnlc interest rate stated in this Note.
  PREPAYMENT; MINIMUM INTEREST CHARGE. In any event, even upon full prepayment of this Note. Borrower understands that Lender Ts
  entitled to a minimum Interest charge of $100.00. Other than Borrower's obliga~on to pay any minimum interest charge, Borrower may pay
  without penalty all or a portion of the amount owed earlier than it is due. Early payments will not. unless agreed to by Lender in writing, relieve
  Borrower of Borrower's obligation to continue to make payments under the payment schedule. Rather, early payments will reduce the principal
  balance due and may result in Borrower's making fewer payments. Borrower agrees not to send Lender payments marked "paid in full",
  "without recourse", or similar language. If Borrower sends such a payment, Lender may accept it without losing any of Lender's rights under
  this Note, and Borrower will remain obligated to pay any further amount owed to Lender. All written communications concerning disputed
  amounts, Including any check or other payment rnstrument that indicates that the payment constitutes --payment In full" of the amount owed or
  that is tendered with other conditions or limitations or as full satisfaction of a disputed amount must be mailed or delivered to: Bank of
  Manhattan, N.A.; Pasadena Office: 199 South Los Robles Avenue; Suite 130; Pasadena, CA 91101.
  LATE CHARGE. If a payment is 10 days or more late, Borrower will oe charged 6.000% of the unpaid portion of the regularly scheduled
  payment or $25.00, whichever ls greater.
  INTEREST AFTER DEFAULT. Upon default, lhe interest rate on this Note shall. if pennitled under applic,ible law, immediately increase by 5.000
  percentage points.
  DEFAULT. Each of the following shall constitute an event of default ("Event of Default") under this Note:
      Payment Default. Borrower fails to make any payment when due under this Note.
      Other Defaults. Borrower fails to comply with or to perform any other term, otJligation. covena11t or condition contained in !his Note or in
      any of the related documents or to comply with or to perform any term. obligation, covenant or condition contained in any other agreement
      between Lender and Borrower.
      Default 1n Favor of Third Parties. Borrower or any Grantor defaults under any loan, extension of credit, security agreement, purchase or
      sales agreement, or any o1her agreement. in favor of any other c reditor or person that may materially affect any or Borrower's property or
      Borrower's ability to repay this Note or perform Borrower's obligaUons under this Note or any of the related documents.
      False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under \his
      Nole or the related documents is false or misleading in any material respect. eilher now or at the lime made or furnished or becomes false
      or misleading at any time thereafter.
      Death or Insolvency. The dissolution of Borrower (regardless of whether election to continue is made), any member withdraws from
      Borrower, or any other termination of Borrower's existence as a going business or the death of any member, lhe insolvency or Borrower,
      the appointment of a receiver for any part of Borrower's property, any assignment for lhe tJenefit of creditors, any type of creditor workout,
      or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower.
      Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
      repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the loan.
      This includes a garnishment of any of Borrower's accounts, including deposit accounts, with Lender. However, this Event, of Default shall
      ncit apply if there is a good faith dispute by Borrower as to t he validity o r reasonableness of the claim which is the basis of the credilor or
      forfeiture proceeding and if Borrower gives Lender wrflten notice of the creditor or forfellure proceeding and deposits with lender monies or
      a surety bond for the creditor or forfeiture proceeding, in an amounl determined by Lend·e r, in its sole. discretion, as being an adequate
      reser\/e or bond for the dispute.
      Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the indebtedness or any
      Guarantor dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any guaranty of the ;ndebledness




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       evidenced by this Note.
       Adverse Change. A material adverse change occurs in Borrower's financial condition, or Lender belleves the prosped of payment or
       perfonnance of this Nole is impaired.
       Insecurity. Lender in good faith believes itself insecure.
       Cure Provisions. Jf any default, other than a default in payment is curable and if Borrower has not been given a no~ce or a breach of the
       same provision of this Note within the preceding twelve (1 2) months. it may be cured if Borrower, after Lender send.s written notice to
       Borrower demanding cure of such default: (1) cures the default within fifteen (15) days; or (2) if the cure requires more than Ofleen (15)
       days, lmmediately Initiates steps which Lender deems in Lender's sole discretion to be sufficient lo cure the default and thereafter
       continues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
  LENDER'S RIGHTS. Upon default, Lender may declare the entire unpaid principal balance under this Note and all accrued unpaid interest
  immediately due, and then Borrower will pay that amount.
  ATTORNEYS' FEES; EXPENSES. Lender may hire or pay someone else to help collect t his Note if Borrower does not pay. Borrower will pay
  Lender that amount. This includes, subject to any limits under applicable law. Lender's attorneys' fees and Lender's legal expenses, whether or
  not there fs a lawsuit, including attorneys' fees, expenses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay
  or injunction), and appeals. Borrower also will pay any court costs, in addition to all other sums provided by law.
  JURY WAIVER. To the extent permitted by appllcable law, Lender and Borrower hereby waive the right to                   any Jury trl~I In any acllon,
  proceeding, or counterclaim brought by either Lender or BorroW1!r against the other.
  GOVERNING LAW. This t-lote will be governed by federal law applicable to Lender and, to the extent not preempted by federal law, the laws of
  the State of Californla without regard to its conflicts of law provisions. This Note has been accepted by Londer In th& State of Californla.
  CHOICE OF VENUE. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the courls of Los Angeles
  County, State of California.
  DISHONORED rTEM FEE. Borrower will pay a fee to Lender of $20.00 if Borrower makes a payment on Borrower's loan and the check or
  preauthorked charge with which Borrower pays is leter dishonored.
  RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Borrower's accounts with Lender (whether
  checking, savings, or some other account). This includes all accounts Borrower holds jointly with someone else and all accounts Borrower may
  open in the future. However, !his does not include any IRA or Keogh accounts, or any trust accounts for which setoff w ould be prohibited by
  law. Borrower authorizes Le_nder, to the extent permitted by applicable law, to c harge or setoff all sums owing on the indebtedness against any
  and all such accounts. and. al Lender's option. to administratively freeze all such aocoun1s to allow Lender to protect Lender's charge and setoff
  rights provided in this paragraph.
  COLLATERAL. Borrower acknowledges this Note is secured by the following collateral described in the security instrument listed herein:
  collateral described in a Commercial Security Agreement dated October 29. 2014.
  SUCCESSOR INTERESTS. The terms of this Note shall be binding upon Borrower, and upon Borrower's heirs, personal representatives,
  successors and assigns, and shall Inure to lhe benefit of Lender and its successors and assigns.
  NOTIFY US OF INACCURATE INFORMATION WE REPORT TO CONSUMER REPORTING AGENCIES. Borrower may notify lender If Lender
  reports any inaccurate fnformation about Borrower's account(s) to a consumer reporting agency. Borrower's written notice describing the
  specific inaccuracy(les) should be sent lo Lender at the following address: Bank of Manhattan, N.A., Pasadena Office. 199 South Los Robles
  Avenue, Suite 130, Pasadena, CA 91101.
  GENERAL PROVISIONS. If any part of this Nole cannot be enforced, this fact will not affect the rest of the Note. Lender may delay or forgo
  enforcing any of its rights or remedles under this Nole wfl hout losing them. Borrower and any other person who signs, guaranlees or endorses
  this Note. to the extent allowed by law, waive any applicable statute of limitations, presentment, demand for payment, and notice of dishonor.
  Upon any change 1n the terms of this Note, and unless otherwise expressly stated in writing, no party who signs this Note, whether as maker,
  guarantor. accommodation maker or endorser, shall be released from liability. All such parties agree th at Lender may renew or extend
  (repeatedly and for any length of lime) this loan or release any party or guarantor or collateral; or impair, fail lo realize upon or perfect Lender's
  security interest in the collateral; and take any other action deemed necessary by Lender without the consent of or notice to anyone. All such
  parties also agree !hat Lender may modify this loan w ithout the consent of or notice to anyone other U,an the party wllh whom the modiJicalfon
  is made. The obligalfons under this Nole are joint and several.
  PRIOR TO SIGNING THIS NOTE, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS NOTE. BORROWER AGREES TO "TttE
  TERMS OF THE NOTE.
  BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSORY NOTE.

  BORROWER:




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                                             ALLONGE

             ALLONGE to be attached to and made a part of that certain Promissory Note in the
     original principal amount of Eight Hundred Thirty-three Thousand Nine Hundred Fifty and
     27/100 Dollars ($833,950.27) dated October 29, 2014, (Loan Nw11ber - 6 0 01) made by
     Hero Nutritionals, LLC, and in favor of Pacific Premier Bank, successor-by-merger to Plaza
     Bank, successor-by-merger to Bank of Manhattan N.A., as renewed, amended, or modified.

            Pay to the order of McCormick 107, LLC, a Maryland limited liability company, without
     representations, warranties or recourse.



                                                PACIFIC PREMIER BANK


                                                By:
                                               Name:
                                                            ~\~ '~1v-
                                               Title:




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                                          COMMERCIAL SECURITY AGREEMENT

                       !£t~a ~:. ,. .
     References in the ll01<es above are for Lender's use only and do not limit the applicability of this document to any particular loan or item.
                                 A n item above containing "-~.. has been omitted due lo text length limitations.

 Grantor:        Hero N1dritionals, LLC                                         Lender:         Bank of Manhattan, N.A.
                 991 Calle Negocio                                                              Pasadena Office
                 San Clemente, CA 92673                                                         199 South Los Robles Avenue
                                                                                                Suite 130
                                                                                                Pasadena, CA 91101



  THIS COMMERCIAL SECURITY AGREEMENT dated October 29, 2014, is made and executed between Hero Nu1rltlonals, LLC ("Grantor") and
  Bank of Manhattan, N.A. ("Lender").
  GRANT OF SECURITY INTEREST, For valuable consideration, Grantor grants to Umder a security interest !n the Collateral to secure the
  Indebtedness and agrees that Lender shall have the rights stated In this Agreement with respect lo the Collateral, in addition lo all other rights
  which Lender may have by law.
  COUATERAL DESCRIPTION. The word "Col!aterat· as used in this Agreement means the following described property, whether now owned or
  hereafter acquired. whether now existing or hereafter arising, and wherever located. in which Gran1or is giving to lender a security interest for
  the payment of the Indebtedness and performance of all other obligations under the Nole and this Agreement:
       Collateral as described per Exhibit A
  In addition. the word "Collateral" also includes all the following. whether now owned or hereafter acquired, whether now existing or hereafter
  arising, and wherever located:
       (A) All accessions, attachments, accessories, replacements of and addi11ons to any of the collateral described herein, whether added now
       or later.
       (B) All products and produce of any of the property described in this Collateral section.
       (C) Al! accounts. general intangibles. instrumen1s, rents, monies. payments. and all other rights. arising out of a sale, lease, consignment
       or other disposltlon of any of the property described in this Collateral section.
       (D) All proceeds (including insurance proceeds) from the sale, destruction, lass, or other disposition of any of the property described in this
       Collateral section, and sums due from a third party who has damaged or destroyed the Collateral or from that party's insurer. whelher due
       to judgment, settlement or other process.
       (E} All records and data relating to any of the property described in this Collateral section, whether in the form of a writing, ptlotograph,
       microfilm, microfiche, or electronic media, together with all of Grantor's right, title, and interest in and to all computer software required to
       utilize, create, maintain. and process any such records or data on electronic media.


  CROSS-COLLATERALIZATION. In addition to the Note, this Agreement secures all obligations, debts and liabilities, plus interest !hereon, of
  Grantor to Lender, or any one or more of them, as well as all claims by Lender against Grantor or any one or more of !ham, whether now
  existing or hereafter arising, whether related or unrelated to the purpose of the Note, whether voluntary or otherwise, whether due or not due,
  direct or indirect, determined or undetermined, absolute or contingent, liquidated or unliquidated, whether Grantor may oe liable individually or
  jointly with others, whether obligated as guarantor, surety, accommodation party or otherwise, and whether recovery upon such amounts may
  be or hereafter may become barred by any statute of limitations, and whether the obligation to repay such amounls may be or hereafter may
  become otherwise unenforceable.
  FUTURE ADVANCES. In addrnon to the Note, this Agreement secures all future advances made by Lender to Grantor regardless of whether the
  advances are made a) pursuant to a commitment orb) for the same purposes.
  RIGHT OF SETOFF. To the extent permitted oy applicable law, Lender reserves a right of setoff in all Grantor's accounts with Lender (whether
  checking, savings, or some other account). This includes all accounts Grantor holds jointly with someone else and all accounts Grantor may
  open in !he future. However, this does not include any IRA or Keogh accounts, or any trust accounts for whlch setoff would be prohibited by
  law. Grantor authorizes Lender, to the extent permitted by appllcable law, to charge or setoff all sums owing on the Indebtedness against any
  and all such accounts, and. at Lender's option, lo administratively freeze all such accounts to allow Lender to protect Lender's charge and setoff
  rights provided in this paragraph.
  GRANTOR'S REPRESENTATIONS AND WARRANTIES WITH RESPECT TO THE COLLATERAL. With respec1 to the Collateral, Grantor represents
  and promises to Lender the!:
      Perfection of Security Interest. Grantor agrees to take whatever actions are requested by Lender to perfect and continue Lender's security
      inlerest in the Collateral. Upon request of Lender, Grantor will deliver to Lender any ,md all of the documents evidencing or constituting the
      Collateral, and Grantor will note lender's interest upon any and all chattel paper and instruments if no! delivered to Lender for possession
      by lender. This is a continuing Security Agreement and will continue in effect even though all or any part of the Indebtedness is paid in full
      and even though for a period of time Grantor may not be indebted to Lender.
      Notices to Lender. Grantor will promptly notify Lender in writing at Lender's address shown above (or such other addresses as Lender may
      designate from time lo time} prior to any (1) change in Grantor's name; (2) change in Grantor's assumed business name(s); (3) change
      in the management or in the member.; or managers of the limited liability company Granter: (4) change in the authorized signer(s); (5)
      change in Grantor's principal office address; (6) change in Grantor's state of organization; (7) conversion of Granter to a new or different
      type of business entity: or (8) change in any other aspect of Grantor that directly or indirectly relates to any agreements between Grantor
      and Lender. No change in Grantor's name or slate of organi.zation will take effect until after Lender has received notice.
      No Violation. The execution and delivery of this Agreement will not violate any law or agreeman1 governing Granlor or to which Grantor is
      a party, aM its membership agreement does not prohibit any term or condition of this Agreement.
      Enforceabilfly of Collateral. To the extent the Collateral consists of accounts, chattel paper, or general intangibles, as d"fined by the
      Uniform Commercial Code, !he Collateral is enforceable in accordance with its terms, is genuine, and fully complies wilh all applicable laws
      and regulations concerning foITTl, content and manner of preparation and execution, anel all persons appearing to be obligated on !he
      Collateral have authority and capacity lo conlract and are in fact obligaled as they appear 10 be on the Collateral. There sha II be no setuffs




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     or counterclaims against any of the Collateral, and no agreement shall have been made under which any deductions or discounts may be
     claimed concerning the Collateral except those disclosed lo Lender in writing.
     Location of the Collateral. Except in the ordinary course of Grantor's business, Grantor agrees to keep the Collateral at Grantor's address
     shown above or at such other locations as are acceptable to Lender. Upon Lender's request, Grantor will deliver lo Lender in form
     satisfactory to Lender a schedule of real properties and Collateral locations relating to Grantor's operations, including without limitation the
     following: (1) all real property Grantor owns or is purchasing; (2) all real property Granter is renting or leasing; (3) all storage facilities
     Granter owns, renls, leases, or uses; and (4) all other properties where Collateral Is or may be localed.
     Removal of the Collateral. Except in the ordinary course of Grantor's business, Grantor shall not remove the Collateral from its existing
     location without Lender's prior written consent. Grantor shall, whenever requested, advise Lender of the exact location of lhe Collateral.
     Transactions Involving Collateral. Except for inventory sold or accounts collected In the ordinary course of Granto~s business, or as
     otherwTse provided for in this Agreement, Granlor shall not sell, offer to sell, or otherwise transfer or dispose of the Collateral. Granter
     shall not pledge, mortgage, encumber or otherwise penmit the Collateral to be subject to any lien, security interest, encumbrance, or
     charge, other than the security interest provided for in this Agreement, without the prior written consenl of Lender. This includes security
     interests even if junior in right to the security interesls granted under this Agreement. Unless waived by Lender, all proceeds from any
     disposition of the Collateral (for whatever reason) shall be held in trust for Lender and shall not be commingled with any other funds;
     provided however, this requirement shall not constitute consent by Lender to any sale or other disposition. Upon receipt, Grantor shall
     immed!ately deliver any such proceeds to Lender.
    Title. Grantor represents and warrants to Lender that Grantor holds good and marl<etable litre to the Collateral, free and clear of all Jieris
    and encumbrances except for the lien of this Agreement. No financing statement covering any of the Collateral is on file In any public
    office other than those which reflect the security interest created by this Agreement or lo which Lender has specifically consented,
    Granter shall defend Lender's rights in the Collateral against the claims and demands of all other persons.
    Repairs and Maintenance. Grantor agrees to keep and maintain, and lo cause others to keep and maintain, the Collateral in good order,
    repair and condiUon at all times while this Agreement remains in effect. Grantor further agrees to pay when due all claims for work done
    on, or services rendered or material furnished in connection with the Collateral so that no lien or encumbrance may ever anach to or be
    filed against the Collateral.
    Inspection of Collateral. Lender and Lender's designated representatives and agents shall have the right at all reasonable limes to examine
    and inspect the Collateral wherever located.
    Taxes. Assessments and Liens. Grantor will pay when due all taxes, assessments and liens upon the Collateral, its use or operation, upcn
    this Agreement. upon any promissory note or notes evidencing the Indebtedness, or upon any of the other Related Documents. Grantor
    may withhold any such payment or may elect to contest any lien if Grantor is in good faith conducting an appropriate proceeding to contest
    the obligation to pay and so long as Lender's interest !n the Collateral is not jeopardized in Lender's sole opinion. If the Collateral is
    subjected to a lien which is not discharged within fifteen (15) days, Granlor shall deposit with Lemler cash, a sufficient corporate surety
    bond or other security satisfactory to Lender in an amount adequale to provide for the discharge of the lien plus any interest, costs,
    attorneys' fees or other charges that could accrue as a result of foreclosure or sale of the Collateral. In any contest Granter shall defend
    itself and Lender and shall satisfy any final adverse judgmenl before enforcement against the Collateral. Granter shall name Lender as an
    additional obligee under any surety bond furnished in the contest proceedings. Grantor further agrees to furnish Lender with evidence that
    such taxes, assessments, and governmental and other charges have been paid in full and in a timely manner, Granter may wilhhold any
    such payment or may elect to contest any lien if Gr.intor is in good faith conducting an appropriate proceeding to contest the obligation to
    pay and so long as Lender's interest in the Collateral is not jeopardized.
    Compllance with Governmental Requirements. Grantor shall comply promptly with all laws, ordinances, rules and regulations of all
    governmental authorities, now or hereafter in effect, applicable to the ownership, production, disposition, or use of the Collateral, including
    all laws or regulations relating to the undue erosion of highly-erodible land or relating to the conversion of wetlands lor the production of an
    agricultural product or commodity. Grantor may contest in good faith any such law, ordinance or regulation and withhold compliance
    during any proceeding, including appropriate appeals, so long as Lender's Interest in the Collateral, in Lender's opinion, is not jeopardized.
    Hazardous Substances, Grantor represents and warrants !hat the Collateral never has been, and never will be so long as this Agreement
    remains a lien on the Colla1eral, used in violation of any Environmental Laws or for the generation, manufaclure, storage, transportation,
    lrealment, disposal, release or threatened release of any Hazardous Substance. The representations and warranties contained herein are
    based on Grantor's due diligence in 1nvestigating the Collateral for Hazardous Substances. Gran tor hereby (1) releases and waives any
    future claims against Lender for indemnity or contribution in the event Grantor becomes liable for cleanup or other costs under any
    Environmental Laws, and (2} agrees to indemnify, defend, and hold harmless Lender against any and all claims and losses resulting from a
    breach of this provision of this Agreement. This obligation to indemnify and defend shall survive the payment of the Indebtedness and the
    satisfaction of thls Agreement.
    Maintenance of Casualty Insurance. Grantor shall procure and maintain all risks insurance, including without limitation fire, theft and
    liability coverage together with such other insurance as Lender may require with respect lo the Collateral, in form. amounts, coverages and
    basis reasonably acceptable to Lender ~nd issued by a company or companies reasonably acceptable to Lender. Grantor, upon request of
    Lender, will deliver to Lender from time to time the policies or certificates of insurance in form satisfactory to Lender, including stipulations
    that coverages will not be cancelled or diminished without at least twenty-one (21) days' prior written notice to Lender and not including
    any disclaimer of the insurer's liability for failure to give such a notice. Each insurance policy also shall include an endorsement providing
    that coverage in favor of Lender will not l}e impaired in any way by any act, omission or default of Grantor or any other person. In
    connection with all policies covering assets in which Lender holds or is offered a security interest, Granter will provide lender with such
    loss payable or other endorsements as Lender may require. If Granlor at any time fails to obtain or maintain any Insurance as required
    under this Agreement, lender may (but shall not be obligated to) obtain such insurance as Lender deems appropriate. includjng if Lender so
    chooses "single interest insurance," which will cover only Lender's interest in the Collateral.
    Application of lnsurancu Proceeds. Granlor shall promptly notify Lender of any loss or damage to the Collateral if the estimated cost of
    repair or replacement exceeds $25,000.00, whether or not such casualty or loss is covered by insurance. Lender may make proof of loss
    if Grantor fails lo do so within fifteen (15) days of the casualty. All proceeds of any insurance on the Collateral, including accrued proceeds
    thereon, shall l>e held by Lender as part of the Collateral. If Lender consents to repair or replacement of the damaged or destroyed
    Collateral, Lender shall, upon saUsfactory proof of expenditure, pay or reimburse Gra ntor from the proceeds for lhe reasonable cost of
    repair or restoration. If Lender does not consent to repair or replacement of the Collateral, Lender shall retain a sufficient amount of the
    proceeds to pay all of the Indebtedness, and shall pay 1he balance to Grantor. Any proceeds which have not been disbursed within six (6)
    months after their receipt and which Granier has not committed lo the repair or restoration of the Collateral shall be used lo prepay the
    Indebtedness.




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       Insurance Reseives. Lender may require Granlor to maintain wlth Lender reserves for payment of insurance premiums, which reserves shall
       be created by monthly payments from Grantor of a sum estimated by Lender to be sufficient to produce, at least fifteen (15) days before
       the premium due date, amounts at least equal to the insurance premiums to be paid. If fifteen (15) days before payment is due, the reseNe
       funds are insufficient, Grantor shall upon demand pay any deficiency to Lender. The reserve funds shall be held by Lender as a general
       dep0sit and shall constitute a non-interest-bearing account which Lender may satisfy by payment of the insurance premiums required to be
       paid by Grantor as they become due. Lender does not hold the reserve funds in trust for Grantor, and Lender is not the agent of Grantor
       for payment of the insurance premlums required to be paid by Grantor. The responsibility for the payment of premiums shall remain
       Grantor's sole responsibility.
       Insurance Reports. Granter, upon request of Lender, shall furnish to Lender reports on each existing policy of insurance showing such
       information as Lender may reasonably request including the following: (1) the name of the insurer; (2) the risks insured; (3) the amount
       of the policy; (4) the property insured; (5) the then current value on the basis of which insurance has been obtained and the manner of
       determining that value; and (6) the expiration date of the policy. In addition, Granter shall upon request by Lender (however not more
       oft!'ln than annually) have an independent appraiser satisfactory to Lender determine, as applicable, the cash value or replacement cost of
       the Collateral.
       Financing Statements. Grantor authorizes Lender to file a UCC financing statement, or alternatively, a copy of this Agreement to perfect
       Lender's security interest. At Lender's request, Granlor additlonally agrees to sign all other documents that are necessary lo perfect.
       protect, and continue Lender's security interest in the Property. Grantor will pay all filing fees, title transfer fees, arid other fees and costs
       involved unless prohibited by law or unless Lender is required by law to pay such fees and costs. Granter irrevocably appoints Lender to
       execute documents necessary to transfer title if there is a default. Lender may file a copy of this Agreement as a finaricing statement.
  GRANTOR'S RIGHT TO POSSESSION. Until default, Grantor may have possession of the tangible personal property and beneficial use of all the
  Collateral and may use it in any lawful manner not inconsistent with this Agreement or the Related Documents, provided that Grantor's right to
  possession and beneficial use shal! not apply to any Collateral where possession of the Collateral by Lender is required by law to perfect
  Lender's security interest in such Collateral. If Lender at any time has possession of any Collateral, whether before or after an Event of Default.
  Lender shall be deemed to have exercised reasonable care in the custody and preseNation of the Collateral if Lender takes such action for that
  purpose as Grantor shall request or as Lender, in Lender's sole discretion, shall deem appropriate under the circumstances, but failure to honor
  any request by Granter shall not of itself be deemed to be a failure lo exercise reasonable care. Lender shall not be required to take any steps
  necessary to preseNe any rights in the Col!aleral against prior parties, nor lo protect, preserve or maintain any security interest given to secure
  the Indebtedness.
  LENDER'S EXPENDITURES. If any action or proceeding is commenced lhal would materially affect Lender's interest in the Collateral or if
  Grantor fails to comply with any provision of this Agreement or any Related Documents, including but not limited ta Grantor's failure to
  discharge or pay when due any amounts Grantor is required to discharge or pay under this Agreement or any Related Documents, Lender on
  Grantor's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited to discharging or
  paying all taxes. liens, security interests, encumbrances and other claims, at any time levied or placed on the Collateral and paying all costs for
  insuring. maintaining and preserving the Collateral. Al! such expenditures incurred or paid by Lender for such purposes will then bear interest at
  the rate charged under the Nate from the date incurred or paid by Lender to the dale of repayment by Grantor. All such expenses will become a
  part of the Indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Note and be apportioned
  among and be payable with any installment payments to become due during either (1) the term of any applicable insurance policy; or (2) the
  remaining tenn of the Note; or (C) be treated as a balloon payment which will be due and payable al the Note's maturity. The Agreement also
  will secure payment of these amounts, Such right shall be in addition to all other lights and remedies to which Lender may be entitled upon
  Default.
  DEFAULT, Each of the following shall constitute an Event of Default under this Agreement:
      Payment Default. Granter fails to make any payment when due under the Indebtedness.
      Other Defaults. Grantor fails to comply with or to perform any other term, obligation, covenant or condition contained in this Agreement or
      in any of the Related Documents or to comply with or to perfonm a11y term, obligation, covenant or condition contained in any other
      agreement between Lender and Granter.
      Default in Favor of Third Panies. Any guarantor or Grantor defaulls under any loan, extension of credit, security agreement, purchase or
      sales agreement. or any other agreement. in favor of any other creditor or person that may materially affect any of any guarantor's or
      Grantor's property or ability to perform their respective obligations under this Agreement or any of the Related Documents.
      False Statements. Any warranty, representation or statement made or furnished to Lender by Gran tor or on Grantor's behalf under this
      Agreement or the Related Documents is false or misleading in any material respect, either now or at the lime made or furnished or becomes
      false or misleading at any time thereafter.
      Defective Collateralization. This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
      collateral document to create a valid and perfected security interest or lien) at any time and for any reason.
      Insolvency. The dissolution of Grantor (regardless of whether election to continue Is made), any member withdraws from the limited
      liability company, or any other termination of Grantor's existence as a going business or the death of any member, lhe insolvency of
      Grantor, the appointment of a receiver for any part of Grantor's property, any assignm.:.nt for the benefit of creditors, any type of creditor
      workout, or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Granlor.
      Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
      repossession or any other method, by any creditor of Grantor or oy any governmental agency against any collateral securing the
      Indebtedness_ This includes a garnishment of any of Grantor's accounts. including deposit accounts, with Lender. However, this Event of
      Default shall not apply if there is a good faith dispute by Granlar as to the validity or reasonableness or the claim which rs lhe basis of the
      creditor or forfeiture proceeding and if Grantor gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender
      monies or a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in its sole discretion, as being an
      adequate reserve or bond for the dispute.
      Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or Guarantor
      dies or becomes incompetent or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
      Adverse Change. A material adverse change occurs in Grantor's financial condition, or Lender believes the prospect of payment or
      perfonmance of the Indebtedness is impaired.
      Insecurity. Lender in good faith believes itself insecure.
      Cure Provisions. If any default. other than a default in payment is curable and if Grantor has not been given v notice of a breach of the




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       same provision of this Agreement wfthin lhe r,receding twelve (12) months, it may be cured if Granter, after Lender sends written notice to
       Granter demanding cure of such default: (1) cures the default within fifteen (15) days; or (2) if the cure requires mora than fifteen (15)
       days, immediately initiates steps which Lender deems in Lender's sole discretion to be sufficient to cure the default and thereafter
       continues and completes all reasonable and necessa,y steps sufficient to produce compliance as soon as reasonably practical.
  RIGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under thls Agreement, al any time thereafter, Lender shall have all the
  rights of a secured party under the California Uniform Commercial Code. In addition and without limitation, Lender may exercise any one or
  more of the following rights and remedies:
      Accelerate Indebtedness. Lender may declare the entire Indebtedness, including any prepayment penalty which Grantor would be required
      lo pay, immediately due and payable, without notice of any kind to Grantor.
      Assemble Collateral. lender may require Grantor to deliver lo Lender all or any portion of the Collateral and any and all certificates of title
      and other documents relating to the Collateral. Lender may require Grantor to assemble the Collateral and make it available to Lender at a
      place to be designated by Lender_ Lender also shall have full power to enter upon the property of Granter to take possession of and
      remove the Collateral. If the Collateral contains other goods not covered by this Agreement at the time of repossession, Granter agrees
      Lender may take such other goods, provided that Lender makes reasonable efforts to return them to Granter after repossession.
      Sell the Collateral. Lender shall have full power to sell, lease, transfer, or otherwise deal with ttie Collateral or proceeds U,ereof in Lender's
      own name or that of Granter. Lender may sell the Collateral al public auction or private sale. Unless the Collateral threatens to decline
      speedily in value or is of a type customarily sold on a recognized market, Lender will give Granter, and other persons as required by law,
      reasonable notice of the time and place of any public sale, or the time after which any private sale or any other disposition of the Collateral
      is to be made. However, no notice need be provided to any person who, after Event of Default occurs, enters into and authenticates an
      agreement waiving that person's right lo notification of sale. The requirements of reasonable notice shall be met if such notice is given at
      least ten (10) days before the time of the sale or disposition, All expenses relating to the disposition of the Collateral, including without
      limitation the expenses of retaking, holding, insuring, preparing for sale and selling the Collateral. shall become a part of the Indebtedness
      secured by this Agreement and shall be payable on demand, with interest at the Note rate from date of expenditure until repaid.
      Appoint Receiver. Lender shall have the right to have a receiver apµoinled to lake possession of all or any part of the Collateral, with the
      power to protect and preserJe the Collateral, to operate the Collateral preceding foreclosure or sale, and lo collect the rents from the
      Collateral and apply the proceeds, over and above the cost of the receivership, agains.I the Indebtedness. The receiver may serve without
      bond if permitted by taw. Lender's right to the appointment of a rec:eiver shall exist whether or not the apparent value of the Collateral
      exceeds the Indebtedness by a substantial amount_ Employment by Lender shall not disqualfy a person from serving as a receiver.
      Collect Revenues, Apply Accounts. Lender, either itself or through a receiver, may collect the payments, rents, income, and revenues from
      the Collateral. Lender may at any time ln Lender's discretion transfer any Collateral into Lender's own name or that of Lender's nominee
      and receive the payments, rents, income, and revenues therefrom and hold the same as security for the Indebtedness or apply it to
      payment of the Indebtedness in such order of preference as Lender may determine. Insofar as the Collateral consists of accounts, general
      intangibles, insurance policies. instrvments, chattel paper. choses in action, or similar property, lender may demand, collect, receipt for,
      settle, compromise, adjust. sue for, foreclose, or realize on the Collateral as Lender may determine. whether or not Indebtedness or
      Collateral is then due. For these purposes, Lender may, on behalf of and in the name of Grantor, receive, open and dispose of mail
      addressed to Grantor; change any address to which mail and payments are to be sent; and endorse noles, checks, drafts, money orders,
      documents of title, instruments and items pertaining to payment, shipment, or storage of any Collateral. To facilllate collection, Lender
      may notify account debtors and obligors on any Collateral to make r:,ayments directly to Lender.
      Obtain Deficiency. If Lender chooses lo sell any or all of the Collateral, Lender may obtain a judgment against Granlor for any deficiency
      remaining on the Indebtedness due lo Lender after application of all amounts recerved from the exercise of the rights pr0vided in this
      Agreement. Grantor shall be liable for a deficiency even if the transaction described in this subsection is a sale of accounts or chattel
      paper.
      Other Rights and Remedies. Lender shall have all the rights and remedies of a secured credftor under the provisions of the Uniform
      Commerdal Code, as may be amended from time to lime. In addition, Lender shall have and may exercise any or all other rights and
      remedies ii may have available al law, in equity, or othetwise.
      Eleclion of Remedies. Except as may be prohibited by applicable law, all of Lender's rights and remedies, whether evidenced by this
      Agreement, the Related Documents, or by any other writing, shall be cumulative and may be exercised singularly or concurrently. Election
      by Lender to pursue any remedy shall not exclude pursuit of any other remedy, and an eleclion to make expenditures or to take action to
      perform an obligation of Granier under this Agreement, after Grantor's failure to perform, sh;,11 not affect Lender's right lo declare a default
      and exercise its remedies.
  MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
      Amendments. This Agreement, together with any Related Docurnenls. constitutes the entire u nderslanding and agreement of the parties
      as to the matters set forth in this Agreement. No alteration of or amendment lo this Agreement shall be effective unless given in writing
      and signed by ths party or parties sought to be charged or bound by the alteration or amendment.
      Attorneys' Fees; EMpenses. Granier agrees lo pay upon demand all of Lender's costs and expenses, including Lender's attorneys' fees and
      Lender's legal expenses, incurred in connection with the enforcement of this Agraement. lender may hire or pay someone else to help
      enforce this Agreement. and Grantor shall pay the costs and expenses of such enforcement. Costs and expenses include Lender's
      attorneys' fees and legal expenses whether or not there is a lawsuit, including attorneys· fees and legal expenses lor bankruptcy
      proceedings (including efforts to modfy or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection
      services. Granter .ilso shall pay all court costs and such additional fees as may be directed by the court.
      Caption Headings. Caption headings in this Agreement are for convenience purposes only and are not to tJe used to interpret        or define the
      provisions of this Agreement.
      Governing Law. This Agreement will be governed by federal law appllcable to Lender and, lo lhe extent not preempted by fllderal law, the
      laws of lhe State of California withoul regard to its conflicts of law provisions. This Agrnemenl has been accepted by lender In the Stale
      of Californla.
      Choice of Venue. If there is a lawsuit, Granter agrees upon Lender's request to submit to the jurisdiction of !he courts of los Angeles
      County, Stale of California
      Preference Payments. Any monies Lender pays because of an asserted preference claim in Grantor's bankruptcy will become a part of the
      Indebtedness and, at Lender's option, shall be payable by Granter as provided in this Agreement.
      No Waiver by Lender. Lender shall nol be deemed to have waived any rights under this Agreement unless such waiver is given in writing




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                                              COMMERCIAL SECURITY AGREEMENT
  Loan No; •        396                                 (Continued)                                                                           Page 5

       and signed t:,y Lender. No delay or om;ssion on the part of Lender ;n exercising any right shall operate as a waiver of such right or any
       other right. A waiver by Lender of a provision of this Agreement shall not prejudice or conslitule a waiver of Lender's right otherwise to
       demand strict compliance with that provision or any other provision of this Agreement. No prior wafver by Lender, nor any course of
       dealing between Lender and Grantor, shall constitute a waiver of any of Lender's rights or of any of Grantor's obligations as lo any future
       transactions. Whenever the consent of Lender is required under this Agreement, the granting of such consent by Lender in any instance
       shall not constitute continuing consent to subsequent instances where such consent is required and in all cases such consent may be
       granted or withheld in the sole discretion of lender.
       Notices. Any notice required lo be given under this Agreement shall be given in writing, and shall be effective when actually delivered,
       when actually received by telefacsimile (unless otheiwise required by Jaw), when deposited with a nationally recognized wernight courier,
       or, if mailed, when deposited in the United Stales mail, as first class, certified or registered mail postage prepaid, d;recled to the addresses
       shown near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving fonmal written
       notice to the other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes, Grantor agrees
       to keep Lender infonmed at all times of Grantor's current address. Unless otherwise provided or requireci by law, if there is more than one
       Granter, any notice given by Lender to any Granter is deemed to be notice given to all Granters.
       Power of Attorney. Granter hereby appoints Lender as Grantor's irrevocable attorney-in-fact for the purpose of executing any documents
       necessary to perfecl, amend, or to continue the security interest granted in this Agreement or to demand termination of filings of other
       s~cured parti.es. Lender may at any i ime, and withoul further authorization from Grantor, file a carbon, pholographic or other reproduction
       of any fina·ncing statement or of this Agreement for use as a financing statement <3rantor will reimburse Lender ro r all expenses for the
       perfection and the continuation of the perfection o f Lender's security interest In the Collateral.
       Waiver of Co-Obligor's Rights. If more than one person is obligated for lhe Indebtedness, Granter irrevocably waives, disclaims and
       relinquishes all claims against such other person which Granier has or would otherwise have by virtue of payment of the Indebtedness or
       any part thereof, specifically Including but not limited to aJl rights of indemnity, con tribution or exoneration.
       Severablllty. If a court of competent jurisdiction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any
       circumstance, that finding shall not make the offending provision illegal, invalid, or unenforceable as to any other circumstance. If feasible,
       the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot be so
       modified, it shall be considered deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or unenforceability
       of any pro,,ision of this Agreement shall not affect the legality, validity or enforceability of any other provision of this Agreement.
       Successors and Assigns. Subject to any limitations stated in this Agreement on transfer of Grantor's interest, this Agreement shall be
       binding upon and inure to the benefit of the parties, their succe,isors and assigns. If ownership of the Collateral becomes vested in a
       person o ther than Granter, Lender, without notice lo Granter, may deal with Grantor's successors with reference to this Agreement and the
       lndebtedpess by way of forbearance or extension without releasing Grantor from the obligations of this Agreement o r liability under the
       Indebtedness.
       Survival of Representations and Warranties. All representations, warranties, and agreements made by Granter in this Agreement shall
       survive the execution and delivery of this Agreement, shall be continuing in nature, and shall remain in full force and effect until such time
       as Grantor's lndetlledness shall be paid in full.
       Time is of the Essence. Time is of the essence ln the performance of this Agreement.
       Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any jury trial In any action,
       proceeding, or counterclaim brought by any party against any other party.
  DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Agreement. Unless specincally
  stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms
  used in the singular shall include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
  defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code:
      Agreement. The word "Agreement" means this Commercial Security Agreement, as this Commercial Security Agreement may be amendea
      or modified from time to llme, together with all exhibits and schedules attached to this Commercial Security Agreement from time to lime.
      Borrower. The word "Borrower" means Hero Nutritionals, LLG and includes all co-signers and co-makers signing the Nole and all !heir
      successors and assigns.
      Collateral. The word "Collateral" means all of Grantor's right, title and Interest in and to all the Collateral as described in the Collateral
      Description section of this Agreement.
      Default. The word '"Default" means the Default set forth in this Agreement in the section titled "Default".
      Environmental Laws. The words "Environmental Laws• mean any and all slate, federal and local statutes, regulations and ordinances
      relating to the protection of human health or the environment. including without limitation the Comprehensive Environmental Response,
      Compensation, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seq. ("CERCLA"), Lhe Superfund Amendments and
      Reauthorization Act of 1986, Pub. L. No. 99-499 {"SARA"). the Hazardous Materials Transportation Act, 49 U.S.c. Sec11on 1801, el seq.,
      the Resource Conservation and Recovery Act, 42 U.S,C. Section 6901, et seq., Chapters 6.5 through 7.7 of Division 20 of the California
      Health and Safety Code, Section 25100, et seq., or other applicable state or federal laws, rules, or regulations adopted pur!ouant thereto.
      Event of Default. The words "Event of Default" mean any of the events of default set forth in this Agreement in the default section of this
      Agreement.
      Granter. The word "Grantor" means Hero Nutrilionals, LLC.
      Guarantor, The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Indebtedness.
      Guaranty. The word "Guaranty" means the guaranty from Guarantor to Lender, including wilhout limitation a guaranty of all or part of the
      Note.
      Hazardous Substances. The words "Hazardous Substances" mean materials that, because of their quantily, concentration or physical,
      chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when
      improperly used, trealed, stored, disposed of, generated, manulaclured. lransported or otherwise handled. The words "Hazardous
      Substances" are used in their very broadest sense and include without limitation any and all hazardous or toxic substances, mater;als or
      waste as defined by or listed under the Environmental Laws. The term "Hazardous Substances" also includes, without limitation, petroleum
      and petroleum by-products or any fraction thereof and asbestos.
      Indebtedness. The word "lndetJ\edness· means the indebtedness evidenced by the Nole or Related Documents, including all principal and




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                                           COMMERCIAL SECURITY AGREEMENT
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     interest together with all other indebtedness and costs and expenses for which Grantor is responsible under this Agreement or under any of
     the Related Documents. Specifically, without limitation, Indebtedness incfudes the future advances sel forth in the Fulurs Advances
     provision, together with all interest thereon and all amounts that may be indineclly secured by the cross-Collateralization provision of this
     Agreement.
     Lender. The word "Lender" means Bank of Manhattan, N.A., its successors and assigns.
     Note. The word "Note" means the Note dated October 29, 2014 and executed by Hero Nutritionals, LLC in the principal amount of
     $833,950.27, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of, and suosUulions for the
     note or credit agreement.
     Property. The word "Property" means all of Grantor's right, title and interest in and to all the Property as described in the "Collateral
     Description" section of this Agreement.
     Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
     agreements, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments, agreements
     and documents, whether now or hereafter exis\lng, executed in connection with the Indebtedness.
  GRANTOR HAS READ ANO UNDERSTOOD ALL THE PROVISIONS Of THIS COMMERCIAL SECURITY AGREEMENT AND AGREES TO ITS
  TERMS. THIS AGREEMENT IS DATED OCTOBER 29, 2014.

  GRANTOR;




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             •ll'I dllT:.tnl •nrld!llon.l \1J11U.con1tlncdIn •ny ru~rm to fMi l'ut<lim 0 1d1r. ·in •dal!on 10th, otliu win, In 1h11 Purthlft on!,r, 11,(1 l'llr<ltaJ, Ordtr
             <'?1(1,},f lndl><lu~l lmpllcdwm1QUri I.lid .-oflh4buy,r', r«n«Jfu,d {ol1l, I" I.ht Unlfott1>Co111m11dll Codr, In ll,c Ml\l oh,iy<l.l,j>Uu'l>cl\f(tnlM
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             Hero Nulrltrona)a, LLC                                                                           !!I•ti !r"o!a I
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             Mr. Davld Gallardo
             991 Calla Negoclo                                                                                W, •4~ H~ ~174-700
             USA San Clemente, CA 92673                                                                       F.- •t9Ul• 9116119
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             Quotation                                                   Quotation no,         110B689
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             Mrxlo or shipmen\           by o\rll&lght
             Telma of dollvory           FCA (lncolom'le 2010>
             To,ms or pa}menl            edvenco payment
             Hem Part                                                 ,0.u~ntll','[Ul\[I_,_ Unltp;!~o llUft   'fottl t>rlce EUR

             1.0    Wf4St46                       8                                                                      1,280.00
                    TRANSPORT ROLL
                     IOI' pakille ltllns·jX>rl
                    L381_0,4_;!356_0

             2,0    W\61763                       8                                                2-46,00                  492.00
                    V-boll dlao
                    !or pelel!e lranepof1
                    S162_02J)2Z4_0

             J,O    W1tl260J                      8      week(1)                                    24,00                    40.00
                    boh
                    !Of pa!olle tl&Mport
                    8262_04_0143_0

             4,0    W23(6W                        8                       1.065 m                   13,60                     14,66
                    rollarcl!olti
                    lor paletlo !roMport (drlvo)
                    X4_271_01

             6.0    W231619                        ~     WIJ9k(s)                                     1,10                      1.10
                    chain connoelor
                    rQr p.11!ella Ira m1poll (d1lvo)
                    X4-271_11


             <,61W{Ul~bhr R•l•<r R~n)..1                       &o!OO>tll~H\                                   Wultrw,ld f•~k tO        ze.03,
             Mllli,~blllG<>l~t,111                             ll.?~70(00•4•~... nwtll                        1'1.l ~7l 91a OH1,.   l60&qM
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             US\ IU I Ir 0( 1~)/60\110                         ~CCC<ltCl'.lJ~PHf                              eoc coc, ilUIO lit~, \\WI




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             Quotation                 1108669 J 26.03.2014                                              ?l!{l~       2
             11£m.Part                            Dbllv•!J! lime    QUl[!U\~/Unll   UnUprlqiEUR     iohtl PdCl!.filffi.
             6.0 W234520                          8     \Yeek(a)           1 pell           1.60                 1.60
                   Chain link
                   fo, p&letl~ i111mpol\ (dl1v1;.1)
                   X4_211_12
             7,0 W1&~115                          &     Wlllik{a)         2~S             1w.oo                ~94.00
                   6!)/0CKBf
                   for pale lie tronaporl {dtfn•)
                   $3M_04_014O_O

             B.0 W308017                          8     week(s)            4 pe~            0.:15                  1.40
                 8KT-.tl6W
                   for p11!0lte 1rans poll (d~e)

             9.0   W.265192                       8     \W6'1<:1J         ~pc,              0.60                    1.00
                   \N-6KT-sc.11w
                   for pale II& frenr.port [drive)

             1Q,O W114659                     8     weok(s)          ao.ooo m              36,00             1,080.00
                  v-bell
                  ae eppre for pal&lle ltllll&J>Orl
                   K1J09_9~
             11,0 W2343a1                         8     Wll&k(D)           2 pc(!           1.80                    3,60
                   v-bllll conncolor
                   a, vporo IOf pelotle lronelJO{t
                   X4_132ft10

             12.0 W2Ml:i10                        6     weal:.(s)      1,101:i m           1J,60                  16,25
                   rol)Bt ct\&)n
                   for e\Ack!~ unll (d,No)
                   )(4_271_0

             13.0 W2~C>!$                         tl    W66)((a)           f pt3            1.10                    1.10
                   chBlrt oonnet:lor
                   fot e1acklnf unit (ll1lv")                                                                                   N
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                   X<1_27U                                                                                                      t9
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             14,0 W159-407                        8     we~k(t)            1 PC3          168,00                  16lJ.OO
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                   ep,ookel                                                                                                     m
                   for slacking unll (drl'\'fl)                                                                                 (0
                   M _12_O30_O22                                                                                                in
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                                                                                                                                'SI"
             16.0 W\09287                         6     VN&k(e)            1P~              2..64                   2,64
                   p11rnVel key
                   lor elaok~ unit (dtcvo)
                   DOA01.5

             10.0 W1079(tl                        8     week(a)            1 PO-'           Q.90                    0,90




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             J:inal lrwolce                 17(19030'28.08.201-4                                              Pegs:      8



             Po• _Par1 __ - -                           .. Qua~!!tylUn!t       _Unit 111lu1 .!!:UH • --· T<ilol price .l!UR

             46.o W119453                                          101)~                     5.90                   59.00
                    1..plul} oonm1olo,
                    (pnaurnello)
                    cl.18loms la1iff J\o.    8438 90 00
                    Country ol or\)111       JJa.PM

             4S,O W111M67                                          6pcs                      8.90                   4~.so
                  Y pl\Jg ecreWlr,g
                    (pnoumaUoJ
                    cualomis tariff 110.     8U81l000
                    CoWJky ot llflQII\       J Japan

             47,Q W119422                                          201=                      6,70                  114,00
                  p\llg coooee~n
                    {pooumoUo)
                    c:oetoms IDr/tf J'lO.     8◄3800 00
                    ~w,lly of orf{lln         JJapan

             48.0 W119411                                          20pos                     7.10                  142,00
                  plug cormootlofl
                  (pnoumallo)
                    OJ3loms tallffno.         8438 90 00
                    Coun1 ry of 01!{j!n       RCTeJwun

             49.0   Wf19-434                                       20 pee                    3,07                    euo
                    l•oonnl)cl/l>n
                    {pneumanc)
                    <mlotn& [a,Uf 00,         643119000
                    Counlry<>I 01li)ln        JJDpM

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                    customs 1a,1rr 110. 843&91) 00
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             61.0 W606601                                           1 peA                 1;14,00                  614,0()       19
                  ~arod engino                                                                                                   GI
                  cvslom• tariff no,          8431190 00                                                                         ....,.
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                    Col.lll\ty or 01 rg1n     DO81ma11y                                                                          01
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             f:lnal lnvolco                  1709030/26.011,2014



             ~ ...
               P•..rt.:-.___, ......~-. - ~ QuanlltY.~/U_n_lt_ _ ___ Uni) p,Joe t!UR _       ToJal pr!oafil!B
             61.t, W086800
                   suppofllng pluln
                   lor gear molor Item 61,0
                   prlcq le I/Id, n lto>tn 61,0
                   ti>s\ome le.riff no.     8438 DO 00
                   Counl,yuf orlgln         □ Oe1me11y

             5:W W1249IIO                                           2 pu           16MO
                   LIMIT SWITCH
                   Mlom$ lell/fno,            643~8000
                   OQvnllyofo1lgln            GB 8re111BrllB!ll

             63.0 W127l04                                           2-ptS           04.tl0            18~.f.il.l
                   INITIATOR
                   CU1t,:)nt& lerllf i\(),    8-4;!8!!000
                   Co1mtsy ol orf11ln         EU European l.lnlOn

             114.0 W127260                                          4pcs           109.00             436.00
                   INITIATOR
                   eu&lom it Ia.riff no.      84389000
                  Covn1ty of orlpln           E.U EwopHn Union

             6M W1Z1265                                             2pcs            65.80             m.eo
                  lndoollva 8111\Bor
                  e1.1e101ns lslilf no,       843690 00
                  Coun\ry of a11gln           D O~rmany

             $6.0 'TZ.O1                                            1 J'C3        3,845.00          3,645,99
                  dowr.pa~enl
                  lnvok:e t708™ I 1 I 1B.08.20H
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             Final lnvoloe        170903-0/2 6,03,201-1



                                 ___._ _Qu~11lli.YJUnll . .                 Un!j ~;Ice f!UR          Tu.!.!!.I pJfoo l!U~
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                                                          fte(ghl                                               800,00
                                                          \olalp,~                                           13,916.98
                                                          \o!s dOWrr paymanls                            •    3,845.99
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             ppn, Elk& R\!Mel




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             Quotation                   1108569128,03.2014                                         Page       3
             l!~m P.Mf ···-· .. ···-      Dallvervtlm~ ..... aua11lltY1Un11... Unit prlco_EUR   T9to\ JJtloe i!UR
                   nvoaclod pln
                   ror sticl<l~nlt (drNa)
                     [)Q_090_1

             17,0 W151H61                          6   WG&k(S}       1 po~            181.00               181.00
                  aprooket
                     for alaotdno vnll (dr!V&)
                     R5_12_036_003

             18.0 W109142                          6   wee)((eJ       1 Po.9            0,117                0.9T
                     p111ellelkey
                     !or alaeldno unit {drtv6)
                     D0.400.162

             19.0 W107920                          s   woekM         1 PCII             0.49                 0.49
                     ll)ru<fodp!n
                     for alaolclno unit (drlvti)
                     00.090,107

             :«1.0 W114619                         e   weok(s)       2 pc,             23.60                41.20
                     V-beK
                     for fe&der drtv11
                     1<1_787_$5

             ~1.0 W114607                          8   Yl<IOk{s)     2 pcs              11.00               22.00
                  v-ball
                     fo1toado1 drive
                     KU&1_~6
             ?.2.0 W113$17                         6   woak(s}        2 pes              1,22                2.44
                     0·11og
                     fo<goarboxosl.261 22 4103 Oend
                     l281_22_4104...,2 beiow-lhe depooltor
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             ~:i.o   W11a314                       0   Wllllk(s)     3pcs                1.22                3.6(1        cg
                     0-r!~                                                                                                r.i,
                     11>r geAr boxet l261_22_4103_0 and
                     1261_.22_4104_2 belaw tbe depoaltor
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             ~4.0 W1131◄0                          8   wee~(i,)       4 PM               4.60               18.40
                     .seaUng ring                                                                                        .._,..
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                     for1Joar boxea L281_22_4103_011\d
                     LW1_?2...4104_2 bel❖W\lui deposHor

             ~o.O    W11311:J              8     weelr.(a)            2 pcs              MO                  7.00
                     1ioalJ119 11119
                     for gear box L261_22_4104_2 boloW
                     \hi) dcposllor




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             Quotation                   1108689 /20.00,201◄                                                                 Paga         4

             ~WI'
              .o 1738J:i
                8RUSH
                                      .. _    --P.2ll~JY..J!.[ll1.2, _____ .2v,tllJJYLl!ttll ·-···\:!nl.!.P.t~Q.fi._ T.9J.!!J 1111£.9_!::.YB
                                                 I>     wook s)                   4 p03                         .oo                235,00
                     V261•.0lt730Z_1
             ~7,tl   W13W770                    0       we9k{8)                   2pe,,                    378,00                  768.00
                     SCRAPING BRUSH
                     L281_06_7003_O
             28.0 W173854                       6       we.ek(11)                 2pc;s                    182.C0                  384,00
                  biuah
                  V261_0636Q6_0

             29.Q W173B51                       6       Wet);{&}                  4pe$                     ~21.00                1,264.00
                     BRUSH
                     V281_00_7601_1

             3M W261661
                broth
                                                ~       we111\{$}                 z~                       116.00                  i30,00

             31.0 W~l5t6                        8       week{s)              3.0a7fll                       13.80                    42.(ll)
                  10lfor ctn,In
                  X4~1_01

             32,0 W234519                       6       week(s)                   1p~                         1.10                     1,10
                     eMln eonn&elor
                     X4...271_11
             SM W234620                         6       W06ll(e)                 1 pc&                        1.60                    1.(l()
                     dlolnlll!ll
                     X4...271_12

             34.0 W160072                       5       week(e)                  1 pt:1                    110.00                  170.00
                     sprool<et
                     R5_12_026_004
                                                                                                                                                     f\J
                                                                                                                                                     (SJ
             35.0 w1Jms                         5       wook(s}                   t pc$                     57,00                    67.00           IS)
                  cllaln llgh!<ntor                                                                                                                  &
                                                                                                                                                     U)
                  1.262_08_2604_0
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                                                                                                                                                    (0
             3M W17.'J712                       6       WGIJk(&}                  1pcs                        6.00                    6.00          U)
                     prouure ec.ew                                                                                                                  an
                     V26i_00_8265_0                                                                                                                 'V

            37.0 8000002                        8       waek(s)                   1 PC$                 S,20:J,00                3,20M0
                     prgrem aUder
                     for th& ex!atlng pump 1yslem
                     W1◄ 49!16 (\',tth g X42 platons,
                     012mm)
                     Thls plate le tho Wellhlnl) plalo, o.g, BIi




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             Quotation      1108589 I 26.03.2014                                                            Pago         6
             !\~m~ ~rt ____      . Pollvory \fnlp_ . .. .9Hilltl.!\yl\),!1_1l_ Uti.!lP.{!s:o.J:\JJl .• J.Ql!!t P.!!9.o EUR
                     pr111ooa In wot~.

             38.0W~B                            e        weekM           1 pee                 8&.50               68.60
                     atartlng valve
                     (pnovmG1ll(, lor s(acl(IIIQ unll}

             39.0 W11ll2~                       &        W80k(e)         1 pu                   7.10                 7,10
                     flound abacul>qr 1/4"
                     (pneum\lWI, for sl~cklng- unH)
                     ~m_o2
             -10.0   w~o.m                      $        WC/Ok{a)        1 J)Q$               136.00              136.00
                     rnrerreg~elln11 valve
                     jpnoumaUk, for tilaeldfl!l ooll)

             41.0    W~:l0-153                  8      wedk{a)           ip~                   2&.60                28,tl0
                     dls\rlbulor
                     {J)noumllllk, ror ~a11ldng \lnlt,

             42.0 W110~27                       8        we11k(11)       1 JIC9                 1.$7                 1.57
                  doub!o nlpplo
                     (pneumalJk, !or alacklng unit)
                     K'Z._432_63                     ·

             43.0 WW2543                        &        w~k{~l          1 pos                116.0D               115,00
                     mogrnil!c vslvo
                     (pnoumolto1

             44.0 W119007                        8       Wi);!k{II)      1 pcs                148.00               148.00
                     mB{lnallo v11tvo
                     (pi1eutnetlo}
                     K2_426_04_96

             45,0 W11ll~~                       a        w11ek{s)       10 ~OS                   5.90               59.00
                     T-plug OOM9Clor
                     (pneumeUo)
                     K2_43'1_26_0:J

             4ti.O W1111<¾>7                     8       wo~k(s)         flpcs                   6.80               44.60
                     Vplu~ •cro~ng
                     (pnoum!l\io)
                     1<2_434_3O_0J
                                                                                                                                    N
             47,0 W11042:t                       a       Wllflk(t)      20p0$                    6.70              114.01)          C9
                                                                                                                                    to.I
                  plug ~nnootloo                                                                                                    G
                  {pl\8Umatlc)
                     K2_434~1U36
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             -48.0 W119411                       8       WEl&k{$)       2(1 pos                  7.10               142,00          lO
                                                                                                                                    U'I
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             Quotation                   H08S69 l 211.03..2014                                                                   Pa911           ~

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             40.0 W118434                         8       weol<{a}                  20~                              3.07                81.40
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                    t ,umellc)
                       _434_19_0~

             ~o.o   W11~32                        8        Wllsk{s)                 :20pca                           6.115               103.00
                    L-conr1oollgn
                    {Jlnoomol!o)
                    K2..-4:M_11U)3

             61.0 W12921l6                         0       woek(aJ                    1 pc$                        514.00                614.00
                  ga11red engln11
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             Flnal lnvolce                    1708692(06.()(l 2014                                                              Page:      9



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                  wa11>m, tariff no. 843880 00
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             71.0 W3T60-42                                         2 pc;s             103.00                     326.00
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             Fln,J lnvolco          171)86g:z/08.08.2014



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                                                              PURCHASE ORnER

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              Quo1alton                 1108427 /08.03.2014                                                Pa;o      2

              !!~11~. ··- ·              __'P~llvc1)'..l~.!lP   .. QUllnJIWlY.!!ll ,_Jltl.!J 1!.l~~.!l.YLT91411!!1~~~6
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                     !or ehon l.262.20,0002,1 (main gaar
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              Quotallon                      11~27 /()8.03,2014                                                               p,.~e        ~

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              Quo1atlon                   1108427 / OU3.201-4                                                        Pe~        4
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              Quotation                      110B4~1 I OM3.201◄                                              Pogo        G
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              56.0 W2~466S                         12   W~Pk{$)               1 pc;               Ml                  :,.ei
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                                       for dll'l!n11 '1la/t L2&1_<16_0069_2
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              92.0 W1H66a                 1:1   ~k(e)           4. f~O rn                  1MO                 -17.56
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             Fina! hwo!oe                    17090:JD/26.08.2014



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                                                                      -:;
                                                           PROMISSORY NOTE


     References in the boxes above are for lender's use only and do not lirriit the applicability of this document to any particular Joan or item_
                       .       Any item above containing ,.__ ,, has been omitted due to text length llmitatfons.

 Borrower;       Hero Nutritlonal5, LLC                                         Lender:          Ba11k of Manhattan, N.A.
                 190D East Carnegie Avenue, Building A                                           Pasadena Office
                 Santa Ana, CA 92705                                                             199 South Los Robles Avenue
                                                                                                 Suite 130
                                                                                                 Pasadena, CA 91101


  Principal Amount: $500,000.00                                                                               Date of Note: February 19, 2015
  PROMISE TO PAY. Hero Nutrltionals, LLC ("Borrower") promises to pay t o Bank of Manhattan, N.A. ("Lender"), or order, Jn lawful money ofthe
  United States of Amerfca, the prlnclpal amount of Flva Hundred Thousand & 00/1 00 Dollars ($500,000.00}, together wlth Interest o n the unpaid
  prlnclpal balance from February 19, 2D15, calculated as described in the "INTEREST CALCULATION METHOD" paragraph using an Interest rate
  of 5.360%, until paid in full. The Interest rate may change under the terms and conditlons of the "INTEREST AFTER DEFAULT" section-
  PAYMENT. Borrower wlll pay this loan In 84 payments of $7,169.15 each payment. Borrower's first payment Is due March 19, 2015, and all
  subsequent payments are due on the same day of eact:, month after that. Borrower's flnal payment will bo due on February 19, 2022, and will
  be for all principal ancl all accrued Interest not yet paid. Payments l11clude principal and interest. Unless -otherwise agreed or required by
  applicable l aw, payments will be applied first to any accrued unpa_ld Interest; then to principal; then fo any late charges; then to any unpaid
  collection costs; and then to any escrow or r11serve account payments as required under any mortgage, deed or trus t, or other security
  Instrument or security agreement securing this Note. Borrower will pay Lender at lender's address shown above or at such other place as
  lender may designate In writing.
  INTEREST CALCULATION METHOD. Interest on thls Note is computed on a 365/360 basis; that is, by applying the ratio of the interest raie
  over a year of 360 day s, multiplied by the outstanding prlncipal balance, multlplfed by the actual number of days the principal balance is
  outstanding. All Interest payable under this Note Is computed using this method. This calculatlon method results In a higher effective Interest
  rate than the numeric Interest rate stated In this Note.
  PREPAYMENT; MINIMUM INTEREST CHARGE. In any event, even upo11 full prepayment of this Note, Borrower understands that Lender is
  entitled to a minimum interest charge of $100.00. other than Borrower's obligation to pay any minimum interest charge, Borrower may pay
  without penalty all or a portion of the amoun t owed earlier than it is d ue_ Early payments w ill not , unless agreed to by Lender In writing , relieve
  Borrower o f Borrower's obllgatic:in to continue to make payments under the payment schedule. Rather, early payments will reduce the principal
  balance due and may resvlt In Borrower's making fewer payments. Borrower agrees not to send Lender payments- marked "paid in full",
  "without recours~·- or similar language. If Borrower sends such a payment, Lender may accept It w ithou t losing any of Lender's rights under
  this Note, and Borrower w ill remain obligated to pay any furth_   e r amount owed to Le·nder_ All written communicat ions concerning d isputed
  amounts, Including any check or other payment Instrument that Indicates lhat the payment constitutes ..payment In full" of the amount owed or
  that Is tendered with other conditions or llmltatlons or as full satisfaction of a disputed amo1ml must be malled or delivered to; Bank of
  Manhattan, N_A.; Pasadena Office; 199 South Los Robles Avenue; Suite 130; Pasadena, CA 91101.
  LATE CHARGE. If a payment is 10 days or more late, Borrower will be charged 6.000% of the unpaid portion of the regularly scheduled
  payment or $25.00, whichever Js greater.
  INTEREST AFTER DEFAULT. Upon default, the interest rate on this Note shall, if permitted under applicable law, immediately increase by 5.000
  percentage points.
  DEFAULT. Each of the follow;ng shall constitute an event of default ("Event of Default") under thjs Note:
       Payment Default. Borrower fails to make any payment when due under this Note.
       Other Defaults. Borrower fails to comply with or to perform any other term, obligation, covenant or coridition contained in this Note or in
       any of the related documents or lo comply with or to perform any term, obligation. covenant or condition contained in any other agreement
       between Lender and Borrower_
       Default In Favor of Third Parties. Borrower or any Granter defaults under any loan, extension of credit, security agreement. purchase or
       sales agreement, or any other agreement, in favor or any other c reditor or person that may materially affect any of Borrower's property or
       Borrower's ability to repay this Note or perform Borrower's obllga lions under this Note or any of the related documents.
       False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
       Note or the related documents is false or misleading in any material respect, either now or at the lime made or furnished or becomes false
       or misleading at any time thereafter.
       Death or Insolvency. The dissolution of Borrower (regardless of whether election to continue is made}, any member withdraws from
       Borrower, or any other termination of Borrower's existence as a going business or the death of any member, the insolvency of Borrower,
       the appointment of a receiver for any part of Borrower's property, any assignment for the benefit of creditor.., any type of creditor workout,
       or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Borrower_
       Creditor or Forfeiture Proceedi11gs. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self-help,
       repossession or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the loan.
       This includes a garnishment of any of Borrower's accounts, including deposit accounts, with lender. However, this Event of Default shall
       not apply if there is a good faith dispute by Borrow er as to the validity or reasonableness of the claim which is the basis uf the c redllor or
       forfeiture proceeding_and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with lender monies or
       a surety bond for the creditor or forfeiture proceedjng, in an amount determined by Lender, in its sole discretion, as being an adequate
       reserve or bond for the dispute.
       Events Affecting Guarantor. Any of the preceding events occurs with respect 1o any Guarantor of any of the indebtedness or any
       Guarantor dies or becomes incompetent, or revokes or disputes the validity of. or liability under, any guaranty of the indebtedness
       evidenced by this Note_




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       Adverse Change. A material adverse change occurs in Borrower's financial condition. or lender believes the prospect of payment or
       performance of this Note ts impaired.
        Insecurity. Lender in good faith believes itself insecure.
       Cure Provisions. If any default. other than a default in payment, is curable and if Borrower has not been given a notice of a breach o f the
       same provision of this Note within the preceding twelve (12) months, it may be cured if Borrower, after Lender sends w ritten nouce to
       Borrower demanding cure of such default: (1) cures the default within fifteen (15) days; or (2) If the cure requires more than fifteen (15)
       days, immediately Initiates steps which Lender deems In Lender's sole discretion to be sufficient to cure the default and thereafter
       continues and completes all reasonable and necessary s teps sufficient to produce compliance as soon as reasonably practical.
  LENDER'S RIGHTS. Upon default, Lender may declare the entire unpaid principal balance under this Note and all accrued unpaid interest
  immediately due, and then Borrower will pay that amount.
  ATTORNEYS' FEES; EXPENSES. Lender may hire or pay someone else to help collect this Note if Borrower does not pay. Borrower will pay
  Lender that amount. This Includes, subject to any limits under applicable law, Lender's allomeys' rees and Lender's legal expenses, whether o r
  not there Is a law suit, including attorneys' fees, expenses for bankruptcy proceedings (Including efforts to modify or vacate any automatic stay
  or injunction), and appeals. Borrower also will pay any court costs, in addition to all other sums provided by law.
  JURY WAIVER. To the extent permitted by applicable law, Lender and Borrower hereby waive the right l o any jury trial In any action.
  proceeding, or counterclaim brought by either Lender or Borrower against the other.
  GOVERNING LAW. This Note w/11 be governed by federal law applicable to Lender and, to lhe extent not preempted by federal law, the laws of
  the State of Cal!fornla without regard to Its conflicts of law provisions. This Note has been accepted by Lender in the State of Callfomla.
  CHOICE OF VENUE. If there is a lawsuit, Borrower agrees upon Lender's request to submit to th e jurisdiction of the courts of los Angeles
  County, State o f California.
  DISHONORED ITEM FEE. Borrower will pay a fee to Lender of $20.00 if Borrower makes a payment on Borrow er's loan and the check or
  preauthorized charge with which Borrower pays is later dishonored.
  RIGHT OF SETOFF. To the exlenl permitted by applicable law. Lender reserves a right of setoff in all Borrower's accounts with Lender (whether
  checking, savings, or some other account). This includes all acoounts Borrower holds Jointly with someone else and all accounts Borrower may
  open in lhe future. However, this does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
  law. Borrower authorizes Lender. to the extent permitted by applicable law, to charge or setoff all sums owing on the indebtedness against any
  and all such accounts, and. at Lender's option, to administratively freeze all such accounts to allow Lender to protect Lender's charge and setoff
  rights provided In this paragraph.
  COLLATERAL Borrower acknowledges this Note is secured by the following collateral described in the security instrument listed herein:
  collateral described in a Commercial security Agreement dated February 19, 201 5.
  SUCCESSOR INTERESTS. The terms of this Note shall be binding upon Borrower, and upon Borrower's heirs, personal representatives,
  successors and assigns, and shall inure lo the benefit of Lender and its successors and assigns.
  NOTIFY US OF INACCURATE INFORMATION WE REPORT TO CONSUMER REPORTING AGENCIES. Borrower may notify Lender if Lender
  reports any inaccurate information about Borrower's account(s) lo a consumer reporting agency. Borrower's written notice describing the
  specific inaccuracy(ies) should be sent to Lender at the following address: Bank of Manhattan, N.A., Pasadena Office, 199 South Los Robles
  Avenue. Suite 130, Pasadena, CA 91101.
  GENERAL PROVISIONS. If any part of this Note cannot be enforced, this fact will not a ffect !he rest of the Note. Leneler may delay or forgo
  enforcing any of its rights or remedies under this Note without losing them. Borrower and any other person who signs, guarantees or endorses
  this Note. to the extent allowed by law. waive any applicable stalute of limitations, presentment, demand for payment, and notice o f dishonor.
  Upon any change in the terms of this Nole, and unless otherwise expressly stated in writing, no party who signs this Note, whether as maker,
  guarantor, accommodation maker or endorser, shall be released from liability. All such parties agree that Lender may renew or extend
  (repeatedly and for any length of time} this loan or release any party or guarantor or collateral; or impair, fail to realize upon or perfect Lender's
  security Interest In the collateral; and take any other action deemed necessary by Lender wilhoul the consent of or notice to anyone. All such
  parties also agree that Lender may modify this loan w ithout lhe consent o f or notice to anyone other than lt]e party with whom th!? modification
  Is made. The obligations under this Note are Joint and several.
  PRIOR TO SIGNING THIS NOTE, BORROWER READ AND UNDERSTOOD AU THE PROVISIONS OF THIS NOTE. BORROWER AGREES TO THE
  TERMS OF THE NOTE.
  BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSORY NOTE.

  BORROWER:




                                                   of Hero




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                                             ALLONGE

            ALLONGE to be attached to and made a part of that certain Promissory Note in the
     original principal amount of Five Hundred Thousand and 00/1 00 Dollars ($500,000.00) dated
     February 19, 2015, (Loan Number-001) made by Hero Nuh·itionals, LLC, and in favor
     of Pacific Premier Banlc, successor-by-merger to Plaza Bank, successor-by-merger to Bank of
     Manhattan N.A., as renewed, amended, or modified.

            Pay to the order of McConnick 107, LLC, a Maryland limited liability company, without
     representations, warranties or recourse.




                                                By:
                                                Name:
                                                Title:
                                                Date:     J-1i 1.- r,A   I ' , 2019




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                                           COMMERCIAL SECURITY AGREEMENT


     Rererences in the boxes above are for Lender's use only and do not limit the appllcabillty of this document to ,my particular loan or item.
                               Any item above containing ""'*"'" has been omitted due to text length limitations.

 Grantor:        Hero Nutrltionals, LLC                                          Lender:          Bank of Manhattan, N.A.
                 1900 East Carnegie Avenue, Bulldlng A                                            Pasadena Office
                 Santa Ana, CA 92705                                                              199 Sout'1 Los Robles Avenue
                                                                                                  Suite 130
                                                                                                  Pasadena, GA 911 o1



  THIS COMMERCIAL SECURITY AGREEMENT dated February 19, 2015, is made and executed between Hero Nutritlonals, LLC ("Grantor") and
  Bank of Manhattan, N.A. ("Lender").
  GRANT OF SECURITY INTEREST. For valuable considerallon, Granlor grants to Lender a security interest in the Collateral to secure the
  Indebtedness and agrees that Lender shall have the rights stated In this Agreement with respect lo the Collateral, In addition lo all other rlghts
  which Lender may have by law.
  COLLATERAL DESCRIPTION. The word "Collateral" as used In this Agreement means the following described property, whether now owned or
  hereafter acquired, whether now existing or hereafter arising, and wherever located, In which Grantor is giving to Lender a security interest for
  the payment of the Indebtedness and performance of all other obligations under the Note and this Agreement:
       Collateral as described per Ellhlb\t A
  In addition, the word "Collateral" also includes all the following, whether now owned or hereafter acquired, whether now existing or hareafter
  arising, and wherever located:
       (A) All accessions, attachments, accessories, replacements of and additions to any of the collateral described herein, whether added now
       or later.
       (B) All products and produce of any of the property described in this Collateral section.
       (C) All accounts, general intangibles. instruments, rents, monies, payments, and all other rights, arising out of a sale, lease, consignment
       or other disposition of any of the property described in this Collateral section.
       (D) All proceeds (including insurance proceeds) rrom the sale, destrvction, loss. or other disposition of any of 1he property described in this
       Colla1eral section, and sums due from a third party who has damaged or destroyed the Collateral or from that party's insurer, whether due
       to judgment. settlement or other process.
       (E) All records and data relating to any of the property described in this Collateral section. whether in the form of a writing, photograph,
       microfilm, microfiche. or electronic media. together with all of Grantor's rigl:ll, title, and interest in and lo all computer software required to
       utilize, create, maintain, and process any such records or data on elactronic media.


  CROSS--COLLATERALIZATION, In addition to the Note, this Agreement secures all obligations, debts and liabilities, plus inlerest thereon, of
  Grantor to Lender, or any one or more of them, as well as all claims by Lender against Grantor or any one or more af them, whether now
  existing or hereafier arising, whether related or unrelated lo the purpose of the Note, whether voluntary or otherwise, whether due or not due,
  direct or indirect. determined or undetermined, absolute or contingent. liquidated or unliquidated, whether Grantor may be liable individually or
  jo;nuy wllh others, whether obligated as guarantor, surety, accommodation party or otherwise, and whether recovery upon such amounts may
  be or hereafter may become barred by any statute of limitations, and whether the obligation lo repay such amounts may be or hereafter may
  t,ecome otherwise unenforceable.
  FUTURE ADVANCES. In addition to the Note, this Agreement secures all future advances made by Lender to Grantor regardless of whether the
  advances are made a) pursuant to a commitment orb) for the same purposes.
  RIGHT OF SETOFF, To the extent permitted by applicable law, Lender reserves a right of setoff in all Grantor's accounts with Lender (whether
  checking, savings, or some other account). This includes all accounts Grantor holds jointly with someone else and all accounts Grantor may
  open in the future. However, th[s does not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
  law. Grantor authorizes Lender, to the extent permitted by applicable law, to charge or setoff all sums owing on the Indebtedness against any
  and all such accounts, and, at Lender's option, to administratively freeze all such accounts to allow Lender to protect Lender's charge and setoff
  rights provided in this paragraph.
  GRANTOR'S REPRESENTATIONS AND WARRANTIES WITH RESPECT TO THE COLLATERAL. With respect to the Collateral, Granter represents
  and promises to Lender that:
      Perfection of Security Interest. Granter agrees to take whatever actions are requested by Lender to perfect and continue Lender's security
      interest in the Collateral. Upon request of Lender, Grantor will deliver to Lender any and all of the documents evidencing or constituting the
      Collateral, and Grantor will note Lender's interest upon any and all chattel paper and instruments if not delivered to Lender for possession
      by Lender. This is a continuing Security Agreement and will continue In effect even though all or any part of the Indebtedness is paid In lull
      and even though for a period of tfme Gr.mtor may not be Indebted to Lender.
      Notices to Lender, Grantor will promptly notify Lender in writing at Lender's address shown above {or such other addresses as Lender may
      designate from Hme to lime) prior to any (1) change in Grantor's name; (2) change in Grantor's assumed business name(s); (3) change
      in the managemenl or in the members or managers of the limited liabmty company Granter: (4) change in the authorized signer(s): (5)
      change in Grantor's principal office address; (6) change in Grantor's state of organization; (7) conversion of Grantor to a new or different
      type of business entity; or (8) change in any other aspect of Grantor that directly or indirectly relates lo any agreements between Grantor
      and Lender. No change in Grantor's name or state of organization will take effect until after Lender has received notice.
      No Violation. The execution and delivery of this Agreement will not violate any law or agreement governing Grantor or lo which Gran tor is
      a party, and its membership agreement does not prohibit any term or condition of this Agreement.




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     Enforceability of Collateral. To the extent the Collateral consists of accounts. chattel paper, or general intangibles, as defined by the
     Uniform Commercial Coda, the Collateral is enforceable in accordance with its terms. is genuine, and fully complies with all applicable laws
     and regulations concemlng form, content and manner of preparation and execution, and all persoris appearing to be obligated on the
     Collateral have authority and capacity to contract and are in fact obligated -as they appear to be on the Collateral. There shall be no setoffs
     cir counterclaims ;igainst any of t he Collateral, and no agreement shall have been made under which any deductions or discounts may be
     claimed concerning the Collateral except those disclosed to Lender in writing.
     Location of the Collateral. Except in the ordinary course of Grantor's business, Granter agrees to keep the Collateral at Grantor's address
     shown above or at such other locations as are acceptable to Lender. Upon Lender's request, Grantor will deliver to Lender in rorm
     satisfactory to Lender a schedule of real properties and Collateral locations relating to Grantor's operations, Including without limitation the
     following : (1) all real property Grantor owns or is purchasing: (2) all real property Grantor is renting or leasing: (3) all storage facilities
     Granter owns, rents, leases, or uses: and (4) all other properties where Collateral is or may be located.
    Removal of the Collateral. Except in the ordinary course of Grantor's business, Granter sha!I not remove the Collateral from its existing
    location without Lender's prior written consent. Granter shall, whenever requested, advise Lender of the exact location of the Collateral.
    Transactions Involving Collateral. Except for inventory sold or accounts collected in the ordinary course of Grantor's business, or as
    otherwise provided for In this Agreement, Grantor shall not sell, o ffer to sell, or otherwise transfer or dispose o f the Collateral. Granter
    shall not pledge, mortgage, encumber or otherwise permit the Collateral to be subje~t to any Hen, securfty i nterest, encumbrance, .or
    charge, o ther than the security interest provided for in this Agteernent, wi\hout the prior written consent of Lender. This Includes security
    interests even if junior in right to the security interests granted under this A greement. Unless waived by Lender, all proceeds from any
    dlsposilfon of the Collateral (for whatever reason) shall be held in trust for Lender and shall not be commingled with any other funds;
    provided however, this requirement shall no1 constitute consent by Lender lo any sale or other disposition. Upon receipt, Grantor shall
    immediately deliver any such proceeds to Lender.
    Tltlo. Granter rewesents and warrants to Lender that Granter holds good and marketable title to ·the Collateral, free and clear of all llens
    and encumbrances except for the lien of this Agreement. No financing statement covering any of the Collateral is on file in any public
    office other than those which reflect the security interest created by this Agre·e rnent or to w hich Lender has specifically consented.
    Granter shall defend Lender's rights in the Collateral against the claims and demands of all other persons.
    Repairs and Maintenance. Grantor agrees to keep and maintain, and to cause others to keep and maintain. the Collateral in good order,
    repair and condition at all times w hile this Agreement remains in effect. Grantor further agrees to pay when due all claims for work done
    on, or services rendered or material furnished in connection with the Collateral so that no lien or encumbrance may ever attach to or be
    filed against the Collateral.
    Inspection of Collateral. Lender and Lender's designated representatives and agents shall have the right at all reasonable times to examine
    and inspect the Collateral wherever located.
    Taxes, Assessments and Liens. Grantor will pay when due all truces, assessments and liens upon the Collateral, its use or operation, upon
    this. Agreement, upon any pr.o missory note or notes evidencing the Indebtedness, or upon any of the other Relat.ed Documents. Grantor
    may withhold any such payment or may elect to contest any lien If Granter is in good farth conducting an appropriate proceeding to contest
    the obligation to pay and so long as Lender's interest in the Collateral is not Jeopardized in Lender's sole opinion. If the Collateral is
    subjected to a lien wfiich is not discharged within fifteen (15) days, Granter shall deposit with Lender cash, a sufficient corporate surely
    band or other security satisfactory to Lender in an amount adequate lo provide for the dlscha~e of the lien plus any Interest. costs,
    attorneys' fees or other charges ihat could accrue as a result of foreclosure or sale of the Collateral. In any contest. Grantor shall defend
    itself and Lender and shall satisfy any final adverse judgment before enforcement against the Collateral. Grantor shall name Lender as an
    additional obligee under any surety bond furnished in the contest proceedings. Granter further agrees to furnish Lender with evidence that
    such taxes, assessments, and governmental and other charges have been paid in full and in a timely manner. Granter may withhold any
    such payment or may elect to contest any lien if Granier is in good faith c onducting an appropriate proceeding to contest the obligation to
    pay and so long as Lender's interest 1n the Collateral is not jeopardized.
    Compliance y,ilh Govommental Requirements. Granter shall comply promptly with all laws, ordinances, rules and regulations of all
    governmental authorities, now or hereafter in effect, applioable to the o wnershlpj production, disposl1ion, or use o f the Collateral. including
    all law s or regulalions relating to the undue erosion of highly-erodible land or relating to the conversion of w etlands for the production of an
    agricultural product or commodity. Granter m;iy contest in good faith a_ny such law, ordinance or r~ulation and w ithhold compliance
    during any proceeding. Including appropriate appeals, so long as Lender's interest In the Collateral, [n Lender's oplnion, is not jeopardized.
    Hauirdous Substances. Grantor represents and warrants that the Collateral never has been. and never will be so long as this Agreement
    remains a lien on the Collateral, used in violation of any Environmental Laws or for the generation, manufacture, storage, transportation,
    treatment, disposal, release or threatened release of any Hazardous Substance. The representations and warranties contained herein are
    based on Grantor's Clue diligence in investigating the Collateral for Hazardous Substances. Grantor hereby (1) releases and waives any
    future claims against Lt;,nder for indemnity or contribution In l he event Granter becomes liable for c leanup o r other costs under any
    E nvironmental Laws, and (2) agrees to indemnify, defend, and hold harr:nless Lenderag.alnst any and all claims anc;l losses resuUlng from a
    breach of this provision of this Agreement. This obllgaUon to indemnify and defend s hall survive the payment o f the Indebtedness and the
    satisfaction of \his Agreement.
     Maintenance of Casualty Insurance. Granier shall procure and maintain all risks insurance, including without limitation fire, theft and
    liability coverage together with such other insurance as Lender may require with respect to the Collateral, in form, amounls, coverages anel
    basis reasonably acceptable to Lender and issued by a company or companies reasonably acceptable to Lender. Grantor, upon request of
     Lender, will deliver to Lender from Ume to tlme the policies or certificates of insurance in form satisfactory to Lender, including stipulations
    t hat cov<;irages w ill not be cancelled or diminisheo without at least twenty-one (21) days' prior written notice to Lender and not Including
    any disclaimer of the insu rer's liability for failure to give such a notice. Each insurance policy also shall include an endorsement providing
     that coverage in ·favor of Lender will not be impaired In any way by any act, omission or default or Grantor or any other person. In
     connection with all policies covering assets in w hich Lender holds or is offered a security interest. Granter will provide Lender with such
     loss payable or other endorsements as Lend·e r m:ay require. If Granter at any time fails to obtain or maintain any insurance as required
     under this Agreement. Lender may (but shall not be obligated to) obtain such insurance as Lender deems appropriate, including if Lender so
     chaoses "single Interest- insurance," which will cover only Lender's interest In the Collateral.
    Application of Insurance Proceeds. Grantor shall promptly notify Lender of any loss or damage to the Collateral if the estimated cost of
    repair or replaeement exceeds $25, 000.00, whether or not such casualty or loss is covered by insurance. Lender may rnake proof of loss
    if Grantor fails to do so withi n fifteen (15) days of the casualty. All proceedi; of an_y Insurance an the Collateral, including accrued proceeds
    thereon. shall be held by Lender as part of the Collateral. If Lender consents to repair or replacement of the .damaged or destroyed.
    Collateral, Lender shall, upon satisfaclory proof of expenditure, pay or reimburse Granter from the proceeds for the reasonable cost of
    repair or restoration If Lender does not consent to repair or replacement of the Collateral, Lender shall retain a sufficient amour-.! of the




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       proceeds to pay all of the Indebtedness, and shall pay the .b alance to Grantor. Any proceeds which have not been disbursed wilhln six (6)
       months after their receipt and which Grantor has not committed to the repair or restoration of the Collateral shall be used to prepay the
       Indebtedness.
       Insurance Reserves. Lender may require Granter to maintain with Lender reserves for payment of insurance premiums, which reserves shall
       be created by monthly payments from Granter of a sum estimated by lender to be sufficient to produce. al least ·fifteen (15) days before
       the premium due date, amounts at least equal to the insurance premiums to be paid. If fifteen (15) days before payment is due, the reserve
       funds are insufficient, Grantor shall upon demand pay any deficiency lo lender. The reserve funds shall be held by Lender as a general
       deposit and shall constitute a non-interest-bearing a ccount which Leinder may satisfy by payment of the Insurance premiums required to be
       paid by Granter as they become due. Lender does not hold the reserve funds In trus_t for Grantor, and Lender is noi the agent of Grantor
       for payment of the insurance premiums required to be paid by Grantor. The responsibility for the payment of premiums shall remain
       Grantor's sole responsibility.
       Insurance Reports. Granter. upon request of Lender, shall furnish to Len(ler reports on each exisllng policy of insurance s'howlng such
       information as Lender may reasonably request including \he following: (1) the name of the i0$0rer; (2} the risks insured; (3) the amount
       of the policy: (4) the property insured; (5) the then current value on the basis of which Insurance has been obtained and the manner of
       determining that value; and (6) the expiration date of the policy. In addition, Grantor shall upon request by Lender (however not more
       often than annually) have an Independent appraiser satisfactory to Lender determine, as applicable. the cash value or replacement cost of
       the Collateral.
       Financing Statements. Grantor authorizes Lender to file a UCC financing statement, or alternatively. a copy of this Agreement to perfect
       Lender's security interest. At Lender's request, Granlor addition-ally agrees to sign all other documents that are necessary lo perfect,
       protect, and continue Lender's security interest In the p·r operty. Grantor will pay all filing fees, title transfer fees, and other fees and cosls
       involved unless prohibited by law o r unless Lender is required by law to pay such fees and costs. Grantor Irrevocably appoinls Lender to
       execute documents necessary to transfer title if there is a defaull Lender may file a eopy of this Agreement as a financing statement.
  GRANTOR'S RIGHT TO POSSESSION. Until default. Grantor may have possession of the tangible personal property and beneficial use of all the
  Collateral and may use it In any lawful manner not inconsistent with this Agreement or the Related Documents, provided that Grantor's right to
  possession and beneficial use shall not apply to any Collateral where possession of the Collateral by lender is required by law lo perfect
  Lender's security interest l n such Collateral. If Lender at any time has pos.session of any Collateral, whether before or after an Event of Default,
  Lender shall be deemed to have exercised reasonable care in the custody and preservation of the Collateral if Lender ·takes such action for that
  purpose as Grantor shall request or as Lender, in Lender's sole discretion, shall deem appropriate under the droumstances, but failure lo honor
  any request by Granter shall not of itself be deemed to be a fa)lure to e,xercise reasonable care. Lender shall not be required to take any steps
  necessary to preserve any rights in the Collateral against prior parties, nor to p rotect, preserve or maintain any security interest given to secure
  the Indebtedness.
  LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially affect Lender's interest in the Collateral or if
  Grantor falls to comply with any provision of this Agreement or any Related Documents, including but not limited to Grantor's failllre to
  discharge or pay when due any amounts Grantor is required to discharge or pay under this Agreement or any Related Documents, Lender on
  Grantor's behalf may (but shall not be obligated lo) take any action that Lender deems appropriate, including but not limited to discharging or
  paying all taxes, liens. security interests, encumbrances and other c laims, at any time levied or placed on Iha Collateral and paying all costs for
  insuring, maintaining and preserving the Collateral. All such expenditures incurred or paid by Lender for .such purposes will then bear interest at
  lhe rate charged under the Nole from the date incurred or paid by Lender to the date of repayment by Grantor. All such expenses will become a
  part of the Indebtedness and, al Lender's option, will (A) be payable on demand; (BJ be added to the balance of the Nole and be apportioned
  among and be payable with any Installment payments to become due during either (1) the term of any applicable insurance policy; or (2) the
  remaining Lenn of the Note: or (C) be treated as a balloon payment which will be due and payable at the Note's maturity. The Agreement also
  will secure payment of these amounts. Such right shall be in .addition to all other rights and remedies to which Lender may be entitled upon
  Default.
  DEFAULT. Each of the following shall constitute an Event of Default under this Agreement:
       Payment Default. Granter fails to make any payment when due under the lndebledness.
      Other Defaults. Grantor fails to comply with or to perform any other term, obligation, covenant or condition contained in this Agreement or
      in any of the Related Documents or to comply with or to perform any lenn, obligation, covenant or condition contained in any other
      agreement between Lender and Grantor.
      Default in Favor of Third Parties. Any guarantor or Grantor defaults under any loan, extension of credit, security agreement, purchase or
      sales agreement, or any otller agreement, in favor of any other creditor or person that may materially affect any of any guarantor's or
      Grantor's property or ability to perform their respective obligations under this Agreement or any of the Related Documents.
      False Statements. Any warranty, representation or statement made or furnished to Lender by Grantor or on Grantor's behalf under this
      Agreement or the Related Documents is false or misleading in any material respect, either now or al the lime made or furnished or becomes
      false or misleading st any time thereafter.
      Defective Collaterallzation. This Agreement or any of the Related Dowmen\s ceases to be in full force and effect (including failure or any
      collateral document to create a valid and perfected security ;nterest or lien} at any time and for any reason.
      Insolvency. The dissolution of Granter (regardless of whether election to continue is made), any member withdraws from the ltmited
      liability company, or any other termination of Grantor's existence as a going business or the death of any member, the insolvency of
      Grantor. the appofntmenl of a receiver for any part or Grantor's property, any ;issignmenl for the benefit of creditors, any type of creditor
      workout. or the commencement of any proce eding under any bankruptcy or insolvency laws by or against Grantor.
      Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings. whether by judicial proceeding, self-help,
      repossession or any other m ethod, by any creditor of Granlor or by any governmental agency against any collateral securing the
      Indebtedness. This includes a garnishment of any of Grantor's accounts, includin!:J deposit accounts, with Lender. However, this Event of
      Default shall not apply if there is a good faith dispute oy Grantor as to the validity or reasoMbleness ·of the claim which is the basis of the
      creditor or forfeiture proceeding and if Grantor gives Lender written notice of the creditor or forfeiture proceeding and dewsits with Lender
      monies or a surety bond for the creditor or forfeiture proceeding, In an .imount determined by Lender. in its sole discretion. as being an
      adequate reserve or bond for the dispute.
      Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of lhe lnd_        e b_tedness or Guarantor
      dies or becomes incompetent or revokes or d isputes the validity of. or liability under, any Guaranty of 1he lnde.b\edness.
       Adverse Change. A material adverse change occurs in Grantor's financial condition, or Lender believes the prospect of payment or
       performance of the Indebtedness is impaired,




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      Insecurity. Lender in good faith believes itself insecure.
      Cure Provisions. If any default, other than a default in paymenl. ls c urable and if 'Granter has not been given a notice or a breach of the
      same provision of this Agreement within the preceding twelve (12) months, ii may be cured i f Grantor, after Lender sends written notice to
      Grantor demanding cure of such default: (1) cures the default within frf\een (15) days; or (2) if the cure requires more than fifteen (15)
      days, immediately initiates steps which Lender deems In Lender's sole discretion to be sufficient to cure the default and ther,e after
      continues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
  RIGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under this Agreement, at any time thereafter. Lender shall have fill the
  rights of a secured party under the California Uniform Commercial Code. In addition and without limitatlon. Lender may exercise any one or
  more of the following rights and remedies:
      Accelerate Indebtedness. Lender may declare the entire Indebtedness, including any prepayment penalty which Grantor would be required
      to pay, immediately due and payable, without notice of any kind lo Grantor.
      Assemble CoJ!at~ral. Lender may require Grantor to deliver lo Lender all or any portion o_f the Collateral and any and all certlficales of title
      and other documents relating to the Collateral. Lender may require Grantor to assemble the Collateral and make It available to Lender at a
      place to be designated by Lender. lender also shall have full power lo enter upon the property of Grantor lo take possession of and
      remove the Collateral. If the Collateral contains other goods not covered by this Agreement at the time of repossession, Grantor agrees
      Lender may lake such other goods, provided that Lender makes reasonable efforts to return them to Grantor after repossession.
      Sell the Collateral. Lender shall have full power to sell, lease, transfer, or otherwise deal with the Collateral or proceeds thereof in Lender's
      own name or that of Grante r. Lender may sell the Collateral al public auction or private sale. Unless the Collateral threatens to decline
      speedily In value or is of a type customarily sold on a recognized market, Lender will give Grantor, and other persons as required by law,
      reasonable notice of the time and place of any public sale, or the t ime after which any private sale or any other disposition of the Collateral
      is to be made. However, no notice need be provided to any person w ho, after Event of Default occurs, enters into ar,d authenticates an
      agreemenl waiving that person's right t.o notilieation of sale. , he requirements of reasonable notice shall be met if such notice Is given at
      least ten {10,) days before the lime of the sale or disposition. All expenses relating lo the disposition or the Collateral, including w ithout
      limitation the expenses of retaking, holding, insuring, preparing for sale and selling the Collateral, shall become a part o f the Indebtedness
      secured by this Agreement and shall be payable on demand, with interest at the Note rate from date of expenditure until repaid.
      Appoint Receiver. Lender shall have the right to have a receiver appointed to take po5l1ession of all or any part of the Collateral, with the
      power to protect and preserve the Collateral, to operate the Collateral preceding foreclosure o r sale, and to collect the rents from 1he
      Collateral and apply the proceeds, over and above the cost o f the receivership, against-the Indebtedness. The receiver may serve without
      bond if penmilted by law. Lender's right to the appointment o f a receiver shall exist whether or not the apparent value of the Collateral
      exceeds the Indebtedness by a substantial amount Employment by Lender shall not disqualify a person from serving as a receiver.
      Collect Revenues, Apply Accounts. Lender, either itself or through a receiver, may collett the payments. rents, Income, and revenues from
      the Collateral. Lender may at any lime in Lender's discretion transfer any Collateral Into Lender's own name or lhal of Lender's nominee
      and receive the payments. rents, income·, and revenues therefrom and hold the same as security for the Indebtedness or apply it to
      payment of the Indebtedness in such order of preference as lender may determine. Insofar as the Collateral consisls of accounts, general
      Intangibles, Insurance policies. instruments, chattel paper, choses in action, or similar property. Lender may demand, collect, re~ipt for,
      settle, compromise, adj ust. sue for, foreclose, or realize on the Collateral as Lander may determine, whether or not Indebtedness or
      Collateral is then due. For these purposes, Lender may, on behalf of .and in the name of Grantor, receive, open and dispose of mail
      addressed to Grantor: charige any address to which mail and payments are to be sent; and endorse notes, checks, drafts, money orders,
      documents of title, instruments and items pertaining to payment. shipment, or storage of any Collateral. To facilitate collection, Lender
      may notify account debtors and obligors on any Collateral to make payments directly to Lender.
      Obtain Deficiency. If Lender chooses to sell any or all of the Collateral, Lender may obtain a judgment against Grantor for any deficiency
      remaining on the Indebtedness due to Lender after application of all amounts received from the exercise of the rights provided in this
      Agreement Granter shall be liable for a deficiency even if the transaction described in this subsection is a sale of a¢ounts or chattel
      paper.
      Othor Rights and Remedles. Lender shell have all the rights and remedies of a secured creditor under the provisions of the Unfform
      Commercial Cade, as may be amended from time to time. In addition, Lender shall have and may exercise any or all other rights and
      remedies it may have available at law, in equity, or otherwise.
      Election of Remedies. Except as may be prohibited by applicable law, ail of Lender's rights and remedies, whether evidenced by this
      Agreement, the Related Documents, or by .any other writing, shall be cumulative and may be exerc1sed singularly or concurren!l1/. Election
      by Lender to pursue any remedy shall not exclude pursuit of any other remedy, and an election to make expenditures or to take actTon to
      perfonm an obligallon of Granter under this Agreement, a fter Grantor's failure lo perform, shall not affect Lender's right -to declare a default
      and exercise Its remedies.
  MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
      Amendmen1s. This Agreement, together with any Related Documents, constitutes the entirn understanding and agreement of the parties
      as to the matters set forth in this Agreement. No alteration of or amendment lo this Agreement shall be effective unless given in writing
      and signed by the party or parties sought to be charged or bound by the alteration or amendment.
      Attorneys' Fees; Expenses. Granter agrees to pay upon demand all of Lender's costs and expenses, including Lender's anorneys· fees and
      Lender's legal expenses, incurred In connection with the enforcement of this Agreement. Lender may hire or pay someone else to help
      enforce this Agreement, and Grantor sh_     a ll pay the costs and expenses of such enforcement Costs and expenses include Lender's
      attorneys' fees and legal ex.penses whether .or not there Is a lawsuit, including attorneys' fees and legal expenses for bankruptcy
      proceedi ngs (including efforts to modify or vacate any automatic stay or injunction), appeals, and any anticipated post-judgment collection
      services. Grantor also shall pay all court costs and such additional fees as may be directed by the court.
      Caption Headings, Caption headings in this Agreement are for convenience purposes only and are not to be used to interpret or define the
      p rovi sions of th is Agreement.
      Governing Law. This Agreement will be governed by federal law applicable to Lender and, to the extent not preempted by federal law, the
      laws of the State of California without regard to its conflicts of law provisions. This Agreement has been accepted by LendH in the Slate
      of Califomia.
      Choice of Venue. If there is a lawsuit, Granter agrees upon Lender's request to submit to lhe jurisdiction of the courts of Los Angeles
      County, Slate of California.
      Preference Payments. Any monies Lender pays because of an assertec:J preference claim in Grantor's bankruptcy will become a part of the




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                                               COMMERCIAL SECURITY AGREEMENT
   Loan No: .1428                                        (Continued)                                                                          Page 5

        Indebtedness and, at Lender's option, shall be payable by Granter as provided in lhls Agreement.
       No Waivor by Lender. Lender shall not be deemed to have waived any rights under this Agreemenl unless such waiver is given in writing
       and signed by Lender. No delay or omission on lhe part of Lender in exercising any right shall operate as a waiver of such right or any
       other right. A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to
       demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender, nor any course of
       deafing between Lender and Grantor, shall constitute a waiver o f any or Lender's rights or of any o f Grantor's obligations as to any future
       transactions. Whenever the consent o f Lender is required under lhis Agreement. the granling of such consent by Lender in any instance
       shall not constitute continuing consent to subsequent instar1ces where such consent is required and In all cases such consent may be
       granted or wlthheld in the sole dlscrelion of Lender.
       Notices. Any notice required to be given under this Agreement shall be given in writing, and shall be effective when actually delivered,
       when actually received by telefacsimile (unless otherwise required by law), when deposit.ad with a nationally recognized overnight courier,
       or, if mailed, when deposited in the United States mail, as first class. certified or registered mall postage prepaid, directed to the addresses
       shown near the beginning o f this Agreement Any party may change its address for notices under this Agreement by giving formal written
       notice to the other parties, specifying thai the purpose or the notice is lo change the party's address. For notice purposes, Grantor agrees
       to keep Lender informed al all times o f Grantor's current address. Unless otherwise provided or required by law, If there is more than one
       Granier, any notice given by Lender to any Grantor is deemed to be notice given to all Grantors.
       Power of Attorney. Grentor hereby appoints Lender as Grantor's Irrevocable attorney-in-fact for the purpose o f executing any documents
       necessary to perfect. amend, or to continue the security interest granted in this Agreement or to demand terminalion of filings of other
       secured parties. Lender may at any time, and without further authorization from Grantor, file a carbon, photographic or other reproduction
       of any financing statement or of this Agreement for use as a financing statemenL Granter will reimburse Lender for all expenses for the
       perfection and the continuation of the perfection of Lender's security interest in t he Collateral.
       Waiver o f Co-Obligor's Rights. If more than one person is obligated for the Indebtedness. Granter irrevocably waives, disclaims and
       relinquishes all claims against such other person which Granter has or would otherwise have by virtue of payment of the Indebtedness or
       any part thereof, spedflcally includlng but not limited to all rights of indemnity. contribution or exoneration.
       Severablllty. If a court of competent Jurisdiction finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any
       circumstance, that finding shall not make the offending provision Illegal, invalid, or unenforceable as lo any olher circumstance. If feasible,
       the offending provision shall be considered mo<frfied so that it becomes legal, valid and enforceable. If the offending provision cannot be so
       modified, it shall be considered deleted from this Agreement. Unless otherwise required by law, tho illegality, invalidity, or unenforceabllily
       of any provision o f this Agreement shall not affect the legality,. validity or enforceability o f any other provision of this Agreement.
       Successors and Assigns. Subject to any limitations stated In this Agreement on lransfer of Grantor's interest, this Agreement shall be
       binding upon and inure to the benefit of the parties. their successors and assigns. If ownership of the Collateral becomes vested in a
       person other than Granier. Lender, without notice to Grantor. may deal with Grantor's successors with reference to this Agreement and the
       Indebtedness by way of forbearance or extension without releasing Grantor from the obligalions o f this Agreement or 0ability under the
       Indebtedness.
       Survival of Representations and Warranties. All representations, w arranties, and agreements made by Grantor in this A greement shall
       survive the execution and delivery of this Agreement. shall be continuing in nature, and shall remain in full lorce and effect until such lime
       as Grantor's Indebtedness shall be paid in f ull.
       Time Is of the Essence. Time Is of the essence in the performance of this Agreement.
       Waive Jury. To the extent permitted by applicable law, all parties to this Agreement hereby waive the right to any Jury trial In any action,
       proceeding, or counterclaim brought by any party against any other party.
  OEFINmONS. The following capitalized words and terms shall have lhe following meanings when used In this Agreement. Unless specilically
  stated to the contrary, all references to dollar amounts shall mean amounts In lawful money of the United States of America. Words and terms
  used in the singular shall include the-plural, and lhe plural shall include the singular, as the context may require. Words and terms not othetWise
  defined in this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code:
      Agreement. The word "Agreement' means this Commercial Security Agreement, as !his Commercial Security Agreement may be amended
      or modified from time to lime. together with all exhibits and schedules attached to this Commercial Security Agreement from time to time.
      Borrower. The word "Borrower" means Hero Nutritionals. LLC and Includes all co-signers and co-makers signing the No te and all their
      successors and assigns.
      Collateral. The word "Collateral" means all of Grantor's right, title and inlerest in and to all the Collateral as described in the Collateral
      Description section of this Agreement.
      Det.iull   The word "Default" means the Default set forth in this Agreement in the section titled "Default".
      Environmental Laws. The words "Environmental Laws· mean any and all stale, federal and local statutes, regulations and ordinances
      relating to the protection of human health or the environment. including without limitation the Comprehensive Environmental Response,
      Compensation, and Liability Act of 1980, as amended, 42 U.S.C. Section 9601, et seq. ("CERCLA"), the Superfund Amendments and
      Reauthorizallon Act of 1986, Pub. L. No. 99--499 ("SARA"). !he Hazardous Materials Transportation Act 49 U .S.C. Section 1801, et seq.,
      the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901. et seq., Chaplers 6.5 through 7.7 of Division 20 of the California
      Health and Safety Code, Section 25100, et seq., or other applicable state or federi,l lews, rules. or regulations adopted pursuant thereto.
      Event of Default. The words "Event of Default" mean any of the events of default set forth in this Agreement In the default section of l his
      Agreement.
      Grantor. The word "Granto!" means Hero Nutritionals, LLC.
      Guarantor, The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Indebtedness.
      Guaranty. The word "Guaranty• means the guaranty from Guarantor to Lender, including w ithout limitation a guaranty of anor part o f the
      Note.
      Hazardous Substances. The words "Hazardous· Substances· mean materials that, because of their quanllty, concentration or physical,
      chemical or infectious characteristics. may cause or pose a present or potential hazard to human health or the environment when
      improperly used. treated, stored, disposed of, generated. manufactured, Lranspor1ed or otherwise handled. The words "Hazardous
      Subslances· are used In their very broadest sense and include without limitahon any and all hazardous or toxic substances, materials or
      waste as defined by or listed under lhe Environmental Laws. The term "Hazardous Substances· also indudes, wrthout limitation. petroleum




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                                             COMMERCIAL SECURITY AGREEMENT
  Loan No: .1428                                      (Continued)                                                                          Page 6

      ar'lC1 petroleum by-products or any fraction thereof and asbestos.
      Indebtedness. The word "Indebtedness• means the indebtedness evidenced by the Note or Related Documents, including all principal and
      ;nterest together with all other indebtedness and costs and expenses for which Grantor ls responsible under this Agreement or under any of
      the Related Documents. SpecificaHy, without limitation. Indebtedness includes the future advances set forth in the FIJlure Advances
      provision, together with all interest tllereon and all amounts that may be indirectly secured by the Cross-Collateralizalion provision of this
      Agreement.
      Lender. Tha word "Lender" means Bank of Manhattan, N.A., its successors and assigns.
      Note. The word "Note" means the Nole dated February 19, 2015 and executed by Hero Nutritionals, LLC in the principal amount of
      $500,000.00, together with all renewals of, extensions of, modifications of, refinancings of. consolidations of, and substitutions for the
      note or credit agreement.
      Property. The word "Property• means all of Grantor's right, title and interest in and to all the Property as described in the "Collateral
      Description" section of this Agreement.
      Related Documents. The words "Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
      agreements, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments, agreements
      and documents, whether now or hereafter existing, executed in connection with the Indebtedness.
  GRANTOR HAS READ AND UNDERSTOOD ALL THE PROVISIONS OF                     nus    COMMERCIAL SECURITY AGREEMENT AND AGREES TO ITS
  TERMS. THIS AGREEMENT IS DATED FEBRUARY 19, 2015.

  GRANTOR:




  By:._~;===1---+:;~..JV..d,J.'--~~~e:e:...~..,.,...--
     Jonnlfer
     Nutrltlo ,
             I




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    B. E-MAIL CONTACT AT FILER (opllonal)                                                                                                 FIio Number: 157452658378
           cokeare@firslam.com                                                                                                            Filu De la ; 03-Mar-2015
    C. SENO ACKNOWLEDGMENT TO: {Nam" end Addreaa)
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        Girst American TIiie Insurance
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              Suite 201                                                          CALI
              Springfield, IL 62704

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    2e. WJUNG AOOl'ESS                                                                          CITY                                                  STATE    IPOSTAi.. COOE                        COUNTIIY



   3    SECURED PARTY'S NAME (ct t-lAIJE of ASSIGNEE or ASSIGNOR SECURED PARTY)· Provido only 9D.!1 &,cvn,d Party nem,i (Jll or Jb)
           la, OR<WnZATIOl<S NAME

              Bank of Manhattan
   OR lb. lllDMOUAl'S SURNAME                                                                    flRST PERSONAL. ~ E                                  ADDITIONAi.. NAMEIS),,NJTllll.(S)              SUFFIX



    k     MAIi.ING MlOR£SS                                                                       CITY                                                 STATE    I POSTAi. CODE                        COUNTRY

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   4. COl.1.ATERAL: Thi• Rnsm,ng ~tslomenl oovor, lho lollo~o cojlala,al:
   Collateral as descrtbed par Exhlbil A; whether any of lho foregoing Is owned now or acqulrnd later; all accessions, addlUons, replacamanls, and
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  HERO NUTRITIONALS, LLC
    February 19, 2015

                                                             EXHIBIT A

       Quantity                                              Description
          2         Tightening roller #W173930
         1          Air Cooled Chlller Model #CGAM070F2
         26         18 Gage Galv 48x90 WO/141837
          l         Hyster- W40Z- 4,000 LBS Class SN#B218N31198M
         1          Additional Elect1cal Work Quote "HNU-6360-Pl
          l         Proposal #HNU-6337-Pl
          1         Tank 120 Gallon Stainless Steel Crepaco Jacketed, Agitation #S57 3873
          1         Indoor Conditioning Unit
          1         Indoor Stacked Process Unit
          1         Indoor Stacked Process Unit
         4.1        40" High Cube #DFSU6452470
         4.1        40" High CU be #TCNU5766761
          1         Frequency Converter Model #SOINOVC6050
          1         Steam Heated DI Water Loop #9065-9500
          1         Temperature Control Equipment 119065-9500
          l         Sartorius Entrls 62D2-1S
          1         Ohaus D71Pl0OQL
          5         Adjusting Ring for t111htenlng shaft #Wl08725
          1         Sprocket for shaft #Wl59444
          1         Tnreaded Pin for shaft #W107986
          1         Parallel Key for shaft #W109158
          1         Spocket #W159841
          1         Treaded pin #Wl0B047
          1         Parallel Key #Wl09165
          2         Sprocket#W253359
          2         Sprocket #W159876
          1         Sprocket#Wl59503
          2         Chain carrying bar for trasport below the depositor #WS79384
          2         Conveyor Chain depositing chain #WB9813
          l         Chain tightener #W154777
          1         Chain tightener IIW579289
          1         Chain tightener 1#579384
          l         Spoket #W579287
       1.283M       Roller chain #W235082
          l         Chain Connector #W235083
       2.648m       roller chain #W235097
          1         Chain Connector #W23509B
          2         Chain Carrin!! bar 11174045
          2         Chain carrylns bar #W579275
          2        V-Belt disc #Wl74149
         2         V•bel1 #Wl14647




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        4      adjusting ring #Wl08750
        2      sprocket llW579284
        2      threaded pin #Wl08048
        2      Parallel key #W109167
        4      Sprocket ltWS79283
        2      adjusting ring #Wl08751
        2      sprocket #W579286
        2      parallel key #W109288
        2      threaded pin #W107947
        2      sprocket #Wl59910
        2      Flange for driving shaft #W173559
        2      parallel key#W109294
        2      thraded pin #W108047
        2      sprocket IIW1S9905
        4      adjusting ring #Wl08751
        2      sprocket #W159913
        2      Return wheel for turning shaft #Wl73743
        8      adjusting ring #Wl08751
        2      chain carrying bar #W375639
        2      Chain earring bar #W375640
        1      Transport Chain #W139737
        l      Transport Chain #Wl39739
        4      chain carrying bar #W375643
         4     chain carrying bar #tW375644
         2     chain carrying bar #W375645
      l.800m   Roller chain #W234667
         1     chain con nectar #W23466B
        1      chain connector #W234669
        3      sprocket #W159B9l
        3      threaded pin #IW107945
        2      parallel key #W109166
        1      Idler for driving shaft #Wl73 583
        2      adjusting ring #Wl087 51
        1      parallel key #W109294
        2      Sprocket ltW579282
        2      adjusting ring #W108751
        2      flange #Wl735S9
        2      sprocket #W159910
        2      threaded pin #Wl07947
        2      parallel key tlW109296
        1      chain tightener #Wl54790
        2      chain carrying bar ttW350436
        2      chain carrying bar #W275642
        4      chain carrying bar ltW350419
        4      chain carrying bar #W350442
        2      corweyor chain #Wl39736
        2      Idler IIW173583




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        4      adjusting ring lfW10875l
        2      chain carryIna bar #W350509
       4       Chain guide #W579274
       12      Flexible bushing for sieving section #Wl 15235
       2       conveyor chain #WB9734
       378     0-R!ng for pump pistons of your pump IIWS01436
       378     Piston ring for pump pistons #Wl13522
      0.2S     felt #W308107
      38.64    v-belt #Wl146S9
        4      connector#W234387
        1      weldlne tongs for v belt #Wl2O433
        1      mitre tongs ffW120434
        1      welldlns nead IIW120436
        2      v-belt IJW114637
     30.000m   v-belt #W114658
      8200     Starch Trays (ST1099)




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UCC FINANCING STATEMENT AMENDMENT         of 225
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     UCC Administrator
     916-564-7800
B. E-MAIL CONTACT AT FILER (optional)



C SEND ACKNOWLEDGMENT TO: (Name and Address)
     CLAS INFORMATION SERVICES
     2020 HURLEY WAY STE 350                                                                                                                            DOCUMENT NUMBER; 83181690003
     SACRAMENTO, CA 95825                                                                                                                               FILING NUMBER: 19-77433433
     USA                                                                                                                                                FILING DATE: 10/29/2019 13:38

                                                                                                                                                        IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
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1 a INITIAL FINANCING STATEMENT FILE NUMBER                                                                                                1b   r  This FINANCING STATEMENT AMENDMENT is lo bo r.lod (1or rocord] (or
                                                                                                                                                recorded) in the REAL ESTATE RECORDS Filer• AUach Amendment Addendum
l 5-7452858378                                                                                                                                  {Form UCC3Ad) !!!J!! provi de Doblor's name in item 13


2.   r   TERMINATION: Effectiveness or the Financing Slalom ant identified above is terminated with rospoct lo tho security inleresl(sJ of Secured Party authorizing this Termination Slalement

3.   P ASSIGNMENT (lull or partial): Provide name of Assignee in item 7e or lb, !!!}2 address of Assignee in ilem 7c and name of Assignor in item 9
     For p:ir1ial assignment, complete items 7    1:111d 9   fill£ also indicale affected collatEual in item 8

4.   r  CONTINUATION: Effectiveness of 111• Financing Statement ident,ied above with respect lo Iha security in(eresl(s) of Secured Party authorizing this Conlinuation Statement is continued for the
     addilional period prO'lided by applicable law

5.   r
    PARTY INFORMATION CHANGE:
Check~ of these two boxes:                                                    ~ Check one of those three boxes lo:

This Change effects     r   Debtor !ll   r   Secured Parly of record.
                                                                                      r   CHANGE .name andlt.1f addn,ss: Complole
                                                                                          item 6a or Gb: wd. itom ?a and 7b .ilruf. Item 7c
                                                                                                                                                    r   ADD name: Complete item
                                                                                                                                                        7aor7b, ,.0D31 i!nm7c
                                                                                                                                                                                    r    DELETE name: Give record name
                                                                                                                                                                                         to be deleted in item 6a 0< 6 b

6 CURRENT RECORD INFORMATION: Complolefor Party Information Change· provide only ~name {6a or 6bJ
         6a ORGANIZATION'S NAME

OR
         6b INDIVIDUAL'S SURNAME                                                                               I FIRST PERSONAL NAME                                IADDITIONAL NAME(S)IINITIAL(S)           SUFFIX



7 CHANGED OR ADDED INFORMATION: Complele for Assi9nmet1l or Party ,nfocmation Cha11g0 - provide only 20!! name (7a or 7b) (use exact, {uil mime; do not omit, modify, or abbreviate any part of the
         1
   Debtor s name)

         7a ORGANIZATION'S NAME
         McCormick 107, LLC
         7b INDIVIDUAL'S SURNAME


OR
             INDIVIDUAL'S FIRST PERSONAL NAME



             INDIVIDUAL'S ADDITIONAL NAME(SJIINITIAL(SJ                                                                                                                                                      SUFFIX


7c MAILING ADDRESS
I 1350 McCormick Road, Suite 902
                                                                                                               ICITY
                                                                                                                 Hunt Valley
                                                                                                                                                                    IMD I21031
                                                                                                                                                                      STATE       POSTAL CODE                COUNTRY
                                                                                                                                                                                                             USA

S.   r    COLLATERAL CHANGE: Also check 2!l!! al lhesefour boxes·
     Indicate collateral:
                                                                                          r   ADD collateral       r   DELETE collateral   rRESTATE covered collateral  r         ASSIGN collateral




9 . NAME OF       SECURED         PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only ~name(9a or 9b) (name of Assignor, it this is an Assignment)
     If this is an Amendment authorized by a DEBTOR, check here rand prOj'ide name of auU'lorizing DeOtor

         a ORGANIZATION'S NAME
         Bank of Manhattan
OR
         b INDIVIDUAL'S SURNAME                                                                                I FIRST PERSONAL NAME                                IADDITIONAL NAME(SJ/lNlTIAL(S)           SUFFIX



10. OPTIONAL FILER REFERENCE DATA:

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                                                                                       EXHIBIT 4                                PAGE 278
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UCC FINANCING STATEMENT AMENDMENT         of 225
FOLLOW INSTRUCTIONS
A.   NAME & PHONE OF CONTACT AT FILER (optional)
     UCC Administrator
     916-564-7800
B E-MAIL CONTACT AT FILER (optional)


C . SEND ACKNOWLEDGMENT TO: (Name and Address)
     CLAS INFORMATION SERVICES
     2020 HURLEY WAY STE 350                                                                                                                 DOCUMENT NUMBER: 83181690004
     SACRAMENTO, CA 95825                                                                                                                    FILING NUMBER: 19-77433437
       USA                                                                                                                                   FILING DATE: 10/29/201913:40

                                                                                                                                             IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
                                                                                                                                             THE.ABOVE SPACE IS FOR CA FILING OFFICE USE ONLY

le, INITIAL FINANCING STATEMENT FILE NUMBER                                                                                       I b rThis FINANCING STATEMENT AMENDMENT is to be filed {for record] (or
                                                                                                                                      recorded) in the REAL ESTATE RECORDS. Filer Allru:h Amendment Addendum
15-7452858378                                                                                                                         {Fo,m UCC3Ad) ond proside Debtor's namo in ilem 13


2.   r    TERMINATION: Effectiveness of the Firior-.cing Slatement idenlilied above is terminated with res peel to the sacurily interesl(s) of Secured Party authorizing lhis Termit1alio11 Statement

3. r      ASSIGNMENT (full or partial): Provide name of Assignee in item ?a or 7b, and address of Assignee in ,tern 7c and name of Assignor in ilern 9
     For partial assignment, complete ilarns 7 and 9 and aJso indicate affected collateral in item 8

4.   ~ CONTINUATION: Effecliveness of the Financing Sleternenl idenlilied above wilh respect to In• serurily inlerosl(s) of Secured Party aulhoriziny this Conlinualion Statement is continued for the
       additional period provided by applicable law

5.   r     PARTY INFORMATION CHANGE:
Check~ of these two boxes:                                            .8.@. Check 2!!!!. of these three boxes to:

This Change affects     r   Deb<or 2£   J   Secured Party of rocord
                                                                             r-   CHANGE. name and/or ad dress: Campi ate
                                                                                  llom 6a or 6b; aru! ;toll'J ?a and ?bJlllll llem 7c
                                                                                                                                         r   ADD name; Complele ilBm
                                                                                                                                              7a or 7bp.wd itcm 7c
                                                                                                                                                                            J    DELl=TE name: Give record name
                                                                                                                                                                                 10 be deleted in item 6a or 6 b

6 CURRENT RECORD INFORMATION: Complete for Party Information Changei - provide only £.!!iname (6a or 6b)

         6a ORGANIZATION'S NAME


OR
         6b, INDIVIDUAL'S SURNAME                                                                   I  FIRST PERSONAL NAME                                IADDITIONAL NAME(S)liNITIAl(SJ                SUFFIX


7 CHANGED OR ADDED INFORMATION: Con"'lplele for Assignment or Party ln,ormalion Chango - provide only QD§_ name (7a or 7b} {use exact, full name; do nol omit, modify, or abbreviate an.y pa,l of the
     Debtor's: neme)

         fo ORGANIZATION'S NAME


         7b~INDIVIDUAL'S SURNAME


OR
              INDIVIDUAL'S FIRST PERSONAL NAME



              INDIVIDUAL'S ADDITIONAL NAME(S)/11-!ITtAL(S)                                                                                                                                              SUFFIX


7c, MAILING ADDRESS                                                                                                                                                      I POSTAL CODE                  COUNTRY
                                                                                                     I CITY                                               I STATE



8.   r     COLLATERAL CHANGE: Msa check ~of lhesefour boxes:
     Indicate collateral:
                                                                                r   ADD collateral       r    DELHE collateral     rRESTATE covered collateral       r    ASSIGN collateral




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only~ name (9a or 9bl (name of Assignor, if lhi, is on Assignment)
       If this is an Amendment authorized by a   DEBTOR, check here rand provide name of aulhorizing Deb to,
         a ORGANIZATION'S NAME
         McCormick 107, LLC
OR
         b INDIVIDUAL'S SURNAME                                                                      I FIRST PERSONAL NAME                                IADDITIONAL NAME(S)/IN ITIAL{S)               SUFFIX



10. OPTIONAL FILER REFERENCE DATA:
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                                            McCormick 107, LLC
                                           11350 McCormick Rd
                                             Bldg 2, Suite 902
                                           Hunt Valley, MD 21031



                                          Payoff Notice
                                          Date Printed: 09/14/2022


                                      HERO NUTRITIONALS LLC
                                        JENNIFER L HODGES
                                      1900 CARNEGIE AVENUE
                                       SANTA ANA CA 92705




                  Account Number                                                 701
                  Short Name                                       HERO NUTRITIONALS

                  Loan Group                                                DEFAULT

                  Interest Paid Through                                    10/27/2019

                  Principal Paid Through                                   10/27/2019

                  Loan Date                                                10/29/2014

                  Maturity Date                                            10/01/2024

                  Payoff Date                                              09/14/2022

                  Interest Rate                                            10.46000%

                  Per Diem                                                   89.11785

                  Principal Balance                                        306,715.38

                  Accrued Interest                                           2,317.06

                  Late Charges Due                                          11,399.62

                  Payoff Amount                                            320,432.06




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    HERO NUTRITIONALS LLC                                                                                             Contact Number: HERO NUTRITIONALS
    JENNIFER L HODGES                                                                                                   Loan Number:        701
    1900 CARNEGIE AVENUE                                                                                                        Name: HERO NUTRITIONALS
    SANTA ANA CA 92705




Transaction   Tran      Transaction                                                                                                                         Principal
   Date       Code         Amount Descri~tion/User Reference           R        Princi~al         Interest     Fees     Late Charges        Others           Balance
03/18/2019    400        833,950.27 Beg Bal Principal Advance                 833,950.27                                                                  833,950.27
03/18/2019    410        477,612.29 Beg Bal Principal Payment                 -477,612.29                                                                 356,337.98
04/08/2019    150            599.98 Late Fee                                                                                  599.98                      356,337.98
04/18/2019    204          9,405.56 P+I Principal Payment                       -9,405.56                                                                 346,932.42
04/18/2019    206          2,594.13 P+I Interest Payment                                        -2,594. 13                                                346,932.42
05/10/2019    150            599.98 Late Fee                                                                                 599.98                       346,932.42
05/21/2019    204         10,263.29 P+I Principal Payment                      -10,263.29                                                                 336,669.13
05/21/2019    206          1,736.40 P+I Interest Payment                                        -1 ,736.40                                                336,669.13
05/21/2019    250              0.18 Late Fee Payment                                                                           -0.18                      336,669.13
05/21/2019    250           599.98 Late Fee Payment                                                                          -599.98                      336,669.13
06/10/2019    150           599.98 Late Fee                                                                                  599.98                       336,669.1 3
06/28/2019    204         10,059.36 P+I Principal Payment                     -10,059.36                                                                  326,609.77
06/28/2019    206          1,940.33 P+I Interest Payment                                        - 1,940.33                                                326,609.77
06/28/2019    250             0.18 Late Fee Payment                                                                            -0.18                      326,609.77
06/28/2019    250           599.80 Late Fee Payment                                                                          -599.80                      326,609.77
08/13/2019    204          9,721 .04 P+I Principal Payment                      -9,721.04                                                                 316,888.73
08/13/2019    206          2,278.65 P+I Interest Payment                                        -2,278.65                                                 316,888.73
09/03/2019    250              0.18 Late Fee Payment                                                                           -0.18                      316,888.73
09/03/2019    250           599.80 Late Fee Payment                                                                         -599.80                       316,888.73
09/23/2019    204        10,173.35 P+I Principal Payment                      -10,173.35                                                                  306,715.38
09/23/2019    206         1,826.33 P+I Interest Payment                                         -1,826.33                                                 306,715.38
10/02/2019    206           558.22 P+I Interest Payment                                           -558.22                                                 306,715.38
10/02/2019    206             0.01    P+I Interest Payment                                          -0.01                                                 306,715.38
02/07/2020    206         5,954.36 P+I Interest Payment                                         -5,954.36                                                 306,715.38
02/17/2021    206         1,500.00 P+I Interest Payment                                         -1,500.00                                                 306,715.38
03/08/2022    420        11,399.62 Late Fee balance on settlement a                                                       11 ,399.62                      306,715.38
08/23/2022    222        84,128.91    Interest Reduction                                       -84, 128.91                                                306,715.38
                                      Totals                                  306,715.38      -102,517.34      0.00       11,399.44           0.00




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                                           McCormick 107, LLC
                                           11350 McCormick Rd
                                             Bldg 2, Suite 902
                                          Hunt Valley, MD 21031



                                          Payoff Notice
                                          Date Printed: 09/14/2022


                                      HERO NUTRITIONALS LLC
                                        JENNIFER L HODGES
                                      1900 CARNEGIE AVENUE
                                       SANTA ANA CA 92705




                  Account Number                                                  703

                  Short Name                                      HERO NUTRITIONALS

                  Loan Group                                                DEFAULT

                  Interest Paid Through                                    08/31/2022

                  Principal Paid Through                                   08/31/2022

                  Loan Date                                                10/15/2013

                  Maturity Date                                            10/01/2024

                  Payoff Date                                              09/14/2022

                  Interest Rate                                            12.50000%

                  Per Diem                                                  576.89255

                  Principal Balance                                       1,661,450.56

                  Accrued Interest                                          14,999.21

                  Late Charges Due                                           8,404.29

                  Payoff Amount                                           1,684,854.06




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    HERO NUTRITIONALS LLC                                                                                                 Contact Number:   HERO NUTRITIONALS
    JENNIFER L HODGES                                                                                                       Loan Number:          703
    1900 CARNEGIE AVENUE                                                                                                            Name: HERO NUTRITIONAL$
    SANTA ANA CA 92705




Transaction   Tran      Transaction                                                                                                                             Principal
   Date       Code          Amount Descri1;1tion/User Reference            R        PrinciQal         Interest     Fees     Late Charges          Others        Balance
03/18/2019     400      2,000,000.00 Beg Bal Principal Advance                   2,000,000.00                                                               2,000,000.00
03/18/2019    410        157,829.21 Beg Bal Principal Payment                     -157,829.21                                                               1,842,170.79
04/22/2019    202         12,626.54 Interest Payment                                               -12 ,626.54                                              1,842,170.79
04/22/2019    202         11 ,897.35 Interest Payment                                              -1 1,897.35                                              1,842,1 70.79
04/22/2019    202         10,746.00 Interest Payment                                               -10,746.00                                               1,842,170.79
05/13/2019    150            575.68 Late Fee                                                                                      575.68                    1,842,170.79
05/28/2019    202          5,631.13 Interest Payment                                                -5,631.13                                               1,842,170.79
07/02/2019    202          6,590.89 Interest Payment                                                -6,590.89                                               1,842 ,170.79
07/02/2019    202          5,882.44 Interest Payment                                                -5,882.44                                               1,842,170.79
08/13/2019    202          6,207.11   Interest Payment                                              -6,207.11                                               1,842,170.79
08/13/2019    202          5,306.46 Interest Payment                                                -5,306.46                                               1,842,170.79
09/03/2019    250             19.19 Late Fee Payment                                                                              -19.19                    1,842,170.79
09/03/2019    250            575.68 Late Fee Payment                                                                             -575.68                    1,842,170.79
09/23/2019    202          6,590.89 Interest Payment                                                -6,590.89                                               1,842,170.79
09/23/2019    202          5,306.46 Interest Payment                                                -5,306.46                                               1,842,170.79
10/02/2019    202         10,963.47 Interest Payment                                               -10,963.47                                               1,842,170.79
10/02/2019    202         11,487.99 Interest Payment                                               -11,487.99                                               1,842,170.79
10/02/2019    202          5,306.46 Interest Payment                                                -5,306.46                                               1,842,170.79
02/07/2020    202          1,727.03 Interest Payment                                                -1,727.03                                               1,842,170.79
02/17/2021    202          1,500.00 Interest Payment                                                -1,500.00                                               1,842,170.79
03/11/2021    202          7,500.00 Interest Payment                                                -7,500.00                                               1,842,170.79
04/09/2021    202          7,122.83 Interest Payment                                                -7, 122.83                                              1,842,170.79
04/09/2021    202            377.17 Interest Payment                                                  -377.17                                               1,842,170.79
05/10/2021    202          3,213.79 Interest Payment                                                -3,213.79                                               1,842,170.79
05/10/2021    202          6,786.21   Interest Payment                                              -6,786.21                                               1,842,170.79
03/08/2022    420          8,404.29 Billing late charges from settlemen                                                         8,404.29                    1,842,170.79
03/30/2022    206         10,000.00 P+I Interest Payment                                           -10,000.00                                               1,842,170.79
04/20/2022    206         10,000.00 P+I Interest Payment                                           -10,000.00                                               1,842,170.79
05/27/2022    206         10,000.00 P+I Interest Payment                                           -10,000.00                                               1,842,170.79
07/01/2022    206         10,000.00 P+I Interest Payment                                           -10,000.00                                               1,842,170.79
08/23/2022    206         10,000.00 P+I Interest Payment                                           -10,000.00                                               1,603,776.49
08/23/2022    206         25,000.00 P+I Interest Payment                                           -25,000.00                                               1,603,776.49
08/23/2022    206         10,000.00 P+I Interest Payment                                           -10,000.00                                               1,603,776.49
08/23/2022    220        180,720.23 Principal Reduction                          -180,720.23                                                                1,236,180.63
08/23/2022    222        418,132.46 Interest Reduction                                            -418, 132.46                                              1,661,450.56
                                      Totals                                     1,661,450.56     -635,902.68      0.00         8,385.10           0.00




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                                           McCormick 107, LLC
                                           11350 McCormick Rd
                                             Bldg 2, Suite 902
                                          Hunt Valley, MD 21031



                                          Payoff Notice
                                          Date Printed: 09/14/2022


                                      HERO NUTRITIONALS LLC
                                        JENNIFER L HODGES
                                      1900 CARNEGIE AVENUE
                                       SANTA ANA CA 92705




                  Account Number                                                  705

                  Short Name                                      HERO NUTRITIONALS

                  Loan Group                                                DEFAULT

                  Interest Paid Through                                    10/19/2019

                  Principal Paid Through                                   10/19/2019

                  Loan Date                                                02/19/2015

                  Maturity Date                                            02/19/2022

                  Payoff Date                                              09/14/2022

                  Interest Rate                                            10.36000%

                  Per Diem                                                   58.05003

                  Principal Balance                                        201 ,718.27

                  Accrued Interest                                           1,509.30

                  Late Charges Due                                           6,810.74

                  Payoff Amount                                            210,038.31




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    HERO NUTRITIONAL$ LLC                                                                                            Contact Number: HERO NUTRITIONALS
    JENNIFER L HODGES                                                                                                   Loan Number:       705
    1900 CARNEGIE AVENUE                                                                                                       Name: HERO NUTRITIONAL$
    SANTA ANA CA 92705




Transaction   Tran      Transaction                                                                                                                        Principal
   Date       Code         Amount Descri~tion/User Reference            R       Principal        Interest     Fees     Late Charges        Others          Balance
03/18/2019     400       500,000.00 Beg Bal Principal Advance                 500,000.00                                                                 500,000.00
03/18/2019    410        268,845.85 Beg Bal Principal Payment                 -268,845.85                                                                231 ,154.15
04/01/2019    150            358.46 Late Fee                                                                                 358.46                      231 ,154.15
04/05/2019    204          5,653.94 P+I Principal Payment                       -5,653.94                                                                225,500.21
04/05/2019    206          1,515.21   P+I Interest Payment                                      -1,515.21                                                225,500.21
05/01/2019    150            358.46 Late Fee                                                                                 358.46                      225,500.21
05/14/2019    204          5,859.74 P+I Principal Payment                       -5,859.74                                                                219,640.47
05/14/2019    206          1,309.41 P+I Interest Payment                                        -1,309.41                                                219,640.47
05/14/2019    250            358.46 Late Fee Payment                                                                        -358.46                      219,640.47
06/18/2019    204          6,024.58 P+I Principal Payment                       -6,024.58                                                                213,615.89
06/18/2019    206          1,144.57 P+I Interest Payment                                        -1, 144.57                                               213,615.89
08/23/2019    204          5,070.02 P+I Principal Payment                       -5,070.02                                                                208,545.87
08/23/2019    206          2,099.13 P+I Interest Payment                                        -2,099.13                                                208,545.87
09/03/2019    204          6,827.60 P+I Principal Payment                       -6,827.60                                                                201 ,718.27
09/03/2019    206            341.55 P+I Interest Payment                                          -341.55                                                201 ,718.27
09/03/2019    250            358.46 Late Fee Payment                                                                        -358.46                      201 ,718.27
10/02/2019    206            870.98 P+I Interest Payment                                          -870.98                                                201 ,718.27
02/07/2020    206          3,844.30 P+I Interest Payment                                        -3,844.30                                                201 ,718.27
02/17/2021    206          1,500.00 P+I Interest Payment                                        -1 ,500.00                                               201 ,718.27
03/08/2022    420          6,810.74 Late Charges per Settlement Agre                                                       6,810.74                      201 ,718.27
08/23/2022    222         54,799.20 Interest Reduction                                         -54,799.20                                                201,71 8.27
                                      Totals                                  201,718.27       -67,424.35     0.00         6,810.74           0.00




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                                           McCormick 107, LLC
                                           11350 McCormick Rd
                                             Bldg 2, Suite 902
                                          Hunt Valley, MD 21031



                                          Payoff Notice
                                          Date Printed: 09/14/2022


                                      HERO NUTRITIONALS LLC
                                        JENNIFER L HODGES
                                      1900 CARNEGIE AVENUE
                                       SANTA ANA CA 92705




                  Account Number                                                 706

                  Short Name                                      HERO NUTRITIONALS

                  Loan Group                                                DEFAULT

                  Interest Paid Through                                    10/21/2019

                  Principal Paid Through                                   10/21/2019

                  Loan Date                                                08/22/2014

                  Maturity Date                                            10/01/2024

                  Payoff Date                                              09/14/2022

                  Interest Rate                                            10.59000%

                  Per Diem                                                   6.52336

                  Principal Balance                                         22,175.76

                  Accrued Interest                                            169.65

                  Late Charges Due                                           1,216.99

                  Payoff Amount                                             23,562.40




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    HERO NUTRITIONALS LLC                                                                                                 Contact Number: HERO NUTRITIONALS
    JENNIFER L HODGES                                                                                                        Loan Number:       706
    1900 CARNEGIE AVENUE                                                                                                            Name: HERO NUTRITIONALS
    SANTA ANA CA 92705




Transaction   Tran      Transaction                                                                                                                            Principal
   Date       Code         Amount Oescrietion/User Reference              R         Princieal        Interest      Fees    Late Charges         Others          Balance
03/18/2019    400        303,040.63 Beg Bal Principal Advance                      303,040.63                                                                 303,040.63
03/18/2019    410        180,869.68 Beg Bal Principal Payment                      -180,869.68                                                                122,170.95
04/02/2019    150            218.98 Late Fee                                                                                      218.98                      122,170.95
04/15/2019    204          3,413.82 P+I Principal Payment                            -3,413.82                                                                118,757.13
04/15/2019    206            965.76 P+I Interest Payment                                              -965.76                                                 118,757.13
05/03/2019    150           218.98 Late Fee                                                                                       218.98                      118,757.13
05/21/2019    204          3,716.92 P+I Principal Payment                            -3,716.92                                                                115,040.21
05/21/2019    206            662.66 P+I Interest Payment                                             -662.66                                                  115,040.21
05/21/2019    250            50.00 Late Fee Payment                                                                               -50.00                      115,040.21
05/21/2019    250           218.98 Late Fee Payment                                                                              -218.98                      115,040.21
06/03/2019    150           218.98 Late Fee                                                                                       218.98                      115,040.21
06/18/2019    204          3,880.31   P+I Principal Payment                          -3,880.31                                                                111 ,159.90
06/18/2019    206           499.27 P+I Interest Payment                                              -499.27                                                  111,159.90
06/18/2019    250             50.00   Late Fee Payment                                                                            -50.00                      111,159.90
06/18/2019    250            168.98 Late Fee Payment                                                                             -168.98                      111,159.90
07/03/2019    150           218.98    Late Fee                                                                                   218.98                       111,159.90
08/01 /2019   150           218.98 Late Fee                                                                                      2 18.98                      111 ,159.90
08/23/2019    204          3,242.41   P+I Principal Payment                          -3,242.41                                                                107,9 17.49
08/23/2019    206          1,137.17 P+I Interest Payment                                            -1 ,137.17                                                107,917.49
09/03/2019    150           218.98 Late Fee                                                                                      218.98                       107,91 7.49
09/03/2019    204           217.26 P+I Principal Payment                              -217.26                                                                 107,700.23
09/03/2019    204          4,195.58 P+I Principal Payment                            -4,195.58                                                                103,504.65
09/03/2019    206           184.00 P+I Interest Payment                                              -184.00                                                  103,504.65
09/03/2019    250            50.08 Late Fee Payment                                                                               -50.08                      103,504.65
09/03/2019    250           168.98 Late Fee Payment                                                                              -168.98                      103,504.65
10/02/2019    204          3,697.07 Paydown                                         -3,697.07                                                                  99,807.58
10/02/2019    204          4,379.58 Paydown                                         -4,379.58                                                                 95,428.00
10/02/2019    206           465.25 P+I Interest Payment                                              -465.25                                                  95,428.00
10/02/2019    220         73,056.08 Paydown                                        -73,056.08                                                                 22,37 1.92
10/02/2019    250           168.90 Paydown                                                                                      -1 68.90                      22,37 1.92
10/02/2019    250           218.98 Paydown                                                                                      -218.98                       22,371.92
10/02/2019    250           218.98 Paydown                                                                                      -218.98                       22 ,371 .92
02/07/2020    206           443.86 P+I Interest Payment                                              -443.86                                                  22,371 .92
02/17/2021    204            196.16 P+I Principal Payment                             -196.16                                                                 22,175.76
02/17/2021    206          1,303.84 P+I Interest Payment                                           -1,303.84                                                  22,175.76
03/08/2022    420          1,216.99 Late fees per settlemetn agreeme                                                            1,216.99                      22,17 5.76
08/23/2022    222          6,155.40 Interest Reduction                                             -6,155.40                                                  22,175.76




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Transaction Tran   Transaction                                                                                                            Principal
   Date     Code      Amount Description/User Reference        R       Principal       Interest     Fees      Late Charges       Others    Balance
                               Totals                                  22,175.76     -11,817.21      0.00          1,216.99        0.00




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                                            McCormick 107, LLC
                                           11350 McCormick Rd
                                             Bldg 2, Suite 902
                                           Hunt Valley, MD 21031



                                          Payoff Notice
                                          Date Printed: 09/14/2022


                                      HERO NUTRITIONALS LLC
                                        JENNIFER L HODGES
                                      1900 CARNEGIE AVENUE
                                       SANTA ANA CA 92705




                  Account Number                                                  707

                  Short Name                                       HERO NUTRITIONALS

                  Loan Group                                                DEFAULT

                  Interest Paid Through                                    10/24/2019

                  Principal Paid Through                                   10/24/2019

                  Loan Date                                                02/25/2014

                  Maturity Date                                            10/01/2024

                  Payoff Date                                              09/14/2022

                  Interest Rate                                            10.69000%

                  Per Diem                                                   35.81364

                  Principal Balance                                        120,607.22

                  Accrued Interest                                             931.16

                  Late Charges Due                                           6,574.67

                  Payoff Amount                                            128,113.05




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    HERO NUTRITIONALS LLC                                                                                               Contact Number: HERO NUTRITIONAL$
    JENNIFER L HODGES                                                                                                      Loan Number:       707
    1900 CARNEGIE AVENUE                                                                                                          Name: HERO NUTRITIONALS
    SANTA ANA CA 92705




Transaction   Tran      Transaction
                                                                                                                                                              Principal
   Date       Code         Amount Descri~tion/User Reference              R        Principal        Interest     Fees     Late Charges        Others          Balance
03/18/2019    400        463,009.10 Beg Bal Principal Advance                    463,009.10                                                                 463,009.10
03/18/2019    410        312,690.73 Beg Bal Principal Payment                    -312,690.73                                                                150,318.37
04/05/2019    150            335.61 Late Fee                                                                                    335.61                      150,318.37
04/15/2019    204          5,571.70 P+I Principal Payment                          -5,571.70                                                                144,746.67
04/15/2019    206          1,140.41   P+I Interest Payment                                        -1 ,140.41                                                144,746.67
05/06/2019    150            335.61   Late Fee                                                                                  335.61                      144,746.67
05/21/2019    204          5,888.51   P+I Principal Payment                        -5,888.51                                                                138,858.16
05/21/2019    206            823.60 P+l lnterest Payment                                            -823.60                                                 138,858.16
05/21/2019    250            335.61   Late Fee Payment                                                                         -335.61                      138,858.16
06/05/2019    150            335.61   Late Fee                                                                                 335.61                       138,858.16
06/18/2019    204          6,097.58 P+I Principal Payment                          -6,097.58                                                                132,760.58
06/18/2019    206            614.53 P+I Interest Payment                                            -614.53                                                 132,760.58
06/18/2019    250            335.61   Late Fee Payment                                                                         -335.61                      132 ,760.58
08/23/2019    204          5,327.20 P+I Principal Payment                         -5,327.20                                                                 127,433.38
08/23/2019    206          1,384.91 P+I Interest Payment                                          -1,384.91                                                 127,433.38
09/03/2019    204            335.61   P+I Principal Payment                         -335.61                                                                 127,097.77
09/03/2019    204          6,490.55 P+I Principal Payment                         -6,490.55                                                                 120,607.22
09/03/2019    206            221 .56 P+I Interest Payment                                           -221 .56                                                120,607.22
09/03/2019    250            335.61 Late Fee Payment                                                                          -335.61                       120,607.22
10/02/2019    206            552.82 P+I Interest Payment                                            -552.82                                                 120,607.22
02/07/2020    206          1,430.45 P+I Interest Payment                                          -1 ,430.45                                                120,607.22
02/17/2021    206          1,500.00 P+I Interest Payment                                          -1,500.00                                                 120,607.22
03/08/2022    420          6,574.67 late charges as of settlement agre                                                       6,574.67                       120,607.22
08/23/2022    222         33,805.25 Interest Reduction                                           -33,805.25                                                 120,607.22
                                      Totals                                     120,607.22      -41,473.53      0.00        6,574.67            0.00




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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
15910 Ventura Blvd., 12th Floor, Encino, CA 91436


A true and correct copy of the foregoing document entitled (specify):                   PROOF OF CLAIM


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
Sept. 27, 2022    , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
he following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                        x   Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) Sept. 27, 2022      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                        x   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Sept. 27, 2022                   MARY ANN GRANZOW                                                /s/ Mary Ann Granzow
Date                             Printed Name                                                   Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF.SERVICE
                                                                                                                                                   F901331




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                                      SERVICE LIST


 SERVED BY COURT VIA NEF:

    •   Ron Bender rb@lnbyg.com
    •   Michael W Brown mbrown@hrhlaw.com
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    •   Paul M Kelley pkelley@kelleysemmel.com
    •   Arvind Nath Rawal arawal@aisinfo.com
    •   Donald W Reid don@donreidlaw.com, ecf@donreidlaw.com
    •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov


 SERVED BY U.S. MAIL:

 Debtor:
 Hero Nutritionals, LLC
 1900 Carnegie Ave. Bldg. A
 Santa Ana, CA 92705




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 6
     Attorneys for Chapter 7 Trustee, Mark M. Sharf
 7
                                UNITED STATES BANKRUPTCY COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9                                       SANTA ANA DIVISION
10   In re:                                           Bankruptcy Case No. 8:21-bk-11662--SC
11
     JENNIFER LEIGH HODGES,                           Chapter 7
12
                      Debtor.                         CHAPTER 7 TRUSTEE'S MOTION FOR
13                                                    ORDER: (1) AUTHORIZING SALE OF REAL
14                                                    PROPERTY FREE AND CLEAR OF LIENS
                                                      PURSUANT TO 11 U.S.C. § 363(f); (2)
15                                                    APPROVING OVERBID PROCEDURES; (3)
                                                      APPROVING BROKER COMPENSATION;
16                                                    (4) AUTHORIZING DISTRIBUTION OF
17                                                    SALE PROCEEDS; (5) DETERMINING THAT
                                                      THE PROPOSED BUYER IS A “GOOD
18                                                    FAITH PURCHASER” UNDER 11 U.S.C. §
                                                      363(m); AND (6) WAIVING 14 DAY STAY
19
                                                      IMPOSED BY FEDERAL RULE OF
20                                                    BANKRUPTCY PROCEDURE 6004(h);
                                                      DECLARATIONS OF MARK M. SHARF,
21                                                    DAVID CRABTREE, DONALD T. FIFE AND
                                                      PROPOSED BUYER IN SUPPORT HEREOF
22
23                                                    [77820 Vineyard Canyon Road, San Miguel,
                                                      California 93451]
24
                                                      Hearing:
25
                                                      Date: August 2, 2022
26                                                    Time: 11:00 a.m.
                                                      Place: Via Zoom Teleconference
27
28


                                                      1
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 1   TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY

 2   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, DEBTOR, DEBTOR’S

 3   COUNSEL, AND OTHER INTERESTED PARTIES:

 4            Mark M. Sharf, in his capacity as chapter 7 Trustee (“Trustee”) for the bankruptcy estate

 5   (“Estate”) of Jennifer Leigh Hodges (“Debtor”), hereby moves the Court for an Order: (1)

 6   Authorizing the Sale of the Property Commonly Known as 77820 Vineyard Canyon Road, San

 7   Miguel, California 93451 [APN: 424-131-041,042,060,061] (“Property”) Free And Clear Of Liens

 8   Pursuant To 11 U.S.C. § 363(f)1; (2) Approving Overbid Procedures; (3) Approving Broker

 9   Compensation; (4) Authorizing Distribution Of Sale Proceeds; (5) Determining that the Proposed

10   Buyer is a “Good Faith Purchaser” Under § 363(m); and (6) Waiving the 14-day stay of Federal

11   Rule of Bankruptcy Procedure (“FRBP”) 6004(h) ("Motion"). In support hereof, Trustee submits

12   the following:

13            I.       SUMMARY.

14            Subject to Court approval and overbid, Trustee has accepted an offer from the Phillip and

15   Tracy Cagliero Family Trust ("Buyer"), to purchase the Property for $2,375,000 (“Accepted Offer”).

16            In Trustee's business judgment, the Property has a fair market value in the range of

17   $2,375,000. As such, Trustee respectfully requests an order: (1) Authorizing him to sell the Property

18   free and clear of liens; (2) Approving overbid procedures; (3) Approving Broker compensation; (4)

19   Authorizing distribution of sale proceeds; (5) Determining that the proposed Buyer is a “Good Faith

20   Purchaser” under § 363(m); and (6) Waiving the 14-day stay of FRBP 6004(h).

21            The sale of the Property is in the best interest of creditors and the Estate. Predicated on the

22   granting of the Motion, and if no overbids are received, the Estate will receive net proceeds of

23   approximately $445,000 following payment of costs of sale, including Broker’s commission of 5%,

24   payoff of a first priority deed of trust and based on the settlement between Trustee and McCormick

25   107, LLC (“McCormick”).

26   ///

27
     1
       Unless otherwise indicated, all statutory references herein pertain to Title 11 of the United States Code and the Federal
28
     Rules of Bankruptcy Procedure.


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 1            II.     BACKGROUND.

 2            A.      The Filing of the Chapter 11 Petition and Conversion to Chapter 7.

 3            1.      Debtor’s bankruptcy case was commenced on July 2, 2021, four days prior to a

 4   foreclosure sale of the property commonly known as 77820 Vineyard Canyon Road, San Miguel,

 5   California 93451 (“Property”), with the filing of a Subchapter V petition under Chapter 11 of the

 6   Bankruptcy Code (“Petition”). See Docket Entry (“DE”) 1.

 7            2.      On July 6, 2021, Trustee was appointed as the Subchapter V Trustee. See DE 8.

 8            3.      On November 23, 2021, McCormick, Debtor’s largest creditor, filed a motion to

 9   convert the case to one under chapter 7 on the basis that Debtor’s plan was patently unconfirmable.

10   The motion was granted and the case was converted to Chapter 7 on December 27, 2021. See DE 73

11   and 96, respectively.

12            4.      Trustee is the appointed, qualified, and is the acting chapter 7 Trustee for Debtor’s

13   bankruptcy estate (“Estate”). See DE 97.

14            B.      Debtor’s Interest in, and the Liens Against, the Property.

15            5.      On July 14, 2021, Debtor filed her Schedules. See DE 22.

16            6.      In her Schedules, Debtor identified her ownership interest in the Property and

17   identified the following liens against it:

18                    a.     First priority deed of trust in favor of Community Bank of Santa Maria

19                           (“CBSM”) in the amount of $1,159,748.25.

20                    b.     Second priority deed of trust in favor of McCormick in the amount of

21                           $2,804,672.84 (“McCormick Deed of Trust”). See DE 22.

22            7.      In her Schedules, Debtor valued the Property at $4,000,000. See DE 22.

23            8.      On November 16, 2021, CBSM filed a motion for relief from the automatic stay in

24   connection with the Property. Trustee has negotiated several continuances of the hearing on the

25   motion, which is currently set for hearing on September 14, 2022. See DE 67 and 188, respectively.

26            9.      On February 9, 2022, Debtor filed an amended Schedule C, wherein she removed her

27   claimed homestead exemption in the Property. See DE 113.

28   ///


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 1            C.      The Status of CBSM and McCormick’s Non-Judicial Foreclosure Proceedings

 2                    Against the Property.

 3            10.     On October 28, 2020, a Notice of Default and Election to Sell Under Deed of Trust

 4   was recorded in connection with the McCormick Deed of Trust (“NOD”).

 5            11.     On June 15, 2021, a Notice of Default and Election to Sell Under Deed of Trust was

 6   recorded against the Property in connection the CBSM Deed of Trust.

 7            12.     On June 8, 2021, a Notice of Trustee’s Sale was recorded in connection with the

 8   McCormick Deed of Trust (“NTS”).

 9            13.     According to the NTS, Trustee’s Sale was set for July 6, 2021. However, it was

10   postponed based on the filing of Debtor’s case on July 2, 2021.

11            D.      Trustee’s Settlement with McCormick.

12            14.     In February, 2022, Trustee and McCormick entered into a settlement agreement

13   whereby McCormick reduced its claim in this case from $3,036,899.12 to $2,800,000, subordinated

14   50% of its claim under 11 U.S.C. § 501(c)(1), and transferred the lien securing the subordinated

15   portion of its claim to the Estate under 11 U.S.C. § 501(c)(2) (“McCormick Settlement”). The

16   McCormick Settlement was approved by the Court on May 11, 2022. See DE 120 and 161,

17   respectively.

18            E.      Trustee’s Employment of a Real Estate Broker and Marketing of the Property.

19            15.     On June 3, 2022, Trustee filed an application to employ David Crabtree as his real

20   estate broker. The application was approved on June 23, 2022. See DE 173 and 182, respectively.

21            16.     The Property was listed for sale for $2,695,000 on June 1, 2022.

22            III.    THE OFFER TO PURCHASE.

23            17.     Trustee received an offer to purchase the Property on June 22, 2022 and responded

24   with a counter-offer, which was accepted on June 24, 2022.           True and correct copies of the

25   Residential Purchase Agreement and Counter-Offer (“Purchase Agreement”) are attached to the

26   accompanying Declaration of Mark M. Sharf (“Trustee Declaration”) as Exhibit “1.” Buyer has

27   already tendered a $70,500 deposit to Trustee.

28            18.     In summary, the Purchase Agreement provides as follows:


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 1                    a.      Purchase Price: Buyer has agreed to pay $2,375,000 for the Property.

 2                    b.      Closing of Sale: The sale shall close as quickly as possible, but not later than

 3   14 days after entry of a Bankruptcy Court order approving the sale.

 4                    c.      “As Is” and “Where As”: The Property is being sold, “as is – where as,” thus

 5   Trustee is not making any representations, warranties, either express or implied, as to the Property’s

 6   condition, uses (prior, present or future), or otherwise.

 7                    d.      Transfer of the Property: Trustee will convey title to Buyer via a Trustee

 8   Quitclaim Deed.

 9                    e.      Acknowledgement of Trustee’s Capacity: Buyer is expressly aware and fully

10   informed that Trustee is selling the Property exclusively in his capacity as Chapter 7 Trustee of the

11   Estate. No personal liability for costs, fees or other charges on Trustee’s part is intended, and any

12   liability is strictly the liability of the Estate.

13                    f.      Approval of the Bankruptcy Court: Buyer is aware that the sale is expressly

14   conditioned on approval by the Court and subject to overbid.

15                    g.      Bankruptcy Jurisdiction: Trustee is selling the Property in his capacity as

16   Chapter 7 Trustee of the Estate. As such, resolution of any and all disputes between Trustee and

17   Buyer (or any over-bidders) shall be resolved by the Bankruptcy Court.

18            19.     Trustee shall approve, in writing, all disbursements of sale proceeds. Escrow shall

19   not be authorized to disburse any funds without Trustee’s prior written approval.

20            20.     If Trustee is unable to close escrow because of unknown title defects, because the

21   liens and encumbrances exceed the amount known to Trustee, by being divested of title by the Court,

22   or because the tax consequences of the sale are excessive, Buyer’s sole damages shall be limited to a

23   refund of its deposit less escrow and bond charges.

24            IV.     SALE FREE AND CLEAR OF LIENS.

25            21.     Debtor’s Schedule D lists the first priority secured claim of CBSM, in the amount of

26   $1,159,748.25, and the second priority secured claim of McCormick, in the amount of

27   $2,804,672.84.        Additionally, delinquent taxes owed to the Monterey County Treasurer-Tax

28   Collector (“Monterey County”) total approximately $17,825.53. Trustee has not identified any other


                                                          5
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 1   liens against the Property. A true and correct copy of the Preliminary Title Report is attached to the

 2   Trustee Declaration as Exhibit “2.”

 3            22.     Trustee seeks authority to sell the Property “free and clear of any interest in such

 4   property of an entity...” § 363(f) allows such a sale if any of the five following conditions are met:
                   “(1)      applicable non bankruptcy law permits sale of such property free
 5                           and clear of such interest;
 6                  (2)      such entity consents;
                    (3)      such interest is a lien and the price at which such property is to be
 7                           sold is greater than the aggregate value of all liens on such
                             property;
 8                  (4)      such interest is in bona fide dispute; or
 9                  (5)      such entity could be compelled, in a legal or equitable proceeding,
                             to accept a money satisfaction of such interest.”
10                  11 U.S.C. § 363(f).
11            Section 363(f) is written in the disjunctive, such that satisfaction of any one of the five
12   conditions is sufficient to allow Trustee to sell property of the estate free and clear of liens. In re
13   Gerwer, 898 F.2d 730 (9th Cir. 1990). Here, Trustee’s sale of the Property satisfies § 363(f)(3)
14   because the Property is being sold for $2,375,000, which exceeds the amount owed to CBSM and
15   Monterey County, and § 363(f)(2) based on the McCormick Settlement.
16            23.     On August 10, 2021, CBSM filed a secured proof of claim in connection with the
17   Property in the amount of $1,176,229.79. See Claims Register 2-1.
18            24.     On September 9, 2021, McCormick filed a secured proof of claim in connection with
19   the Property in the amount of $3,036,899.12. See Claims Register 6-1.
20            25.     To the extent that any additional liens are discovered, Trustee proposes that the sale
21   be approved free and clear of said liens pursuant to § 363(f), with same to attach to the proceeds of
22   sale in the same order of priority, extent, and validity.
23            V.      THE PROPOSED SALE IS FOR FAIR MARKET VALUE.
24            26.     The Property was listed on the Multiple Listing Service ("MLS") as well as several
25   other real estate websites and was actively marketed by the Broker for $2,695,000. The Broker’s
26   marketing efforts resulted in the receipt the offer.
27            27.     Trustee received an offer to purchase the Property for $2,375,000 on June 22, 2022
28   and responded with a counter-offer, which was accepted on June 24, 2022. Buyer has already


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 1   tendered a $70,500 deposit to Trustee.

 2            28.     As further evidence that the Property is being sold for fair market value, it continues

 3   to be marketed for overbids and will be marketed up to the time of the hearing on this Motion.

 4            VI.     THE REQUESTED OVERBID PROCEDURES SHOULD BE APPROVED.

 5            29.     In order to obtain the highest and best offer for the benefit of creditors of the Estate,

 6   Trustee proposes that the following overbid procedures be approved. Notice is being provided of the

 7   opportunity for overbidding to all interested parties in this matter.

 8                    a)     Only Qualified Bidders may submit an overbid. A "Qualified Bidder" is one

 9                           who provides a financial statement, credit report, and such business and

10                           banking references as are required in Trustee's reasonable discretion,

11                           sufficient to assure Trustee of the bidder's ability (based on availability of

12                           financing, experience or other conditions) to consummate the purchase of the

13                           Property, and one who can consummate the purchase of the Property on the

14                           same terms and conditions, other than price, as those proposed in the Offer.

15                    b)     Each bid must be received by Trustee and his counsel no later than 2 business

16                           days prior to the hearing.

17                    c)     The initial overbid must exceed the Offer by a minimum $20,000. Here, the

18                           first overbid must be at least $2,395,000. Each subsequent bid must then be in

19                           increments of at least $5,000. For instance, the first subsequent bid must be at

20                           least $2,400,000.

21                    d)     Each bid must be non-contingent, and on the same terms and conditions, other

22                           than price, as those proposed in the Purchase Agreement.

23                    e)     Each bidder must match all terms and conditions of the Offer. Thus, an

24                           "earnest money" deposit of at least $70,500 must be made. Said deposit must

25                           be received by Trustee at 221 Paseo De Gracia, Redondo Beach, California

26                           90277 by no later than 2 business days prior to the hearing. Said deposit must

27                           be in the form of a cashier's check or certified check.

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 1                    f)     Should a bidder fail to qualify for financing or timely close escrow, the

 2                           $70,500 deposit is non-refundable. However, in the event that an overbidder

 3                           becomes the successful purchaser, Buyer’s deposit will be returned to Buyer.

 4                    g)     In the event there are no overbids received by Trustee, Buyer shall, subject to

 5                           Court approval, be deemed the successful bidder, and the Estate’s right, title

 6                           and interest in the Property shall be sold to Buyer for the sum of $2,375,000,

 7                           as is, where is, without representations or warranties.

 8            30.     The foregoing procedures will provide for an orderly completion of the sale of the

 9   Property by permitting all bidders to compete on similar terms, and will allow interested parties and

10   the Court to compare competing bids in order to realize the highest benefit for the Estate.

11            VII.    THE    COURT       HAS     AUTHORITY          TO    APPROVE       THE        OVERBID

12                    PROCEDURES.

13            31.     Implementation of the bidding procedures is an action outside the ordinary course of

14   business. A trustee “after notice and hearing, may use, sell or lease, other than in the ordinary course

15   of business, property of the estate.” 11 U.S.C. § 363(b)(1). Furthermore, “[t]he court may issue any

16   order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

17   11 U.S.C. § 105(a). Thus, pursuant to sections 363(b)(1) and 105(a), this Court may authorize the

18   implementation of overbidding procedures.

19            32.     The Ninth Circuit, in a case under the Bankruptcy Act, recognized the power of a

20   bankruptcy court to issue orders determining the terms and conditions for overbids with respect to a

21   sale of estate assets. In re Crown Corporation, 679 F.2d 774 (9th Cir. 1982). The Crown Corporation

22   court entered an order specifying the minimum consideration required for an overbid as well as the

23   particular contractual terms required to be offered by overbidders. Id at 777. The Crown Corporation

24   decision also approves of an order requiring and setting the amount of potential overbidders’

25   deposits and authorized courts to determine the disposition of such deposits. Id. While the discussion

26   is not extensive, the Crown Corporation decision recognizes the inherent authority of bankruptcy

27   courts to order the implementation of bidding procedures such as those proposed in the present case.

28   ///


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 1            A.      The Proposed Procedures are Untainted by Self-Dealing.

 2            33.     The proposed overbid procedures have been presented in good faith and have been

 3   negotiated on an “arm’s-length” basis. Therefore, the dealings between the Trustee and the Proposed

 4   Buyer (or any successful buyer) are not tainted.

 5            B.      The Proposed Procedures Encourage Bidding and are Fair in Amount.

 6            34.     The overbid procedures are designed to encourage, not hamper, bidding and are

 7   reasonable under the circumstances. This Motion is intended to provide potential overbidders with

 8   adequate information to make an informed decision as to the amount of their bid.

 9            C.      The Proposed Bidding Procedures are Fair, Reasonable and Serve the Best

10                    Interests of the Estate.

11            35.     The proposed bidding procedures serve the Estate in several ways. First, the

12   procedures themselves are fair, reasonable, and productive; they will permit the Trustee to conduct

13   an orderly sale of the Property and obtain the best possible price on the best possible terms. Second,

14   the bidding procedures are a necessary component of the Trustee’s sale of the Property. The bidding

15   procedures will ensure that all bids will be comparable. If competing bids are received, the Trustee

16   will determine which bid is the highest and best for the Estate. The comparability requirement of the

17   bidding procedures will make it possible to accomplish this task.

18            36.     The bidding procedures will help the Trustee to obtain the highest and best price for

19   the Property. The procedures institute minimum overbid increments that the Trustee believes are

20   reasonable. Thus, if competing bids are received, the Trustee will be able to obtain substantial

21   benefit for this Estate from the sale of the Property. The bidding procedures require potential bidders

22   to deposit certified funds prior to the hearing. It would be a serious loss to the Estate if the Trustee

23   surrendered the opportunity to sell the Property to the Proposed Buyer in favor a competing bidder,

24   only to later discover that the bidder is incapable of consummating the transaction. Thus, requiring

25   bidders to make a substantial deposit will protect the Estate from such a loss.

26            VIII. THE BROKER’S COMPENSATION SHOULD BE APPROVED.

27            37.     On June 23, 2022, Trustee was authorized to employ Broker.

28            38.     Trustee and Broker have agreed that Broker will be compensated at a reduced


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 1   commission of 5% of the purchase price or overbid.

 2            39.     Due to the facts of this case, Trustee has determined that the commission of 5% is

 3   reasonable and appropriate.

 4            IX.     THE PROPOSED SALE SUBSTANTIALLY BENEFITS THE ESTATE.

 5
              40.    The sale of the Property would benefit the estate as follows:
 6                                          Estimated Equity Analysis
       Offer Received                                                                          $2,375,000
 7     Monterey County                                                             Estimated ($17,825.53)
 8     First Priority Deed of Trust – CBSM                                         Estimated ($1,300,000)
       Broker Commissions (5%)                                                                 ($118,750)
 9     Estimated Costs of Sale (2%)                                                             ($47,500)
       Subtotal                                                                            ($990,924.47)
10     Net Proceeds to McCormick                                                           ($445,462.24)
       Net Proceeds the Estate                                                               $445,462.23
11
12            X.      TAX CONSEQUENCES OF THE SALE.

13            41.     Based on the review of Trustee’s accountant, Donald T. Fife, CPA, Debtor’s net

14   operating losses, which are property of her bankruptcy estate, are sufficient to offset any potential

15   gain from Trustee’s sale of the Ranch, even if the sale price is $3,000,000. See Declaration of

16   Donald T. Fife, filed concurrently herewith.

17            XI.     PROPOSED DISTRIBUTION OF SALE PROCEEDS.

18            42.     Trustee seeks authority for distribution of sale proceeds as follows:

19                    a)     For normal/customary escrow and closing costs;

20                    b)     Estimated $1,300,000 to CBSM on account of its first priority deed of trust,

21                           subject to its demand placed in escrow and Trustee’s approval;

22                    c)     To Broker, an amount not greater than 5% of the sale price, subject to

23                           Trustee’s review and approval prior to distribution;

24                    d)     To McCormick, 50% of the remaining balance of the sale proceeds; and

25                    e)     To the Estate, 50% of the remaining balance of the sale proceeds.

26            XII.    DETERMINATION OF GOOD FAITH PURCHASER.

27            37.     Trustee further seeks an Order determining that Buyer is a “good faith purchaser”

28   under § 363(m), such that any appeal of the Order granting this Motion, even if successful, will not


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 1                                 DECLARATION OF MARK M. SHARF

 2            I, Mark M. Sharf, declare as follows:

 3            1.      I am the duly appointed and acting chapter 7 Trustee for the bankruptcy estate

 4   (“Estate”) of Jennifer Leigh Hodges (“Debtor”), Case No. 8:21-bk-11662--SC.

 5            2.      In this capacity, I have personal knowledge of the facts stated herein or believe them

 6   to be true based upon information and belief, and, if called upon to testify thereto, I could and would

 7   do so competently and truthfully.

 8            3.      I make this declaration in support of the Motion for Order (1) Authorizing Trustee To

 9   Sell Real Property Free And Clear Of Liens Pursuant to § 363(f); (2) Approving Overbid

10   Procedures; (3) Approving Broker Compensation; (4) Authorizing Distribution Of Sale Proceeds; (5)

11   Determining that the Proposed Buyer is a “Good Faith Purchaser” Under § 363(m); and (6) Waiving

12   14-Day Stay of FRBP 6004(h) (“Motion”).           Unless otherwise noted, capitalized terms in this

13   Declaration have the meaning set forth in the Motion. I have read and I am aware of the contents of

14   the Motion and the accompanying Memorandum of Points and Authorities. The facts stated in the

15   Motion and the Memorandum of Points and Authorities are true and correct to the best of my

16   knowledge.

17            4.      The Estate includes the real property commonly known as 77820 Vineyard Canyon

18   Road, San Miguel, California 93451 [APN: 424-131-041,042,060,061] (“Property”).

19            5.      On June 3, 2022, I filed an Application to Employ Real Estate Agent David Crabtree

20   of Home & Ranch Sothebys International Realty(“Broker”). The Application was granted on June

21   23, 2022.

22            6.      It is my understanding that Debtor sometimes visits the Property. However, she is

23   not paying mortgage payments, hazard insurance premiums, or real property taxes.

24            7.      Subject to Court approval and overbids, I have accepted an offer from the Phillip and

25   Tracy Cagliero Family Trust to purchase the Property for $2,375,000. A true and correct copy of the

26   Residential Purchase Agreement and Counter-Offer (“Purchase Agreement”) is attached hereto as

27   Exhibit “1” and incorporated herein by reference.

28            8.      The sale is in the best interest of creditors and the Estate and should be approved.


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 1   Assuming the Court approves the Motion and no overbids are received, the Estate will receive

 2   approximately $445,000 from the sale for the benefit of creditors of the Estate following payment of

 3   costs of sale, including Broker’s commission, and the first priority deed of trust.

 4            9.      Buyer has tendered a $70,500 deposit to me in the form of a cashier’s check.

 5            10.     In summary, the Purchase Agreement provides as follows:

 6                    a.      Purchase Price: Buyer has agreed to pay $2,375,000 for the Property.

 7                    b.      Closing of Sale: The sale shall close as quickly as possible, but not later than

 8   14 days after Bankruptcy Court approval of the sale.

 9                    c.      “As Is” and “Where As”: The Property is being sold, “as is – where as,” thus

10   Trustee is not making any representations, warranties, either express or implied, as to the Property’s

11   condition, uses (prior, present or future), or otherwise.

12                    d.      Transfer of the Property: I will convey title to Buyer via a Trustee Quitclaim

13   Deed.

14                    e.      Acknowledgement of Trustee’s Capacity: Buyer is expressly aware and fully

15   informed that I am selling the Property exclusively in my capacity as chapter 7 Trustee of the Estate.

16   No personal liability for costs, fees or other charges on my part is intended, and any liability is

17   strictly the liability of the Estate.

18                    f.      Approval of the Bankruptcy Court: Buyer is aware that the sale is expressly

19   conditioned on approval by the Court and subject to overbid.

20                    g.      Bankruptcy Jurisdiction: I am selling the Property in my capacity as chapter 7

21   of the Estate. As such, resolution of any and all disputes between Trustee and Buyer (or any over-

22   bidders) shall be resolved by the Court.

23            11.     I shall approve in writing all disbursements to be made on the sale of the Property.

24   Escrow shall not be authorized to disburse any funds to anyone without my prior written approval.

25            12.     If I am unable to close escrow because of unknown title defects, because the liens and

26   encumbrances exceed the amount known to me, by being divested of title by the Court, or because

27   the tax consequences of the sale are excessive, Buyer’s sole damages shall be limited to a refund of

28   her deposit less escrow and bond charges.


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 1            13.     In my business judgment the sale of the Property should be approved.

 2            14.     Pursuant to the Preliminary Title Report, the Property is encumbered by a first

 3   priority deed of trust in favor of CBSM and a second priority deed of trust in favor of McCormick.

 4   Additionally, delinquent taxes owed to the Monterey County Treasurer-Tax Collector total

 5   approximately $17,825.53. A true and correct copy of a Preliminary Title Report for the Property is

 6   attached hereto as Exhibit “2.”

 7            15.     I do not believe the Property is subject to any further liens or encumbrances.

 8   However, in an abundance of caution and to provide assurances to Buyer, I seek authority to sell the

 9   Property “free and clear of any interest in such property of an entity...”

10            16.     Fair market value for the Property is being realized. The Property was initially listed

11   for $2,695,000 and the offer received is $2,375,000. Additionally, the Property will continue to be

12   marketed pending an order on the Motion to Sell and Buyer’s offer is subject to overbid.

13            17.     In preparing to market the Property for sale, the Property was placed on the Multiple

14   Listing Service (“MLS”) as well as multiple other real estate websites. The marketing efforts

15   resulted in the receipt of the Buyer’s offer, which I accepted (subject to overbid and court approval).

16   As of the date of this Declaration, I have not received any other offers to purchase the Property.

17            18.     In order to obtain the highest and best offer for the benefit of creditors of the Estate, I

18   propose that the foregoing Offer be approved along with the proposed overbid procedures. Notice is

19   being provided of the opportunity for overbidding to all interested parties in this matter.

20            19.     The proposed overbid procedures as set forth in the foregoing Motion will provide for

21   an orderly completion of the sale of the Property by permitting all bidders to compete on similar

22   terms, and will allow interested parties and the Court to compare competing bids in order to realize

23   the highest benefit for the estate.

24            20.     I entered into an agreement with the Broker, whereby he will be compensated at a

25   reduced commission of 5% of the approved purchase price or overbid.

26            21.     Due to the facts of this case, I have determined that the proposed commission is

27   reasonable and appropriate, and I am requesting authorization to pay such commission.

28            22.     I am further seeking an Order determining that Buyer is a “good faith purchaser”


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            1                                  DECLARATION OF DAVID CRABTREE

            2            I, David Crabtree, declare as follows:

            3            1.      I am a real estate agent employed by Home & Ranch Sothebys International Realty,

            4   the real estate broker for Mark M. Sharf, the Chapter 7 Trustee for the bankruptcy estate of Jennifer

            5   Leigh Hodges (“Debtor”), Case No. 8:21-bk-11662--SC.               In this capacity, I have personal

            6   knowledge of the facts stated herein, and, if called upon to testify thereto, I could and would do so

            7   competently and truthfully.

            8            2.      I listed the property commonly known as 77820 Vineyard Canyon Road, San Miguel,

            9   California 93451 [APN: 424-131-041,042,060,061] (“Property”) for $2,695,000 on June 1, 2022.

          10             3.      On June 22, 2022, I received an offer to purchase the Property for $2,375,000 from

          11    Phillip and Tracy Cagliero Family Trust (“Buyer”).

          12             4.      Trustee responded with a counter-offer, which Buyer accepted on June 24, 2022.

          13             5.      As of the date of this declaration, I have not received any other offers to purchase the

          14    Property but have received numerous inquiries expressing interest in the Property and expect to

          15    receive overbids.

          16             6.      The Property was listed on the MLS as well as websites, including but not limited to

          17    Zillow.com, Redfin.com, and Truila.com.

          18             7.      I posted an open house to the MLS as well as the aforementioned websites.

          19             8.      The marketing of the Property has been complicated by the fact that Debtor has failed

          20    to provide an access code to access one of the living-quarters located at the Property.

          21             9.      I have continued to market the Property since receipt of Buyer’s offer and will

          22    continue to market the Property pending a ruling on Trustee’s Motion to Sell the Property. My

          23    marketing efforts will include continued showings to interested parties, communications via email

          24    and phone with interested parties, and continuing marketing efforts to attract interest in the Property

          25    and overbids.

          26    ///

          27    ///

          28    ///


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            1            I declare under penalty of perjury according to the laws of the United States that the

            2   foregoing is true and correct and that this declaration was executed on the ___
                                                                                             7 day of July, 2022, at


            3   Templeton, California.

            4
                                                                      ________________________
            5                                                         David Crabtree
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            1                                 DECLARATION OF PHILLIP CAGLIERO

            2            I, Phillip Cagliero, declare as follows:

            3            1.      I am one of the trustees of the Phillip and Tracy Cagliero Family Trust, the proposed

            4   buyer of the real property commonly known as 77820 Vineyard Canyon Road, San Miguel,

            5   California 93451 [APN: 424-131-041,042,060,061] (“Property”). In this capacity, I have personal

            6   knowledge of the facts stated herein, and, if called upon to testify thereto, I could and would do so

            7   competently and truthfully.

            8            2.      I am not a relative or a general partner of Debtor, the Trustee, or the Trustee’s Broker

            9   and Real Estate Agent.

          10             3.      I am not a part of a partnership in which Debtor, the Trustee, or the Trustee’s Broker

          11    and Real Estate Agent, are a general partner, director, officer, or person in control.

          12             4.      I participated in the negotiation of the Residential Purchase Agreement and Joint

          13    Escrow Instructions and Counter Offer through my broker, David Crabtree of Home & Ranch

          14    Sothebys International Realty, who is also Trustee’s Broker. I have never met or spoken with

          15    Debtor or the Trustee.

          16             5.      The proposed sale of the Property is an arms-length transaction and is in good faith.

          17             I declare under penalty of perjury according to the laws of the United States that the

          18    foregoing is true and correct and that this declaration was executed on the ___
                                                                                             7 day of July, 2022, at

                San Miguel                        , California.
          19
          20
                                                                          ________________________
          21                                                              Phillip Cagliero
          22
          23
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                                                                     18
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            1                                  DECLARATION OF TRACY CAGLIERO

            2            I, Tracy Cagliero, declare as follows:

            3            1.      I am one of the trustees of the Phillip and Tracy Cagliero Family Trust, the proposed

            4   buyer of the real property commonly known as 77820 Vineyard Canyon Road, San Miguel,

            5   California 93451 [APN: 424-131-041,042,060,061] (“Property”). In this capacity, I have personal

            6   knowledge of the facts stated herein, and, if called upon to testify thereto, I could and would do so

            7   competently and truthfully.

            8            2.      I am not a relative or a general partner of Debtor, the Trustee, or the Trustee’s Broker

            9   and Real Estate Agent.

          10             3.      I am not a part of a partnership in which Debtor, the Trustee, or the Trustee’s Broker

          11    and Real Estate Agent, are a general partner, director, officer, or person in control.

          12             4.      I participated in the negotiation of the Residential Purchase Agreement and Joint

          13    Escrow Instructions and Counter Offer through my broker, David Crabtree of Home & Ranch

          14    Sothebys International Realty, who is also Trustee’s Broker. I have never met or spoken with

          15    Debtor or the Trustee.

          16             5.      The proposed sale of the Property is an arms-length transaction and is in good faith.

          17             I declare under penalty of perjury according to the laws of the United States that the

          18    foregoing is true and correct and that this declaration was executed on the ___
                                                                                             7 day of July, 2022, at
                 Paso Robles
          19                                      , California.

          20
                                                                         ________________________
          21                                                             Tracy Cagliero
          22
          23
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                                                   PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                               2112 Business Center Dr., Irvine, CA 92612

A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE'S MOTION FOR ORDER:
(1) AUTHORIZING SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS PURSUANT TO 11 U.S.C. § 363(f); (2)
APPROVING OVERBID PROCEDURES; (3) APPROVING BROKER COMPENSATION; (4) AUTHORIZING
DISTRIBUTION OF SALE PROCEEDS; (5) DETERMINING THAT THE PROPOSED BUYER IS A “GOOD FAITH
PURCHASER” UNDER 11 U.S.C. § 363(m); AND (6) WAIVING 14 DAY STAY IMPOSED BY FEDERAL RULE OF
BANKRUPTCY PROCEDURE 6004(h); DECLARATIONS OF MARK M. SHARF, DAVID CRABTREE, DONALD T.
FIFE AND PROPOSED BUYER IN SUPPORT HEREOF will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 8, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

OFFICE OF THE U.S. TRUSTEE: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
CHAPTER 7 TRUSTEE: Mark M Sharf (TR) mark@sharflaw.com, C188@ecfcbis.com;sharf1000@gmail.com
DEBTOR’S ATTORNEY: Thomas J Polis tom@polis-law.com, paralegal@polis-law.com;
r59042@notify.bestcase.com

.                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) July 8, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.

JUDGE’S COPY: Honorable Scott Clarkson, U.S. Bankruptcy Court, 411 West Fourth Street, Santa Ana, CA 92701
DEBTOR: Jennifer Leigh Hodges, 2312 Park Avenue #421, Tustin, CA 92782
DEBTOR: Jennifer Leigh Hodges, 77820 Vineyard Canyon, San Miguel, CA 93451

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __________________, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

    July 8, 2022              Diep Quach                                                        /s/ Diep Quach
    Date                       Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE

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SECTION 1 CONT.
NOTICE: Hagop T. Bedoyan hagop.bedoyan@mccormickbarstow.com,
terry.douty@mccormickbarstow.com
NOTICE: Arturo Cisneros arturo@mclaw.org, CACD_ECF@mclaw.org
NOTICE: Christopher D Crowell ccrowell@hrhlaw.com
NOTICE: Casey Z Donoyan cdonoyan@hrhlaw.com
NOTICE: Raffi Khatchadourian raffi@hemar-rousso.com
NOTICE: David Levy dlevy@rasflaw.com
NOTICE: Sandra McBeth donna@mcbethlegal.com
NOTICE: Queenie K Ng queenie.k.ng@usdoj.gov
NOTICE: Misty A Perry Isaacson misty@ppilawyers.com, ecf@ppilawyers.com;
pagterandperryisaacson@jubileebk.net
NOTICE: Nathan F Smith nathan@mclaw.org, CACD_ECF@mclaw.org;
mcecfnotices@ecf.courtdrive.com; cvalenzuela@mclaw.org
NOTICE: Tiffany Suzanne Yee tiffany.yee@doj.ca.gov

SECTION 2 CONT.
Karl T. Anderson
340 S. Farrell Dr Ste A210
Palm Springs, CA 92262

David Crabtree
Home & Ranch Sotheby's International
412 S Main St
Templeton, CA 93465

Hahn Fife & Company LLP
790 E Colorado Blvd 9th Fl
Pasadena, CA 91101

William S. Jubb
148879 Showboat Rd
Havasu Landing, CA 92363
07/05/2022 – Return to sender, no mail receptacle, unable
to forward




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 Fill in this information to identify the case:
                                                                                                                                 FILED
 Debtor 1 Hero Nutritionals, LLC                                                                                         U.S. Bankruptcy Court
                                                                                                                       Central District of California
 Debtor 2
 (Spouse, if filing)                                                                                                             9/29/2022
 United States Bankruptcy Court           Central District of California                                               Kathleen J. Campbell, Clerk
 Case number: 22−11383


Official Form 410
Proof of Claim                                                                                                                                          04/22

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            U.S. Small Business Administration
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               U.S. Small Business Administration                             U.S. Small Business Administration

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  Office of General Counsel − LADO                               Denver Finance Center #7988
                                  312 N. Spring St., 5th Floor                                   721 19th St.
                                  721 19th St.
                                  Los Angeles, CA 90012                                          Denver, CO 80202

                                  Contact phone              213−634−3875                        Contact phone           213−634−3875

                                  Contact email        anne.manalili@sba.gov                     Contact email       anne.manalili@sba.gov

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                 MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                  page 1




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Part 2: Give Information About the Claim as of the Date the Case Was Filed
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:       7810
  identify the debtor?


7.How much is the             $      525869.86                      Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                                        Money loaned


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:           All tangible & intangible personal prop.


                                    Basis for perfection:                UCC−1 and Sec. Agreement

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $      525869.86

                                    Amount of the claim that is               $      525869.86
                                    secured:
                                    Amount of the claim that is               $         0.00                       (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                         3.75        %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to         No
   a right of setoff?               Yes. Identify the property:                            Any and all Federal
                                                                               payments




Official Form 410                                                Proof of Claim                                                page 2




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12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,350 * of deposits toward purchase, lease, or rental of                   $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $15,150 *) earned within                   $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                9/29/2022

                                                                 MM / DD / YYYY


                                 /s/ Anne C. Manalili

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                        Anne C. Manalili

                                                                            First name       Middle name         Last name
                                 Title                                       General Attorney

                                 Company                                     U.S. Small Business Administration

                                                                            Identify the corporate servicer as the company if the authorized agent is a
                                                                            servicer
                                 Address                                     312 N. Spring St., 5th Floor

                                                                            Number Street
                                                                             Los Angeles, CA 90012

                                                                            City State ZIP Code
                                 Contact phone             213−634−3875                         Email         Anne.Manalili@sba.gov


Official Form 410                                                      Proof of Claim                                                   page 3


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 In Re: Hero Nutritionals LLC

 Bankruptcy Case Number: 8:22bk11383


                Addendum to Proof of Claim of the U.S. Small Business Administration

 Amount due: $ 525,869.86

  Unpaid Principal Balance as of 08/17/2022:       $                       500,000.00
  Unpaid accrued interest to 08/17/2022:           $                        25,869.86
  TOTAL                                            $                       525,869.86


         Interest Rate at Default:                3.750%
         Per Diem Interest:                       $ 51.37

 *Plus all applicable post-petition accrued interest at the applicable interest rate provided for in the loan
 documents plus all other applicable charges and advances incurred as allowed under the Bankruptcy Code
 and the loan documents, less any funds received post-petition.




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                         U. S. SMALL BUSINESS ADMINISTRATION

September 14, 2022
Hero Nutritionals, LLC
1900 Carnegie Ave., Bldg A
Santa Ana, CA 92705
Re: SBA Loan No.         7810
Hero Nutritionals, LLC
Please accept this letter in response to your recent request for payoff
information on the above referenced loan.
A s of A ugust 1 7 , 2 0 2 2 , th e p a y o f f b a l a n c e o n t h i s l o a n i s a s f o l l o ws :
Principal Balance              500,000.00
Interest                         19,366.44
OutStanding Interest 6,503.42
Total Due                      525,869.86

For each day after August 17, 2022, please add interest at a rate of
$51.37 per day.
*Please add at least 7 business days of interest to allow for mail transit and
processing.
The figures provided are from SBA records and subject to verification by
SBA's Denver Finance Office. Payments are posted with the effective date of
receipt, and recent payments may not be reflected in this balance. Any
overages will be refunded as appropriate.




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        SBA Loan #           7810                                                                                   Application #


                                                    U.S. Small Business Administration
         Economic Injury Disaster Loan


                                         LOAN AUTHORIZATION AND AGREEMENT
         Date: 05.28.2020 (Effective Date)

         On the above date, this Administration (SBA) authorized (under Section 7(b) of the Small Business Act, as amended) a Loan
         (SBA Loan #          7810) to Hero Nutritionals, LLC (Borrower) of 1900 Carnegie Ave., Bldg A Santa Ana California 92705
          in the amount of one hundred and fifty thousand and 00/100 Dollars ($150,000.00), upon the following conditions:

         PAYMENT

                   x    Installment payments, including principal and interest, of $731.00 Monthly, will begin Twelve (12) months
                        from the date of the promissory Note. The balance of principal and interest will be payable Thirty (30) years
                        from the date of the promissory Note.

         INTEREST

                   x    Interest will accrue at the rate of 3.75% per annum and will accrue only on funds actually advanced from the
                        date(s) of each advance.

         PAYMENT TERMS

                   x    Each payment will be applied first to interest accrued to the date of receipt of each payment, and the balance, if
                        any, will be applied to principal.

                   x    Each payment will be made when due even if at that time the full amount of the Loan has not yet been advanced
                        or the authorized amount of the Loan has been reduced.

         COLLATERAL

                   x    For loan amounts of greater than $25,000, Borrower hereby grants to SBA, the secured party hereunder, a
                        continuing security interest in and to any and all “Collateral” as described herein to secure payment and
                        performance of all debts, liabilities and obligations of Borrower to SBA hereunder without limitation, including
                        but not limited to all interest, other fees and expenses (all hereinafter called “Obligations”). The Collateral
                        includes the following property that Borrower now owns or shall acquire or create immediately upon the
                        acquisition or creation thereof: all tangible and intangible personal property, including, but not limited to: (a)
                        inventory, (b) equipment, (c) instruments, including promissory notes (d) chattel paper, including tangible
                        chattel paper and electronic chattel paper, (e) documents, (f) letter of credit rights, (g) accounts, including
                        health-care insurance receivables and credit card receivables, (h) deposit accounts, (i) commercial tort claims, (j)
                        general intangibles, including payment intangibles and software and (k) as-extracted collateral as such terms
                        may from time to time be defined in the Uniform Commercial Code. The security interest Borrower grants
                        includes all accessions, attachments, accessories, parts, supplies and replacements for the Collateral, all
                        products, proceeds and collections thereof and all records and data relating thereto.

                   x     For loan amounts of $25,000 or less, SBA is not taking a security interest in any collateral.




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         REQUIREMENTS RELATIVE TO COLLATERAL

                  x   Borrower will not sell or transfer any collateral (except normal inventory turnover in the ordinary course of
                      business) described in the "Collateral" paragraph hereof without the prior written consent of SBA.

                  x   Borrower will neither seek nor accept future advances under any superior liens on the collateral securing this
                      Loan without the prior written consent of SBA.

         USE OF LOAN PROCEEDS

                  x   Borrower will use all the proceeds of this Loan solely as working capital to alleviate economic injury caused by
                      disaster occurring in the month of January 31, 2020 and continuing thereafter and to pay Uniform Commercial
                      Code (UCC) lien filing fees and a third-party UCC handling charge of $100 which will be deducted from the
                      Loan amount stated above.

         REQUIREMENTS FOR USE OF LOAN PROCEEDS AND RECEIPTS

                  x   Borrower will obtain and itemize receipts (paid receipts, paid invoices or cancelled checks) and contracts for all
                      Loan funds spent and retain these receipts for 3 years from the date of the final disbursement. Prior to each
                      subsequent disbursement (if any) and whenever requested by SBA, Borrower will submit to SBA such
                      itemization together with copies of the receipts.

                  x   Borrower will not use, directly or indirectly, any portion of the proceeds of this Loan to relocate without the
                      prior written permission of SBA. The law prohibits the use of any portion of the proceeds of this Loan for
                      voluntary relocation from the business area in which the disaster occurred. To request SBA's prior written
                      permission to relocate, Borrower will present to SBA the reasons therefore and a description or address of the
                      relocation site. Determinations of (1) whether a relocation is voluntary or otherwise, and (2) whether any site
                      other than the disaster-affected location is within the business area in which the disaster occurred, will be made
                      solely by SBA.

                  x   Borrower will, to the extent feasible, purchase only American-made equipment and products with the proceeds
                      of this Loan.

                  x   Borrower will make any request for a loan increase for additional disaster-related damages as soon as possible
                      after the need for a loan increase is discovered. The SBA will not consider a request for a loan increase received
                      more than two (2) years from the date of loan approval unless, in the sole discretion of the SBA, there are
                      extraordinary and unforeseeable circumstances beyond the control of the borrower.

         DEADLINE FOR RETURN OF LOAN CLOSING DOCUMENTS

                  x   Borrower will sign and return the loan closing documents to SBA within 2 months of the date of this Loan
                      Authorization and Agreement. By notifying the Borrower in writing, SBA may cancel this Loan if the
                      Borrower fails to meet this requirement. The Borrower may submit and the SBA may, in its sole discretion,
                      accept documents after 2 months of the date of this Loan Authorization and Agreement.

         COMPENSATION FROM OTHER SOURCES

                  x    Eligibility for this disaster Loan is limited to disaster losses that are not compensated by other sources.
                        Other sources include but are not limited to: (1) proceeds of policies of insurance or other indemnifications,
                       (2) grants or other reimbursement (including loans) from government agencies or private organizations, (3)




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        SBA Loan #           7810                                                                                  Application #



                       claims for civil liability against other individuals, organizations or governmental entities, and (4) salvage
                       (including any sale or re-use) of items of damaged property.

                  x   Borrower will promptly notify SBA of the existence and status of any claim or application for such other
                      compensation, and of the receipt of any such compensation, and Borrower will promptly submit the proceeds
                      of same (not exceeding the outstanding balance of this Loan) to SBA.

                  x   Borrower hereby assigns to SBA the proceeds of any such compensation from other sources and authorizes the
                      payor of same to deliver said proceeds to SBA at such time and place as SBA shall designate.

                  x   SBA will in its sole discretion determine whether any such compensation from other sources is a duplication
                      of benefits. SBA will use the proceeds of any such duplication to reduce the outstanding balance of this Loan,
                      and Borrower agrees that such proceeds will not be applied in lieu of scheduled payments.

         DUTY TO MAINTAIN HAZARD INSURANCE

                  x    Within 12 months from the date of this Loan Authorization and Agreement the Borrower will provide proof of
                      an active and in effect hazard insurance policy including fire, lightning, and extended coverage on all items used
                      to secure this loan to at least 80% of the insurable value. Borrower will not cancel such coverage and will
                      maintain such coverage throughout the entire term of this Loan. BORROWER MAY NOT BE ELIGIBLE
                      FOR EITHER ANY FUTURE DISASTER ASSISTANCE OR SBA FINANCIAL ASSISTANCE IF THIS
                      INSURANCE IS NOT MAINTAINED AS STIPULATED HEREIN THROUGHOUT THE ENTIRE
                      TERM OF THIS LOAN. Please submit proof of insurance to: U.S. Small Business Administration, Office of
                      Disaster Assistance, 14925 Kingsport Rd, Fort Worth, TX. 76155.

         BOOKS AND RECORDS

                  x   Borrower will maintain current and proper books of account in a manner satisfactory to SBA for the most recent
                      5 years until 3 years after the date of maturity, including extensions, or the date this Loan is paid in full,
                      whichever occurs first. Such books will include Borrower's financial and operating statements, insurance
                      policies, tax returns and related filings, records of earnings distributed and dividends paid and records of
                      compensation to officers, directors, holders of 10% or more of Borrower's capital stock, members, partners and
                      proprietors.

                  x   Borrower authorizes SBA to make or cause to be made, at Borrower's expense and in such a manner and at such
                      times as SBA may require: (1) inspections and audits of any books, records and paper in the custody or control
                      of Borrower or others relating to Borrower's financial or business conditions, including the making of copies
                      thereof and extracts therefrom, and (2) inspections and appraisals of any of Borrower's assets.

                  x   Borrower will furnish to SBA, not later than 3 months following the expiration of Borrower's fiscal year and in
                      such form as SBA may require, Borrower's financial statements.

                  x   Upon written request of SBA, Borrower will accompany such statements with an 'Accountant's Review Report'
                      prepared by an independent public accountant at Borrower's expense.

                  x   Borrower authorizes all Federal, State and municipal authorities to furnish reports of examination, records and
                      other information relating to the conditions and affairs of Borrower and any desired information from such
                      reports, returns, files, and records of such authorities upon request of SBA.




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         LIMITS ON DISTRIBUTION OF ASSETS

                  x    Borrower will not, without the prior written consent of SBA, make any distribution of Borrower’s assets, or give
                       any preferential treatment, make any advance, directly or indirectly, by way of loan, gift, bonus, or otherwise, to
                       any owner or partner or any of its employees, or to any company directly or indirectly controlling or affiliated
                       with or controlled by Borrower, or any other company.

         EQUAL OPPORTUNITY REQUIREMENT

                  x    If Borrower has or intends to have employees, Borrower will post SBA Form 722, Equal Opportunity Poster
                       (copy attached), in Borrower's place of business where it will be clearly visible to employees, applicants for
                       employment, and the general public.

         DISCLOSURE OF LOBBYING ACTIVITIES

                  x    Borrower agrees to the attached Certification Regarding Lobbying Activities

         BORROWER’S CERTIFICATIONS

         Borrower certifies that:

                  x    There has been no substantial adverse change in Borrower's financial condition (and organization, in case of a
                       business borrower) since the date of the application for this Loan. (Adverse changes include, but are not limited
                       to: judgment liens, tax liens, mechanic's liens, bankruptcy, financial reverses, arrest or conviction of felony, etc.)

                  x    No fees have been paid, directly or indirectly, to any representative (attorney, accountant, etc.) for services
                       provided or to be provided in connection with applying for or closing this Loan, other than those reported on
                       SBA Form 5 Business Disaster Loan Application'; SBA Form 3501 COVID-19 Economic Injury Disaster Loan
                       Application; or SBA Form 159, 'Compensation Agreement'. All fees not approved by SBA are prohibited.

                  x     All representations in the Borrower's Loan application (including all supplementary submissions) are true,
                       correct and complete and are offered to induce SBA to make this Loan.

                  x    No claim or application for any other compensation for disaster losses has been submitted to or requested of
                       any source, and no such other compensation has been received, other than that which Borrower has fully
                       disclosed to SBA.

                  x    Neither the Borrower nor, if the Borrower is a business, any principal who owns at least 50% of the Borrower,
                       is delinquent more than 60 days under the terms of any: (a) administrative order; (b) court order; or (c)
                       repayment agreement that requires payment of child support.

                  x    Borrower certifies that no fees have been paid, directly or indirectly, to any representative (attorney,
                       accountant, etc.) for services provided or to be provided in connection with applying for or closing this
                       Loan, other than those reported on the Loan Application. All fees not approved by SBA are prohibited.
                       If an Applicant chooses to employ an Agent, the compensation an Agent charges to and that is paid by
                       the Applicant must bear a necessary and reasonable relationship to the services actually performed and must
                       be comparable to those charged by other Agents in the geographical area. Compensation cannot be
                       contingent on loan approval. In addition, compensation must not include any expenses which are deemed
                       by SBA to be unreasonable for services actually performed or expenses actually incurred. Compensation
                       must not include




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                       charges prohibited in 13 CFR 103 or SOP 50-30, Appendix 1. If the compensation exceeds $500 for a
                       disaster home loan or $2,500 for a disaster business loan, Borrower must fill out the Compensation
                       Agreement Form 159D which will be provided for Borrower upon request or can be found on the
                       SBA website.

                  x   Borrower certifies, to the best of its, his or her knowledge and belief, that the certifications and representations
                      in the attached Certification Regarding Lobbying are true, correct and complete and are offered to induce SBA
                      to make this Loan.

         CIVIL AND CRIMINAL PENALTIES

                  x   Whoever wrongfully misapplies the proceeds of an SBA disaster loan shall be civilly liable to the Administrator
                      in an amount equal to one-and-one half times the original principal amount of the loan under 15 U.S.C. 636(b).
                      In addition, any false statement or misrepresentation to SBA may result in criminal, civil or administrative
                      sanctions including, but not limited to: 1) fines, imprisonment or both, under 15 U.S.C. 645, 18 U.S.C. 1001, 18
                      U.S.C. 1014, 18 U.S.C. 1040, 18 U.S.C. 3571, and any other applicable laws; 2) treble damages and civil
                      penalties under the False Claims Act, 31 U.S.C. 3729; 3) double damages and civil penalties under the Program
                      Fraud Civil Remedies Act, 31 U.S.C. 3802; and 4) suspension and/or debarment from all Federal procurement
                      and non-procurement transactions. Statutory fines may increase if amended by the Federal Civil Penalties
                      Inflation Adjustment Act Improvements Act of 2015.

         RESULT OF VIOLATION OF THIS LOAN AUTHORIZATION AND AGREEMENT

                  x   If Borrower violates any of the terms or conditions of this Loan Authorization and Agreement, the Loan will be
                      in default and SBA may declare all or any part of the indebtedness immediately due and payable. SBA's failure
                      to exercise its rights under this paragraph will not constitute a waiver.

                  x   A default (or any violation of any of the terms and conditions) of any SBA Loan(s) to Borrower and/or its
                      affiliates will be considered a default of all such Loan(s).

         DISBURSEMENT OF THE LOAN

                  x   Disbursements will be made by and at the discretion of SBA Counsel, in accordance with this Loan
                      Authorization and Agreement and the general requirements of SBA.

                  x    Disbursements may be made in increments as needed.

                  x    Other conditions may be imposed by SBA pursuant to general requirements of SBA.

                  x   Disbursement may be withheld if, in SBA's sole discretion, there has been an adverse change in Borrower's
                      financial condition or in any other material fact represented in the Loan application, or if Borrower fails to
                      meet any of the terms or conditions of this Loan Authorization and Agreement.

                  x   NO DISBURSEMENT WILL BE MADE LATER THAN 6 MONTHS FROM THE DATE OF THIS
                      LOAN AUTHORIZATION AND AGREEMENT UNLESS SBA, IN ITS SOLE DISCRETION,
                      EXTENDS THIS DISBURSEMENT PERIOD.




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                                                       U.S. Small Business Administration            Date: 05.28.2020



                                                                     NOTE                            Loan Amount: $150,000.00


                                                           (SECURED DISASTER LOANS)                  Annual Interest Rate: 3.75%


        SBA Loan #            7810                                                                             Application #

             1.   PROMISE TO PAY: In return for a loan, Borrower promises to pay to the order of SBA the amount of one
                  hundred and fifty thousand and 00/100 Dollars ($150,000.00), interest on the unpaid principal balance, and all
                  other amounts required by this Note.

             2.   DEFINITIONS: A) “Collateral” means any property taken as security for payment of this Note or any guarantee of
                  this Note. B) “Guarantor” means each person or entity that signs a guarantee of payment of this Note. C) “Loan
                  Documents” means the documents related to this loan signed by Borrower, any Guarantor, or anyone who pledges
                  collateral.

             3.   PAYMENT TERMS: Borrower must make all payments at the place SBA designates. Borrower may prepay this
                  Note in part or in full at any time, without notice or penalty. Borrower must pay principal and interest payments of
                  $731.00 every month beginning Twelve (12) months from the date of the Note. SBA will apply each installment
                  payment first to pay interest accrued to the day SBA receives the payment and will then apply any remaining balance
                  to reduce principal. All remaining principal and accrued interest is due and payable Thirty (30) years from the date
                  of the Note.

             4.   DEFAULT: Borrower is in default under this Note if Borrower does not make a payment when due under this Note,
                  or if Borrower: A) Fails to comply with any provision of this Note, the Loan Authorization and Agreement, or other
                  Loan Documents; B) Defaults on any other SBA loan; C) Sells or otherwise transfers, or does not preserve or
                  account to SBA’s satisfaction for, any of the Collateral or its proceeds; D) Does not disclose, or anyone acting on
                  their behalf does not disclose, any material fact to SBA; E) Makes, or anyone acting on their behalf makes, a
                  materially false or misleading representation to SBA; F) Defaults on any loan or agreement with another creditor, if
                  SBA believes the default may materially affect Borrower’s ability to pay this Note; G) Fails to pay any taxes when
                  due; H) Becomes the subject of a proceeding under any bankruptcy or insolvency law; I) Has a receiver or liquidator
                  appointed for any part of their business or property; J) Makes an assignment for the benefit of creditors; K) Has any
                  adverse change in financial condition or business operation that SBA believes may materially affect Borrower’s
                  ability to pay this Note; L) Dies; M) Reorganizes, merges, consolidates, or otherwise changes ownership or business
                  structure without SBA’s prior written consent; or, N) Becomes the subject of a civil or criminal action that SBA
                  believes may materially affect Borrower’s ability to pay this Note.

             5.   SBA’S RIGHTS IF THERE IS A DEFAULT: Without notice or demand and without giving up any of its rights,
                  SBA may: A) Require immediate payment of all amounts owing under this Note; B) Have recourse to collect all
                  amounts owing from any Borrower or Guarantor (if any); C) File suit and obtain judgment; D) Take possession of
                  any Collateral; or E) Sell, lease, or otherwise dispose of, any Collateral at public or private sale, with or without
                  advertisement.

             6. SBA’S GENERAL POWERS: Without notice and without Borrower’s consent, SBA may: A) Bid on or buy the
                 Collateral at its sale or the sale of another lienholder, at any price it chooses; B) Collect amounts due under this Note,
                 enforce the terms of this Note or any other Loan Document, and preserve or dispose of the Collateral. Among other
                 things, the expenses may include payments for property taxes, prior liens, insurance, appraisals, environmental
                 remediation costs, and reasonable attorney’s fees and costs. If SBA incurs such expenses, it may demand immediate
                 reimbursement from Borrower or add the expenses to the principal balance; C) Release anyone obligated to pay this
                 Note; D) Compromise, release, renew, extend or substitute any of the Collateral; and E) Take any action necessary to
                 protect the Collateral or collect amounts owing on this Note.




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                                                                     U.S. Small Business Administration
                                                                      SECURITY AGREEMENT



         SBA Loan #:                           7810


         Borrower:                    Hero Nutritionals, LLC


         Secured Party:               The Small Business Administration, an Agency of the U.S. Government

         Date:                        05.28.2020


         Note Amount:                 $150,000.00



         1.         DEFINITIONS.

                   Unless otherwise specified, all terms used in this Agreement will have the meanings ascribed to them under the
                   Official Text of the Uniform Commercial Code, as it may be amended from time to time, (“UCC”). “SBA”
                   means the Small Business Administration, an Agency of the U.S. Government.

         2.         GRANT OF SECURITY INTEREST.

                   For value received, the Borrower grants to the Secured Party a security interest in the property described below
                   in paragraph 4 (the “Collateral”).

         3.         OBLIGATIONS SECURED.

                   This Agreement secures the payment and performance of: (a) all obligations under a Note dated 05.28.2020,
                   made by Hero Nutritionals, LLC , made payable to Secured Lender, in the amount of $150,000.00 (“Note”),
                   including all costs and expenses (including reasonable attorney’s fees), incurred by Secured Party in the
                   disbursement, administration and collection of the loan evidenced by the Note; (b) all costs and expenses
                   (including reasonable attorney’s fees), incurred by Secured Party in the protection, maintenance and
                   enforcement of the security interest hereby granted; (c) all obligations of the Borrower in any other agreement
                   relating to the Note; and (d) any modifications, renewals, refinancings, or extensions of the foregoing
                   obligations.

         4.         COLLATERAL DESCRIPTION.

                   The Collateral in which this security interest is granted includes the following property that Borrower now owns
                   or shall acquire or create immediately upon the acquisition or creation thereof: all tangible




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                   and intangible personal property, including, but not limited to: (a) inventory, (b) equipment, (c) instruments,
                   including promissory notes (d) chattel paper, including tangible chattel paper and electronic chattel paper, (e)
                   documents, (f) letter of credit rights, (g) accounts, including health-care insurance receivables and credit card
                   receivables, (h) deposit accounts, (i) commercial tort claims, (j) general intangibles, including payment intangibles
                   and software and (k) as-extracted collateral as such terms may from time to time be defined in the Uniform
                   Commercial Code. The security interest Borrower grants includes all accessions, attachments, accessories,
                   parts, supplies and replacements for the Collateral, all products, proceeds and collections thereof and all records
                   and data relating thereto.

         5.         RESTRICTIONS ON COLLATERAL TRANSFER.

                   Borrower will not sell, lease, license or otherwise transfer (including by granting security interests, liens, or
                   other encumbrances in) all or any part of the Collateral or Borrower’s interest in the Collateral without Secured
                   Party’s written or electronically communicated approval, except that Borrower may sell inventory in the
                   ordinary course of business on customary terms. Borrower may collect and use amounts due on accounts and
                   other rights to payment arising or created in the ordinary course of business, until notified otherwise by Secured
                   Party in writing or by electronic communication.

         6.         MAINTENANCE AND LOCATION OF COLLATERAL; INSPECTION; INSURANCE.

                   Borrower must promptly notify Secured Party by written or electronic communication of any change in location
                   of the Collateral, specifying the new location. Borrower hereby grants to Secured Party the right to inspect the
                   Collateral at all reasonable times and upon reasonable notice. Borrower must: (a) maintain the Collateral in
                   good condition; (b) pay promptly all taxes, judgments, or charges of any kind levied or assessed thereon; (c)
                   keep current all rent or mortgage payments due, if any, on premises where the Collateral is located; and (d)
                   maintain hazard insurance on the Collateral, with an insurance company and in an amount approved by Secured
                   Party (but in no event less than the replacement cost of that Collateral), and including such terms as Secured
                   Party may require including a Lender’s Loss Payable Clause in favor of Secured Party. Borrower hereby assigns
                   to Secured Party any proceeds of such policies and all unearned premiums thereon and authorizes and empowers
                   Secured Party to collect such sums and to execute and endorse in Borrower’s name all proofs of loss, drafts,
                   checks and any other documents necessary for Secured Party to obtain such payments.

         7.        CHANGES TO BORROWER’S LEGAL STRUCTURE, PLACE OF BUSINESS, JURISDICTION
                   OF ORGANIZATION, OR NAME.

                   Borrower must notify Secured Party by written or electronic communication not less than 30 days before taking
                   any of the following actions: (a) changing or reorganizing the type of organization or form under which it does
                   business; (b) moving, changing its place of business or adding a place of business; (c) changing its jurisdiction
                   of organization; or (d) changing its name. Borrower will pay for the preparation and filing of all documents
                   Secured Party deems necessary to maintain, perfect and continue the perfection of Secured Party’s security
                   interest in the event of any such change.

         8.         PERFECTION OF SECURITY INTEREST.

                   Borrower consents, without further notice, to Secured Party’s filing or recording of any documents necessary to
                   perfect, continue, amend or terminate its security interest. Upon request of Secured Party, Borrower must sign or
                   otherwise authenticate all documents that Secured Party deems necessary at any time to allow Secured Party to
                   acquire, perfect, continue or amend its security interest in the Collateral. Borrower will pay the filing and recording
                   costs of any documents relating to Secured Party’s security interest. Borrower ratifies all previous filings and
                   recordings, including financing statements and




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                    notations on certificates of title. Borrower will cooperate with Secured Party in obtaining a Control Agreement
                    satisfactory to Secured Party with respect to any Deposit Accounts or Investment Property, or in otherwise obtaining
                    control or possession of that or any other Collateral.

         9.        DEFAULT.

                    Borrower is in default under this Agreement if: (a) Borrower fails to pay, perform or otherwise comply with any
                    provision of this Agreement; (b) Borrower makes any materially false representation, warranty or certification
                    in, or in connection with, this Agreement, the Note, or any other agreement related to the Note or this
                    Agreement; (c) another secured party or judgment creditor exercises its rights against the Collateral; or (d) an
                    event defined as a “default” under the Obligations occurs. In the event of default and if Secured Party requests,
                    Borrower must assemble and make available all Collateral at a place and time designated by Secured Party.
                    Upon default and at any time thereafter, Secured Party may declare all Obligations secured hereby immediately
                    due and payable, and, in its sole discretion, may proceed to enforce payment of same and exercise any of the
                    rights and remedies available to a secured party by law including those available to it under Article 9 of the
                    UCC that is in effect in the jurisdiction where Borrower or the Collateral is located. Unless otherwise required
                    under applicable law, Secured Party has no obligation to clean or otherwise prepare the Collateral for sale or
                    other disposition and Borrower waives any right it may have to require Secured Party to enforce the security
                    interest or payment or performance of the Obligations against any other person.

         10.        FEDERAL RIGHTS.

                    When SBA is the holder of the Note, this Agreement will be construed and enforced under federal law,
                    including SBA regulations. Secured Party or SBA may use state or local procedures for filing papers, recording
                    documents, giving notice, enforcing security interests or liens, and for any other purposes. By using such
                    procedures, SBA does not waive any federal immunity from state or local control, penalty, tax or liability. As to
                    this Agreement, Borrower may not claim or assert any local or state law against SBA to deny any obligation,
                    defeat any claim of SBA, or preempt federal law.

         11.        GOVERNING LAW.

                    Unless SBA is the holder of the Note, in which case federal law will govern, Borrower and Secured Party agree
                    that this Agreement will be governed by the laws of the jurisdiction where the Borrower is located, including the
                    UCC as in effect in such jurisdiction and without reference to its conflicts of laws principles.

         12.        SECURED PARTY RIGHTS.

                    All rights conferred in this Agreement on Secured Party are in addition to those granted to it by law, and all
                    rights are cumulative and may be exercised simultaneously. Failure of Secured Party to enforce any rights or
                    remedies will not constitute an estoppel or waiver of Secured Party’s ability to exercise such rights or remedies.
                    Unless otherwise required under applicable law, Secured Party is not liable for any loss or damage to Collateral
                    in its possession or under its control, nor will such loss or damage reduce or discharge the Obligations that are
                    due, even if Secured Party’s actions or inactions caused or in any way contributed to such loss or damage.

         13.        SEVERABILITY.

                    If any provision of this Agreement is unenforceable, all other provisions remain in effect.




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                                                   U.S. Small Business Administration
         Economic Injury Disaster Loan


                              AMENDED LOAN AUTHORIZATION AND AGREEMENT
         Date: 05.28.2020, 07.29.2021 (Effective Date)

         On the above date, this Administration (SBA) authorized (under Section 7(b) of the Small Business Act, as amended) a Loan
         or Loan Modification (SBA Loan #          7810) to Hero Nutritionals, LLC (Borrower) of 1900 Carnegie Ave., Bldg A Santa
         Ana California 92705 in the amount of five hundred thousand and 00/100 Dollars ($500,000.00), upon the following
         conditions:

         PAYMENT

                   x    Installment payments, including principal and interest, of $2,517.00 Monthly, will begin Twenty-four (24)
                        months from the date of the Original Note. The balance of principal and interest will be payable Thirty (30)
                        years from the date of the Original Note.

         INTEREST

                   x    Interest will accrue at the rate of 3.75% per annum and will accrue only on funds actually advanced from the
                        date(s) of each advance.

         PAYMENT TERMS

                   x    Each payment will be applied first to interest accrued to the date of receipt of each payment, and the balance, if
                        any, will be applied to principal.

                   x    Each payment will be made when due even if at that time the full amount of the Loan has not yet been advanced
                        or the authorized amount of the Loan has been reduced.

         COLLATERAL

                   x    For loan amounts of greater than $25,000, Borrower hereby grants to SBA, the secured party hereunder, a
                        continuing security interest in and to any and all “Collateral” as described herein to secure payment and
                        performance of all debts, liabilities and obligations of Borrower to SBA hereunder without limitation, including
                        but not limited to all interest, other fees and expenses (all hereinafter called “Obligations”). The Collateral
                        includes the following property that Borrower now owns or shall acquire or create immediately upon the
                        acquisition or creation thereof: all tangible and intangible personal property, including, but not limited to: (a)
                        inventory, (b) equipment, (c) instruments, including promissory notes (d) chattel paper, including tangible
                        chattel paper and electronic chattel paper, (e) documents, (f) letter of credit rights, (g) accounts, including
                        health-care insurance receivables and credit card receivables, (h) deposit accounts, (i) commercial tort claims, (j)
                        general intangibles, including payment intangibles and software and (k) as-extracted collateral as such terms
                        may from time to time be defined in the Uniform Commercial Code. The security interest Borrower grants
                        includes all accessions, attachments, accessories, parts, supplies and replacements for the Collateral, all
                        products, proceeds and collections thereof and all records and data relating thereto.

                   x    For loan amounts of $25,000 or less, SBA is not taking a security interest in any collateral.

         GUARANTEE
                 Borrower will provide the following guarantee(s):




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                   x    Guarantee on SBA Form 2128 of: Jennifer Hodges (77820 Vineyard Canyon Rd., San Miguel, CA)

         REQUIREMENTS RELATIVE TO COLLATERAL

                   x   Borrower will not sell or transfer any collateral (except normal inventory turnover in the ordinary course of
                       business) described in the "Collateral" paragraph hereof without the prior written consent of SBA.

         USE OF LOAN PROCEEDS

                   x   Borrower will use all the proceeds of this Loan solely as working capital to alleviate economic injury caused by
                       disaster occurring in the month of January 31, 2020 and continuing thereafter and for loans of more than
                       $25,000 to pay Uniform Commercial Code (UCC) lien filing fees and a third-party UCC handling charge of
                       $100 which will be deducted from the Loan amount stated above.

         REQUIREMENTS FOR USE OF LOAN PROCEEDS AND RECEIPTS

                   x   Borrower will obtain and itemize receipts (paid receipts, paid invoices or cancelled checks) and contracts for all
                       Loan funds spent and retain these receipts for 3 years from the date of the final disbursement. Prior to each
                       subsequent disbursement (if any) and whenever requested by SBA, Borrower will submit to SBA such
                       itemization together with copies of the receipts.

                   x   Borrower will not use, directly or indirectly, any portion of the proceeds of this Loan to relocate without the
                       prior written permission of SBA. The law prohibits the use of any portion of the proceeds of this Loan for
                       voluntary relocation from the business area in which the disaster occurred. To request SBA's prior written
                       permission to relocate, Borrower will present to SBA the reasons therefore and a description or address of the
                       relocation site. Determinations of (1) whether a relocation is voluntary or otherwise, and (2) whether any site
                       other than the disaster-affected location is within the business area in which the disaster occurred, will be made
                       solely by SBA.

                   x   Borrower will, to the extent feasible, purchase only American-made equipment and products with the proceeds
                       of this Loan.

                   x   Borrower will make any request for a loan increase for additional disaster-related damages as soon as possible
                       after the need for a loan increase is discovered. The SBA will not consider a request for a loan increase received
                       more than two (2) years from the date of loan approval unless, in the sole discretion of the SBA, there are
                       extraordinary and unforeseeable circumstances beyond the control of the borrower.

         DEADLINE FOR RETURN OF LOAN CLOSING DOCUMENTS

                   x   Borrower will sign and return the loan closing documents to SBA within 2 months of the date of this Loan
                       Authorization and Agreement. By notifying the Borrower in writing, SBA may cancel this Loan if the
                       Borrower fails to meet this requirement. The Borrower may submit and the SBA may, in its sole discretion,
                       accept documents after 2 months of the date of this Loan Authorization and Agreement.

         COMPENSATION FROM OTHER SOURCES

                   x    Eligibility for this disaster Loan is limited to disaster losses that are not compensated by other sources.
                         Other sources include but are not limited to: (1) proceeds of policies of insurance or other indemnifications,
                        (2) grants or other reimbursement (including loans) from government agencies or private organizations, (3)




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                        claims for civil liability against other individuals, organizations or governmental entities, and (4) salvage
                        (including any sale or re-use) of items of damaged property.

                   x   Borrower will promptly notify SBA of the existence and status of any claim or application for such other
                       compensation, and of the receipt of any such compensation, and Borrower will promptly submit the proceeds
                       of same (not exceeding the outstanding balance of this Loan) to SBA.

                   x   Borrower hereby assigns to SBA the proceeds of any such compensation from other sources and authorizes the
                       payor of same to deliver said proceeds to SBA at such time and place as SBA shall designate.

                   x   SBA will in its sole discretion determine whether any such compensation from other sources is a duplication
                       of benefits. SBA will use the proceeds of any such duplication to reduce the outstanding balance of this Loan,
                       and Borrower agrees that such proceeds will not be applied in lieu of scheduled payments.

         DUTY TO MAINTAIN HAZARD INSURANCE

                   x    For loan amounts of greater than $25,000, within 12 months from the date of this Loan Authorization and
                       Agreement the Borrower will provide proof of an active and in effect hazard insurance policy including fire,
                       lightning, and extended coverage on all items used to secure this loan to at least 80% of the insurable value.
                       Borrower will not cancel such coverage and will maintain such coverage throughout the entire term of this Loan.
                       BORROWER MAY NOT BE ELIGIBLE FOR EITHER ANY FUTURE DISASTER ASSISTANCE OR
                       SBA FINANCIAL ASSISTANCE IF THIS INSURANCE IS NOT MAINTAINED AS STIPULATED
                       HEREIN THROUGHOUT THE ENTIRE TERM OF THIS LOAN. Please submit proof of insurance to:
                       U.S. Small Business Administration, Office of Disaster Assistance, 14925 Kingsport Rd, Fort Worth, TX.
                       76155.

         BOOKS AND RECORDS

                   x   Borrower will maintain current and proper books of account in a manner satisfactory to SBA for the most recent
                       5 years until 3 years after the date of maturity, including extensions, or the date this Loan is paid in full,
                       whichever occurs first. Such books will include Borrower's financial and operating statements, insurance
                       policies, tax returns and related filings, records of earnings distributed and dividends paid and records of
                       compensation to officers, directors, holders of 10% or more of Borrower's capital stock, members, partners and
                       proprietors.

                   x   Borrower authorizes SBA to make or cause to be made, at Borrower's expense and in such a manner and at such
                       times as SBA may require: (1) inspections and audits of any books, records and paper in the custody or control
                       of Borrower or others relating to Borrower's financial or business conditions, including the making of copies
                       thereof and extracts therefrom, and (2) inspections and appraisals of any of Borrower's assets.

                   x   Borrower will furnish to SBA, not later than 3 months following the expiration of Borrower's fiscal year and in
                       such form as SBA may require, Borrower's financial statements.

                   x   Upon written request of SBA, Borrower will accompany such statements with an 'Accountant's Review Report'
                       prepared by an independent public accountant at Borrower's expense.

                   x   Borrower authorizes all Federal, State and municipal authorities to furnish reports of examination, records and
                       other information relating to the conditions and affairs of Borrower and any desired information from such
                       reports, returns, files, and records of such authorities upon request of SBA.




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         LIMITS ON DISTRIBUTION OF ASSETS

                   x    Borrower will not, without the prior written consent of SBA, make any distribution of Borrower’s assets, or give
                        any preferential treatment, make any advance, directly or indirectly, by way of loan, gift, bonus, or otherwise, to
                        any owner or partner or any of its employees, or to any company directly or indirectly controlling or affiliated
                        with or controlled by Borrower, or any other company.

         EQUAL OPPORTUNITY REQUIREMENT

                   x   If Borrower has or intends to have employees, Borrower will post SBA Form 722, Equal Opportunity Poster
                       (copy attached), in Borrower's place of business where it will be clearly visible to employees, applicants for
                       employment, and the general public.

         DISCLOSURE OF LOBBYING ACTIVITIES

                   x    Borrower agrees to the attached Certification Regarding Lobbying Activities

         BORROWER’S CERTIFICATIONS

         Borrower certifies that:

                   x   There has been no substantial adverse change in Borrower's financial condition (and organization, in case of a
                       business borrower) since the date of the application for this Loan. (Adverse changes include, but are not limited
                       to: judgment liens, tax liens, mechanic's liens, bankruptcy, financial reverses, arrest or conviction of felony, etc.)

                   x   No fees have been paid, directly or indirectly, to any representative (attorney, accountant, etc.) for services
                       provided or to be provided in connection with applying for or closing this Loan, other than those reported on
                       SBA Form 5 Business Disaster Loan Application'; SBA Form 3501 COVID-19 Economic Injury Disaster Loan
                       Application; or SBA Form 159, 'Compensation Agreement'. All fees not approved by SBA are prohibited.

                   x    All representations in the Borrower's Loan application (including all supplementary submissions) are true,
                       correct and complete and are offered to induce SBA to make this Loan.

                   x   No claim or application for any other compensation for disaster losses has been submitted to or requested of
                       any source, and no such other compensation has been received, other than that which Borrower has fully
                       disclosed to SBA.

                   x   Neither the Borrower nor, if the Borrower is a business, any principal who owns at least 50% of the Borrower,
                       is delinquent more than 60 days under the terms of any: (a) administrative order; (b) court order; or (c)
                       repayment agreement that requires payment of child support.

                   x   Borrower certifies that no fees have been paid, directly or indirectly, to any representative (attorney,
                       accountant, etc.) for services provided or to be provided in connection with applying for or closing this
                       Loan, other than those reported on the Loan Application.
                       All fees not approved by SBA are prohibited. If an Applicant chooses to employ an Agent, the compensation
                       an Agent charges to and that is paid by the Applicant must bear a necessary and reasonable relationship to the
                       services actually performed and must be comparable to those charged by other Agents in the geographical area.
                       Compensation cannot be contingent on loan approval. In addition, compensation must not include any
                       expenses which are deemed by SBA to be unreasonable for services actually performed or expenses actually
                       incurred. Compensation must not include




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                       charges prohibited in 13 CFR 103 or SOP 50-30, Appendix 1. If the compensation exceeds $500 for a
                       disaster home loan or $2,500 for a disaster business loan, Borrower must fill out the Compensation
                       Agreement Form 159D which will be provided for Borrower upon request or can be found on the SBA
                       website.

                   x   Borrower certifies, to the best of its, his or her knowledge and belief, that the certifications and representations
                       in the attached Certification Regarding Lobbying are true, correct and complete and are offered to induce SBA
                       to make this Loan.

         CIVIL AND CRIMINAL PENALTIES

                   x   Whoever wrongfully misapplies the proceeds of an SBA disaster loan shall be civilly liable to the Administrator
                       in an amount equal to one-and-one half times the original principal amount of the loan under 15 U.S.C. 636(b).
                       In addition, any false statement or misrepresentation to SBA may result in criminal, civil or administrative
                       sanctions including, but not limited to: 1) fines, imprisonment or both, under 15 U.S.C. 645, 18 U.S.C. 1001, 18
                       U.S.C. 1014, 18 U.S.C. 1040, 18 U.S.C. 3571, and any other applicable laws; 2) treble damages and civil
                       penalties under the False Claims Act, 31 U.S.C. 3729; 3) double damages and civil penalties under the Program
                       Fraud Civil Remedies Act, 31 U.S.C. 3802; and 4) suspension and/or debarment from all Federal procurement
                       and non-procurement transactions. Statutory fines may increase if amended by the Federal Civil Penalties
                       Inflation Adjustment Act Improvements Act of 2015.

         RESULT OF VIOLATION OF THIS LOAN AUTHORIZATION AND AGREEMENT

                   x   If Borrower violates any of the terms or conditions of this Loan Authorization and Agreement, the Loan will be
                       in default and SBA may declare all or any part of the indebtedness immediately due and payable. SBA's failure
                       to exercise its rights under this paragraph will not constitute a waiver.

                   x   A default (or any violation of any of the terms and conditions) of any SBA Loan(s) to Borrower and/or its
                       affiliates will be considered a default of all such Loan(s).

         DISBURSEMENT OF THE LOAN

                   x   Disbursements will be made by and at the discretion of SBA Counsel, in accordance with this Loan
                       Authorization and Agreement and the general requirements of SBA.

                   x    Disbursements may be made in increments as needed.

                   x    Other conditions may be imposed by SBA pursuant to general requirements of SBA.

                   x   Disbursement may be withheld if, in SBA's sole discretion, there has been an adverse change in Borrower's
                       financial condition or in any other material fact represented in the Loan application, or if Borrower fails to
                       meet any of the terms or conditions of this Loan Authorization and Agreement.

                   x   NO DISBURSEMENT WILL BE MADE LATER THAN 6 MONTHS FROM THE DATE OF THIS
                       LOAN AUTHORIZATION AND AGREEMENT UNLESS SBA, IN ITS SOLE DISCRETION,
                       EXTENDS THIS DISBURSEMENT PERIOD.




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                                                     U.S. Small Business Administration            Date: July 29, 2021


                                                          1st Modification of Note                 Loan Amount: $500,000.00


                                                          (SECURED DISASTER LOANS)                 Annual Interest Rate: 3.750%


         Application #                                                Loan #         7810

           1.   NOTE: The “Note” is the SBA note signed by Borrower, dated May 28, 2020 in the amount of one hundred and
                fifty thousand and 00/100 Dollars, payable to SBA. This 1st Modification of Note modifies certain terms of the
                Note. The current modifications and any prior modifications to the Note, are disclosed below in Paragraphs 2 and 4.
           2.   CURRENT PAYMENT TERMS: Including terms modified by this agreement, the current payment terms of the
                1st Modified Note are: The loan amount is five hundred thousand. The interest rate is 3.750% per year. Payments of
                $2,517.00 are due every MONTH beginning Twenty-four (24) months from the date of the Original Note. All
                remaining principal and accrued interest is due and payable Thirty (30) years from the date of Original Note.
           3.   ADDITIONAL BORROWER: N/A
           4.   PREVIOUS NOTE AND MODIFICATIONS, IF ANY, AND CURRENT MODIFICATION TERMS
                SUMMARY: The chart attached hereto and incorporated by reference as Addendum A is a summary of your original
                Note terms, any previous modifications thereto and this current modification:
           5.   EFFECT OF THIS MODIFICATION: All terms of the Note remain unchanged by this agreement except terms that
                are expressly modified. This Modification of Note becomes a part of the original Note and has the same effect as if its
                terms were in the original Note when it was signed.
           6.   DEFINITIONS: A) “Collateral” means any property taken as security for payment of the Note or any guarantee of
                the Note. B) “Guarantor” means each person or entity that signs a guarantee of payment of the Note. C) “Loan
                Documents” means the documents related to this loan signed by Borrower, any Guarantor, or anyone who pledges
                collateral.
           7.   DEFAULT: Borrower is in default under the Note or any modification to the Note, if Borrower does not make a
                payment when due under the Note, or if Borrower: A) Fails to comply with any provision of the Note, the Loan
                Authorization and Agreement, or other Loan Documents; B) Defaults on any other SBA loan; C) Sells or otherwise
                transfers, or does not preserve or account to SBA’s satisfaction for, any of the Collateral or its proceeds; D) Does not
                disclose, or anyone acting on their behalf does not disclose, any material fact to SBA; E) Makes, or anyone acting on
                their behalf makes, a materially false or misleading representation to SBA; F) Defaults on any loan or agreement with
                another creditor, if SBA believes the default may materially affect Borrower’s ability to pay the Note; G) Fails to pay
                any taxes when due; H) Becomes the subject of a proceeding under any bankruptcy or insolvency law; I) Has a
                receiver or liquidator appointed for any part of their business or property; J) Makes an assignment for the benefit of
                creditors; K) Has any adverse change in financial condition or business operation that SBA believes may materially
                affect Borrower’s ability to pay the Note; L) Dies; M) Reorganizes, merges, consolidates, or otherwise changes
                ownership or business structure without SBA’s prior written consent; or, N) Becomes the subject of a civil or criminal
                action that SBA believes may materially affect Borrower’s ability to pay the Note.




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                                                                      U.S. Small Business Administration
                                                                           AMENDED SECURITY
                                                                              AGREEMENT


          SBA Loan #:                           7810


          Borrower:                    Hero Nutritionals, LLC


          Secured Party:               The Small Business Administration, an Agency of the U.S. Government

          Date:                        07.29.2021


          Note Amount:                 $500,000.00



          1.         DEFINITIONS.

                    Unless otherwise specified, all terms used in this Agreement will have the meanings ascribed to them under the
                    Official Text of the Uniform Commercial Code, as it may be amended from time to time, (“UCC”). “SBA”
                    means the Small Business Administration, an Agency of the U.S. Government.

          2.         GRANT OF SECURITY INTEREST.

                    For value received, the Borrower grants to the Secured Party a security interest in the property described below
                    in paragraph 4 (the “Collateral”).

          3.         OBLIGATIONS SECURED.

                    This Agreement secures the payment and performance of: (a) all obligations under a Note dated 05.28.2020 and
                    all amendments and modifications thereto, made by Hero Nutritionals, LLC , made payable to Secured Lender,
                    in the total principal amount of $500,000.00 (“Note”), including all costs and expenses (including reasonable
                    attorney’s fees), incurred by Secured Party in the disbursement, administration and collection of the loan
                    evidenced by the Note; (b) all costs and expenses (including reasonable attorney’s fees), incurred by Secured
                    Party in the protection, maintenance and enforcement of the security interest hereby granted; (c) all obligations
                    of the Borrower in any other agreement relating to the Note; and (d) any modifications, renewals, refinancings,
                    or extensions of the foregoing obligations.

          4.         COLLATERAL DESCRIPTION.

                    The Collateral in which this security interest is granted includes the following property that Borrower now owns
                    or shall acquire or create immediately upon the acquisition or creation thereof: all tangible




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       SBA Form 1059 (09-19) Previous Editions are obsolete.



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                    and intangible personal property, including, but not limited to: (a) inventory, (b) equipment, (c) instruments,
                    including promissory notes (d) chattel paper, including tangible chattel paper and electronic chattel paper, (e)
                    documents, (f) letter of credit rights, (g) accounts, including health-care insurance receivables and credit card
                    receivables, (h) deposit accounts, (i) commercial tort claims, (j) general intangibles, including payment intangibles
                    and software and (k) as-extracted collateral as such terms may from time to time be defined in the Uniform
                    Commercial Code. The security interest Borrower grants includes all accessions, attachments, accessories,
                    parts, supplies and replacements for the Collateral, all products, proceeds and collections thereof and all records
                    and data relating thereto.

          5.         RESTRICTIONS ON COLLATERAL TRANSFER.

                    Borrower will not sell, lease, license or otherwise transfer (including by granting security interests, liens, or
                    other encumbrances in) all or any part of the Collateral or Borrower’s interest in the Collateral without Secured
                    Party’s written or electronically communicated approval, except that Borrower may sell inventory in the
                    ordinary course of business on customary terms. Borrower may collect and use amounts due on accounts and
                    other rights to payment arising or created in the ordinary course of business, until notified otherwise by Secured
                    Party in writing or by electronic communication.

          6.         MAINTENANCE AND LOCATION OF COLLATERAL; INSPECTION; INSURANCE.

                    Borrower must promptly notify Secured Party by written or electronic communication of any change in location
                    of the Collateral, specifying the new location. Borrower hereby grants to Secured Party the right to inspect the
                    Collateral at all reasonable times and upon reasonable notice. Borrower must: (a) maintain the Collateral in
                    good condition; (b) pay promptly all taxes, judgments, or charges of any kind levied or assessed thereon; (c)
                    keep current all rent or mortgage payments due, if any, on premises where the Collateral is located; and (d)
                    maintain hazard insurance on the Collateral, with an insurance company and in an amount approved by Secured
                    Party (but in no event less than the replacement cost of that Collateral), and including such terms as Secured
                    Party may require including a Lender’s Loss Payable Clause in favor of Secured Party. Borrower hereby assigns
                    to Secured Party any proceeds of such policies and all unearned premiums thereon and authorizes and empowers
                    Secured Party to collect such sums and to execute and endorse in Borrower’s name all proofs of loss, drafts,
                    checks and any other documents necessary for Secured Party to obtain such payments.

          7.        CHANGES TO BORROWER’S LEGAL STRUCTURE, PLACE OF BUSINESS, JURISDICTION
                    OF ORGANIZATION, OR NAME.

                    Borrower must notify Secured Party by written or electronic communication not less than 30 days before taking
                    any of the following actions: (a) changing or reorganizing the type of organization or form under which it does
                    business; (b) moving, changing its place of business or adding a place of business; (c) changing its jurisdiction
                    of organization; or (d) changing its name. Borrower will pay for the preparation and filing of all documents
                    Secured Party deems necessary to maintain, perfect and continue the perfection of Secured Party’s security
                    interest in the event of any such change.

          8.         PERFECTION OF SECURITY INTEREST.

                    Borrower consents, without further notice, to Secured Party’s filing or recording of any documents necessary to
                    perfect, continue, amend or terminate its security interest. Upon request of Secured Party, Borrower must sign or
                    otherwise authenticate all documents that Secured Party deems necessary at any time to allow Secured Party to
                    acquire, perfect, continue or amend its security interest in the Collateral. Borrower will pay the filing and recording
                    costs of any documents relating to Secured Party’s security interest. Borrower ratifies all previous filings and
                    recordings, including financing statements and




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                     notations on certificates of title. Borrower will cooperate with Secured Party in obtaining a Control Agreement
                     satisfactory to Secured Party with respect to any Deposit Accounts or Investment Property, or in otherwise obtaining
                     control or possession of that or any other Collateral.

          9.        DEFAULT.

                     Borrower is in default under this Agreement if: (a) Borrower fails to pay, perform or otherwise comply with any
                     provision of this Agreement; (b) Borrower makes any materially false representation, warranty or certification
                     in, or in connection with, this Agreement, the Note, or any other agreement related to the Note or this
                     Agreement; (c) another secured party or judgment creditor exercises its rights against the Collateral; or (d) an
                     event defined as a “default” under the Obligations occurs. In the event of default and if Secured Party requests,
                     Borrower must assemble and make available all Collateral at a place and time designated by Secured Party.
                     Upon default and at any time thereafter, Secured Party may declare all Obligations secured hereby immediately
                     due and payable, and, in its sole discretion, may proceed to enforce payment of same and exercise any of the
                     rights and remedies available to a secured party by law including those available to it under Article 9 of the
                     UCC that is in effect in the jurisdiction where Borrower or the Collateral is located. Unless otherwise required
                     under applicable law, Secured Party has no obligation to clean or otherwise prepare the Collateral for sale or
                     other disposition and Borrower waives any right it may have to require Secured Party to enforce the security
                     interest or payment or performance of the Obligations against any other person.

          10.        FEDERAL RIGHTS.

                     When SBA is the holder of the Note, this Agreement will be construed and enforced under federal law,
                     including SBA regulations. Secured Party or SBA may use state or local procedures for filing papers, recording
                     documents, giving notice, enforcing security interests or liens, and for any other purposes. By using such
                     procedures, SBA does not waive any federal immunity from state or local control, penalty, tax or liability. As to
                     this Agreement, Borrower may not claim or assert any local or state law against SBA to deny any obligation,
                     defeat any claim of SBA, or preempt federal law.

          11.        GOVERNING LAW.

                     Unless SBA is the holder of the Note, in which case federal law will govern, Borrower and Secured Party agree
                     that this Agreement will be governed by the laws of the jurisdiction where the Borrower is located, including the
                     UCC as in effect in such jurisdiction and without reference to its conflicts of laws principles.

          12.        SECURED PARTY RIGHTS.

                     All rights conferred in this Agreement on Secured Party are in addition to those granted to it by law, and all
                     rights are cumulative and may be exercised simultaneously. Failure of Secured Party to enforce any rights or
                     remedies will not constitute an estoppel or waiver of Secured Party’s ability to exercise such rights or remedies.
                     Unless otherwise required under applicable law, Secured Party is not liable for any loss or damage to Collateral
                     in its possession or under its control, nor will such loss or damage reduce or discharge the Obligations that are
                     due, even if Secured Party’s actions or inactions caused or in any way contributed to such loss or damage.

          13.        SEVERABILITY.

                     If any provision of this Agreement is unenforceable, all other provisions remain in effect.




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       SBA Form 1059 (09-19) Previous Editions are obsolete.



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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                                            650 Town Center Drive, Suite 600
                                               Costa Mesa, California 92626
A true and correct copy of the foregoing document entitled (specify): Motion For Order: (1) Approving Asset Purchase
Agreement And Authorizing Sale Of Debtor’s Assets Free And Clear Of Liens, Claims And Interests Pursuant To 11
U.S.C. § 363(B) And (F); (2) Assuming And Assigning Certain Obligations; (3) Approving Buyer, Successful Bidder, And
Any Backup Bidder, As Good-Faith Purchaser Pursuant To 11 U.S.C. § 363(M); And (4) Authorizing Payment Of Liens
And Other Ordinary Costs Of Sale Memorandum Of Points And Authorities; Declarations Jennifer Hodges, David M.
Goodrich, Kenneth A. Miller In Support will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
October 5, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Ron Bender rb@lnbyg.com
Michael W Brown mbrown@hrhlaw.com
Arturo Cisneros arturo@mclaw.org, CACD_ECF@mclaw.org
Jennifer Witherell Crastz jcrastz@hrhlaw.com
Nancy S Goldenberg nancy.goldenberg@usdoj.gov
David M Goodrich dgoodrich@go2.law, kadele@wgllp.com;lbracken@wgllp.com;wggllp@ecf.courtdrive.com;gestrada@wgllp.com
Paul M Kelley pkelley@kelleysemmel.com
Arvind Nath Rawal arawal@aisinfo.com
Donald W Reid don@donreidlaw.com, ecf@donreidlaw.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) October 5, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Hero Nutritionals, LLC
1900 Carnegie Ave. Bldg. A
Santa Ana, CA 92705
Debtor
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 5, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
SERVED BY OVERNIGHT MAIL:                                            SERVED BY EMAIL:
Honorable Scott C. Clarkson                                          Donald Reid - don@donreidlaw.com
United States Bankruptcy Court                                       Anne C. Manalili - anne.manalili@sba.gov
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 10/5/2022                      Gloria Estrada
 Date                           Printed Name                                                    Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
